        Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 1




                          Nos. 23-3216; 23-3225


            IN THE UNITED STATES COURT OF APPEALS
                     FOR THE SIXTH CIRCUIT


              COMMONWEALTH OF KENTUCKY, et al.,

                                         Petitioners,

                                    v.

   UNITED STATES ENVIRONMENTAL PROTECTION AGENCY, et al.,

                                         Respondents.


 PETITION FOR REVIEW OF A FINAL AGENCY ACTION OF THE UNITED
         STATES ENVIRONMENTAL PROTECTION AGENCY


  EPA’S APPENDIX TO CONSOLIDATED RESPONSE IN OPPOSITION
    TO PETITIONERS’ MOTIONS FOR A STAY PENDING REVIEW
                         (VOL. 2)


                                     TODD KIM
                                       Assistant Attorney General
Of Counsel:
ROSEMARY HAMBRIGHT KABAN             ALEXANDRA L. ST. ROMAIN
DANIEL P. SCHRAMM                      U.S. Department of Justice
  Office of the General Counsel        Environment and Natural Resources
  U.S. Environmental Protection          Division
    Agency                             P.O. Box 7611
  Washington, DC                       Washington D.C. 20044-7611
              Case: 23-3216          Document: 32-3           Filed: 06/16/2023          Page: 2




                                      TABLE OF CONTENTS

EPA, Final Rule, Air Plan Disapprovals; Interstate Transport of Air Pollution for
the 2015 8-Hour Ozone National Ambient Air Quality Standards, 88 Fed. Reg.
9336 (Feb. 13, 2023) ......................................................................................Ex. 1

EPA, 2015 Ozone NAAQS Interstate Transport SIP Disapprovals – Response to
Comments (RTC) Document (Jan. 31, 2023) ..................................................Ex. 2

EPA, Information on the Interstate Transport State Implementation Plan
Submissions for the 2015 Ozone National Ambient Air Quality Standards under
Clean Air Act Section 110(a)(2)(D)(i)(I) (Mar. 27, 2018)
(“March Memo”) ............................................................................................Ex. 3

EPA, Analysis of Contribution Thresholds for Use in Clean Air Act Section
110(a)(2)(D)(i)(I) Interstate Transport State Implementation Plan Submissions for
the 2015 Ozone National Ambient Air Quality Standards (Aug. 31, 2018)
(“August Memo”) ...........................................................................................Ex. 4

Kentucky Energy and Environment Cabinet, Final Kentucky Infrastructure State
Implementation Plan: 2015 Ozone National Ambient Air Quality Standards (Jan.
2019) (“Submission”) .....................................................................................Ex. 5

Declaration of Rona Birnbaum (“Birnbaum Declaration”),
Signed June 7, 2023 ........................................................................................Ex. 6

EPA, Proposed Rule, Air Plan Disapproval; Kentucky; Interstate Transport
Requirements for the 2015 8-Hour Ozone National Ambient Air Quality Standards,
87 Fed. Reg. 9498 (Feb. 22, 2022). .................................................................Ex. 7
          Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 3




                             EXHIBIT 5 (cont.)

Kentucky Energy and Environment Cabinet, Final Kentucky Infrastructure State

Implementation Plan: 2015 Ozone National Ambient Air Quality Standards (Jan.

2019) (“Submission”)
                 Case: 23-3216     Document: 32-3           Filed: 06/16/2023         Page: 4

ALPINE
GEOPHYSICS                                                                  Final Technical Support Document


As an example, consider some selected monitors designated by EPA in its March 2018                             (
memorandum as nonattainment (Table 9-3). Using OSAT/APCA contribution results for the four
noted monitors, contributions from Mexico and Canada range between 0.44 and 1.24 ppb and
boundary conditions have modeled contribution of between 17.53 and 24.67 ppb. Should a
state request relief from the Mexican and Canadian contribution (as noted above) and request
relief from a reasonable proportion of the boundary condition values (presumed to be of
international anthropogenic origin), all of these monitors could also demonstrate attainment
with the 70 ppb NAAQS.

Table 9-3. International Contribution to Select Nonattainment Monitors and Anticipated
Average Ozone Design Values (ppb) with Reasonable Proportion of Boundary Condition
Relief.

             I
                                  2023Avg Mex/Can Boundary 20230V 20230V 2023 DV                  2023OV
Site ID      State     !County      DV    Contrlb. Contrlb. 2% Relief 5% Relief 7% Relief        11% Relief
48039100<1 lrexas      Brazoria     74.0     0.44        24.02       73.0    72.3       71.8        70.9
             I                                                              - -·
484392003 lrexas       !Tarrant     72.5     1.24        24.38       70.7    70.0       69.5        68.5
                                                                 ~




482011039 lrexas       Harris       71.8     0.47        24.67       70,8    70.0       69.6        68.6
             I                                      I
) 51170006•W isconsin ~heboygan     72.8     0.69        17.53       71.7    71.2       70.8        70.1


In this particular example, assuming a reasonable 2% of the boundary conditions as
international anthropogenic contribution, two of the three Texas monitors show demonstrated
attainment with the 2015 NAAQS. Assuming a 7% relief of the boundary conditions as
                                                                                                               Q
international anthropogenic contribution, the Sheboygan, Wisconsin monitor joins the two
Texas monitors in demonstrated attainment. And with an assumption that 11% of the
contribution from modeled boundary conditions could be attributed to international
anthropogenic contribution to the Texas monitors, all four of the selected EPA-identified
nonattainment monitors would show attainment with the 70 ppb NAAQS.

Additionally, should a state like Wisconsin choose to conduct source apportionment studies on
the 4km domain, their starting point for the calculation would begin with an average 2023 DV
of 71.7 ppb; only 0.8 ppb from attainment. One may reasonably assume that a 4km source
attribution analysis would show an approximately consistent amount of Canadian/Mexican and
boundary condition contribution as the 12km results above, requiring an even lower (or no}
percentage of boundary condition relief to demonstrate modeled attainment.

9.4 ALTERNATE SIGNIFICANCE THRESHOLD

Some states argue that significant contribution threshold of 1% of NAAQS (0.70 ppb for 2015
ozone NAAQS) value is arbitrary and has never been supported by any scientific argument.
Concerns have been raised that this value is more stringent than current 2016 EPA Significant
Impact Level {SIL) guidance of 1.0 ppb which is designed as an individual source or group of
sources' contribution limit (Boylan, 2018}. There is a potential for states to submit SIP revision
citing SIL as acceptable for total state anthropogenic contribution threshold. In these cases,
June 20 18                                          39
                                                                                                               C
                  Case: 23-3216      Document: 32-3        Filed: 06/16/2023                  Page: 5

    ALPINE
    GEOPHYSICS                                                                 Final Technical Support Document



C   under Step 2 of the four-step process, states may wish to review their contribution to
    downwind receptors and request relief from the 1% threshold in lieu of using an alternate
    value. In the example below, we review Texas nonattainment and maintenance monitors as
    defined by EPA's March 2018 memo. In the Table 9-4, we have also included the OSAT/APCA
    contributions documented by EPA in that memo.

    Table 9-4. EPA 12km OSAT/APCA contributions to Texas nonattainment and maintenance
    monitors. Blue+ orange cells indicate states significantly contributing with 1% threshold.
    Orange cells indicate states significantly contributing with > lppb threshold.

                                          Ozone DV (ppb)     EPA OSAT/APCA Significant Contribution (ppb)
                                       2023Avg · 2023Max
    ~ite ID       State   County         DV         DV         AR            IL        LA      MS          MO     OK

    1480391004    Texas   Brazoria        74.0      74.9   '~~'°\ lt:i!.00~           3.80     0.63   ~o:"llti ~·o~w,7
    484392003     Texas   Tarrant         72.5      74.8    l~Q:711!i',     0.29      1.71     0.27        0.38   1.71
    482011039
    482010024
                  Texas

                  Texas
                          Harris

                          Harris
                                          71.8
                                          70.4
                                                    73.5
                                                    72.8
                                                           a  0.29
                                                                          l,-O!IJ ~
                                                                            0.34
                                                                                      4 .72
                                                                                      3,06
                                                                                              tt0-1i1! ·0:ai:.'. 0.58
                                                                                               0.50
                                                                                                      11

                                                                                                           0.38   0.20
    ~81210034     Texas   Denton          69.7      72.0      0.58          0.23      1.92     0.33        0.24   1.23
    fl-82011034   Texas   Harris          70.8      71.6      0.54          0.51      3.38     0.39        0.63   0.68


    As can be seen in this example, should the significant contribution threshold be raised from 1%
    of NAAQS (0.70 ppb) to a greater than 1.0 ppb limit, Arkansas, Illinois, Mississippi, and Missouri
    would all have their contribution linkages broken to all six monitors and the only state linked to
    the monitor with the highest design value (Brazoria) would be Louisiana, with significant
    contribution (3.80 ppb) greater than all other 1% linked states combined (3.68 ppb).

    9.5 PROPORTIONAL CONTROL BY CONTRIBUTION {"RED LINES")

    In EPA's March 2018 memorandum, the agency also recognizes that consideration can be given
    to states based on their relative significant impact to downwind air quality monitors compared
    to other significant contributing states and whether the contribution values are sufficiently
    different enough that each state should be given a proportional responsibility for assisting in
    downwind attainment. l)nder an analysis like this, reductions should be allocated in proportion
    to the size of their contribution to downwind non attainment.

    Using the Harford, MD (240251001) monitor and the OSAT-derived significant contribution
    results from the 4km modeling from Table 8•5, we see the following calculations based on the
    required 0.2 ppb reduction necessary for this monitor to demonstrate attainment with the
    2015 ozone NAAQS.

    In the example for Harford, each significantly contributing (based on 1% NAAQS) upwind State
    must (1) achieve less than 0.70 ppb significant contribution or (2) the monitor must achieve


C   June 2018                                       40
            Case: 23-3216       Document: 32-3         Filed: 06/16/2023     Page: 6

ALPINE
GEOPHYSICS                                                         Final Technical Support Document


attainment (70.9 pbb). From these assumptions, the reduction necessary for attainment is 0.2
ppb from 71.1 ppb 2023 base case average design value.
                                                                                                      C
Table 9-5. Proportional contribution and reductions associated with significantly contributing
upwind states to Harford, MD (240251001) monitor in 4km modeling domain.

                                           Required
                Relative Contribution      Reduction
 Region           ppb           %             ppb
 VA/DC            3.92         22%            0.04
 OH               3.02         17%            0.03
 PA               2.70         15%            0.03
 WV               2.52         14%            0.03
 KY               2.07         12%            0.02
 IN               1.81         10%            0.02
 IL               1.05         6%             0.01
 TX               0.90         5%             0.01
 Total            17.99       100%            0.20

Using this monitor as an example, we can see that as a result of the proportional reduction
requirement associated with the relative significant contribution from each upwind state, a
range of 0.04 ppb (from the Virginia/DC OSAT region) to a 0.01 ppb reduction (from Illinois and
Texas) would be calculated using this method. From these results, each upwind state would
                                                                                                      Q
then need to craft a GNS revision to generate reductions associated with this proportional
amount.

Similarly, using the Brazoria, TX (480391004) monitor and the OSAT/APCA-derived significant
contribution results from EPA's 12km modeling (Tsirigotis, 2018), we see the following
calculations (Table 9-6) based on the required 3.1 ppb reduction necessary for this monitor to
demonstrate attainment with the 2015 ozone NAAQS.

Table 9-6. Proportional contribution and reductions associated with significantly contributing
upwind states to Brazoria, TX (480391004) monitor in 12km modeling domain.

                                           Required
                Relative Contribution      Reduction
 Region           Ppb           %            ppb
 LA               3.80        51%             1.57
 IL               1.00        13%             0.41
 AR               0.90        12%             0.37
 OK               0.90        12%             0.37
 MO               0.88        12%             0.36
 Total            7.48        100%            3.10


June 2018                                     41
                                                                                                      C
                    Case: 23-3216        Document: 32-3        Filed: 06/16/2023        Page: 7

    ALPINE
    GEOPHYSICS                                                               Final Technical Support Document


C   In this example, each significantly contributing (again based on 1% NAAQS) upwind State must
    also (1) achieve the 0.70 ppb significant contribution or (2) the monitor must achieve
    attainment (70.9 pbb). From these assumptions, the reduction necessary for attainment is 3.1
    ppb from 74.0 ppb 2023 base case average design value.

    Using this monitor, we can see that as a result of the proportional reduction requirement
    associated with the relative significant contribution from each upwind state, a range of 3.80
    ppb (from Louisiana) to a 0.88 ppb reduction (from Missouri) would be calculated using this
    method. From these results, each upwind state would then need to craft a GNS revision to
    generate reductions associated with this proportional amount.

    9.6 ADRESSING MAINTENANCE WITH 10 YEAR EMISSION PROJECTION


    As an alternative to maintenance monitors being accorded the same weight as nonattainment
    monitors, states may choose to indicate that no additional control would be needed to address
    a maintenance monitor if the upwind state can show that either the monitor is likely to remain
    in attainment for a period of 10 years or that the upwind state's emissions will not increase for
    10 years after the attainment date. Such an approach is consistent with Section 175A of the
    Clean Air Act which provides:

                (a) Plan revision
                Each State which submits a request under section 7407 (d) of this title for redesignation
                of a nonattainment area for any air pollutant as an area which has attained the national
                primary ambient air quality standard for that air pollutant shall also submit a revision of
                the applicable State implementation plan to provide for the maintenance of the national
                primary ambient air quality standard for such air pollutant in the area concerned for at
                least 10 years after the redesignation. The plan shall contain such additional measures, if
                any, as may be necessary to ensure such maintenance.

    It is also consistent with the John Calcagni memorandum of September 4, 1992 (Calcagni,
    1992), entitled "Procedures for Processing Requests to Redesignate Areas to Attainment",
    which contains the following statement on page 9:

                 '~ State may generally demonstrate maintenance of the NAAQS by either showing that
                future emissions of a pollutant or its precursors will not exceed the level of the
                attainment inventory, or by modeling to show that the future mix of source and emission
                rates will not cause a violation of the NAAQS. Under the Clean Air Act, many areas are
                required to submit modeled attainment demonstrations to show that proposed
                reductions in emissions will be sufficient to attain the applicable NAAQS. For these areas,
                 the maintenance demonstration should be based upon the same level of modeling. In
                 areas where no such modeling was required, the State should be able to rely on the
                 attainment inventory approach. In both instances, the demonstration should be for a
                period of 10 years following the redesignation. "
C   June 2018                                           42
                Case: 23-3216             Document: 32-3                Filed: 06/16/2023              Page: 8

ALPINE
GEOPHYSICS                                                                                Final Technical Support Document


Using the Harford, MD (240251001) monitor as an example, assuming previous steps and
determining that this monitor would now be considered a maintenance monitor using the EPA
                                                                                                                             C
methods, we would look at the upwind states that were determined to contribute significantly
to this receptor in the 2023 model simulation.

As seen in Table 9-7, any of the following linked states may then make the claim that as their
emissions are projected to decrease over a ten year period (the following example is illustrative
in nature and uses a twelve year trend based on EPA's 2023en modeling platform summaries 12)
and would demonstrate maintenance of the NAAQS by showing that their future emissions of a
pollutant or its precursors will not exceed the level of the attainment inventory.

Table 9-7. Emission trend of annual anthropogenic NOx emissions (tons) for 1% linked states
to Harford, MD monitor.


                                                Annual Anthropogenic NOx Emissions
State                               2011 (Tons)          2023 (Tons)       Change (Tons)                    Change (%)
District of Columbia                      9,404                4,569               -4,834                        -51%
Illinois                                506,607             293,450             -213,156                         -42%
Indiana                                 444,421             243,954             -200,467                         -45%
Kentucky                                327,403             171,194             -156,209                         -48%
Michigan                                443,936             228,242             -215,694                         -49%
Ohio                                    546,547             252,828             -293,719                         -54%
Pennsylvania                            562,366             293,048             -269,318                         -48%
lfexas                                1,277,432             869,949             -407,482                         -32%
Virginia                                313,848             161,677             -152,171                         -48%
West Virginia                           174,219             136,333              -37,886                         -22%




12
  ftp:f/ftp.epa.gov/Emlslnventory/201lv6/v3platform/reports/2011en_and_2023en/2023en_cb6v2_v6_11Lstate_sector_totals.xlsx
June 2018                                                        43
                                                                                                                             (_
                Case: 23-3216      Document: 32-3        Filed: 06/16/2023       Page: 9

    ALPINE
    GEOPHYSICS                                                        Final Technical Support Document



C   10.0 REFERENCES

    Abt. 2014. Modeled Attainment Test Software - Users Manual. Abt Associates Inc., Bethesda,
            MD. April. (http://www.epa.gov/ttn/scram/guidance/guide/MATS_2-6-1_manual.pdf).
    Alpine. 2017a. "Good Neighbor" Modeling for the Kentucky 2008 8-Hour Ozone State
            Implementation Plan - Final Modeling Protocol. Alpine Geophysics, LLC. October.
    Alpine. 2017b. "Good Neighbor'' Modeling for the Kentucky 2008 8-Hour Ozone State
            Implementation Plan - Final Modeling Report. Alpine Geophysics, LLC. November.
    Alpine. 2018a. Midwest Ozone Group 2011 WRF Model Application and Performance
            Evaluation Report. Alpine Geophysics, LLC. February.
    Alpine. 2018b. Ozone Model Performance Evaluation of MOG 4km Modeling Domains. Alpine
            Geophysics, LLC. June.
    Arnold, J.R., R.L. Dennis, and G.S. Tonnesen. 2003. "Diagnostic Evaluation of Numerical Air
            Quality Models with Specialized Ambient Observations: Testing the Community
            Multiscale Air Quality Modeling System (CMAQ) at Selected SOS 95 Ground Sites",
            Atmos. Environ., Vol. 37, pp. 1185-1198.
    Arnold, J.R.; R.L. Dennis, and G.S. Tonnesen. 1998. Advanced techniques for evaluating
            Eulerian air quality models: background and methodology. In: Preprints of the 10th Joint
            Conference on the Applications of Air Pollution Meteorology with the Air & Waste
            Management Association, January, Phoenix, Arizona. American Meteorological Society,
            Boston, Massachusetts, paper no. 1.1, pp. 1-5.
    Arunachalam, S. 2009. Peer Review of Source Apportionment Tools in CAMx and CMAQ.
         · University of North Carolina Institute for the Environment, Chapel Hill, NC. August 31.
            (http://www.epa.gov/scramOOl/reports/SourceApportionmentPeerReview.pdf).
    Boylan, J. W. 2004. "Calculating Statistics: Concentration Related Performance Goals", paper
            presented at the EPA PM Model Performance Workshop, Chapel Hill, NC. 11 February.
    Boylan, J. W. (May 4, 2018). Georgia EPD Comments on EPA's March 27, 2018 Interstate
            Transport Memo [Memorandum]. Air Protection Branch, Georgia EPD.
    Byun, D. W ., and J.K.S. Ching. 1999. "Science Algorithms of the EPA Models-3 Community
            Multiscale Air Quality (CMAQ) Modeling System", EPA/600/R-99/030.
    Calcagni. J. (September 4, 1992). Procedures for Processing Requests to Redesignate Areas to
            Attainment [Memorandum]. Research Triangle Park, NC: U.S. EPA, Office of Air Quality
             Planning and Standards. Retrieved from
             https://www.epa.gov/sites/production/files/2016-03/documents/calcagni_memo_-
            _procedures_for_ processing_requests_to_redesignate_areas_to_attainment_090492.p
             df
    Carter, W.P.L. 1999. Documentation of the SAPRC-99 Chemical Mechanism for voe Reactivity
             Assessment, Draft report to the California Air Resources Board, Contracts 92-329 and
             95-308, 9/13/99.
    Coats, C.J. 1995. Sparse Matrix Operator Kernel Emissions (SMOKE) Modeling System, MCNC
             Environmental Programs, Research Triangle Park, NC.
    Colella, P., and P.R. Woodward. 1984. The Piecewise Parabolic Method (PPM) for Gas-
             dynamical Simulations. J. Comp. Phys., 54, 174201.
C   June 2018                                      44
            Case: 23-3216     Document: 32-3        Filed: 06/16/2023      Page: 10

ALPINE
GEOPHYSICS                                                        Final Technical Support Document


Emery, C., E. Tai, and G. Yarwood. 2001. "Enhanced Meteorological Modeling and                       (
       Performance Evaluation for Two Texas Episodes", report to the Texas Natural Resources
       Conservation Commission, prepared by ENVIRON, International Corp, Novato, CA.
Emery, C.A., E. Tai, E., R. E. Morris, G. Yarwood. 2009a. Reducing Vertical Transport Over
       Complex Terrain in CMAQ and CAMx; AWMA Guideline on Air Quality Models
       Conference, Raleigh, NC, October 26-30, 2009.
Emery, C.A., E. Tai, R.E. Morris, G. Yarwood. 2009b. Reducing Vertical Transport Over Complex
       Terrain in Photochemical Grid Models; 8th Annual CMAS Conference, Chapel Hill, NC,
       October 19-21, 2009.
Emery, C., E. Tai, G. Yarwood and R. Morris. 2011. Investigation into approaches to reduce
       excessive vertical transport over complex terrain in a regional photochemical grid
       model. Atmos. Env., Vol. 45, Issue 39, December 2011, pp. 7341-7351.
      -(http://www.sciencedirect.com/science/article/pii/S1352231011007965).
ENVIRON and UCR. 2004. "Modeling Protocol for the CENRAP 2002 Annual Emissions and Air
       Quality Modeling." ENVIRON International Corporation and University of California at
       Riverside. November.
ENVIRON and Alpine. 2005. CONCEPT Emissions Modeling User's Guide. ENVIRON
       International Corporation, Novato, CA. Alpine Geophysics, LLC, Arvada, CO. May 27
       (http://www.ladco.org/reports/rpo/emissions/new_emissions_model_concept_introdu
       ction_alpine_environ.pdf)
ENVIRON. 2015. User's Guide Comprehensive Air-quality Model with extensions Version 6.3.
       ENVIRON International Corporation, Novato, CA. March.
       (http://www.camx.com/files/camxusersguide_v6-3. pdf).
EPA. 1991. "Guidance for Regulatory Application of the Urban Airshed Model (UAM), 11 0ffice of
       Air Quality Planning and Standards, U.S. Environmental Protection Agency, Research
       Triangle Park, N.C.
EPA. 1999. "Draft Guidance on the Use of Models and Other Analyses in Attainment
       Demonstrations for the 8-hr Ozone NAAQS". Draft (May 1999), U.S. Environmental
       Protection Agency, Office of Air Quality Planning and Standards, Research Triangle Park,
       N.C
EPA. 2001. "Guidance Demonstrating Attainment Air Quality Goals for PM2.5 and Regional
       Haze". Draft Final (17 February 2005), U.S. Environmental Protection Agency,
       Atmospheric Sciences Modeling Division, Research Triangle Park, N.C.
EPA. 2003a. A Conceptual Model to Adjust Fugitive Oust Emissions to Account for Near Source
       Particle Removal in Grid Model Applications, prepared by Tom Pace, U.S. EPA, August.
       http://www.epa.gov/ttn/chief/emch/invent/statusfugdustemissions 082203.pdf.
EPA. 2003b. National Emission Inventory QA and Augmentation Memo, prepared by Anne
       Pope, U.S. EPA, June.
       http://www.epa.gov/ttn/chief/emch/invent/gaaugmementationmemo 99nei 60603.p
       df
EPA. 2005a. Guidance on the Use of Models and Other Analyses in Attainment Demonstrations
       for the 8•hr Ozone NAAQS -- Final. U.S. Environmental Protection Agency, Atmospheric
       Sciences Modeling Division, Research Triangle Park, N.C. October.


June 2018                                     45
                                                                                                     C
                  Case: 23-3216   Document: 32-3        Filed: 06/16/2023       Page: 11

    ALPINE
    GEOPHYSICS                                                        Final Technical Support Document


(   EPA. 2005b. Technical Support Document for the Final Clean Air Interstate Rule -Air Quality
           Modeling. U.S. Environmental Protection Agency, Office of Air Quality and Planning
           Standards, Research Triangle Park, North Carolina, 27711. March.
    EPA. 2005c. "Regional Haze Regulations and Guidelines for Best Available Technology (BART)
           Determinations". Fed. Reg./Vol. 70, No. 128/Wed. July, Rules and Regulations, pp.
           39104-39172. 40 CFR Part Sl, FRL-7925-9, RIN AJ31.
    EPA. 2007. Guidance on the Use of Models and Other Analyses for Demonstrating Attainment
           of Air Quality Goals for Ozone, PM2.S and Regional Haze. U.S. Environmental Protection
           Agency, Research Triangle Park, NC. EPA-454/B-07-002. April.
           (http://www.epa.gov/ttn/scram/guidance/guide/final-03-pm-rh-guidance.pdf).
    EPA. 2010. Technical Support Document for the Transport Rule. Docket ID No. EPA-HQ-OAR-
           2009-0491. Air Quality Modeling. U.S. Environmental Protection Agency, Office of Pair
           Quality Planning and Standards, Air Quality Assessment Division, Research Triangle Park,
           NC. June.
    EPA. 2014a. Motor Vehicle Emissions Simulator (MOVES) - User Guide for MOVES2014.
           Assessment and Standards Division, Office of Transportation and Air Quality, U.S.
           Environmental Protection Agency. (EPA-420-B-14-055). July.
           (http://www.epa.gov/o ms/models/moves/documents/420b 14055.pdf).
    EPA. 2014b. Motor Vehicle Emissions Simulator (MOVES) -MOVES2014 User Interface Manual.
           Assessment and Standards Division, Office of Transportation and Air Quality, U.S.
           Environmental Protection Agency. (EPA-420-B-14-067). July.
           (http://www.e pa .gov/oms/models/moves/documents/420b 14057. pdf).
0   EPA. 2014c. Motor Vehicle Emissions Simulator (MOVES) -MOVES2014 Software Design
           Reference Manual. Assessment and Standards Division, Office of Transportation and Air
           Quality, U.S. Environmental Protection Agency. (EPA-420-B-14-058). December.
           (http://www.epa.gov/oms/models/moves/documents/420b14056.pdf}.
    EPA. 2014d. Meteorological Model Performance for Annual 2011 WRF v3.4 Simulation, U.S.
           Environmental Protection Agency. November 2014.
    EPA. 2014e. Draft Modeling Guidance for Demonstrating Attainment of Air Quality Goals for
           Ozone, PM2.5, and Regional Haze, U.S. Environmental Protection Agency. December
                2014.
    EPA. 2015b. Air Quality Modeling Technical Support Document for the 2008 Ozone NAAQS
          Transport Assessment. U.S. Environmental Protection Agency, Office of Air Quality
           Planning and Standards. January.
           (http://www.epa.gov/airtransport/03TransportAQModelingTSD.pdf}.
    EPA. 2016a. Technical Support Document (TSD) Preparation of Emissions Inventories for the
          Version 6.3, 2011 Emissions Modeling Platform. U.S. Environmental Protection Agency.
          August 2016.
    EPA. 2016b. Air Quality Modeling Technical Support Document for the 2015 Ozone NAAQS
           Preliminary Interstate Transport Assessment. U.S. Environmental Prot ection Agency,
           Office of Air Quality Planning and Standards. December 2016.
    EPA. 2017a. Technical Support Document (TSO) Additional Updates to Emissions Inventories
           for the Version 6.3, 2011 Emissions Modeling Platform for the Year 2023. U.S.

C          Environmental Protection Agency, Office of Air Quality Planning and Standards. October
    June 2018                                     46
             Case: 23-3216     Document: 32-3        Filed: 06/16/2023       Page: 12

ALPINE
GEOPHYSICS                                                          Final Technical Support Document


        2017. https://www.epa.gov/sites/production/files/2017-
        11/documents/2011v6.3_2023en_update_emismod_tsd_oct2017.pdf
                                                                                                       C
EPA. 2017b. Use of Photochemical Grid Models for Single-Source Ozone and secondary PM2.5
        impacts for Permit Program Related Assessments and for NAAQS Attainment
        Demonstrations for Ozone, PM2.5 and Regional Haze. Memorandum from Tyler Fox,
        U.S. Environmental Protection Agency, Office of Air Quality Planning and Standards.
        August 2017. https://www3.epa.gov/ttn/scram/guidance/clarification/20170.804-
        Photochemical_Grid_Model_Clarification_Memo.pdf
Gery, M. W., G.Z. Whitten, J.P. Killus, and M.C. Dodge. 1989. A photochemical mechanism for
        urban and regional-scale computer modeling. J. Geophys. Res. 94, 12925-12956.
Gilliam, R. 2010. Evaluation of Multi-Annual CONUS 12 km WRF Simulations. U.S.
        Environmental Protection Agency, NREL, Atmospheric Modeling and Analysis Division.
        (http://epa.gov/ scram001/ adhoc/gilliam2010. pdf).
Kemball-Cook, S., Y. Jia, C. Emery, R. Morris, Z. Wang and G. Tonnesen. 2004. Comparison of
        CENRAP, VISTAS and WRAP 36 km MMS Model Runs for 2002, Task 3: Meteorological
        Gatekeeper Report.
        http://pah.cert.ucr.edu/agm/cenrap/ppt files/CENRAP VISTAS WRAP 2002 36km M
        MS eval.ppt. December.
Michalakes, J., J. Dudhia, D. Gill, J. Klemp and W. Skamarock. 1998. Design of a Next-
        Generation Regional Weather Research and Forecast Model. Mesoscale and Microscale
        Meteorological Division, National Center for Atmospheric Research, Boulder, CO.
        (http://www.mcs.anl.gov/~michalak/ecmwf98/fina1.html).
Mfchalakes, J., S. Chen, J. Dudhia, L. Hart, J. Klemp, J. Middlecoff and W. Skamarock. 2001.
        Development of a Next-Generation Regional Weather Research and Forecast Model.
                                                                                                       0
        Developments in Teracomputing: Proceedings of the 9th ECMWF Workshop on the Use
        of High Performance Computing in Meteorology. Eds. Walter Zwieflhofer and Norbet
        Kreitz. World Scientific, Singapore. Pp. 269-276.
        (http://www.mmm.ucar.edu/mmS/mpp/ecmwfOl.htm ).
Michalakes, J., J. Dudhia, D. Gill, T. Henderson, J. Klemp, W. Skamarock and W. Wang. 2004.
        The Weather Research and Forecast Model: Software Architecture and Performance.
        Proceedings of the 11th ECMWF Workshop on the Use of High Performance Computing
        in Meteorology. October 25•29, 2005, Reading UK. Ed. George Mozdzynski.
        (http://wrf-model.org/wrfadmin/docs/ecmwf 2004.pdf).
Moore, C.T. et al. 2011. "Deterministic and Empirical Assessment of Smoke's Contribution to
        Ozone - Final Report. Western Governors' Association, Denver, CO.
        ( https://wraptools.org/pdf/11-1-6-6_fi nal_report_DEASC03_project.pdf)
Morris, R. E. and T. C. Myers. 1990. "User's Guide for the Urban Airshed Model. Volume I:
         User's Manual for UAM (CB-IV)" prepared for the U.S. Environmental Protection Agency
        (EPA-450/4~90-007a), Systems Applications International, San Rafael, CA.
Page. S. (October 27, 2017). Supplemental Information an the Interstate Transport State
        Implementation Plan Submissions for the 2008 Ozane national Ambient Air Quality
        Standards under Clean Air Act Section 110(a}(2)(D)(i)(I} [Memorandum]. Research
        Triangle Park, NC: U.S. EPA, Office of Air Quality Planning and Standards. Retrieved from


June 20 18                                     47
                                                                                                       C
                Case: 23-3216       Document: 32-3         Filed: 06/16/2023       Page: 13

    ALPINE
    GEOPHYSICS                                                           Final Technical Support Document



C           https://www.epa.gov/sites/production/files/2017-
            10/documents/fina1_2008_o3_naaqs_transport_memo_10-27-17b.pdf
    Simon, H., K. Baker and S. Phillips. 2012. Compilations and Interpretation of Photochemical
            Model Performance Statistics Published between 2006 and 2012. Atmos. Env. 61 {2012}
            124-139. December.
            (http://www.sciencedirect.com/science/article/pii/S135223101200684X).
    Skamarock, W. C. 2004. Evaluating Mesoscale NWP Models Using Kinetic Energy Spectra.
            Mon. Wea. Rev., Volume 132, pp. 3019-3032. December.
            (http://www.mmm.ucar.edu/individual/skamarock/spectra mwr 2004.pdf).
    Skamarock, W. C., J.B. Klemp, J. Dudhia, D. 0. Gill, D. M. Barker, W. Wang and J. G. Powers.
            2005. A Description of the Advanced Research WRF Version 2. National Center for
            Atmospheric Research (NCAR), Boulder, CO. June.
            (http://www.mmm.ucar.edu/wrf/users/docs/arw v2.pdf)
    Skamarock, W. C. 2006. Positive-Definite and Monotonic limiters for Unrestricted-Time-Step
            Transport Schemes. Mon. Wea. Rev., Volume 134, pp. 2241-2242. June.
            (http://www.mmm.ucar.edu/individual/skamarock/advect3d_mwr.pdf).
    Sullivan D.C., Raffuse S.M., Pryden D.A., Craig K.J., Reid S.B., Wheeler N.J.M., Chinkin LR., Larkin
            N.K., Solomon R., and Strand T. (2008) Development and applications of systems for
            modeling emissions and smoke from fires: the BlueSky smoke modeling framework and
            SMARTFIRE: 17th International Emissions Inventory Conference, Portland, OR, June 2-5.
            Available at: http://www.epa.gov/ttn/chief/conferences.html.
    Tsirigotis, P. (March 27, 2018). /n/ormation on the Interstate Transport State Implementation
0           Plan Submissions far the 2015 Ozone National Ambient Air Quality Standards under
            Clean Air Act Section 110(a)(2)(D)(i)(I) [Memorandum]. Research Triangle Park, NC: U.S.
            EPA, Office of Air Quality Planning and Standards. Retrieved from
            https://www.epa.gov/sites/production/files/2018-
            03/documents/transport_memo_03_ 27_18_1.pdf
    UNC. 2008. Atmospheric Model Evaluation Tool (AMET) User's Guide. Institute for the
            Environment, University of North Carolina at Chapel Hill. May 30.
            (https://www.cmascenter.org/amet/documentation/1.1/AMET_ Users_Guide_Vl.1.pdf).
    UNC and ENVIRON, 2014a. Three-State Air Quality Modeling Study (3SAQS) - Draft Modeling
            Protocol 2011 Emissions & Air Quality Modeling. University of North Carolina at Chapel
            Hill and ENVIRON International Corporation, Novato, CA. July.
            (http://vibe.cira.colostate.edu/wiki/Attachments/Modeling/3SAQS_2011_Modeling_Pr
            otocol_Finalv2.pdf}.
    UNC. 2015. SMOKE v3.6.5 User's Manual. University of North Carolina at Chapel Hill, Institute
            for the Environment.
            (https://www.cmascenter.org/smoke/documentation/3.6.5/html/).
    UNC and ENVIRON, 2015a. Three-State Air Quality Modeling Study (3SAQS)-Weather
             Research Forecast 2011 Meteorological Model Application/Evaluation. University of
             North Carolina at Chapel Hill and ENVIRON International Corporation, Novato, CA.
             March 5.
             { http://vibe.ci ra .colostate.ed u/wiki/Attach ments/Model ing/3SAQS_2011_WRF_MP E_vO

C   June 2018
             5Mar2015.pdf).

                                                     48
            Case: 23-3216     Document: 32-3        Filed: 06/16/2023       Page: 14

ALPINE
GEOPHYSICS                                                         Final Technical Support Document


Wesely, M.L. 1989. Parameterization of Surface Resistances to Gaseous Dry Deposition in               (
        Regional-Scale Numerical Models. Atmos. Environ., 23, 1293-1304.
Xiu, A. and J.E. Pleim. 2000. Development of a land surface model. Part I: application in a
        mesoscale meteorology model. J. App. Met., 40, pp. 192-209.
Yantosca, B. 2004. GEOS-CHEMv7-01-02 User's Guide, Atmospheric Chemistry Modeling Group,
        Harvard University, Cambridge, MA.
Yarwood, G., J. Jung, G. Z. Whitten, G. Heo, J. Mellberg and M. Estes. 2010. Updates to the
        Carbon Bond Mechanism for Version 6 (CB6). 2010 CMAS Conference, Chapel Hill, NC.
        October.
        (http://www.cmascenter.org/conference/2010/abstracts/emery_updates_carbon_2010
        .pdf)
Zhang, L., S. Gong, J. Padro, L. Barrie. 2001. A size. segregated particle dry deposition scheme
        for an atmospheric aerosol module. Atmos. Environ., 35, 549-560.
Zhang, L., J. R. Brook, and R. Vet. 2003. A revised parameterization for gaseous dry deposition
        in air-quality models. Atmos. Chem. Phys., 3, 2067-2082.




June 2018                                     49
                Case: 23-3216   Document: 32-3      Filed: 06/16/2023    Page: 15

    ALPINE
    _
    G_E_O
        _P_ H_YS
               _ I_
                  C_S___________________
                                       Fl_
                                         na_l_
                                             Te_c_hnl~~I support Document



C   Appendix A
    4km Modeling Results for Mid-Atlantic and Lake Michigan·Domains Compared To EPA 12km
         "No Water'' Design Value Calculations from March 2018 Memorandum




C
    June 2018
                                     Case: 23-3216        Document: 32-3        Filed: 06/16/2023          Page: 16
ALPINE
GEOPHYSICS                                                                                                                      Final Technical Support Document


 Table A-1. 4km and EPA "No Water'' 12km Design Value Results for Monitors Located in 4km Mid-Atlantic Modeling Domain.
                                                                                             Ozone Design Value (ppb)
                                                                                                                              ._~. . ... ~- .·
                                                                                                                                   '-:"
                                                                      EPA "No Water" 121un Modeling ~:: :: ! .=. 22•                ;

                                                               DVb                                                                                        2014-
 Monitor        State               County                   (2011)   DVf (2023) Ave   DVf (2023) Max      DVf (2023) Ave     DVf (2023) Max              2016DV
 90010017       Connecticut          Fairfield                 80.3             68.9                71.2               69.2                       71.5      80
 90011123       Connecticut          Fairfield                 81.3             66.4                67.8               65.5                       66.8      78
 90013007       Connecticut          Fairfield                 84.3             71.0                75.0               69.7                       73.6      81
                                                                                                                                              -
 90019003       Connecticut          Fairfield                 83.7             73.0               75.9                69.9                       72.7      83
 90031003       Connecticut          Hartford                  73.7             60.7                61.7               61.4                       62.7      74
 90050005       Connecticut         Litchfield                 70.3             57.2               57.8                57.0                       57.5      72
 90070007       Connecticut         Middlesex                  79.3             64.7               66.1                63.9                       65.2      79
 90090027       Connecticut         New Haven                  74.3             61.9               65.0                63.2                       66.3      76
                                                                                         -                                                -
 90099002       Connecticut         New Haven                  85.7             69.9               72.6                70.3                       73.0      76
 90110124       Connecticut         New London                 80.3             67.3               70.4                68.2                       71.3     72
 90131001       Connecticut         Tolland                    75.3             61.4               62.8                61.4                       62.7     73
 100010002      Delaware            Kent                       74.3             57.6               60.5                58.2                       61.1      66
 100031007      Delaware            New Castle                 76.3             59.2               62.0                59.3                       62.1     68
 100031010      Delaware            Newcastle                  78.0             61.2               61.2                59.5                       61.6     74
 100031013      Delaware            Newcastle                  77.7             60.8               62.6                61.6                       63.4     70
 100051002      Delaware            Sussex                     77.3             59.7               62.6                60.4                       63.3     65
 100051003      Delaware            Sussex                     77.7             61.1               63.7                63.2                       65.9     69
                District Of         District of
 110010041      Columbia            Columbia                   76.0             58.7               61.7                61.8                       '65.0    N/A
                District Of         District of
 110010043      Columbia            Columbia                   80.7             62.3               64.8                65.7                       68.4     70
 240030014      Maryland            Anne Arundel               83.0             63.4               66.4                65.1                       68.2     N/A
 240051007      Maryland            Baltimore                  79.0             63.9               66.3                62.0                       64.3     72
 240053001      Maryland            Baltimore                  80.7             65.3               67.9                64.0                       66.7     72
 240090011      Maryland            Calvert                    79.7             63.2               65.9                63.7                       66.3     69

June 2018                                                              A-1




        0                                                               0
ALPINc
        -~                           Case: 23-3216       Document: 32-3        Filed: 06/16/2023          Page: 17
                                                                                                                                                n
GEOPHYSICS                                                                                                                    Final Technical Support Document



 Table A-1. 4km and EPA "No Water'' 12km Design Value Results for Monitors Located in 4km Mid-Atlantic Modeling Domain.
                                                                                           Ozone Design Value (ppb)
              I
                                                                      EPA "Ne Water" 12km Modeling        ~             Meir ···    ·~·fnt"°"
              !                                                DVb                                                                              2014-
 Monitor          State             County                   (2011)   DVf {2023) Ave     DVf (2023) Max    DVf (2023) Ave   DVf (2023) Max      2016OV
 240130001        Maryland          Carroll                    76.3             58.8               60.9              59.4              61.5       68
 240150003        Maryland          Cecil                      83.0             64.5               66.8              65.0              67.3       76
 240170010        Maryland          Charles                    79.0             61.6               64.7              63.3              66.3       70
 240199991        Maryland           Dorchester                75.0             59.4               59.4              59.4              59.4       66
 240210037        Maryland           Frederick                 76.3             59.6               61.8              60.8              63.0       67
 240251001        Maryland           Harford                   90.0             70.9               73.3              71.l              13.S       73
 240259001        Maryland           Harford                   79.3             62.2               64.3              62.3              64.4       73
 240290002        Maryland           Kent                      78.7             61.2               63.7              61.1              63.7       70
 240313001        Maryland           Montgomery                75.7             60.0               61.0              59.8              60.8       68
 240330030        Maryland           Prince George's           79.0             60.5               62.8              61.3              63.7       69
 240338003        Marvland           Prince George's           82.3             63.2               66.8              64.3              67.9       71
 240339991        Maryland           Prince George's           80.0             61.0               61.0              61.4              61.4       68
 245100054        Maryland           Baltimore (City)          73.7             59.4 .             60.4              58.9              60.0       69
 250051002        Massachusetts      Bristol                   74.0             61.2               61.2              61.3              61.3      N/A
 250070001        Massachusetts      Dukes                     77.0             64.1               66.6              65.0              67.5      N/A
 250130008        Massachusetts      Hampden                   73.7             59.3               59.5              60.2              60.5       68
 340010006        New Jersey        Atlantic                   74.3             58.6 1             60.0              59.5              60.8       64
 340030006        New Jersey         Bergen                    77.0             64.1               65.0              64.8              65.7       74
 340071001        New Jersey        Camden                     82.7             66.3               69.8              65.5              68.9       69
 340110007        New Jersey        Cumberland                 72.0             57.0               59.4              56.7              59.1       68
 340130003        New Jersey         Essex                     78.0             64.3               67.6              64.3              67.6       70
 340150002        New Jersey         Gloucester                84.3             68.2               70.4              68.8              71.0       74
 340170006        New Jersey         Hudson                    77.0             64.6               65.4              63.8              66.0       72
 340190001        New Jersey         Hunterdon                 78.0             62.0               63.6              60.8              62.3       72
 340210005        New Jersey         Mercer                    78.3             63.2               65.4              61.7              63.8       72
June 2018                                                              A-2
                                      Case: 23-3216       Document: 32-3        Filed: 06/16/2023          Page: 18
ALPtNE
GEOPHYSICS                                                                                                                     Final Technical Support Document


  Tabte A-1. 4km and EPA "No Water'' 12km Design Value Results for Monitors Located in 4km Mid-Atlantic Modeling Domain.
                                                                                            Ozone Design Value (ppb)
                                                                       EPA "No Water" 12km Modeling        S\H"~:e4kni·
                                                                                                           . ., ..,._ i-· .., ·-~   [!;~:
                                                                DVb                                                                             2014-
  Monitor        State               County                   (2011)   DVf (2023) Ave    DVf (2023) Ma,c    DVf (2023) Ave   DVf (2023) Ma,c   2016OV
 340219991       New Jersey          Mercer                     76.0            60.4               60.4               58.6             58.6       73
 340230011       New Jersey          Middlesex                  81.3            65.0               68.0               64.8             67.7       74
 340250005       New Jersey          Monmouth                   80.0            64.1               66.5               64.7             67.1       70
 340273001       New Jersey          Morris                     76.3            62.4               63.8               61.6             62.9       69
 340290006       New Jersey          Ocean                      82.0            65.8               68.2               64.1             66.4       73
 340315001       New Jersey          Passaic                    73.3            61.3               62.7               61.0             62.3       70
 340410007       New Jersey          Warren                     66.0            54.0               54.0               51.7             51.7       64
 360050133       New York            Bronx                      74.0            63.3               65.0               64.7             66.4       70
 360270007       New York            Dutchess                   72.0            58.6               60.2               56.8             58.4       68
 360610135       New York            New York                   73.3            64.2               66.5               61.5             63.7       69
 360715001       New York            Orange                     67.0            55 .3              56.9               54.9             57.0       66
 360790005       New York            Putnam                     70.0            58.4               59.2               56.7             57.5       68
 360810124       New York            Queens                     78.0            70.2 .             72.0               68.0             69.8       69
 360850067       New York            Richmond                   81.3            67.1               68.5               69.6             71.0       76
 360870005      New York             Rockland                   75.0            62.0               62.8               61.1             63.1       72
 361030002      New York             Suffolk                    83.3            74,0               75.5               70.7             72.1       72
 361030004      New York            I Suffolk                   78.0            65.2               66.9               64.5             66.2       72
 361030009      New York             Suffolk                    78.7            67.6               68.7               66.8             67.9      N/A
 361192004      New York             Westchester                75.3            63.8               64.4               64.4             64.9       74
 420110006      Pennsylvania         Berks                      71.7            56.2               58.8               55.7             58.3       66
 420110011      Pennsylvania         Berks                      76.3            58.9               61.0               59.9             62.0       71
 420170012      Pennsylvania         Bucks                      80.3            64.6               66.8               64.4             66.6       77
 420290100      Pennsylvania         Chester                    76.3            58.7               60.8               59.7             61.8       73
 420430401      Pennsylvania         Dauphin                    69.0            54.7               54.7               55.5             55.5       66
 420431100      Pennsylvania         Dauphin                    74.7            58.3               60.1               58.7             60.5       67
June 2018                                                              A-3




            0                                                            0                                                                     n
                                    Case: 23-3216        Document: 32-3        Filed: 06/16/2023        Page: 19                                                                  ()
a~YSICS
        ~
                                                                        0                                                                          Final Technical Support Document


 Table A-1. 4km and EPA "No Water'' 12km Design Value Results for Monitors Located in 4km Mid-Atlantic Modeling Domain.
                                                                                          Ozone Design Value {ppb)
                                                                      EPA "Ne Water" 12km Modelim:      t i ~....
                                                                                                        ,.
                                                                                                                    f ~   ·      - · - ·, ... : ,:,;,•.,,.."--,~.-- -
                                                                                                                                                              1.;._,...
                                                                                                                                                                          . •.•
                                                                                                                                                                           - •

                                                               OVb                                                                                                                 2014-
. Monitor       State               County                   (2011)   DVf {2023) Ave   DVf (2023} Max        DVf (2023) Ave                 OVf (2023) Max                        2016 DV
 420450002      Pennsylvania         Delaware                  75.7             60.3             62.1                         61.0                                        62.9      72
 420710007      Pennsylvania         Lancaster                 77.0             60.1             62.4                         60.7                                        63.0      69
 420710012      Pennsylvania         Lancaster                 78.0             60.2             63.3                         60.4                                        63.5      66
 420750100      Pennsylvania         Lebanon                   76.0             58.6             58.6                         58.8                                        58.8      71
 420770004      Pennsylvania         Lehigh                    76.0             59.5             61.1                         59.9                                        61.5      70
. 420890002     Pennsylvania         Monroe                    66.7             52.9             55.6                         52.5                                        55.1      65
 420910013      Pennsylvania         Montgomery                76.3             61.0             62.4                         61.3                                        62.6      72
 420950025      Pennsylvania         Northampton               76.0             58.5             60.6                         57.3                                        59.3      70
 420958000      Pennsylvania         Northampton               69.7             54.8             55.9                         54.7                                        55.8      69
 421010004      Pennsylvania         Philadelphia              66.0             53.9             57.1                         54.6                                        57.9      61
                                                                                                                                                  --
 421010024      Pennsylvania         Philadelphia              83.3             67.3             70.3                         68.0                                        71.0      77
 421011002      Pennsylvania         Philadelphia              80.0             64.7             64.7                         65.4                                        65.4     N/A
 421330008      Pennsylvania        York                       72.3             56.9             58.3                         58.3                                        59.7      66
 421330011      Pennsylvania        York                       74.3             58.0             60.1                         58.6                                        60.7      N/A
 440030002      Rhode Island         Kent                      73.7             60.4             60.7                         59.4                                        59.6      69
 440071010      Rhode Island         Providence                74.0             59.5             61.1                         59.7                                        61.3      66
 440090007      Rhode Island        Washington                 76.3             62.6             64.0                         62.8                                        64.2      68
 510130020      Virginia            Arlinlrton                 81.7             64.9             68.3                         65.9                                        69.4      72
 510330001      Virginia             Caroline                  71.7             56.0             57.6                         54.9                                        56.7     N/A
 510360002      Virginia             Charles                   75.7             59.4             62.0                         60.7                                        63.4      63
 510410004      Virginia             Chesterfield              72.0             56.8             59.2                         55.6                                        58.0      62
 510590030      Virginia             Fairfax                   82.3             65.1             68.1                         66.2                                        69.2      70
 510850003      Virginia             Hanover                   73.7             56.9             58.6                         55.1                                        56.8      62
 510870014      Virginia             Henrico                   75.0             58.8             61.2                         57.8                                        60.2     N/A
 511071005      Virginia             Loudoun                   73.0             57.8             59.4                         58.7                                        60.3      67
June 2018                                                              A-4
                                     Case: 23-3216       Document: 32-3             Filed: 06/16/2023        Page: 20
ALPfNE
GEOPHYSICS                                                                                                                               Final Technical Support Document



 Table A-1. 4km and EPA "No Water'' 12km Design Value Results for Monitors Located in 4km Mid-Atlantic Modeling Domain.
                                                                                               Ozone Design Value (ppb)
                                                                           EP,A "No Water" 12km Modelin1
                                                                                                1            I~ - . -   _}i ~~ ~ • ·•       .. ._
                                                                                                                                            ~.
                                                                                                                                                    .. .J   ~

                                                                                                                                                             ...;   ·-•
                                                                                                                                                                      ·.



 Monitor        State               County
                                                               DVb
                                                             (2011)        DVf (2023) Ave   DVf (2023) Max
                                                                                                                                     I
                                                                                                                DVf (2023) Ave I DVf (2023) Max
                                                                                                                                                                            2014-
                                                                                                                                                                           2016OV
 511530009      Virginia             Prince William            70.0                 56.2              57.8                    54.8                          56.4             65
 511790001      Virginia            Stafford                   73.0   ,'
                                                                                    57.1              59.4                    53.7                          55.9             63
 515100009      Virginia            Alexandria City            80.0                 63.4              65.8                    64.7                          67.2            N/A
 516500008      Virginia             Hampton City              74.0                 56.9              58.4                    54.9                          56.4             64
 518000004      Virginia            Suffolk City               71.3                 56.2              57.5                    56.4                          57.8             60




June 2018                                                                   A-5




        ('
                                                                             0                                                                                             n
        ,.....__
ALPll\i...
GEOPHYSICS
                                    Case: 23-3216        Document: 32-3
                                                                       n       Filed: 06/16/2023          Page: 21                                             ('\

                                                                                                                                  Final Technical Support Document



 Table A-2. 4km and EPA "No Water'' 12km Design Value Results for Monitors located in 4km Lake Michigan Modeling Domain.
                                                                                           Ozone Design Value (ppb)
               I
                   I



                                                               DVb
                                                                      EP.A "No Water" 12km Modeling ~              4kiii;
                                                                                                                            '.
                                                                                                                                          ~- --
                                                                                                                                 ' •• ,.._;4r . .
                                                                                                                                                        ~.'·
                                                                                                                                                                2014-
 Monitor               State        County                   (2011)   DVf {2023) Ave   DVf (2023) Max      DVf (2023} Ave   DVf (2023) Max                     2016 DV
 170310001             Illinois     Cook                       72.0            63.2              64.9                60.8                           62.5         69
 170310032             Illinois     Cook                       77.7            66.6              69.5                62.8                           65.5         70
 170310064             Illinois     Cook                       71.3            61.1              64.3                61.0                           64.1         N/A
 170310076             Illinois     Cook                       71.7            62.7              64.7                59.4                           60.6         69
 170311003             Illinois     Cook                       69.7            62.4              64.4                60.1                           62.1         69
 170311601             Illinois     Cook                       71.3            61.5              63.9                63.3                           65.7         69
 170314002             Illinois     Cook                       71.7            62.3              64.3                61.5                           63 .5        66
 170314007             Illinois     Cook                       65.7            58.0              60.0                55.5                           57.5         71
 170314201             Illinois     Cook                       75.7            66.8              68.8                58.8                           60.6         71
 170317002             Illinois     Cook                       76.0            66.8              70.3                59.1                           62.2         72
 170436001             Illinois     DuPage                     66.3            57.9              59.4                57.7                           59.2         68
 170890005             Illinois     Kane                       69.7            62.8              63.9                60.5                           61.7         68
 170971007             Illinois     Lake                       79.3            63.4              65.6                59.4                           61.4         73
 171110001             Illinois     McHenry                    69.7            61.8              62.9                59.5                           60.6         68
 171971011             Illinois     Will                       64.0            55.6              56.5                54.4                           55.2         64
 172012001             Illinois     Winnebago                  67.3            57.5              58.0                57.1                           57.7         68
 180390007             Indiana      Elkhart                    67.7            54.6              56.5                55.0                           56.9         61
 180890022             Indiana      Lake                       66.7            58.3              60.3                54.7                           56.6         67
 180890030             Indiana      Lake                       69.7            61.9              64.8                56.4                           59.1         N/A
 180892008             Indiana      Lake                       68.0            60.4              60.4 .              56.9                           58.6         65
 180910005             Indiana      LaPorte                    79.3            67.2              70.4                66.4                           69.5         N/A
 180910010             Indiana      LaPorte                    69.7             58.9             60.9                57.7                           59.7         63
 181270024             Indiana      Porter                     70.3             61.8             63.3                59.6                           61.1         69
 181270026             Indiana      Porter                     63.0             54.4             55.3                53.1                           53.9         66
 181410015             Indiana      St. Joseph                 69.3             56.9             59.9                56.8                           59.9         68
June 2018                                                              A-6
                                       Case: 23-3216     Document: 32-3            Filed: 06/16/2023                  Page: 22

a~Rvs1es                                                                                                                                            Final Technical Support Document



 Table A-2. 4km and EPA "No Water'' 12km Design Value Results for Monitors Located in 4km Lake Michigan Modeling Domain.
                                                                                        Ozone Design Value (ppb)
                                                                      EPA "No Water" 12km Modeling ltf::~~ L.:j ,f>~.:1·---.-:..~-....7 ";'.; ··-: i.-:~:·,.~..-c:s+ ~l_
                                                               DVb                                                                                                          2014-
 Monitor        State                  County                (2011}   DVf (2023} Ave          DVf (2023} Max            DVf (2023) Ave           DVf (2023) Max            2016DV
 181411007      Indiana                St. Joseph              64.0                 52.5                       52.5                    52.1                      52.1       N/A
                                                                                                   .   . ··-
 260050003      Michigan               Allegan                 82.7                 69.0         --            71.7                    70.3         --           73.1        75
 260190003      Michigan               Benzie                  73.0                 60.6                       62.3                    61.0 .                    62.7        69
 260210014      Michigan               Berrien                 79.7                 66.9                       68.8                    66.6                      68.5        74
 260270003      Michigan               Cass                    76.7                 62.0                       63.1                    61.6                      62.6        70
  260810020     Michigan               Kent                    73.0                 59.8                       61.4                    60.4                     62.0         69
  261010922     Michigan               Manistee                72.3                 60.5                       61.9                    59,8 I                   61.1         68
  261050007     Michigan               Mason                   73.3                 60.7                       62.1                   60.6                      62.0         70
I 261210039    Michigan                Muskegon                79.7                 65.8                       67.7                   66.1                      68.0         75
  261390005    Michigan                Ottawa                  76.0                 62.3                       64.0                   62.7                      64.4         70
  550290004    Wisconsin               Door                    75.7                 63.3                       65.2                   63.5                      65.5         72
  550590019    Wisconsin               Kenosha                 81.0                 64.8                       67.2                   59.2                      61.4         77
  550610002    Wisconsin               Kewaunee                75.0                 64.5                       67.1                   64.5                      67.1         69
  550710007    Wisconsin               Manitowoc               78.7                 67.6                       68.7                   68.3                      69.5         72
  550790010    Wisconsin           I   Milwaukee               69.7                 60.6                       62.6                   61.1                      63.2        64
  550790026    Wisconsin               Milwaukee               74.7                 66.5                       69.4                   66.0                      68.9        68
                                                                              -
  550790085    Wisconsin               Milwaukee               80.0                 71.2                       73.0                   67.4                      70.5        71
  550890008    Wisconsin               Ozaukee                 76.3                 67.2                       70.5                   64.9                      68.1        71
  550890009    Wisconsin               Ozaukee                 74.7                 63.6                       65.5                   63.8                      65.7        73
  551010017    Wisconsin               Racine                  77.7                 62.2                       64.8                   58.6                      61.1        N/A
 551170006     Wisconsin               Sheboygan               84.3                 72.8                       75.1                   71.7           -· -       74.0        79
 551330027     Wisconsin               Waukesha                66.7                 58.1                       60.1                   58.2                      60.3        66




June 2018                                                              A-7




                                                                        n                                                                                                  t)
                    Case: 23-3216     Document: 32-3       Filed: 06/16/2023      Page: 23

        ALPINE
        GEOPHYSICS                                                      Final Technical Su.Pport Document


(       Appendix B

        Midwest Ozone Group Comments on EPA's March 27, 2018 Memorandum Entitled
        "Information on the Interstate Transport State Implementation Plan Submissions for the 2015
        Ozone National Ambient Air Quality Standards Under the Clean Air Act Section
        110(a)(2)(D)(i)(I)", April 30, 2018




G




    (
        June 2018
             Case: 23-3216             Document: 32-3              Filed: 06/16/2023             Page: 24

ALPINE
GEOPHYSICS                                                                            Final Technlcal Support Document


MIDWEST OZONE GROUP COMMENTS ON EPA'S MARCH 27, 2018 MEMORANDUM ENTITLED
    "INFORMATION ON THE INTERSTATE TRANSPORT STATE IMPLEMENTATION PLAN
                                                                                                                               C
SUBMISSIONS FOR THE 2015 OZONE NATIONAL AMBIENT AIR QUALITY STANDARDS UNDER
                  THE CLEAN AIR ACT SECTION 110(a)(2)(D}(i)(l)"13

                                                    April 30, 2018

Submitted by email to: Norm Possiel (possiel.norm@epa.gov) and Elizabeth Palma
(palma.elizabeth@epa.gov)



         On March 27, 2018, EPA issued a memorandum entitled "Information on the Interstate
Transport State Implementation Plan Submissions for the 2015 Ozone National Ambient Air
quality Standards Under the Clean Air Act Section 110(a)(2)(D)(i)(I)". This memorandum offers
much needed guidance on how a state might develop or review its State Implementation Plan
(SIP) to address the interstate transport requirements of the Clean Air Act as stated in Section
110(a)(2)(D)(i)(I). The memorandum also provides a list of flexibilities in analytical approaches
for the developing a good neighbor SIP for further discussion between EPA and the states.
Significantly the memorandum acknowledges that it has received suggestions from not only
from states, but also stakeholders identifying specific approaches .that may merit further
consideration.

         The Midwest Ozone Group (MOG), as one of the stakeholders to have suggested
flexibilities for EPA to consider in the development of Good Neighbor SIP guidance, welcomes
the opportunity of this letter to acknowledge the March 27, 2018 guidance and to offer
additional proposals for your consideration suggestion. In doing so we will acknowledge the
Presidential memorandum dated April 12, 2018, which offers some extremely valuable
direction to several issues that have a direct impact on the development of approvable Good
Neighbor SIPs.

         MOG is an affiliation of companies, trade organizations, and associations that draw
upon their collective resources to seek solutions to the development of legally and technically
sound national ambient air quality management programs. 14 MOG's primary efforts are to

13 Questions or inquiries about these comments should be directed to David M. Flannery, Kathy G. Beckett, or Edward L
Kropp, Legal Counsel, Midwest Ozone Group, Steptoe & Johnson PLLC, 707 Virginia Street East, Charleston West Virginia 25301;
304-353-8000; dave.flannery@steptoe-lohnson.com and kathy.beckett@steptoe-johnson.com and skipp.kropp@steptoe•
lohnson.com respectively. These comments were prepared with the technical assistance of Alpine Geophysics, LLC.



14
   The members of and participants in the Midwest Ozone Group include: American Coalition for Clean Coal
Electricity, American Electric Power, American Forest & Paper Association, Ameren, Alcoa, Appalachian Region
Independent Power Producers Association (ARIPPA), Associated Electric Cooperative, Citizens Energy Group,
Council of Industrial Boiler Owners, Duke Energy, East Kentucky Power Cooperative, FirstEnergy, Indiana Energy
June 2018                                             B-1
                                                                                                                               (
                   Case: 23-3216             Document: 32-3    Filed: 06/16/2023       Page: 25

    ALPINE
    GEOPHYSICS                                                               Final Technical Support Document



C   work with policy makers in evaluating air quality policies by encouraging the use of sound
    science. MOG has been actively engaged in a variety of EPA issues and initiatives related to the
    development and implementation of air quality policy, including the development of transport
    rules, NAAQS standards, petitions under 176A and 126 of the Clean Air Act, implementation
    guidance, and the development of Good Neighbor state implementation plans. MOG members
    and participants operate a variety of emission sources including more than 75,000 MW of coal-
    fired and coal-refuse fired electric power generation in more than ten states.                 They are
    concerned about the development of technically unsubstantiated interstate air pollution rules
    and the impacts on their facilities, their employees, their contractors, and the consumers of
    their products.

                   1. EPA should specifically recognize the benefits of having multiple data sets
                       containing modeling that may be relied upon by states in the development of
                       Good Neighbor SIPs.

                MOG welcomes the following EPA statement about the ability of states to be able to
    rely upon alternative, equally credible, modeling data:

                States may consider using this national modeling to develop SIPs that address
                requirements of the good neighbor provision for the 2015 ozone NAAQS. When doing

C               so, EPA recommends that states include in any such submission state-specific
                information to support their reliance on the 2023 modeling data. Further, states may
                supplement the information provided in this memorandum with any additional
                information that they believe is relevant to addressing the good neighbor provisions
                requirements. States may also choose to use other information to identify
                nonattainment and maintenance receptors relevant to development of their good
                neighbor SIPs. If this is the case, states should submit that information along with a full
                explanation and technical analysis.

                The March 27, 2018, memorandum in Attachment B sets forth both the agency's "3 x 3"
    modeling data first published in its memorandum of October 27, 2017, as well as its modified
    "No Water" approach. In addition to these two EPA data sets, MOG has also produced
    modeling data similar to EPA "3 x 3" modeling based upon a 12km grid which has been
    suggested by EPA in its proposed approval of the 2008 ozone NAAQS Good Neighbor SIP for
    Kentucky .15



    Association, Indiana Utility Group, LGE / KU, Ohio Utility Group, Olympus Power, and City Water, Light and
    Power (Springfield IL).




    15 83 Fed. Reg. 17123 (April 18, 2018)
    June 2018                                            B-2
               Case: 23-3216       Document: 32-3           Filed: 06/16/2023              Page: 26

ALPINE
GEOPHYSICS                                                                   Final Technical Support Document


            We welcome EPA's development of a March 27, 2018, "no water" set of predictions and                 (
urge that EPA allow states to be able to rely not only upon EPA's October 27, 2017 "3x3" data
set which is currently being relied upon for the approval of Good Neighbor SIP's, but also EPA's
"no water" simulation, or any other alternate modeling analysis conducted in a technically
credible manner consistent with EPA's attainment demonstration guidance and that meets
performance criteria utilized by the agency. This, for example, could be particularly critical to
the Milwaukee and Sheboygan monitors that are predicted to be in attainment with the 2015
ozone NAAQS using the "3x3" data but not with the "no water" data simulation. Similarly, EPA
should recognize that the March 27, 2018 "no water" data shows the Harford monitor to be in
attainment with the 2015 ozone NAAQS even though other equally credible modeling
simulations demonstrate nonattainment at this monitor. The uncertainty involved with
selecting a single modeling simulation to base such significant policy decisions, such as Good
Neighbor demonstrations, should be weighed against the opportunity to select other platforms
and simulations with consideration given to state methods that rely on multiple sources of data
when found to be of technical merit.

            EPA should specifically acknowledge the merit of 4km modeling as an alternative to its
"no water" methodology. MOG's 4km modeling results demonstrate that all nonattainment
monitors in the East attain the 2015 ozone NAAQS with the exception of Harford MD which has
a predicted design value of 71.1 ppb using that 4km modeling. Modeling of this type using a
finer grid is specifically recommended under existing EPA guidance which states:                                C
            The use of grid resolution finer than 12 km would generally be more appropriate for
            areas with a combination of complex meteorology, strong gradients in emissions
            sources, and/or land-water interfaces in or near the nonattainment area(s). 16

The guidance goes on to note that in addition to the "primary" modeling analysis, there are
various other models, model applications, and tools that can be used to supplement the results
of a modeled attainment test. These include the use of multiple air quality models / model
input data sets (e.g., multiple meteorological data sets, alternative chemical mechanisms or
emissions inventories, etc.). Multiple model configurations can be used to estimate sensitivity
and uncertainty of future year design value predictions. For results to be most relevant to the
way the agency recommends models be applied in attainment demonstrations, EPA notes it is
preferable that such procedures focus on the sensitivity of estimated relative response factors
(RRF) and resulting projected design values to the variations inputs and/or model formulations.

            For day-to-day forecasts, modelers aim to choose a model with performances close to
field observations. The ultimate objective is to deliver a forecast with highest performances to
observational conditions. Using this logic, different model configurations could be combined in

16 http://www3.epa.gov/scram001/guidance/guide/Draft O3-PM•RH Modeling Guldance-2014.pdf
June 2018                                            B-3
                                                                                                                C
                     Case: 23-3216          Document: 32-3       Filed: 06/16/2023    Page: 27

    ALPINE
    GEOPHYSICS                                                              Final Technical Support Document


(   a way to take the best components of each simulation (compared to performance) for each
    location and time-step in an analysis. No single model configuration or simulation will be most
    appropriate for every location under every given condition. The use of multiple model
    simulations using scientifically credible approaches falls within EPA's attainment modeling
    guidance for weight-of-evidence (WOE) analyses supporting an attainment SIP revision.

                  An ensemble-like approach using multi-model predictions aims to minimize the
    uncertainty typically involved with single simulation reliance and done correctly, can provide
    less uncertain concentrations than any individual simulation. When available, States should be
    allowed to consider using multiple models and credible applications of these modeled results in
    preparing SIP attainment demonstrations and predicted future year concentrations.

                     2. EPA should provide guidance to the states on need to properly account for
                        both on-the-books and on-the-way emission reductions related to local sources
                        in areas with problem monitors.

                  MOG very much welcomes EPA's recognition of the importance of the assessment of
    local emissions as one of the added flexibilities being considered. Specifically, EPA offers the
    following description of this flexibility:

                        Assess current and projected local emissions reductions ...

                  Because the modeling currently being used by EPA, states and stakeholders relies on
    inventories that do not reflect all of the current local control programs or known unit
    operations that will affect predicted ozone air quality, EPA should not only encourage states
    and stakeholder to offer updated inventories to account for on-the-books controls, but should
    also encourage states to take account of anticipated changes in unit retirements not already
    recognized by the modeling inventory being employed.

                  This issue is important to all states, but particularly to upwind states which must
    determine whether they must commit to additional emissions reductions as they prepare to
    submit approvable Good Neighbor State Implementation Plans to address the 2015 ozone
    NAAQS to EPA by the October 2018 deadline. Only through a full assessment of these local
    emissions reductions can EPA determine whether there are any bases for the imposition of
    additional emissions controls in upwind states. This is because additional control requirements
                                                                                                    17
    in upwind states can only be legally imposed if there is a continuing nonattainment area.

                  As shown by MOG's           modeling and analyses (Outlook For Future Ozone Transport
    Program Design at http://midwestozonegroup.com/index.html), when EPA's current emission
    inventory is modeled using a 4 km grid in critical portions of the East, all monitors in the East


C   17 EME Homer et.al. v EPA, 134 S, Ct. at 1608.
    Junt! 201:e                                            B-4
              Case: 23-3216             Document: 32-3           Filed: 06/16/2023            Page: 28

ALPINE
GEOPHYSICS                                                                         Final Technical Support Document


would achieve attainment of the 2015 ozone NAAQS by 2023 with the sole exception of the                                    (
Harford Maryland monitor - which has a modeled ozone concentration of 71.1 ppb, only 0.2
ppb above the concentration that would demonstrate achievement of the 2015 ozone NAAQS.
EPA's emission inventory, however, does not include a significant number of legally mandated
on-the-books and on-the-way local controls that are likely to further reduce the emission of
ozone precursors that could bring all monitors in the East into attainment with the 2015 ozone
NAAQS. Moreover, EPA's current emission inventory does not take into consideration unit
retirements, .f uel switching and modifications that have been announced since that inventory
was last updated.

            MOG's has previously documented that downwind states have many options to reduce
their own NOx and voe contributions. 18

            Maryland has already recognized the need to adopt and implement programs to control
emissions from local sources in Maryland and the Northeast. For example, as recently as
                      19
December 2017           ,    the Maryland Department of the Environment identified a series of local
controls that it believed would further reduce ozone concentration in the Northeast, including:

                  •         New rules by New York on small generators;
                  •         New Ozone Transport Commission initiatives involving idle reduction;
                  •
                  •
                            After market catalysts on mobile sources;
                            Electric and other zero emission vehicles;
                                                                                                                           C
                  •         Maryland rules on municipal waste combustors; and
                  •         Maryland's Idle Free Initiative.

        In addition, it is significant that the Connecticut Department of Energy and
Environmental Protection, Bureau of Air Management has reached the conclusion 20 that
attainment in the Northeast cannot be achieved without local controls as is illustrated by the
following statement:

               To reach attainment in the NY-NJ-CT nonattainment area, HEDD emissions need to
               be addressed in all three state portions of the area.


18
   Alpine Geophysics "Relative Impact of State and Source Category NOx Emissions on Downwind Monitors
Identified Using the 2017 Cross State Air Pollution Rule Modeling Platform", Alpine Geophysics, LLC, January, 2016.
http://www.midwestozonegroup.com/files/RelativelmpactofStateandSourceCategoryNOxEmissionsonDownwind
MonitorsldentifiedUsingthe2017CrossStateAirPollutionRuleModelingPlatform.pdf .
19
   See: "A Path Forward for Reducing Ozone in Maryland and the Mid-Atlantic States, Driving With Science", Tad
Aburn, Air Director, MOE, December 11, 2017 (slides 60 and 61).
http://midwestozonegroup.com/files/Final Path Forward 2017 AQCAC 121117.pptx
20 "Reasonably Available Control Technology Analysis under the 2008 8-Hour Ozone National Ambient Air Quality Standard",
dated July 17, 2014, http;//www.ct.gov/deep/lib/deep/air/ozone/ozoneplanningefforts/ract 2008 naaqs/2014-07-17 •
 ct fi nal ntct sip revision.edf
June 2018                                                 B-5
                                                                                                                           l
                  Case: 23-3216           Document: 32-3      Filed: 06/16/2023        Page: 29

    ALPINE
    GEOPHYSICS                                                               Final Technical Support Document



C                 In sum, to address Connecticut's ozone nonattainment, and Connecticut's good
                  neighbor obligations to downwind states, peak day emissions must be reduced.
                  Thus, "beyond RACT" measures may be warranted for HEDD units on HEDD to meet
                  the state obligation of attainment of the ozone NAAQS as expeditiously as possible.

               While Connecticut has called for beyond RACT controls on HEDD units and Maryland has
    cited New York's rule addressing small generators, the New York State Department of
    Environmental Conservation has actually conducted an air quality assessment of that rule in
    which it has concluded21, that ozone concentrations could be reduced by as much as 4.8 ppb -
    an extremely significant improvement in ozone air quality (for perspective, 0.7 ppb represents a
    significant contribution relative to the 2015 ozone NAAQS) in a portion of the East that has
    historically had high ozone concentrations.

               It is imperative that newly announced unit retirements, fuel switching and modifications
    as well as all emission control programs that will be or are required to be adopted and
    implemented prior to 2023 be considered and the resultant emissions reductions quantified for
    use in the good neighbor SIP modeling required by October 2018.                   A recent review of
    generating units Wisconsin has identified the following EGUs that will be shut down prior to
    2023, and yet, EPA's modeling platform 22 includes their emissions and contribution to ambient
    ozone concentrations:

                                                 2016
                                                Ozone . 2023 Ozone    Adjusted
                                               Season       Season     from      Reason for
    Facility              ORIS   Boiler     NOx (tons)   NOx (tons)    2016      Adjustment
    Edgewater (4050)      4050   4              402.3         201.2 I    y       Coal to Gas Conversion
    Pleasant Prairie      6170   1              552.2         552.2
    Pleasant Prairie      6170   2              402.8         402.8
    Pulliam               4072   7                73.8         73.8
    Pulliam               4072   8               224.0        224.0



               Failure to consider the effects of those programs and unit retirements destines any such
    modeling to over. predict ozone concentrations and risk the unlawful imposition of emission
    control requirements on sources in upwind states. Further, it is highly likely that the inclusion
    of these emissions reduction will result in all areas demonstrating attainment of the 2015 ozone
    NAAQS without the need for further additional regional or national emissions reductions
    programs.


    u "Background, High Electric Demand Day (HEDD) Initiat ive", New York Department of Environmental
    Conservation, undated but presumed to be in 2017. http://midwestozonegroup.com/files/New York Peakers.pptx
    22
       ftp://newftp.epa.gov/air/emismod/2011/v3p1atform/reports/2011en and 2023en/2023en Engineering Analysi

C   s Unit File:~I
    June 2018                                            B-6
                Case: 23-3216          Document: 32-3    Filed: 06/16/2023         Page: 30

ALPINE
GEOPHYSICS                                                               Final Technical Support Document


             With respect to EPA's call for an assessment of projected emission reductions, it is           (
significant that when an area is measuring nonattainment of a national ambient air quality
standard (NAAQS}, the Clean Air Act (CAA) requires that the effects and benefits of local
controls be considered first, prior to pursuing regional or national controls. CAA §107(a) states
that "[e]ach State shall have the primary responsibility for assuring air quality within the entire
geographic area comprising such State." In addition, CAA §llO(a)(l) requires that a state SIP
"provides for implementation, maintenance, and enforcement" of the NAAQS "in each air
quality control region . . . within such State:: Moreover, by operation of law, additional
planning and control requirements are applicable to areas that are designated to be in
nonattainment.

             We note with interest the affidavit submitted by Assistant Administrator McCabe in the
litigation involving the challenge to the Kentucky Good Neighbor SIP in which Assistant
Administrator McCabe stated:

              In order to establish the appropriate future analytic year for purposes of the
              EPA's analysis, including the air quality modeling, the EPA considers several
              factors related to anticipated compliance timing of the rulemaking. It is
              essential to consider how best to align the future analytic year with compliance
              timing in order for the assessment of significant contribution to nonattainment
              and interference with maintenance to align with the identified air quality
              challenge. Compliance timing is informed by the D.C. Circuit's decision in North
                                                                                                            0
              Carolina, where the court held that the EPA should align implementation of its
              interstate transport rules with a date by which states are required to
              demonstrate attainment with the applicable NAAQS. 531 F.3d at 911-12.
              However, the determination as to how to align implementation with the
              attainment is not ready•made. Rather, the EPA considers several factors
              including the relevant attainment dates for the NAAQS, timelines necessary for
              installing appropriate control technologies, whether or not emission reductions
              preceding the relevant attainment dates (if possible) would further assist
              downwind areas in demonstrating attainment and maintenance of the NAAQS,
              or in the event that emission reductions are not feasible by the relevant
              attainment deadline, what date is as soon as practicable for EPA to require
              reductions following the relevant attainment deadline.23

         Equally significant is the following statement appearing in EPA's brief in the same
litigation:



23
     Declaration of Janet D. McCabe, at 1181.
June 20 18                                         B-7
                  Case: 23-3216        Document: 32-3           Filed: 06/16/2023          Page: 31

    ALPINE
    GEOPHYSICS                                                                  Final Technical Support Document



C           Nonetheless, EPA is mindful of the need to align implementation of emission reductions
            in upwind states with the applicable attainment dates in downwind areas, as instructed
                                                                                                  24
            by the court in North Carolina v. EPA, 531 F.3d 896, 911-12 (D.C. Cir. 2008).

            MOG strongly urges the agency to follow the court holding North Carolina v. EPA, 531
    F.3d 896, 911-12 (D.C. Cir. 2008), and to provide the states with guidance to align
    implementation of Good Neighbor SIPs with the date by which states are required to
    demonstrate attainment with the applicable NAAQS. As the focus on attainment of the 2015
    ozone NAAQS continues, there must be an official recognition that air quality will continue to
    improve between the 2018 due date for Good Neighbor SIPs and the 2023 attainment deadline
    as a result of CAA programs including Federal Measures, federally mandated state RACT rules,
    nonattainment infrastructure SIPs, and Good Neighbor SIPs. While the Federal measures, state
    RACT rules, and nonattainment infrastructure SIPs will all significantly improve air quality in
    many nonattainment areas, those programs will all be implemented after the Good Neighbor
    SIPs are due, which means that states will need to carefully consider how best to address those
    air quality improvements as part of their Good Neighbor SIP submittals.

            The failure to include the benefits of these programs in Good Neighbor SIPs will result in
    over-control of upwind states, which MOG asserts is illegal given the Supreme Court decision in
    EPA v. £ME Homer City Generation in which stands for the proposition that EPA cannot require
    an upwind state to reduce its output of pollution by more than necessary to achieve attainment
    in every downwind state. The Good Neighbor SIP is a "down payment" on attainment and not a
    stand-alone attainment program. Numerous control programs will take effect now and
    between the 2018 Good Neighbor SIP due date and the 2023 attainment deadline. The Good
    Neighbor SIPs that are due in 2018 must take into account the impact of legally mandated
    controls on air quality by the attainment date to avoid violating the CAA prohibition against
    over-control.

                   3. EPA should offer more specific guidance on how to account for international
                      emissions.

                MOG applauds both the EPA memorandum of March 27, 2018, and the President's
    Memorandum of April 12, 2018, for identifying international emissions as a significant matter in
    need of resolution. Fundamental to addressing this issue is the statement of fact that EPA
    includes in its March 27, 2018 memorandum:

                      EPA recognizes that a number of non-U.S. and non-anthropogenic sources
                      contribute to downwind nonattainment and maintenance receptors.


    24
     Defendant EPA's Reply to Plaintiffs Opposition to EPA's Cross-Motion for Summary Judgment, Sierra Club v. EPA.
    Case No. 3:15-cv-JD, Sept. 22, 2015) ED No. 68, p. 7.
    June 2018                                            B-8
                  Case: 23-3216        Document: 32-3            Filed: 06/16/2023          Page: 32

ALPINE
GEOPHYSICS                                                                       Final Technlcal Support Document


             Beyond mere recognition of the process established under Clean Air Act Section 179B,                    (
EPA should immediately acknowledge that known portions of a source apportionment analysis
directly attributable to international emissions (such as the Canada/Mexico category) may be
subtracted from the design value of a monitor to determine whether it is a problem monitor for
purposes of the development of a Good Neighbor SIP. In addition, and pending more refined
analysis) we urge that EPA apply a weight of evidence approach to determining some default
percentage of the initial conditions and boundary condition portion of the source
apportionment analysis that should be deemed to be international in nature to be subtracted
from design values to identify problem monitors. Finally, with respect to 179B petitions
addressed by the President's April 12, 2018 memo, EPA should provide for the parallel
processing of 179B petitions and Good Neighbor SI P's that acknowledge any such petitions.

             Set forth in the table below are the results of EPA's most recent source apportionment
             25
analysis          that for key monitors the significant contribution made by Canada/Mexico emissions
(entirely international) and by Boundary Conditions (significantly international).

                                                         MOAB Desi&n Value {ppb)                Contribution {ppb)
                                                 2009-         2009-
                                                 2013          2013      2023        2023       Can+
Monitor ID          State         County        AvgDV          MaxDV    AvgDV      MaxDV        Mex        IC/BC
90010017            Connecticut   Fairfield       80.3          83       68.9        71.2        1.64      16.73
90013007
90019003
                    Connecticut
                    Connectlcut
                                  Fairfield
                                  Fairfield
                                                  84.3
                                                  83.7
                                                                89
                                                                87
                                                                         71.0
                                                                         73.0
                                                                                     75.0
                                                                                     75.9
                                                                                                 1.35
                                                                                                 1.37
                                                                                                            17.17
                                                                                                           17.00
                                                                                                                     C
90099002            Connecticut   New Haven       85.7          89       69.9        72.6        1.58      17.17
211110067           Kentucky      Jefferson       85.0          85       70.1        70.1        0.66      21.94
240251001           Maryland      Harford         90.0          93       70.9        73.3        0.79       15.28
260050003           MichiR'.an    Allegan         82.7          86       69.0        71.7        0.54      11.85
261630019           Michht an     Wayne           78.7          81       69.0        71.0        3.13      20.06
360810124           New York      Queens          78.0          80       70.2        72.0        1.73       17.87
361030002           New York      Suffolk         83.3          85       74.0        75.S        1.85      18.94
480391004           Texas         Brazoria        88.0          89       74.0        74.9        0.44      24.02
481130075           Texas         Dallas          82.0          83       69.0        69.9        0.55      24.69
481210034           Texas         Denton          84.3          87       69.7        72.0        0.92      24.69
482010024           Texas         Harris          80.3          83       70.4        72.8        0.28      27.83
482011034           Texas         Harris          81.0          82       70.8        71.6        0.24      25.71
482011039           Texas         Harris          82.0          84       71,8        73.5        0.47      24.67
484392003           Texas         Tarrant         87.3          90       72.5        74.8        1.24      24.38
484393009           Texas         Tarrant         86.0          86       70.6        70.6        0.77      23.79
550790085           Wisconsin     Milwaukee       80.0          82       71.2        73.0        0.82       16.67
551170006           W isconsin    Sheboygan       84.3          87       72.8        75.1        0.69       17.53


25 https://www.epa.gov/sites/production/files/2018-03/contributlons=from -updated=2023 modelinL 0,xlsx
l une 2018                                               B-9
                                                                                                                     (_
                   Case: 23-3216        Document: 32-3        Filed: 06/16/2023      Page: 33

    ALPINE
    GEOPHYSICS                                                             Final Technical Support Document



C   that:
                The CAA addresses international emissions directly. Section 179(8) subsection (a) states


                       Notwithstanding any other provision of law, an implementation plan or plan
                       revision required under this chapter shall be approved by the Administrator if
                       the submitting State establishes ...that the implementation plan of such . . .
                       would be adequate to attain and maintain the relevant [NAAQS] ..., but for
                       emissions emanating from outside of the United States.

                If a state is able to demonstrate attainment "but for'' international transport after
    adopting all reasonably available control measures, CAA Section 179(B) requires that EPA
    approve the CAA-required state implementation plan.

                Addressing international emissions is important not only to downwind states but also
    upwind states that are obligated to submit under CAA Section 110(a)(2)(D) Good Neighbor SIPs.
    As the U.S. Supreme Court fn the Homer City case has ruled, it is essential that Good Neighbor
    states be required to eliminate "only those 'amounts' of pollutants that contribute to the
    nonattainment of NAAQS in downwind States... "EPA cannot require a State to reduce its
    output of pollution by more than is necessary to achieve attainment in every downwind State . .
         26
    •"        In addition, the D.C. Circuit has commented that" . .• the good neighbor provision requires
    upwind States to bear responsibility for their fair share of the mess in downwind States." Slip
    op at 11 (2012). However, this "mess" seems to be related to international emissions for which
                                              27
    upwind states have no responsibility. As the Courts have stated, CAA section 110(a)(2)(D)(i)(I)
    "gives EPA no authority to force an upwind state to shar~ the burden of reducing other upwind
    states' emissions." North Carolina v. EPA, 531 F 2d at 921.

                With so many receptors so very close to meeting the NAAQS requirement even
    recognition of a portion of boundary conditions as attributable to international emissions
    would have a significant impact on an upwind states responsibilities in the development of
    approvable Good neighbor SIPs.

                    4. EPA should allow the use of either the APCA or OSAT source apportionment
                       technique as an appropriate tool for conducting source apportionment analysis

                MOG welcomes EPA's March 27, 2018 memorandum recognizing the proposal that
    OSAT be considered an appropriate technique to determine source apportionment in the
    context of determining significant contribution of an upwind state to a downwind monitor.
    Within the air quality model used by EPA in calculating future year nonattainment, there exist
    two alternate techniques that can be used in developing source attribution results; the Ozone



C   26 134 S. Ct. a~ 1608.
    27 696 F.3d at 14.
    June 2018                                          B-10
                Case: 23-3216          Document: 32-3     Filed: 06/16/2023       Page: 34

ALPINE
GEOPHYSICS                                                              Final Technical Support Document


Source Apportionment Technology (OSAT) and the Anthropogenic Precursor Culpability
Assessment (APCA). While EPA certainly believes the APCA technique is appropriate for use in
                                                                                                           .C
this application, we ask that EPA recognized that the OSAT is also a viable tool for this purpose
and provides an already accepted alternative to APCA for any state that would elect to use it.

             According to the CAMx model documentation, the OSAT technique provides a robust
picture of which emissions sources are contributing to ozone formation because it specifically
apportions ozone individually to all source categories, including the "uncontrollable" (e.g.,
biogenics in EPA's modeling) component. This allows for a separation of attribution for
anthropogenic and biogenic contribution to a downwind monitor's modeled concentration.

             Accordingly, we urge that EPA to issue guidance to allow state to use either the APCA or
OSAT apportionment method when developing their Good Neighbor SIP submittals.

                5. EPA's methodology for selection and management of impact on maintenance
                     receptors should be reconsidered.

             EPA's reliance on the CSAPR methodology to address "interference with maintenance"
is not only inconsistent with the CAA, but also inconsistent with both the U.S. Supreme Court
and D.C. Circuit decisions on CSAPR. Upon consideration of the reasonableness test, EPA's
emphasis upon the single maximum design value to determine a maintenance problem for
which sources (or states) must be accountable creates a default assumption of contribution. A              0
determination that the single highest modeled maximum design value is appropriate for the
purpose to determining contribution to interference with maintenance is not reasonable either
mathematically, in fact, or as prescribed by the Clean Air Act or the U.S. Supreme Court. The
method chosen by EPA must be a "permissible construction of the Statute." The CSAPR
methodology proposed for use in this NODA is not reasonable in its application, resulting in
requirements beyond the CAA and therefore must be revised.

             The U.S. Supreme Court in EPA v. EME Homer City explains the maintenance concept set
forth in the Good Neighbor Provision as follows:

             Just as EPA is constrained, under the first part of the Good Neighbor Provision, to
             eliminate only those amounts that "contribute...to nonattainment," EPA is limited, by
             the second part of the provision, to reduce only by "amounts" that "interfere with
             maintenance," i.e. by just enough to permit an already-attaining State to maintain
             satisfactory air quality." 28

             Relative to the reasonableness of EPA's assessment of contribution, the U.S. Supreme
Court also provides,

28 134 S. Ct. at 1064, Ftn 18.
June 20 18                                         B-11
                                                                                                           C
                   Case: 23-3216             Document: 32-3            Filed: 06/16/2023     Page: 35

    ALPINE
    GEOPHYSICS                                                                     Final Technical Support Document



C           The Good Neighbor Provision . . . prohibits only upwind emissions that contribute
                significantly to downwind nonattainment.                EPA's authority is therefore limited to
                                                                                                   29
                eliminating ... the overage caused by the collective contribution ... "                 (Emphasis
                added.)

                EPA's use of a modeled maximum design value, when the average design value is below
    the NAAQS, to define contribution, results in a conclusion that any modeled contribution is
    deemed to be a significant interference with maintenance. This concept is inconsistent w ith
    the Clean Air Act and the U.S. Supreme Court's assessment of its meaning.

                As noted by the 0.C. Circuit in the 2012 lower case of EME Homer City v. EPA, ''The good
    neighbor provision is not a free•standing tool for EPA to seek to achieve air quality levels in
    downwind States that are well below the NAAQS."30                   "EPA must avoid using the good neighbor
    provision in a manner that would result in unnecessary over-control in the downwind States.
    Otherwise, EPA would be exceeding its statutory authority, which is expressly tied to achieving
    attainment in the downwind States.'! 31 EPA has not justified its proposal as necessary to avoid
    interference with maintenance.

                   6. In the development of its guidance to the states, EPA should not give
                          maintenance areas the same weight and status as to nonattainment areas.

C               EPA should avoid its past practice of giving the same weight to the development of
    controls programs for maintenance areas as nonattainment areas as it considers the guidance it
    will provide to the states to address the 2015 ozone NAAQS. Maintenance areas should not be
    subject to the same "significance" test as is applied to nonattainment areas. Maintenance
    areas do not require the same emission reduction requirements as nonattainment areas, and
    therefore, require different management.

                In the CSAPR Update rule, EPA again applied the nonattainment area significance test to
    maintenance areas. The CSAPR Update applies the same weight to the development of control
    programs to address maintenance areas as it does nonattainment areas. This approach is
    objectionable both because maintenance areas are not subject to the same "significance" test
    as applies to nonattainment areas and because maintenance areas do not require the same
    emission reduction requirement as nonattainment areas.

                The U.S. Supreme Court opinion in EPA v. EME Homer City offered the following on
    "interference with maintenance,"



    29 Id. at 1604.

C   30 EME Homer City v. EPA, 696 F.3d 7, 22 (D.C. Cir 2012).
    311d.
    June 2018                                                   B-12
              Case: 23-3216              Document: 32-3              Filed: 06/16/2023    Page: 36

ALPINE
GEOPHYSICS                                                                       Final Technical Support Document


            The statutory gap identified also exists in the Good Neighbor Provision's second
            instruction. That instruction requires EPA to eliminate amounts of upwind pollution
                                                                                                                    C
            that "interfere with maintenance" of a NAAQS by a downwind State. §7410(a)(2)(D)(i}.
            This mandate contains no qualifier analogous to "significantly," and yet it entails a
            delegation of administrative authority of the same character as the one discussed
            above. Just as EPA is constrained, under the first part of the Good Neighbor Provision,
            to eliminate only those amounts that "contribute . .. to nonattainment," EPA is limited,
            by the second part of the provision, to reduce only by "amounts" that "interfere with
            maintenance," i.e., by just enough to permit an already-attaining State to maintain
            satisfactory air quality. (Emphasis added}. With multiple upwind States contributing to
            the maintenance problem, however, EPA confronts the same challenge that the
            "contribute significantly" mandate creates: How should EPA allocate reductions among
            multiple upwind States, many of which contribute in amounts sufficient to impede
            downwind maintenance" Nothing in either clause of the Good Neighbor Provision
            provides the criteria by which EPA is meant to apportion responsibility. 32

            The D.C. Circuit opinion in EME Homer City v. EPA, also informs the maintenance area
issue:

            The statute also requires upwind States to prohibit emissions that will "interfere with
            maintenance" of the NAAQS in a downwind State. "Amounts" of air pollution cannot be                     C
            said to "interfere with maintenance" unless they leave the upwind State and reach a
            downwind State's maintenance area. To require a State to reduce "amounts" of
            emission pursuant to the "interfere with maintenance" prong, EPA must show some
            basis in evidence for believing that those "amounts" from an upwind State, together
            with amounts from other upwind contributors, will reach a specific maintenance area in
            a downwind State and push that maintenance area back over the NAAQS in the near
            future. Put simply, the "interfere with maintenance" prong of the statute is not an
            open-ended invitation for EPA to impose reductions on upwind States. Rather, it is a
            carefully calibrated and commonsense supplement to the "contribute significantly"
            requirement.33

       MOG urges EPA to abandon its current test for "interference" with maintenance and
develop an alternative emission reduction approach that accounts for the fact that
maintenance areas are already in attainment. EPA cannot reasonably justify the same level of
emission reductions as might be called for with respect to nonattainment areas for
maintenance areas. EPA does not address the fact that the CAA uses different terms to address


32 134 S. Ct. at 1064, Ftn 18.
33 EME Homer City v. EPA, 96 F.3d 7, 27 Ftn. 25 (O.C. Cir 2012).                                                    (_
June 2018                                                     B-13
                   Case: 23-3216        Document: 32-3        Filed: 06/16/2023       Page: 37

    ALPJNE
    GEOPHYSICS                                                              Final Technical Support Document



C   maintenance and nonattainment, i.e., "significant contribution to non-attainment versus
    "interfere with maintenance."           EPA improperly implements the terms "significant" and
    "interference" as being the same and in doing so offers no rationale or legal justification.

                EPA's January 17, 2018 brief in the CSAPR Update litigation (Wisconsin et al. v EPA, Case
    No. 16-1406) documents with the following statement on pages 77 and 78 that EPA is ready to
    concede that a lesser level of control is appropriate in situations not constrained by the time
    limits of the CSAPR Update:

                Ultimately, Petitioners' complaint that maintenance-linked states are unreasonably
                subject to the "same degree of emission reductions" as nonattainment linked states
                must fail. Indus. Br. 25. There is no legal or practical prohibition on the Rule's use of a
                single level of control stringency for both kinds of receptors, provided that the level of
                control is demonstrated to result in meaningful air quality improvements without
                triggering either facet of the Supreme Court's test for over-control. So while concerns at
                maintenance receptors can potentially be eliminated at a lesser level of control in some
                cases given the smaller problem being addressed, this is a practical possibility, not a
                legal requirement. See 81 Fed. Reg. at 74,520. Here, EPA's use of the same level of
                control for both maintenance-linked states and nonattainment-linked states is
                attributable to the fact that the Rule considered only emission reduction measures
                available in time for the 2017 ozone season. Id. at 74,520. Under this constraint, both
                sets of states reduced significant emissions, without over-control, at the same level of
                control. Id. at 74,551-52. Accordingly, EPA's selection of a uniform level of control for
                both types of receptors was reasonable. Emphasis added.

                As an alternative to maintenance monitors being accorded the same weight as
    nonattainment monitors, we urge that EPA advise the states that no additional control would
    be needed to address a maintenance monitor if the upwind state can show that either the
    monitor is likely to remain in attainment for a period of 10 years or that the upwind state's
    emissions will not increase for 10 years after the attainment date. Such an approach is
    consistent with Section 175A(a) of the Clean Air Act which provides:

                       Each State which submits a r~quest under section 7407 (d) of this title for
    redesignation of a nonattainment area for any air pollutant as an area which has attained the
    national primary ambient air quality standard for that air pollutant shall also submit a revision
    of the applicable State implementation plan to provide for the maintenance of the national
    primary ambient air quality standard for such air pollutant in the area concerned for at least 10
    years after the redesignation. The plan shall contain such additional measures, if any, as may be
    necessary to ensure such maintenance.

(   June 2018                                          6-14
              Case: 23-3216        Document: 32-3        Filed: 06/16/2023      Page: 38

ALPINE
GEOPHYSICS                                                             Final Technical Support Document


            It is also consistent with the John Calcagni memorandum of September 4, 1992, entitled        (
"Procedures for Processing Requests to Redesignate Areas to Attainment", which contains the
following statement on page 9:

                   A State may generally demonstrate maintenance of the NAAQS by either
                   showing that future emissions of a pollutant or its precursors will not exceed the
                   level of the attainment inventory, or by modeling to show that the future mix of
                   source and emission rates will not cause a violation of the NAAQS. Under the
                   Clean Air Act, many areas are required to submit modeled attainment
                   demonstrations to show that proposed reductions in emissions will be sufficient
                   to attain the applicable NAAQS. For these areas, the maintenance demonstration
                   should be based upon the same level of modeling. In areas where no such
                   modeling was required, the State should be able to rely on the attainment
                   inventory approach. In both instances, the demonstration should be for a period
                   of 10 years following the redesignation.

      Accordingly, we urge EPA allow this less stringent and effective option for states to
respond to maintenance monitors.

               7. To the extent that more than one upwind state contributes to a downwind
                  problem monitor, EPA should allow upwind states to submit a plan that would
                  allow that state to demonstrate either that it has already imposed cost
                  effective controls on its sources or that it is prepared to eliminate its prorate
                  contribution to the portion of the downwind states design value that exceeds
                  the NAAQS.

       MOG is pleased that EPA's March 27, 2018 memorandum recognizes two methods for
apportioning responsibility among upwind states to downwind problem monitors. In its
memorandum, EPA offers the following statement:

                   For states that are found to significantly contribute to nonattainment or
                   interfere with maintenance of the NAAQS downwind, apportioning responsibility
                   among states.

                          -   Consider control stringency levels derived through "uniform-cost"
                              analysis of NOx reductions.

                          ~   Consider whether the relative impact (e.g., parts per billion/ton)
                              between states is sufficiently different such that this factor warrants
                              consideration in apportioning responsibility.



June 2018                                         8-15
                                                                                                          C
                       Case: 23-3216           Document: 32-3          Filed: 06/16/2023             Page: 39

    ALPINE
    GEOPHYSICS                                                                           Final Technical Support Document



C          Addressing these issues is particularly important in the situation in which a state's
    contribution to a downwind problem monitor is greater than the level at which a monitor
    exceeds the NAAQS. To avoid unlawful over-control, EPA should provide guidance to states
    allowing them the option of prorating the reduction needed to achieve attainment over all
    states that contribute/interfere with that monitor. Such a process would allow an individual
    upwind state the option of addressing only their prorate portion of responsibility for the
    portion of the problem monitors ozone concentration that exceeds the NAAQS. This situation is
    illustrated in the situation set out below involving the Harford MO monitor which when
    modeling at 12km has a predicted 2023 ozone design value of 71.4 ppb (0.5 ppb above the
    2015 ozone NAAQS). In the method described, Kentucky's responsibility, for example, to the
    Harford monitor would be 0.04 ppb versus its overall contribution to that monitor of 1.54 ppb.


     " .a-a
          ICI.
                 25                        2023 OSAT Results · 70 ppb Threshold Day Average



          ~ 20
          ..
         ll
         ~
          B 1s
         8
         8~ 10        - _ _.,..,_ , _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



C        ..1..
         ~


                  5
         :g
          0
         ~ 0                                   ---- ~La-                     ~-- ■ - 1:1 -
                      6' <::,'<- ~(;) ~ .f:' Q.:~~.S-~'<- ~ ~ ~ o~ $ ~ .¢- ~e, A..~t.f'~ ~ ~o o~ ~~e~#' q,e, ~
           ■ Bio/Fire • Motor Vehicle ■1 Area/NR/MAP. ■ E.G U Poin.t ■ No nEGU Point ■ Can/Mex/Water ■ Boundary • Ini tial



    Anthropogenic Contribution (ppbl from 2023 B:ase C:ise

    er                       0 ,00        IL                 1 23           TN                D.42        BC            15.15
    IE                        007         !N                 1 76           South             1.17        IC             0.00
    MD                       19 90        Ml                 078            AR                0.20        can/Mex        0 f i!
    NJ                        0 09        uH                 329            MO                0.41        BiofFire       9 03
    NY                        0.13        WI                 023            OK                0.41
    PA                        4 52        WV                 1 76           TX                080          Tot:11       7UO
    VA/OC                     5 18        KY                 1 54           West              1.66
    OhNE                      0 01        NC                 047            Other             04E




C   June 2018                                                  B-16
              Case: 23-3216              Document: 32-3                 Filed: 06/16/2023             Page: 40

ALPINE
GEOPHYSICS                                                                                Final Technical Support Document


Rlldlnes Rlldudlon Contribution Calculation
\,\:)wind Stabt must achieve lesathan 0.70 ppb slgnlftcant c:onlributlon or monitor much achieve attainment (70.9 pbb)
Rllduc:tion Necesary for Attainment                     0.60       ppb trom       71.40   ppb
                                                                                                                             C
  Relative Conlributlon of SIIJlllcant       Proportional Rllduc:tion             Resulting Concentration
      Unwind Stateslaob and "IQ                Aaaulrement It i>bl                 Alter Reduction IPpbl
VNOC              5.18         25%                    0.12                                  5.06
PA                4.52         22%                    0.11                                  4.42
OH                3.29         16%                    0.08                                  3.21
IN                176           8%                    0.04                                  172
WV                 1.76         8%                    0.04                                  1.72
KY                 1.54         7%                    0.04                                  150
IL                 1-23         6%                    0.03                                  1 20
1X                0.80          4%                    0.02                                  0 78
Ml                0,78          4%                    0.02                                  0.76
Total             20.86        100%                    0.50


            By proceeding to offer these alternatives approaches for responding to any significant
contribution linkage, EPA can minimize the concern over the imposition of prohibited over-
control of upwind states.

    8. EPA should not wait for a state to request consideration of exceptional events before
            acting to exclude them.

            The Clean Air Act and EPA recognize that Exceptional Events have resulted in higher
design values for many monitors in both the upwind and downwind states. If not addressed,
t he use of these higher design values will not only result in unnecessarily stringent, inaccurate
nonattainment designations, but also in ultimately higher future year predictions of ozone
concentrations and the inaccurate belief that additional control measures are necessary.

         EPA's March 27, 2018 memorandum appears to address this situation in offering the
flexibility described as follows:

               Consider ... whether downwind areas have considered and/or used available
               mechanisms for regulatory relief.

This is important because we now have state's that have successfully sought EPA approval for
excluding consideration of monitoring data influenced by exceptional events and other states
that have not done so.

            The importance of the need to exclude data influenced by Exceptional Events is
recognized by Congress in the provisions of Clean Air Act §319(b)(3)(B) which provides as
follows:

                              Regulations promulgated under this section shall, at a minimum, provide
                   that-



June 2018                                                     6-17
                                                                                                                             l
                   Case: 23-3216       Document: 32-3            Filed: 06/16/2023          Page: 41

    ALPINE
    GEOPHYSICS                                                                   Final Technical Support Document



C                               (i) the occurrence of an exceptional event must be demonstrated by
                      reliable, accurate data that is promptly produced and provided by Federal, State,
                      or local government agencies;
                                (ii) a clear causal relationship must exist between the measured
                      exceedances of a national ambient air quality standard and the exceptional event
                      to demonstrate that the exceptional event caused a specific air pollution
                      concentration at a particular air quality monitoring location;
                                (iii) there is a public process for determining whether an event is
                      exceptional; and
                                (iv) there are criteria and procedures for the Governor of a State to
                      petition the Administrator to exclude air quality monitoring data that is directly
                      due to exceptional events from use in determinations by the Administrator with
                      respect to exceedances or violations of the national ambient air quality
                      standards. (Emphasis added.)

                A number of states have already made requests to have the air masses caused by the
    Canadian wildfires that occurred in 2016 be declared Exception Events - thus allowing
    monitored data influenced by those events to be excluded from the calculation of the design
    value for the affected monitor. Among the states submitting these requests are:

                Connecticut - The Connecticut demonstration related to the May 2016 event was
    submitted on May 23, 2017. 34 In addition to showing that Canadian wildfire caused the event,
C   the demonstration noted that " ... the exceedances of May 25-26th cannot be attributed to
    EGUs operating on high electric demand days as is more typically the case later in the ozone
    season." EPA concurred in that demonstration on July 31, 2017.

          New Jersey - The New Jersey demonstration related to the May 2016 was submitted on
    May 31, 2017.35 In addition to showing that Canadian wildfire caused the event in New Jersey,
    the demonstration also noted that the event had had a similar impact on many other states
    including Wisconsin, Michigan, Illinois, Indiana, Ohio, Pennsylvania and New York.                          EPA
    concurred in that demonstration on October 24, 2017.

                Massachusetts - The Massachusetts demonstration related to the May 2016 event was
    submitted on May 25, 2017.36 EPA concurred in that demonstration on September 19, 2017.

           Maryland - While the Maryland demonstration dated May 26, 2017, nominally
    addresses July 2016 event, the demonstration report itself includes data which assesses how
                                                                                                                 37
    the design values for Maryland's monitors are affected by both the May and July 2016 events.


    34 https://www.epa.gov/air-quality-analysis/exceptional-events-documents-ozone-connecticut
    35 https://www.epa.gov/air•quality-analysis/exceptional•events•documents•ozone-new-jersey


C
    36 https://www.epa.gov/air-guality-analysis/exceptional-events•documents•ozone•massachusetts
    37b_ttg://wwr -®'£Jlate.md:w{orgm1ms/Alr/AirQualitvMonitarin1/ Doc:umentsl MOE JUL 21 22 2016 EE demo.pd/
    June 2018                                            B-18
              Case: 23-3216        Document: 32-3           Filed: 06/16/2023          Page: 42

ALPINE
GEOPHYSICS                                                                   Final Technical Support Document


       Pennsylvania - Pennsylvania has also made a demonstration related to the May 2016                        (
event dated November 2017.38

            Significantly, several states that have historically had problem monitors have not made
similar requests even though these events clearly impact their monitors. Specifically, it appears
that New York have elected not to seek any relief at all for the events, while other states have
limited their requests to only the May 2016 event and n'ot to the July 2016 event that was
identified by Maryland.

            It is clear from these demonstrations that the May and July 2016 events were significant
and clearly meet the substantive criteria for concurrence by EPA. While the EPA has historically
focused on applying Exceptional Event determinations to those monitors that exceed a NAAQS,
extending these determinations to all other affected monitors is critical because doing so would
assure that all designations are based on appropriate data. In addition, even for monitor whose
attainment status is not changed, accounting for these Exceptional Events would lower the
design value for that monitor and increase the critical nonattainment value for each monitor
(the ozone concentration in the upcoming ozone season that would be high enough to push a
monitor into nonattainment). Moreover, as we move to modeling a more recent base case the
updated 2016 design values would be directly incorporated into that modeling platform
affecting the development of Good Neighbor SIPs and any possible transport rules, state 126
petitions or other planning related to the future attainment year. Finally, appropriately
updating these design values would provide a more accurate benchmark for determining if and
                                                                                                                0
to what extent upwind states would need to reduce ozone precursor emissions related to
transport because that obligation ends when a downwind state achieves attainment of the
NAAQS at all monitoring locations.

            Accordingly, whether or not a state has requested EPA approval of the exclusion of
exceptional events, EPA should invoke its own authority to address those events so that upwind
states may have the benefit of correct data as they develop and submit their 2015 ozone
NAAQS Good Neighbor SIPs

                                               CONCLUSION

            MOG very much appreciates the opportunity to offer these additional comments on
flexibilities need to allow for the development of approvable good neighbor SIPs.




38 http://www.elibrary.dep.state.pa.us/dsweb/Get/Document-117484/0zone%20EE%20Analysis%20May%2024-26-2017.pdf
June 2018                                           B-19
                                                                                                                C
                    Case: 23-3216   Document: 32-3     Filed: 06/16/2023      Page: 43

        ALPINE
        GEOPHYSICS                                                  Final Technical Support Document


(       AppendixC

        Presentation - Midwest Ozone Group Preview of 2015 Ozone NAAQS Good Neighbor SIPs




    C
        June 2018
                          Case: 23-3216   Document: 32-3       Filed: 06/16/2023   Page: 44




        MIDWEST OZONE GROUP PREVIEW
            OF 2015 OZONE NAAQS
             GOOD NEIGHBOR SIPs
                                        David Flannery
                                   Steptoe & Johnson, PLLC

                                        Gregory Stella
                                    Alpine Geophysics, LLC

                                            May 30, 2018


A PDF version of this document can be located at:

      ,-..                                           -
http://www.midwestozonegroup.com/files/MOG Preview of GNS Development final.pdf
                                                           \
                                                                                              ')
                                                                                                   1
 n         Case: 23-3216   Document: 32-3
                                      0     Filed: 06/16/2023   Page: 45   ()




           Support for States
• Using information avai.lable from EPA and
  MOG, how can States develop a technical
  support document (TSD) for Good Neighbor
  SIP revisions?
• MOG is making available to the states a TSD
  with data supporting approvable Good
  Neighbor SIPs to address EPA-identified
  nonatta·i nment / maintenance monitors in· the
  eastern US
                                                                                2
                   Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 46




                                   Outcome
•   Approval•of Good Neighbor SIP for 2008 and 2015 ozone NAAQS
    would obviate new transport rules, 126 petitions and the 176A
    petition
•   Good Neighbor SIPs can be approvable with existing OTB/OTW
    controls for all states in the East with recognition of the following:
     - Use of the accepted modeling platforms that are appropriate to
       assess transport, including 12km and 4 km
     - International emissions
     - Proration of upwind state responsibility based upon ppb
       contribution to downwind monitor
     - Maintenance monitors to be addressed through a no emission
       increase demonstration
     - Significant contribution to be based on 1 ppb (not 1 %)

                                                                                       3
    ('                                        n                                    n
    n                  Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 47   I)



Ozone Modeling TSD Development
•   Address the four step process for each monitor group based on issues
    related to each
        -   Step 1- Identify problem monitors
        -   Step 2 - Determine state linkages
            Step 3 - Determine required response
        -   Step 4 - Establish enforceable measures


•   Use directly or as weight of evidence to support SIP revisions


•   Examples provided for four (4) sets of monitors
        -   Connecticut/New York, Maryland, Wisconsin/Michigan, Texas



                                                                                            4
        Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 48




New York/Connecticut

                                                                             5
0                                  0                                    {\
    0
                           Case: 23-3216
                                                      n
                                           Document: 32-3
                                                      '- -··
                                                               Filed: 06/16/2023   Page: 49
                                                                                                         n
  Step 1 - Identify Problem Monitors
 Maintenance only
                                                                     DVf {2023) Average (ppb) - Nonattainment
                                                                  Original 12km    Updated 12km
Monitor     State            County            DVb (2011}           Modeling     -    Modeling
 61030002   New York         Suffolk             83.3                  72.5         -   74.0             70.7
 0019003    ::onnecticut     Fairfield           83.7                  72.7             73.0             69.9
                                                                                                -
190013007   Connecticut      Fairfield           84.3                  71.2             71.0             69.7
 60810124   New York         Queens              78.0                  70.1             70.2             68.0
 0099002    Connecticut      New Haven           85.7                  71.2             69.9             70.3
 0010017    Connecticut      Fairfield           80.3                  69.8             68.9             69.2

                                                                     DVf (2023) Maximum (ppb) - Maintenance

Monitor     State            County            DVb (2011)
                                                                 Original 12km ~pdated 12km ~
                                                                   Modeling           Modeling   [       -

                                                                                                    ~-.:;'
                                                                                                          -
                                                                                                             -       I




361030002   New York         Suffolk             83.3                 74.0       I      75.5    I       72.1
90019003    Connecticut      Fairfield           83.7                 75.6              75.9            72.7
90013007    Connecticut      Fairfield           84.3                 75.2              75.0            73.6
360810124   New York         Queens              78.0                 71.9              72.0            69.8
190099002   Connecticut      New Haven           85.7                 73.9      IL...   72.6            73.0
                                                                                                  -
1
90010017    Connecticut      Fairfield           80.3                 72.1      Ii      71.2            71.5


                                                                                                                 6
                               Case: 23-3216    Document: 32-3   Filed: 06/16/2023   Page: 50




             Step 2: Linkage assessment (1%)
      • Using the linkage calculations from the 12km
        simulation, ·Alpine selected the states with
        linkage to problem receptors (based on the
        1% of 70 pbb NAAQS) to define source regions
        i·n 4km OSAT simulation
Monitor
--- - -- -       Name
                 - - ---   PA     VA/DC    IL      IN    OH      MD    NJ      NY     WV        KY   Ml   CT   DE       TX
90019003 Fairfield CT      X        X      X       X      X      X      X       X

361030002 !Suffolk. NY     X        X      X       X      X      X      X                       X    X    X             X

360850067 Richmond. NY     X        X      X       X      X      X      X              X        X    X         X        X

90013007 Fairfield. CT     X        X      X       X      X      X      X       X

90099002 NewHaven CT       X        X      X       X      X      X      X       X




                                                                                                                    7
             n                                             0                                                   n
     n                     Case: 23-3216       Document: 32-3
                                                            0
                                                                    Filed: 06/16/2023   Page: 51             ()


 Step 2: Linkage assessment {>1 ppb)
  • Using the linkage calculations from the 12km
    simulation, Alpine also identified states with
    linkage to problem receptors > .1 ppb

Monitor
-- -- -    Name               PA      VA/DC            IL           IN-
                                                                    ..        OH
                                                                               --        MD
                                                                                         ---       NJ
                                                                                                   -    NY    DE

90019003   Fairfield CT       X            X                                    X         X        X    X

361030002 Suffolk. NY         X            X           X             X          X         X        X


t360850067 Richmond NY        X            X           X             X          X         X        X          X

90013007   Fairfield CT       X            X                                    X         X        X    X

                                                                '
90099002   New Haven. CT      X            X           X                        X         X        X    X




                                                                                                                   8
            Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 52




Step 3 - Determine Required Response

• No nonatta·inment receptors: no response
  needed
• Only problem monitors: maintenance
• Alternative maintenance approaches
  - Demonstrate cost effective controls in place; or
  - 10 year projection with no emission increase




                                                                                9
 n                                     0                                    r
    n                  Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 53
                                                                                       n
           Step 3: Maintenance Alternative:
           10 Year Reduction Demonstration
                                    Annual Anthropogenic NOx Emissions
State                        2011 (Tons)    2023 (Tons)   Change (Tons) Change(%)
Connecticut                       72,906         37,758        -35,148       -48%
Delaware                          29,513         14,511        -15,002       -51%
District of Columbia               9,404          4,569          -4,834      -51%
Illinois                         506,607        293,450       -213,156       -42%
Indiana                          444,421        243,954       -200,467       -45%
Kentucky                         327,403        171,194       -156,209       -48%
Maryland                         165,550         88,383        -77,167       -47%
Michigan                         443,936        228,242       -215,694       -49%
New Jersey                       191,035        101,659        -89,376       -47%
New York                         388,350        230,001       -158,349       -41%
Ohio                             546,547        252,828       -293,719       -54%
Pennsylvania                     562,366        293,048       -269,318       -48%
Texas                          1,277,432        869,949       -407,482       -32%
Virginia                         313,848        161,677       -152,171       -48%
West Virginia                    174,219        136,333        -37,886       -22%

   As reported by EPA, final CSAPR update summaries                                        10
Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 54




                                                                C




                                                                C
    (':                 Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 55
                                                                                                 ·n
   Step 1: Identify Problem Monitors
 • Utilize SIP approvable modeling to
   demonstrate attainment (EPA Updated 12km)

                                                                DVf (2023) Average (ppb}- Nonattainment
                                                             Original 12km    Updated 12km ·. -·;-;- -  ~
                                                                              I
Monitor     !State        !County           DVb (2011)   I    ModeHng             Modeling
240251001   !Maryland     Harford             90.0       I      71.4          I     70.9




                                                            DVf (2023) Maximum (ppb)- Maintenance
                                                         Original 12km Updated 12km      ··
Monitor     IState       :county            DVb (2011) I Modeling          Madelin&
240251001   !Maryland     Harford             90.o     I      73.8     I     73.3




                                                                                                      12
               Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 56




      Step 1 : International Contribution
Harford: (only nonattainment monitor at 4km) - 71.1 ppb
   - Reduction needed to achieve attainment: 0.2 ppb
   - International contribution
       • Canada/Mexico: 0.43 ppb (assumed to be 100%
         international)
      • Boundary Conditions: no credit for any portion of the
        11.34 ppb BC needed to bring monitor into attainment
         - 89% of global NOx emissions are generated outside U.S.
   - Weight of Evidence: Harford is likely to be in attainment of
                                      11
     the 2015 ozone NAAQS "but for international emissions



                                                                                   13
 n                                        ()                                   r
    n                    Case: 23-3216   Document: 32-3
                                                    0
                                                          Filed: 06/16/2023   Page: 57           I\
                                                                                                 '   I




        Step 1: International Emissions
•   NOx Emissions influencing boundary condition are overwhelmingly {89%)
    from international sources:
         China                      21%
         Int. Shipping              13%
         USA                        11%
         India                       7%
         Russian Fed.                3%
         Brazil                      3%
         Iran                        2%
         Indonesia                   2%
         Japan                       2%
         Mexico                      2%
         Int. Aviation               2%
         Canada                      1%
         Saudi Arabia                1%

•   Source: "European Commission, Joint Research Centre (JRC)/PBL Netherlands Environmental Assessment
    Agency. Emission Database for Global Atmospheric Research (EDGAR)"
                                                                                                      14
                     Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 58




      Step 2: Linkage assessment (1%)
  • Using the linkage calculations from the 12km
    simulation, Alpine selected the states with
    linkage to problem receptors (based on the
    1% of 70 pbb NAAQS) to define source regions
    in 4km OSAT simulation

Monitor   Name         PA       VA/DC        IL       IN        OH         WV        KY   Ml    TX
240251001 Harford~      x            x       x         X          X         X        X    X         X    I


                                                                                                    15
     0                                                                                         r,
                                                  0
    n                     Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 59
                                                                                                     n

 Step 2: Linkage assessment(> 1 ppb)
 • Using the linkage calculations from the 12km
   ·simulation, Alpine also identified states with
    linkage to problem receptors > 1 ppb

                                                                                      OH
Monitor     Name                    PA        VA/DC           IL.         IN
                                                                                              - WV   KY
240251001   Harford, MD        ]     x            X           X            X              X     X        X    ]




                                                                                                         16
               Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 60



Step 3 - Determine Required Response
           for Maintenance
• No nonattainment receptors (if emissions
  from Canada/Mexico are recognized)
• If only maintenance, allow the following
  alternatives
     - Show cost effective controls in place, or
     - 10 year projection with no emission increase




                                                                                17
 0                                        0                                    r.
    n                  Case: 23-3216   Document: 32-3    Filed: 06/16/2023   Page: 61
                                                                                                     n
           Step 3: Maintenance Alternative:
           10 Year Reduction Demonstration
                                                                                        '

                                         Annual Anthropogenic NOx Emissions
State                         2011 {Tons)               2023 (Tons)          Change (Tons) Change (%)
District of Columbia                   9,404                    4,569                       -4,834   -51%
Illinois                           506,607                  293,450                 -213,156         -42%
Indiana                            444,421                  243,954                 -200,467         -45%
Kentucky                           327,403                  171,194                 -156,209         -48%

Michigan                           443,936                  228,242                 -215,694         -49%
Ohio                               546,547                  252,828                 -293,719         -54%
Pennsylvania -                     562,366                  293,048                 -269,318         -48%

Texas                            1,277,432                  869,949                 -407,482         -32%
Virginia                           313,848                  161,677                 -152,171         -48%

West Virginia                      174,219                  136,333                     -37,886      -22%

   As reported by EPA, final CSAPR update summaries
                                                                                                         18
                Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 62



Step 3 - Determine Required Response
          to Nonattainment
• If Harford is designated as nonattainm·e nt
  allow the following alternatives
     - Show cost effective controls in place, or
     - Proportional contribution (a.k.a., 'red lines'
       approach)




                                                                                    19
 0
                                           0                                    0
 0
             Case: 23-3216   Document: 32-3
                                        0
                                              Filed: 06/16/2023   Page: 63
                                                                             n

 Step 3: "Red Lines" Allocation Alternative

• Upwind states are obligated to reduce emissions but
  no more than necessary to achieve attainment or
  eliminate linkage
• CAA does not specify how to allocate among upwind
  states
• EPA's CSAPR cost based allocation method was
  upheld by the Supreme Court in part because of the
  complexity of other approaches
• This situation is much simpler


                                                                                 20
                         Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 64




     Step 3: Red Lines Alternative Harford, MD
Anthropogenic Contribution (ppb) from 2023 Base Case - 4km OSAT Modeling


Redlines Reduction Contribution Calculation - Harford, MD
Upwind State must achieve less than 0.70 ppb significant contribution or monitor must achieve attainment
Reduction Necessary for Attainment= 0.2 ppb from 71.1 ppb

             Relative Contribution of Significant                             Proportional Reduction
                 Upwind_States (ppb
                               -- -
                                    and%)                                       Requirement
                                                                                  -
                                                                                            (ppb)
                                                                                            -- . .
;VA/DC                   3.92                       22%                                  0.04
bH                       3.02                       17%                                  0.03
PA                       2.70                       15%                                  0.03
WV                       2.52                       14%                                  0.03
KY                       2.07                       12%                                  0.02
IN                       1.81                       10%                                  0.02
IL                       1.05                       6%                                   0.01
iTX                     0 .90                    5%                                      0.01
Total                   17.99                   100%                                     0.20




                                                                                                           21
      0                                               n                                                r
             n              Case: 23-3216    Document: 32-3   Filed: 06/16/2023   Page: 65
                                                                                                  n
                             Proportional Reduction Requirements for
             0.05 - - - -- -
                                Harford, MD Monitor; 240151001
:iS'
-...
 Q.
  Q.

  C
  cu         0.04
  E
·-:...er:,
  cu


~
  C
.2           0.03
 tl
 ::,
"C
~
tii
  C
  0
'f
  0          0.02
  Q.

0.
  ...
  0




             0.01




             0.00
                    VA/DC   OH              PA         WV            KV            IN        ll   TX

                                                                                                       22
        Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 66




Wisconsin/Michigan

                                                                            23
 n                                 0                                    G
     n                  Case: 23-3216   Document: 32-3   Filed: 06/16/2023    Page: 67
                                                                                                                        n

    Step 1: Identify Problem Monitors

                                                Original 12km         Updated 12km
                                                                                          •_,·•·-11--
                                                                                              ·>       . - • I iJ I-=""!
                                            [     Modeling ...     I-   Model·     -~
                                                                                              •    I   ••. • -


                                                                                                       -   -   -   -
                                                                                                                        ,; •


                                                                                                                               -




                                                 DVf       DVf          DVf        DVf       DVf                       DVf
                                    DVb         (2023)   (2023)        (2023)    (2023)    (2023)                  {2023)
Monitor   !State      County       (2011)        Ave      Max           Ave       Max       Ave                     Max
260050003 M ichigan   Allegan       82.7        69.0      71.8         69.0       -Zl.7     70.3                       73.1
550790085 Wisconsin Milwaukee       80.0        65.4      67.0     I   71.2       73.0      67.4                       70.5
551170006 Wisconsin Sheboygan       84.3        70.8      73.1         72.8       75.1      71.7                       74.0




                                                                                                                               24
                 Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 68




 Step 1 (cont.): International Contribution
Sheboygan: (only nonattainment monitor at 4km) - 71.7 ppb
     - Reduction needed to achieve attainment: 0.8 ppb
     - International contribution (from 12km.modeling)
        • Canada/Mexico: 0.69 ppb (assumed to be 100%
          international)
        • Boundary Conditions: 17.53 ppb (only need credit for
          0.11 ppb - less than 1%- of BC (in addition to Can/Mex)
          to bring monitor into attainment
            - 89% of global NOx emissions are generated outside U.S.
     - Weight of Evidence: Sheboygan is likely to be in attainment
       of the 2015 ozone NAAQS "but for" international
           . .
       em1ss1ons

                                                                                     25
 0                                          n                                    r
    0
                         Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 69           r,

        Step 1: International Emissions
•   NOx Emissions influencing boundary condition are overwhelmingly (89%)
    from international sources:
         China                      21%
         Int. Shipping              13%
         USA                        11%
         India                      7%
         Russian Fed.               3%
         Brazil                     3%
         Iran                       2%
         Indonesia                   2%
         Japan                      2%
         Mexico                     2%
         Int. Aviation              2%
         Canada                      1%
         Saudi Arabia                1%

•   Source: "European Commission, Joint Research Centre (JRC)/PBL Netherlands Environmental Assessment
    Agency. Emission Database for Global Atmospheric Research (EDGAR)"
                                                                                                      26
           Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 70




     Step 1 {cont.): Problem Monitors

• Sheboygan, Wisconsin: Maintenance only
  (assuming international emissions are
  recognized)
• Allegan, Michigan: Maintenance




                                                                               27
 n                                    n                                    r
                       Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 71                        (\
     0                                              0
      Step 2: Linkage assessment (1%)
                                            2023     2023
                                            Avg      Max
Site ID   State         County              DV        DV       AR       IL         IN      IA         KS      KY
551170006 Wisconsin     Sheboygan           72.8     75.1     0.51    15.73     7.11      0.45       0.46    0.81
260050003 Michigan      Allegan             69.0     71.7     1.64    19.62     7.11      0.77       0.77    0.58


Site ID   !State         County                LA        Ml    MO             OH         OK          TX       WI
551170006 Wisconsin      !Sheboygan           0.84      2.06   1.37           1.10      0.95     1.65        9.09
260050003 Michigan       Allegan              0.70      3.32 ; 2.61           0.19      1.31     2.39        1.95


                                                                                         Initial &
 ite ID                                     Can + Mex I Offshore            Fire        Bounda            Biogenic
 51170006 !Wisconsin                           0.69   I o.55                0.64          17.53             7.51
1260050003 !Michigan                           0.54       0.36              0.93          11.85             8.91




   EPA 12km APCA contribution calculations                                                                       28
                      Case: 23-3216   Document: 32-3         Filed: 06/16/2023    Page: 72



Step 2: Linkage assessment(> 1 ppb)

                                              2023             2023
 Site ID      State         County           AvgDV MaxDV                    AR          IL        IN     Ml
 551170006    Wisconsin     Sheboygan          72.8            75.1        0.51       15.73      7.11   2.06
 260050003    Michigan      Allegan            69.0            71.7        1.64       19.62      7.11   3.32


                                                                                                                 I


 Site ID       State           County            I
                                                        MO              OH           OK         TX       WI
 551170006     Wisconsin       Sheboygan         I      1.37           1.10         0.95       1.65     9.09
 260050003     Michigan       .,Allegan                 2.61           0.19         1.31       2.39     1.95


                                                                                              Initial &
 Site ID       State          County            Can+ Mex Offshore                   Fire     Boundary Biogenic
 551170006     Wisconsin      Sheboygan                 0.69            0.55        0.64      17.53     7.51
 260050003     Michigan       lAllegan                  0.54            0.36        0.93      11.85     8.91




EPA,,.......12km APCA contribution calculations
                                                     ..,-,
                                                                                                               29
                                                         .
                                                                                                         r
 n          Case: 23-3216   Document: 32-3
                                       0     Filed: 06/16/2023   Page: 73
                                                                            0

Step 3 - Determine Required Response

• No nonattainment receptors (if international
  emissions are recognized)
• Only problem monitors: maintenance
• Alternative maintenance approaches
  - Show cost effective controls i·n place;or
  - 10 year projection with no emission increase




                                                                                30
                    Case: 23-3216   Document: 32-3    Filed: 06/16/2023   Page: 74



            Step 3: Maintenance Alternative:
            10 Year Reduction Demonstration
                                      Annual Anthropogenic NOx Emissions
State                      2011 (Tons)               2023 (Tons)          Ch!l_l!~_(_Ton~) _Change (%}
Illinois                        506,607                  293,450                 -213,156       -42%
Indiana                         444,421                  243,954                 -200,467       -45%
Kentucky                        327,403                  171,194                 -156,209       -48%
Louisiana                       535,339                  373,849                 -161,490       -30%
Michigan                        443,936                  228,242                 -215,694       -49%
Missouri                        376,256                  192,990                 -183,266       -49%
Ohio                            546,547                  252,828                 -293,719       -54%
Oklahoma                        427,278                  255,341                 -171,937       -40%
Texas                         1,277,432                  869,949                 -407,482       -32%


  As reported by EPA, final CSAPR update summaries
                                                                                                   31
    ('                                                                                         n
 n
 ~   -·
               Case: 23-3216
                                          o
                               Document: 32-3
                                            __,,.
                                                    Filed: 06/16/2023   Page: 75
                                                                                   ~

Step 3 - Determine Required Response
          to Nonattainment
• If Sheboygan is deemed to be nonattainment
  allow the following alternatives
     - Show cost effective controls in place, or
     - Proportional contribution (a.k.a., 'red lines'
       approach)




                                                                                       32
             Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 76




 Step 3: "Red Lines" Allocation Alternative

• Upwind states are obligated to reduce emissions but
  no more than necessary to achieve attainment or
  eliminate linkage
• CAA does not specify how to allocate among upwind
  states
• EPA's CSAPR cost based allocation method was
  upheld by the Supreme Court in part because of the
  complexity of other approaches
• This situation is much simpler


                                                                                  33
 n                                      0                                    '}
      n                             Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 77                        ')


          Step 3: Red Lines Alternative
Redlines Reduction Contribution Calculation - Sheboygan, WI
Upwind State must achieve less than 0.70 ppb significant contribution or monitor must achieve attainment
Reduction Necessary for Attainment = 1.90 ppb from 72.8 ppb

              Relative Contribution of Significant                                       Proportional Reduction
                  _,,......,,.   ···-   --- ___ .. ....
                                            .._
                                                                                           --   --          ••-·r.   •
1
1L                                  15.73                   50%                                      0.95
1
IN                                  7.11                    22%                                      0.43
Ml                                  2.06                     7%                                      0.12
rrx                                  1.65                    5%                                      0.10
MO                                   1.37                    4%                                      0.08
,OH                                  1.10                    3%                                      0.07
'oK                                 0.95                     3%                                      0.06
LA                                  0.84                     3%                                      0.05
KY                                  0.81                     3%                                      0.05
Total                               31.62                   100'/o                                   1.90



EPA final CSAPR update 12km APCA contributions


                                                                                                                              34
Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 78




                                                                C




                                                                C
                      Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 79
     r"\
     l J
                                     '
    Step 1: Identify Problem Monitors

                                                       2009-13        2009-13         2023Avg 2023 Max
Site ID      State              County                 AvgDV          MaxDV              ov ·    DV
480391004    Texas              Brazoria                 88.0              89          74.0     74.9
484392003    n-exas             n-arrant                 87.3              90          72.5     74.8
482011039    n-exas             Harris                   82.0              84          71.8     73.5
482010024    rrexas             Harris                   80.3              83          70.4     72.8
481210034    n-exas             Denton                   84.3              87          69.7     72.0
482011034    Texas              Harris                   81.0              82          70.8     71.6




EPA 12km design values as published in March 27, 2018 EPA memo
                                                                                                   36
                 Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 80




 Step 1 (cont.): International Contribution
Tarrant {484392003) - 72.5 ppb {12km modeling)
     - Reduction needed to achieve attainment: 1.6 ppb
     - International contribution
                                  '

        • Canada/Mexico: 1.24 ppb (assumed to be 100%
          international)
        • Boundary Conditions: 24.38 ppb (only need credit for
          0.36 ppb - 1.5 % of BC -in addition to Can/Mex - to
          bring monitor into attainment)
            - 89% of global NOx emissions are generated outside U.S.
   - Weight of Evidence: This monitor is likely to be in
     attainment of the 2015 ozone NAAQS "but for"
     international emissions

 n                                          o·                                   r
                                                                                     37
                 Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 81   I)
 0


 Step 1 (cont.): International Contribution
Harris (482011039) - 71.8 ppb (12km modeling)
     - Reduction needed to achieve attainment: 0.9 ppb
     - International contribution
        • Canada/Mexico: 0.47 ppb (assumed to be 100%
          international)
        • Boundary Conditions: 24.67 ppb (only need credit for
          0.43 ppb - 1.7 % of BC - in addition to Can/Mex - to
          bring monitor into attainment)
            - 89% of global NOx emissions are generated outside U.S.
     - Weight of Evidence: This monitor is likely to be in
       attainment of the 2015 ozone NAAQS "but for"
       international emissions

                                                                                      38
                 Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 82




 Step 1 {cont.}: International Contribution
Brazoria (480391004) - 74.0 ppb (12km modeling)
     - Reduction needed to achieve attainment: 3.1 ppb
     - International contribution
         • Canada/Mexico: 0.44 ppb (assumed to be 100%
           international)
         • Boundary Conditions: 24.02 ppb (only need credit for
           2.66 ppb - 11.07% of BC - in addition to Can/Mex - to
           b~ing monitor into attainment)
            - 89% of global NOx emissions are generated outside U.S.

     - Weight of Evidence: This monitor is likely to be in
       attainment of the 2015 ozone NAAQS "but for"
       international emissions

                                                                                 39
 0                                          0
                         Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 83           r,,
    0                                               0

        Step 1: International Emissions
•   NOx Emissions influencing boundary condition are overwhelmingly (89%)
    from international sources:
         China                      21%
         Int. Shipping              13%
         USA                        11%
         India                       7%
         Russian Fed.                3%
         Brazil                      3%
         Iran                        2%
         Indonesia                   2%
         Japan                       2%
         Mexico                      2%
         Int. Aviation               2%
         Canada                      1%
         Saudi Arabia                1%

•   Source: "European Commission, Joint Research Centre (JRC)/PBL Netherlands Environmental Assessment
    Agency. Emission Database for Global Atmospheric Research (EDGAR)"
                                                                                                      40
                           Case: 23-3216    Document: 32-3     Filed: 06/16/2023    Page: 84



                  Step 2: Linkage assessment (1%)
                                      2023 Avg 2023 Max
Site ID       State   County            DV        DV                 AR            IL          LA        MS        MO      OK
1480391004 Texas      Brazoria             74.0         74.9        0.90       1.00            3.80      0.63      0.88   0.90
~84392003 Texas       Tarrant              72.5       - 74.8        0.78       0.29            1.71      0.27      0.38   1.71
1482011039 Texas      Harris               71.8        73.5         0.99       0.88            4.72      0.79      0.88   0.58
482010024 Texas       Harris               70.4        72.8         0.29       0.34            3.06      0.50      0.38   0.20
481210034 Texas       Denton               69.7        72.0         0.58       0.23            1.92      0.33      0.24   1.23
482011034 Texas       Harris               70.8        71.6         0.54       0.51            3.38      0.39      0.63   0.68


                                                                                                       Initial &
Site ID       State   County                TX        Can +Mex Offshore                 Fire          Boundary      Biogenic
480391004     Texas   Brazoria             26.00        0.44           2.31             2.05            24.02         5.60
1484392003    Texas   Tarrant              27._64       1.24           1.18             1.34            24.38         6.44
                                                  -
1482011039    Texas   Harris               22.82        0.47           4.04             2.09            24.67         4.50
~82010024     Texas   Harris               25.62        0.28           4.83             0.77            27.83         2.66
1481210034    Texas   Denton               26.69        0.92           1.23             0.87            24.69         6.42
1482011034    Texas   Harris               25.66        0.24           3.91             1.75            25.71         3.44



          -
     EPA 12km APCA contribution calculations
                                                        ~                                                             r
                                                                                                                          41
 n           Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 85   r,

       1% Contribution Threshold
• Some states and stakeholde.rs argue that 1% (O. 70
  ppb) is not scientifically supported and is more
  stringent than current 2016 EPA Significant
  Impact Level (SIL) guidance of 1.0 ppb
• Potential for states to subm·i t SIP revision citing
  SIL as acceptable for total state anthropogenic
  contribution threshold
• Allow as an alternative that sign·ificance occurs if
  greater than 1 ppb and eliminate linkage with 5
  upwind states

                                                                                  42
                         Case: 23-3216    Document: 32-3   Filed: 06/16/2023    Page: 86



           Step 2: Linkage assessment(> 1 ppb)
 I




                                              2023Avg 2023 Max
 Site ID        State         County            DV       DV                    LA            OK          TX
 480391004       Texas         Brazoria         74.0          74.9             3.80         0.90        26.00
 484392003       Texas        !Tarrant          72.5          74.8             1.71         1.71        27.64
 482011039      rrexas         Harris           71.8          73.5             4.72         0.58        22.82
 482010024      !Texas         Harris           70.4          72.8             3.06         0.20        25.62
 ~81210034       Texas         Denton           69.7          72.0             1.92         1.23        26.69
 482011034       Texas         Harris           70.8          71.6             3.38         0.68        25.66


                                                                                            Initial &
Site ID         State         County         Can+ Mex        Offshore           Fire       Boundary     Biogenic
480391004       Texas         Brazoria           0.44           2.31           2.05          24.02        5.60
~84392003      1Texas        !Tarrant            1.24           1.18           1.34          24.38        6.44
482011039       Texas         Harris             0.47           4.04           2.09          24.67        4.50
1482010024     rrexas         Harris             0.28           4.83           0.77          27.83        2.66
!481210034     !Texas         Denton             0.92           1.23           0.87          24.69        6.42
!482011034     ITexas         Harris             0.24           3.91           1.75          25 .71       3.44


     EPA 12km APCA contribution calculations                                                                     43

      u                                              0
 0
               Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 87
                                                                               n

Step 3 - Determine Required Response .

• No nonattainment receptors (if international
  emissions are recognized)
• Only problem monitors: maintenance
• Alternative maintenance approaches
     - Show cost effective controls in place; or
     - 10 year projection with no emission increase




                                                                                   44
                     Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 88



              Step 3: Maintenance Alternative:
              10 Year Reduction Demonstration
                                       Annual Anthropogenic NOx Emissions

State                       2011 (Tons)               2023 (Tons)         Change(Tons) Change(%)

Arkansas                         232,185                 132,148                 -100,037        -43%

Illinois                         506,607                 293,450                 -213,156        -42%

Louisiana                        535,339                 373,849                 -161,490        -30%

Mississippi                      205,800                 105,941                     -99,859     -49%

Missouri                         376,256                 192,990                 -183,266       -49%

Oklahoma                         427,278                 255,341                 -171,937       -40%



   As reported by EPA, final CSAPR update summaries
                                                                                                     45
     (\
                                                0                                              r"'
 n                o
             Case: 23-3216
                                  n
                             Document: 32-3   Filed: 06/16/2023   Page: 89



Step 3 - Determine Required Response
         · to Nonattainment
If Tarrant, Harris a·nd/or Brazoria, are deemled to
be nonattainment, allow the following
alternatives
  - Show cost effective controls in place, or
  - Proportiona,I contribution (a.k.a., 'red lines'
    approach)




                                                                             46
               Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 90




                          Conclusion
• Approval of Good Neighbor SIP for 2008 and 2015 ozone
  NAAQS would obviate new transport rules and 126 petitions
  and the 176A petition
• Good Neighbor SIPs can be approved without r1ew controls for
  all states in the East with recognition of the following:
• Step 1:
   - Alternative modeling platforms
       • Recognition of the.several modeling platforms that are
         known to be appropriate to assess transport, including
         12km and 4 km
      • MOG 4km modeling improves results in NV/CT; MD;
        Ml/WI
                                                                               47
  n                                       0
0
                Case: 23-3216
                      \
                                Document: 32-3
                                           0
                                                 Filed: 06/16/2023   Page: 91
                                                                                n

                 Cone Iusion {cont.)
    Step 1 (cont.):
    - Recognition of international emissions
        • Allowing credit for only Can/Mex resolves MD
        • Allowing additional credit for 1% of BC resolves all
          monitors in East other than TX
        • Allowing additional credit for 2% of BC resolves all
          monitors in East other than 1 monitor in TX
        • Allowing additional credit for 12% of BC resolves all of
          East, including TX




                                                                                    48
                  Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 92




                  Conclusion (cont.)
• Step 2:
     - Allow linkage to be based on impacts greater than 1 ppb
       (not 1 %) eliminates linkages with TX for the states of AR,
       MS, MO, OK, IL)
• Step 3:
     - Allow "maintenance" to be addressed through a no
       emission increase demonstration helps all upwind states
     - For nonattainment, allow states to allocate responsibility
       for new control. This works particularly well in MD and WI
       which have only 1 potential nonattainment monitor (if
       international is not considered). Once ppb contribution to
       nonattainment is determined, states can calculate the
       extent to which emissions would need to be reduced or
       cost-justified                                            ....
                                                                      49
 0                                           0
  0             Case: 23-3216   Document: 32-3    Filed: 06/16/2023   Page: 93   0,
                                           0

               Contact Information

David M. Flannery                                Gregory M. Stella
Steptoe & Johnson, PLLC                          Alpine Geophysics, LLC
{304) 353-8171                                   {828) 675-9045
Dave.Flannery@Steptoe-Johnson.com                gms@alpinegeophysics.com




                                                                                      50
    Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 94




(
                AppendixD
                    Public Hearing




C
            Case: 23-3216        Document: 32-3        Filed: 06/16/2023       Page: 95




                    KENTUCKY DIVISION FOR AIR QUALITY
                         NOTICE OF PUBLIC HEARING
             TO REVISE KENTUCKY'S STATE IMPLEMENTATION PLAN

The Kentucky Energy and Environment Cabinet will conduct a public hearing on September 21,
2018, at 10:00 a.m. (EDT) in Conference Room 111 located at 300 Sower Boulevard, Frankfort,
Kentucky 40601. This hearing is being held to receive comments on a proposed revision to
Kentucky's 2015 Ozone Standard Infrastructure State Implementation Plan (SIP) addressing the
Clean Air Act (CAA) Section 110 requirements.

This hearing is open to the public and all interested persons will be given the opportunity to present
testimony. The hearing will be held, ifrequested, at the date, time and place given above. It is not
necessary that the hearing be held or attended in order for persons to comment on the proposed
submittal to EPA. To assure that all comments are accurately recorded, the Division requests that
oral comments presented at the hearing also be provided in written form, if possible. To be
considered part of the hearing record, written comments must be received by the close of the
hearing. Written comments should be sent to the contact person. All comments must be submitted
no later than September 21, 2018.

The full text of the proposed SIP revision is available for public inspection and copying during
regular business hours (8:00 a.m. to 4:30 p.m.) at the following location: Division for Air Quality,
300 Sower Boulevard, Frankfort, Kentucky 40601. Any individual requiring copies may submit a
request to the Division for Air Quality in writing, by telephone or by fax. Requests for copies
should be directed to the contact person. In addition, an electronic version of the proposed SIP
revision document and relevant attachments can be downloaded from the Division for Air
Quality's website at: http://air.ky.gov/Pages/PublicNoticesandHearings.aspx.

The hearing facility is accessible to people with disabilities. An interpreter or other auxiliary aid
or service will be provided upon request. Please direct these requests to the contact person.
CONTACT PERSON: Lauren Hedge, Environmental Scientist II, Evaluation Section, Division
for Air Quality, 300 Sower Boulevard, Frankfort, Kentucky 40601. Phone: (502) 782-6561; E-
mail: Lauren.Hedge@ky.gov.

The Energy and Environment Cabinet does not discriminate on the basis of race, color, national
origin, sex, age, religion or disability and provides, upon request, reasonable accommodation
including auxiliary aids and services necessary to afford an individual with a disability an equal
opportunity to participate in all services, programs and activities.
                            Case: 23-3216          Document:   32-3 Filed: 06/16/2023
                                                     Energy and Environment Cabinet
                                                                                        Page: 96
                                                        DIVISION FOR AIR QUALITY
                                                               Public Hearing
                                                             September 21, 2018


                                                                                              TESTIMONY
Name: .                                                            0
                                                                                   Verbal    Written   None     Time
                                                                                                              limited?

                                                                                                       V
                                                                                   Copy of SOC?


                                                                                              TESTIMONY
Name:

                                                                                   Verbal   Written    None     Time
                                                                                                              limited?



City:                                                                              Copy of SOC?


                                                                                              TESTIMONY
Name:    L                           r
                                                                                   Verbal   Written    None     Time
                                          (.D                                                                 limited?

Address: ~

City:                                     State:   k.      Zip:   qo(oo            Copy of SOC?


                                                                                              TESTIMONY
Name:         /fJ1/lvt ~ ~ c ?h
                              J);,1-11_                                            Verbal   Written    None     Time
Affiliation/Company:                                                                                          limited?

Address: .5(){)        cJtft,,,vay- GI vcl •                                                           ✓
City:   'n-,::;,.,/,c! f;,,,-f-           State:   J:::-''/ Zip: Lfouo/            Copy of SOC?


                                                                                              TESTIMONY
Name:

                                                                                   Verbal   Written    None     Time
Affiliation/Comoanv:                                                                                          limited?

Address:

City:                                     State:          Zip:                     Copy of SOC?
       Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 97




 C




'''-
                  Case: 23-3216                  Document: 32-3                   Filed: 06/16/2023                  Page: 98


                               UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                                               REGION 4
C                                                      ATLANTA FEDERAL CENTER
                                                          61 FORSYTH STREET
                                                      ATLANTA, GEORGIA 30303·8960


                                                            September 20, 2018


    Mr. Scan Alteri. Acting Director
    Kentucky Energy and Environment Cabinet
    Department for Environmental Protection
    300 Sower Blvd.
    Frankfort, Kentucky 40601

    Dear Mr. Alteri:

    Thank you for your kiter dated August 23, 2018. transmitting 11 prehearing state implementation plan
    (SIP) revision addressing Kentucky's obligations under the Clean Air Act's Section I JO(a)( I) and (2)
    for the 2015 8-hour ozone National Ambient Air Quality Standard, also known as the "infrastructure··
    SIP. This certification of compliance with infrastructure requirements is the subject of a public hearing
    scheduled for September 21, 2018. We have completed our preliminary review of the prehearing
    package and offer comments in the enclosure.

    We look forward to continuing to work with you and your staff. If you have any questions, please
    contact Ms. Lynorae Benjamin, ChicC Air Regulatory Management Section, at (404) 562-9040, or have
    your staff contact Mr. Brad Akers at (404) 562- 9089.

                                                                           Sincerely.




                                                                            Air Planning and Implementation Branch


    Enclosure




C
                                                   Internet Address (URL} • httpJ/www epa.gov
                       Aecycied/Rec:yclable • Printed wi1h Vogetable 01 Based Inks on Rt!C)'Cled Paper (Minimum 30% Poslconsumer)
             Case: 23-3216       Document: 32-3        Filed: 06/16/2023       Page: 99



   The U.S. Environmental Protection Agency Comments on Kentucky's Prehcaring Submittal                    (
           Regarding the 2015 Ozone Infrastructure State Implementation Plan (SIP)

Key Comments

Section 110(a)(2)(D)(i)(I), "Prongs 1 and 2"

1. The modeling perfonned by Alpine Geophysics (Alpine} in support of Kentucky's 2015 ozone
   interstate transport SIP detennined downwind nonattainment monitors in 2023 and evaluated the
   significance of upwind states contributions for the 2015 ozone national ambient air quality standards
   (NAAQS) based on alternative flexibilities and/or analytics proposed in the EPA~s March 27, 2018
   Memorandum (/11/ormation on 1he Inters/ate Tram.par/ Slate lmplemel1/atio11 Plan Submissions for
   the 2015 Ozone NAAQS 1111der /he Clean Air Acl Section 1 JO(a)(2)(D)(i)(l). As discussed on page
   50 of the SIP submission, the use of these flexibilities provide alternative results than the EPA's
   2023 modeling platform in terms of downwind receptors and Kentucky's projected contribution. We
   would like to have further discussions on these differences and below provide examples.

   a. Page 51 ~ Alpine projects the Harford County, Maryland, monitor as a nonattainment receptor
      with an average design value of 71.l parts per billion (ppb). ln the submittal, Kentucky indicates
      that the EPA's modeling platfonn did not account for newly announced unit retirements, fuel
      switching and modifications. Please identify any specific emission reductions anticipated in the
      downwind state that Kentucky believes were not accounted for in the EPA's modeling. To the
      extent that Kentucky believes anticipated emission reductions would address the average design
      value of 71.1 ppb identified in the Alpine modeling, Kentucky should also explain how such           Q
      reductions would address maintenance concerns at this same receptor, given both the EPA
      modeling and the Alpine modeling identified a maximum design value of 73.3 ppb and 73.5 ppb,
      respectively.
   b. Page 53 - Kentucky says that the E PA ..... did not run separate models to assess how much the
      emissions from Canada and Mexico contributed to monitors within the U.S. Alpine detennined
      that accounting for the contribution of emissions from Canada and Mexico would impact the
      attainment status of several monitors." The EPA believes these statements blend different aspects
      of accounting for contributions from Canada and Mexico. Specifically, the EPA did provide
      separate contribution data for emissions from in the portions of Canada and Mexico within the
      modeling domain, as did Alpine. However, Alpine applied these contributions to the projected
      2023 design values to lower the design values by the amount of contribution from Canada and
      Mexico. Please provide more infonnation to support the technical basis for this approach to
      calculating design values. The application of this approach does not address the maintenance
      concerns at this same receptor, given both the EPA modeling and the Alpine modeling identified
      a maximum design value of 73.3 ppb and 73.5 ppb, respectively, and would still be above the .
      NAAQS even without inclusion of the 2023 Canada and Mexico contributions.
   c. Pages 54-55 - Kentucky suggests that the degree of reductions required of upwind states linked
      to maintenance receptors should be different than that required for upwind states linked to
      nonattainment receptors. However, Kentucky does not propose how the obligations of upwind
      states should differ for the former group of upwind states. As noted, the EPA's modeling links
      emissions from Kentucky to one maintenance receptor in Harford County, Maryland, based on
      the 1 ppb threshold. The Alpine modeling identifies this receptor as nonattainment, which
      Kentucky asserts would have an average design value below the NAAQS if certain other factors,
      addressed in prior comments. were considered. T he EPA notes that the obligation to address          (
                 Case: 23-3216        Document: 32-3         Filed: 06/16/2023       Page: 100



           maintenance of the NAAQS also applies to receptors identified as nonattainmenl receptors.
C          Therefore, considering the results of either modeling platform, Kentucky should explain how it
           has addressed its projected interference to maintenance of the NAAQS at the Harford County
           receptor.

    2. The analysis of Step 1 and Step 2 includes an intricate combination of the EPA's 12-kilometer (km)
       modeling and Alpine's 4-km modeling. The outcome of this approach appears to be that Kentucky is
       linked for nonattainment and maintenance (i.e. prong 1 and prong 2) to the receptor in Harford
       County, Maryland where the 2023 average design value for this site based on A1pine's modeling is
       71.1 ppb. The approach in the SIP involves mixing and matching the contribution data from the
       EPA's modeling with design values from Alpine's modeling. The EPA is unclear as to how this
       additional information would provide a basis to conc1ude that Kentucky does not significantly
       contribute to downwind receptors. An alternative: more straightforward approach would be to rely
       entirely upon the EPA's projected design values and contribution data and apply the 1 ppb screening
       threshold established in the EPA's August 31, 2018 Memorandum to the contributions from
       Kentucky to downwind receptors. Specifically, the EPA's modeling projects that the Harford site
       will be a maintenance-only receptor with a 2023 average design value of70.9 ppb. See Analysis of
       Contribution Thresholds for Use in Clean Air Act Section 110(a)(2)(D)(i)(I) Interstate Transport
       State Implementation Plan Submissions for the 2015 Ozone National Ambient Air Quality
       Standards. The EPA's modeling also shows that this site is the only receptor to which Kentucky
       contributes above 1 ppb. Thus, under this approach Kentucky would only be linked to the
       maintenance receptor in Harford County, Maryland.

    3. The SIP refers to a number of expected electricity generating units (EGU) closures, plans for fuel-
       switching, and other actions that are expected to reduce future nitrogen oxide (NOx) emissions in
       Kentucky (page 31 ). As indicated in comment J above, in the SIP revision, please identify which of
       these actions were not accounted for in the EPA 's 2023 modeling. Also, in support of Kentucky's
       analysis: please provide an estimate of the anticipated ozone season NOx emissions reductions from
       these actions in 2023. The EPA encourages Kentucky to include information about NOx reduction
       efforts, costs, and air quality impacts which may help provide the Agency with additional rationales
       for why further NOx reduction is not needed. In addition, Kentucky should consider including
       information related to steps 3 (identification of emissions reductions necessary- considering costs
       and air quality factors - to prevent an identified upwind state from contributing significantly to those
       downwind monitors) and 4 of EPA's traditional 4-step framework. This discussion should include
       information about EGU as well as non-EGU sources. If the Commonwealth intends to rely on the
       anticipated reductions related to these facilities as measures to address its contribution to downwind
       receptors, then the Commonwealth would need to consider providing a separate SIP revision that
       incorporates these emission reductions into the SIP and demonstrates how the reductions at these
       facilities will affect the receptors to which the Commonwealth is linked.

    Section l lO(a)(l)(D)(i)(I), "Prong 4"

    4. To obtain full approval for prong 4, a state can either rely on a fully approved regional haze SIP or
       provide a demonstration in its infrastructure SIP submission that emissions within its jurisdiction do
       not interfere with other air agencies' plans to protect visibility. The EPA acknowledges Kentucky's
       ongoing work to obtain a full approval of its regional haze SIP, including a pending SIP submission
       that would change the Commonwealth's reliance from the Clean Air Interstate Rule to the Cross-
0      State Air Po11ution Rule for for certain regional haze requirements.

                                                         2
             Case: 23-3216        Document: 32-3         Filed: 06/16/2023       Page: 101




General Comments
                                                                                                              C
Section l lO(a)(2)(D)(i)(I), "Prongs 1 and 2"

5. Kentucky's prehearing submittaJ discusses use of a 1.0 ppb threshold in relation to the 2015 EPA
   Significant Impact Level (SIL) guidance. On April 17, 2018, the EPA released guidance on ozone
   and particulate matter significant impact levels (SI Ls) for the prevention of significant deterioration
   (PSD) pcnnitting program. The EPA has not made the detennination that the S[L, developed for
   source-specific PSD purposes, could be considered an appropriate threshold to use when assessing
   contribution from an entire-state. The EPA's August 31, 2018, memorandum regarding use of a 1.0
   ppb threshold, stated that the amount of upwind coJlective contribution captured with the 1 percent
   and 1.0 ppb thresholds was generally comparable and that it may be reasonable and appropriate for
   states to use a 1 ppb contribution threshold. The EPA recommends Kentucky consider referring to
   this memorandum as part of its rationale for comparing its contribution to a I ppb threshold. See
   Memorandum from Peter Tsirigotis, Director, OAQPS to Regional Air Division Directors. re:
   Analysis of Contribution Thresholds for Use in Clean Air Act Section l 10(a)(2)(D}(i)(I) Interstate
   Transport State Implementation Plan Submissions for the 2015 Ozone National Ambient Air Quality
   Standards, avai Iable at https://www.epa.gov/sites/production/files/20 J8-09/documents/
   contrib thresholds transport sip subm 2015 ozone memo 08 31 18.pdf. lfKentucky believes it
   is appropriate to use the 1 ppb threshold in its SIP development, then the Commonwealth would only
   be linked to one potential maintenance receptor for the 2015 ozone NAAQS in the EPA's 2023 air
   quality modeling in Harford County, Maryland (which Alpine modeling identifies as a
   nonallainment receptor). The EPA notes that the contribution threshold alone was not intended to
   represent a '"significant contribution" as suggested on page 51 of the SIP submission, but rather a
   contribution that merits more consideration to detennine ifa state impacting a downwind receptor
   above that threshold will significantly contribute to nonattainment or interfere with maintenance of
   the NAAQS.

6. On page 31 of the prehearing submission, the EPA notes that Kentucky cites to the Cross-State Air
   Pollution Rule (CSAPR) Update as part of its interstate transport demonstration for the 2015 ozone
   NAAQS. The Update trading program provides for reductions of annual and ozone season nitrogen
   oxides (NOx) and sulfur dioxide emissions from EGUs, and the analyses used to develop the Update
   rule were based on data and inputs specific to addressing downwind nonattainment and maintenance
   issues for the 1997 and 2008 ozone NAAQS. The EPA suggests the Commonwealth modify the
   discussion on page 31 to clarify that the CSAPR trading programs were developed to address states'
   I 10(a)(2)(D)(i)(I) obligations for the 1997 and 2008 ozone NAAQS but may provide NOx emission
   reduction co-benefits for the 2015 ozone NAAQS.

Section 11 0(u)(2)(J) (Consultation)

7. The EPA recommends that Kentucky include a statement noting that 40 CFR 5 l.308(i)(4) requires
   states to maintain continuing consultation procedures with the Federal Land Managers regarding any
   regional haze plan (or plan revision), and includes progress reports, and that Kentucky maintains
   such procedures in the Commonwealth's regional haze plan and progress report.



                                                                                                              C
                                                     3
                Case: 23-3216        Document: 32-3         Filed: 06/16/2023      Page: 102



    Other Comments

C   Section 110(a)(2)(D)(i)(I), "Prongs 1 and 2"

    8. 40 l KAR 5 I :240 (CSAPR NOx Annual) and 401 KAR 5 l :250 (CSAPR NOx Ozone Season) are
       currently listed with other SIP-approved provisions. The EPA suggests that the Commonwealth
       provide a note that it provided these regulations for approval into the SIP on September 13, 2018.




C
                                                        4
       Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 103




 C




'''-
                        Case: 23-3216            Document: 32-3        Filed: 06/16/2023   Page: 104



     NEW YORK STATE DEPARTMENT OF ENVIRONMENTAL CONSERVATION
C    Division of Air Resource■
     625 Broadway, Albany, New York 12233-3250
     P: (518) 402•8452 IF: (518) 402-9035
     www.dei:.ny.gov

                                                                          SEP 2 1 2018
          Ms. Lauren Hedge
          Division of Air Quality - Evaluation Section
          Kentucky Department of Environmental Protection
          300 Sower Boulevard
          Frankfort, KY 40601

          Dear Ms. Hedge:

         The New York State Department of Environmental Conservation (DEC) appreciates the
         opportunity to comment on the Kentucky Department for Environmental Protection's (KY
         DEP) proposed infrastructure State Implementation Plan (SIP), specifically the interstate
         transport pollution section pursuant to Clean Air Act (CAA) section 11 0(a)(2)(D)(i)(I).
         Otherwise known as the Good Neighbor provision, this section requires states to include
         adequate measures in their S!Ps prohibiting emissions that result in significant
         contributions to nonattainment or interference with maintenance in downwind areas,
         such as New York. According to U.S. EPA's 2023 projection modeling, Kentucky
         significantly contributes to two Connecticut monitors under the 2015 ozone National
0        Ambient Air Quality Standards (NAAQS) that are within the shared New York-Northern
         New Jersey-Long Island, NY-NJ-CT nonattainment area (NYMA). DEC therefore has
         an established interest in KY DEP's transport determination.

          DEC commends Kentucky on the reductions in ozone precursor emissions to date, but
          requests that KY DEP take additional measures to resolve its current significant
          contributions to the NYMA for the 2015 ozone NAAQS, rather than waiting to see
          whether its contributions are resolved years into the future. Most importantly, KY DEP
          should make enforceable commitments for all control measures and operational
          changes (e.g., unit shutdowns) discussed in this transport analysis. KY DEP relies on
          2023 CAMx projection modeling conducted by EPA and Alpine Geophysics in its Good
          Neighbor demonstration. EPA's 2023 projection modeling is riddled with unenforceable
          assumptions and inaccuracies that render the results suspect; enclosed are comments
          submitted by DEC to EPA on the many flaws in its projection modeling associated with
          its "Cross-State Air Pollution Rule (CSAPR) Close-Out" proposal. Future-year market
          trends are difficult to predict; EPA has discussed the uncertainty in U.S. Energy
          Information Administration fuel-use projections, and notes that "[b]ecause of the rapid
          pace of these power sector changes, it is difficult for sector analysts to fully account for
          these changing trends in near-term and long-term sector-wide projections. This means
          that regulatory decisions made today could be based on information that may very well



.c                                                                 I
                                                    4   ~
                                                         E.WYORK   Oepartmentof
                                                                   Environmental
                                                                   conservation
           Case: 23-3216         Document: 32-3         Filed: 06/16/2023         Page: 105



                                                                                                    2.

be outdated within the next several years."1 Without enforceable emission limits being
                                                                                                         C
implemented at facilities as assumed in the faulty 2023 modeling, there is no guarantee
that any emission reductions will actually occur. This serves to underrepresent the
extent of downwind nonat!ainment a[ld  1
                                          maintenance issues, and minimizes the extent of
ozone transport from ilpwind states such as Kentucky. Additional monitors in the New
York City metropolitan area, including in New York State, would likely be shown to be
significantly impacted by Kentucky if not for the various issues in EPA's modeling.
Irrespective of projected future design values and emissions contributions, Kentucky is
obligated to resolve its current significant contributions to the New York City
metropolitan area, which continues to record exceedances of the 2008 and 2015 ozone
NAAQS.

KY DEP claims that "NOx emissions from EGUs will continue to decrease with the
implementation of the CSAPR Update," along with unit retirements. Despite the CSAPR
Update being fully implemented, Kentucky sources have not been optimizing their
existing controls and the NYMA continues to monitor NAAQS exceedances; due in large
part to pollution transport from upwind states like Kentucky.

First, KY DEP must apply enforceable limits to assure projected emission reductions
take place. The CAA specifically requires SIPs to "include enforceable emission
limitations and other control measures, means, or techniques (including economic
incentives such as fees, marketable permits, and auctions of emissions rights), as well
as schedules and timetables for compliance, as may be necessary or appropriate to
meet the applicable requirements."2 Indeed, a SIP cannot be considered
                                                                                                         0
administratively complete unless it includes "[e]vidence that the plan contains emission
limitations, work practice standards and recordkeeping/reporting requirements, where
necessary, to ensure emission levels."3 Without specific enforceable emissions limits
and control measures, DEC submits that the SIP is incomplete and does not meet the
requirements of the CAA and implementing regulations.4

KY DEP should institute emission limits consistent with SCR optimization at all EGUs
forocasted by U.S. EPA to operate at a 0.1 lb/mmBtu emission rate in 2023, including
unit 3 at the Paradise Fossil Plant.5 While KY DEP touts the shutdown of two coal
boilers at Paradise, the remaining unit had 2017 ozone season nitrogen oxide (NOx)
emissions of 2,425 tons at an emission rate of 0.223 lb/mmBtu.6 Had it operated its
SCR controls to achieve the assumed rate of 0.1 lb/mmBtu, this one unit by itself would
have reduced its 2017 ozone season NOx emissions by an additional 1,338 tons.


1
   "Emission Guidelines for Greenhouse Gas Emissions from Existing Electric Utility Generating Units;
Revisions to Emission Guideline Implementing Regulations; Revisions to New Source Review Program,w
Proposed Rule. Published August 31 , 2018. 83 FR 44751.
2 42 U.S.C. §7410{a){2)(A)
3
   40 CFR Part 51 , App. V, §2.2(g)
4
   42 U.S.C. §7410{a)(2) and 40 CFR 60.24
5 "2023en_Engineering_Analysis_Unit_File.xls" workbook released with October 27, 2017 Page

Memorandum
ll O.S. EPA Air Markets Program Oafa
                      Case: 23-3216     Document: 32-3               Filed: 06/16/2023   Page: 106



                                                                                                      3.
C   Second, KY DEP should implement emission controls on its major stationary sources
    based on a more stringent control threshold . New York and other downwind states,
    such as Connecticut, have already adopted control measures that are considerably
    more stringent than most upwind states. For example, DEC applies Reasonably
    Available Control Technology (RACT) requirements statewide on both EGUs and non-
    EGUs, at a current cost threshold of $5,500 per ton of NOx reduced; meanwhile, many
    upwind states - including Kentucky - unreasonably rely on EPA's flawed claim that
    EGU NOx reductions that cost more than $1,400 per ton would not be cost-effective.
    For the 2017 ozone season, emissions from Kentucky's electric generating sector were
    400% (16,000 tons) greater than electric generating emissions in New York, with an
    average emission rate over 200% higher.7

    While it is true that ozone concentrations are declining over the long term,8 KY DEP
    ignores current trends at monitors in the NYMA. Presented below are ozone design
    value trends for the Stratford and Westport monitors, which show some variation, but ·
    both have design values equal to or higher than in 2009 and exhibit an overall flat or
    increasing design value trend since 2009.9 This trend has developed despite continual
    NOx and volatile organic compound reductions from New York, New Jersey, and
    Connecticut to fulfill their reasonable further progress obligations pursuant to 2008
    ozone NAAQS requirements (with actual reductions having greatly exceeded the
    required three percent per year), further highlighting the need for upwind emission
    reductions.
0   r         0.090


        _ 0.0B5
        E
        C.
        C.
        °c"
         a
            0.0BO
        -~
        e 0.015
        Ill
        u
        C:
        0
        u 0.070


              0.065



                              -   Stratford, CT   -   Westport, CT




    7 U.S. EPA Air Markets Program Data
    8KY DEP's Proposed Infrastructure State Implementation Plan for the 2015 Ozone National Ambient Air
    Quali Standards, Table 4 - "Design Values for Kentucky-Linked Downwind Connecticut Monitorsff
      ote t a · ·   es,gn va ues are preliminary and represent exceedances as of September 5
           Case: 23-3216         Document: 32-3          Filed: 06/16/2023         Page: 107



                                                                                                     4.

KY DEP chose to utilize the longstanding contribution threshold of 1% of the standard
                                                                                                                   C
(i.e., 0. 70 ppb for the 2015 NAAQS), 10 though it discussed the validity of using a 1 ppb
threshold as an alternative. Despite EPA's August 31, 2018 memorandum analyzing
the use of a 1 ppb threshold, DEC believes there is not a sound basis for the piecemeal
adoption of such threshold. Rather, the continued use of the 1% threshold is required
for consistency across all states and because it is directly tied to the level of the
NAAQS; thus, it is a far superior fit to the reductions needed for downwind attainment.
If upwind states selectively use a higher contribution threshold while downwind states
face a lower, more stringent NAAQS, it will have the inequitable effect of requiring
downwind states to reduce their emissions even more at greater cost to compensate for
upwind states doing even less at lower costs. The contribution threshold is tied not only
to the linkages established under step 2 of the CSAPR framework, but the resulting
emissions budgets for upwind states under step 3. It is unreasonable and clearly
inequitable for upwind states, on an ad hoc basis, to use a higher contribution screening
threshold at the same time downwind states face a lower NAAQS. For example, while
contributions from Kentucky are linked to the two Fairfield, CT monitors at the 1% level,
the linkage would not be retained when using a 1 ppb threshold according to the Alpine
modeling. 11 Using a higher contribution threshold places the burden of additional
reductions at these other downwind monitors entirely on the downwind states (and
potentially on other upwind states using a 1% threshold), despite the demonstrable
contribution using the settled 1% approach from Kentucky at these monitors. This is
clearly not an equitable or cost-effective solution to ensuring downwind states such as
New York attain the 2015 ozone NAAQS as expeditiously as practicable, and could
mean the difference between attainment and nonattainment.
                                                                                                                   0
In summary, we commend Kentucky for reductions in ozone precursor emissions to
date, but believe the draft SIP requires significant revisions before it can be considered
complete by EPA and in compliance with the requirements of the CAA. If you have any
questions in relation to this letter, please contact Mr. Michael Sheehan, Director of the
Bureau of Air Quality Planning, at (518) 402-8396.

                                                   Sincerely,



                                                   Steven E. Flint, · E
                                                   Director, Division of Air Resources

Enclosure

10
   See, e.g., Cross-State Air Pollution Rule (CSAPR), 76 FR 48208, 48236-38 (Aug. 8, 2011) (using 0.80
ppb as threshold, which is 1% of the 1997 ozone NAAQS); Cross-State Air Pollution Rule Update
(CSAPR Update), 81 FR 74504, 74518 (Oct. 26, 2016) (using 0.75 ppb threshold, 1% of the 2008 ozone
NAAQS; "much of the ozone nonattainment problem being addressed by this rule is still the result of the
collective impacts gf r~l~tiv~!Y small contributions from many upwind states.").                                    (
11
   KY DEP's Proposed Infrastructure State Implementation Plan for the 2015 Ozone National Ambient Air                  ;
Quality Standards, I able 9 - "KenlucRy"Si§niffcant Contribution using 1.0 ppb Significant Thresho ia~· -----'~_..;a..-s
                      Case: 23-3216            Document: 32-3                     Filed: 06/16/2023   Page: 108


     OFFICE OF THE COMMISSIONER

C'   New York State Department of Envlronm11ntal Co- rv~tron
     625 Broadway, 14th Floor, Albany, New York 12233-1010
     P: 1518) 402-8545 1F: (518) 402-8541
     www dee ny gov
                                                                                      AUG 3 1 2018
         Mr. Andrew Wheeler
         Acting Administrator
         U.S. Environmental Protection Agency
         Mail Code: 1101A
         1200 Pennsylvania Avenue NW
         Washington, DC 20460

         Re:      "Determination Regarding Good Neighbor Obligations for the 2008 Ozone
                  National Ambient Air Quality Standard," Fed. Reg. Vol. 83, No. 132, Pages
                  31915-31939, July 10, 2018
                  Docket ID No. EPA-HQ-OAR-2018-0225

         Dear Acting Administrator Wheeler:

         The New York State Department of Environmental Conservation (DEC} strongly
         disagrees with EPA's proposed determination that the Cross-State Air Pollution Rule
         (CSAPR) Update fully addresses interstate pollution transport that impairs New York's
         ability to meet the 2008 ozone National Ambient Air Quality Standards (NAAQS) (the
0        Proposed Rule}. For too long, New Yorkers have been subject to increased asthma
         and other respiratory illness and even premature mortality due in large part to the
         transport of air pollution from out-of-state coal-fired power plants. On behalf of the
         people of New York, I insist that EPA take action now to reduce the upwind pollution
         that plagues New York, not kick the can down the road until 2023.

         For all the reasons explained more fully in the attachment to this letter, EPA's analysis
         that the New York City metropolitan area will meet the 2008 ozone NAAQS by 2023 is
         both incredible and irrelevant: incredible because it is based on unreasonable
         assumptions and ignores EPA's own actions to allow increased pollution; irrelevant
         because the Clean Air Act requires lower ozone now, not in 2023. Earlier this year, on
         July 2, 2018, New York experienced ozone levels in the lower Hudson Valley that were
         the highest seen in the past decade- levels that are "very unhealthyn for the general
         public, according to EPA's own rating system. EPA's claim that ozone levels will
         improve significantly by 2023 ignores its regulatory proposals this month designed to
         increase the consumption of coal and petroleum and allow increased emissions from
         coal-fired power plants and motor vehicles. In fact, it admits in the Regulatory Impact
         Analysis for the rollback of the Clean Power Plan that its proposal will increase ozone
         levels, causing up to 230 additional deaths from elevated ozone levels (and many more
         from particulate matter). 1 In addition, EPA's conclusion relies on its unsupported

          1 "Regulatory Impact Analysls for the Proposed Emlsslon Guidelines for Greenhouse Gas Emissions from
          Existing Electric Utility Generating Units; Revisions to Emission Guideline Implementing Regulations;
C         Revisions to New Source Review Program.· EPA OAQPS, August 2018. Table 4-6, page 4-33.
                                                                              I
                                                      4         EWYORK
                                                               on::,:.,,.,.
                                                                              Departmentof
                                                                              Environmental
                                                                              ConsorvaUon
          Case: 23-3216          Document: 32-3          Filed: 06/16/2023         Page: 109



                                                                                                      2.
assumption that upwind power plants will voluntarily run emissions controls, contrary to
                                                                                                           C
the documented re9ord thi1t plants do not run their controls unless they are legally
required to do so.    HiOS
                        i ~ :)11/,

Furthermore, EPA's 2023 target for achieving the 2008 ozone standard is an arbitrary
target without any basis in the Clean Air Act, seemingly designed to excuse upwind
power plants from taking action now to reduce their ongoing contribution to pollution in
New York and other locations. EPA does not even bother identifying a legal basis for
the 2023 target. In fact, New York was most recently required to achieve compliance
with the ozone NAAQS in July 2018, a requirement that is not being met largely due to
the 75-95% of New York's ozone that originates out-of-state.2 EPA is now obligated to
reclassify the New York-Northern New Jersey-Long Island, NY-NJ-CT nonattainment
area (hereafter NYMA) to serious nonattainment, which would extend the attainment
deadline to July 2021 - with compliance based on ozone levels in 2018-2020, well
before the 2023 target date assumed by EPA. Absent additional emission reductions in
upwind states, it is extremely unlikely that the NYMA will attain the 2008 ozone NAAQS
by that 2021 deadline given the attainment margin of 0.1 parts per billion (ppb) in 2023
that EPA predicts under this proposal. 3 Simply put, EPA's 2023 target date is an
arbitrary construct that allows upwind coal-fired power plants to continue polluting
without using even the most rudimentary pollution controls.

The additional delay in attaining the 2008 ozone NAAQS in the NYMA will further
compromise the health of millions of New York residents. Ozone pollution causes a                          C
range of respiratory symptoms and aggravates existing conditions such as asthma and
lung disease, and likely causes increased mortality and cardiovascular effects. EPA
determined in 2015 that the 2008 NAAQS, at a level of 75 ppb, was no longer
considered "requisite to protect public health with an adequate margin of safety, as
required by the CAA... ti◄ New York's ongoing struggle to attain an outdated health
standard intensifies the need for relief from upwind states.

New York and the other NYMA states have already implemented more control
measures than most, if not all, of the states in the eastern United States, and many of .
these controls have been implemented at a much higher cost than the estimated costs
for available controls in the upwind states.. For example, in New York, the most recently
available cost data estimates that the marginal cost of additional NOx reductions is



2
  "upclated_2023_rnodeling_dvs_coUective_contributions.xts• workbook released with ~Information on the
Interstate Transport State Implementation Plan Submissions for the 2015 Ozone National Ambient Air
Quality Standards under Clean Air Act Section 11 0(a)(2)(D)(i)(I)" Memorandum from Peter Tsirigotis,
Dlrector, EPA OAQPS, to Regional Air Division Directors. March 27, 2018.
3
  "Supplemental Information on the Interstate Transport State Implementation Plan Submissions for the
2008 Ozone National Ambient Air Quality Standards under Clean Air Act Section 110(a)(2)(D)(i)(I)."
Memorandum from Steven D. Page, Director, EPA OAQPS, to Regional Air Division Directors. October
21,2011.
4
  "National Ambient Air Quality Standards for Ozone,~ Final Rule. Published October 26, 2016; effective
                                                                                                           C
December 28, 2015. 80 FR 65294.
             Case: 23-3216         Document: 32-3         Filed: 06/16/2023        Page: 110


                                                                                                    3.

    more than $5,000 per ton of NOx removed.5 In contrast, the marginal cost of additional
    controls EPA has used to determine cost-effectiveness in the CSAPR Update was $800
    per ton of NOx removed estimated to optimize existing and operating selective catalytic
    reduction (SCR) units and $1,400 per ton of NOx removed estimated to turn on idled
    existing SCR units. The inequity of control requirements between upwind and
    downwind states will continue to grow with this proposed action as New York, which will
    have no more coal-fired power by 2020, is forced to impose additional in-state controls
    on other sources and consumer products to offset the burden of transported pollution
    from upwind coal-fired plants.

    Finally, EPA should stop subjecting New York and other downwind states to a
    regulatory form of three card monte, under which it has rejected the requests of New
    York and other downwind states for action under other provisions of the Clean Air Act
    based on the availability of the remedy under Section 110(a)(2)(0) that is the basis of
    CSAPR. In the past year, EPA has denied requests for action under Section 176A {to
    add States to the Ozone Transport Region) and Section 126 petitions, claiming that its
    admittedly incomplete CSAPR remedy will fully address interstate air pollution. But
    now, rather than strengthening CSAPR to provide the complete remedy needed, EPA
    claims its work is done - because the air will somewhat mysteriously become clean
    enough on its own by 2023.

    Respectfully, EPA should avoid such delusional thinking, grounded in inaccurate
    assumptions and an arbitrary target date, and do the job required by the Clean Air Act -
0   require upwind states to adhere to their good neighbor obligations and reduce the
    pollution they allow unabated from coal-fired power plants. EPA should impose more
    stringent and enforceable control measures that will ensure attainment of the 2008
    ozone NAAQS in the NYMA as expeditiously as possible, but no later than the serious
    nonattainment area compliance deadline of July 20, 2021.

    Thank you for your attention and consideration of these views.

                                                      Sincerely,




                                                      Basil Seggos
                                                      Commissioner

    Attachment




    5 New York State DEC, DAR-20 Economic and Technical Analysis for Reasonably Available Control

0   Technology (RACT) (Aug. 8, 2013), available athttps·/twww.dec.ny.gov/chemical/91851.html
             Case: 23-3216           Document: 32-3            Filed: 06/16/2023   Page: 111




                             Detailed comments on EPA's methodology                                        C
EPA's Proposed Rule is based on a critically flawed modeling analysis that purports to
show that there will be no remaining nonattainment or maintenance receptors in the
eastern United States in 2023. The inaccuracies in EPA's projection modeling include
the following:

Unenforceable Control Assumptions
In Step 1 of its analysis, EPA presumes that certain emission reductions will occur, and
thus air quality will improve in the future to such a degree that no area in the eastern
United States will endure ozone nonattainment or maintenance issues. Many of these
claims of emission reductions are dubious and are unlikely to occur without enforceable
provisions. EPA's approach is contrary to the fundamental principle behind the
statutory obligation that State Implementation Plans (SIPs) must "include enforceable
emission limitations" and "contain adequate provisions prohibiting ...any source or other
type of emissions activity within the State from emitting any air pollutant in amounts
which will contribute significantly to nonattainment in, or interfere with maintenance by,
any other State with respect to any such national ambient air quality standard."1 By
declaring future air quality as attaining the National Ambient Air Quality Standards
(NMQS) without requiring the very measures by which that prediction was made, EPA
subverts the text and meaning of Clean Air Act (CM) section 110(a)(2).

EPA's modeling assumed, with no basis in federally enforceable permit limits, that
certain electric generating units (EGUs) would operate existing selective catalytic
                                                                                                           C
reduction (SCR) units, or install new state-of-the-art nitrogen oxide (NOx) controls, in
2023. Furthermore, EPA assumes -relying solely on historically unreliable Department
of Energy predictions2 - additional emission reductions in its analysis. In reality, actual
emissions data from EPA's Air Markets Program show that, of the 72 Cross-State Air
Pollution Rule (CSAPR) region EGUs for which EPA assumed optimized SCR operation
(i.e., an emission rate of 0.1 lb/mmBtu),3 over half - 37 units - operated with a NOx
emission rate greater than 0.1 lb/mmBtu in the 2017 ozone season, which was the first
implementation year for the CSAPR Update (see enclosure).4 In some cases, actual
emissions of individual units were more than 1,000 tons higher than if they had operated
according to EPA's o·.1 lb/mm Btu control assumption - for example, unit 1 at the W.H.
Zimmer Generating Station in Ohio emitted 1,432 tons more than if it emitted at the 0.1
lb/mmBtu level, and unit 3 at the Paradise Fossil Plant in Kentucky emitted an additional
1,338 tons.



1
    Clean Air Act sections 11 0(a)(2)(A) and 11 0(a)(2)(i)(I), respectively
2 U.S. Energy Information Administration's "Annual Energy Outlook Retrospective Review,· Table 1 -

"AEO Reference Case Projection Results." Available at https;//www.eia.gov/outlooksJaeo/retrospective/
3
  "2023en_Engineering_Analysis_Unit_File.xls" workbook released with October 27, 2017 Page
Memorandum
4 Figures ignore two units that had no 2016 or 2017 emissions; five units with 2017 heat input less than

1,000,000 mmBtu, which suggests inconsistent operation not conducive to SCR control; and one unit with
no apparent match in the Air Markets Program Data.

                                                   Page 1 of 6
                Case: 23-3216          Document: 32-3          Filed: 06/16/2023          Page: 112




O·   EPA claims in its Proposed Rule that it does not need to include enforceable
     commitments in its projections, stating "... not all of the factors influencing the EPA's
     modeling projections are or can be enforceable limitations on emissions or ozone
     concentrations. However, the EPA believes that consideration of these factors
     contributes to a reasonable estimate of anticipated future ozone concentrations."
     Enforceability of control measures is a consistent requirement throughout the CM,
     whether it be for redesignation to attainment5 or an attainment SIP. 6 Notably, EPA
     denied New York's 2008 ozone NMQS good neighbor SIP, in part, because "the
     submission did not demonstrate that the emission rates at which [EGUs] in the state
     operated were the result of enforceable emission limits or other mandatory programs
     such that the emission rate wo~ld not increase."7 EPA appears to have changed its
     approach regarding the requirement for enforceable measures without reasonable
     explanation.

     In this case, where over half the units are documented to exceed EPA's assumed rate,
     the erroneous nature of EPA's rate assumption could not be more clear. Moreover,
     there will be no more of an incentive for facility owners to operate their SCR controls in
     2023 than in 2017. Ozone season NOx emissions in 2017 were 23,000 tons below the
     cap, and as of the date of these comments, 2018 emissions are on pace to be 51,000
     tons below the cap. Given the overabundance of NOx allowances, EGUs can be
     expected to continue to operate without optimized SCR controls.

0    The CSAPR program, which allows for banking of allowances, purchasing of allowances
     to cover excess emissions, and long-term emissions averaging, can be effective at
     reducing regional emissions when considering a longer timeframe, but does not assure
     controls will be operated on hot, hazy, and humid summer days when the need for
     controls is greatest. Despite implementation of the CSAPR Update, the fourth-highest
     eight-hour ozone concentrations in the NYMA in 2017 and 2018 have continued to
     exceed the 2008 ozone NAAQS.8

     Ozone season NOx allowances were valued at only $270 per ton as of August 10,
     2018,9 which is considerably lower than the cost estimates in the now two-year-old
     CSAPR Update, which EPA reaffirms in its Proposed Rule without any updated
     analysis: $800 per ton estimated to optimize existing and operating SCR units and



     5 Section 107(d)(3)(E)(ili)
     15 Section 172(c)(6)
     7 ~Partial Approval and Partial Disapproval of Air Quality Implementation Plans; New York; Interstate
     Transport Infrastructure SIP Requirements for the 2008 Ozone NAAOS♦- Final Rule. Published August
     26,2016. 81 FR 58850. Emission rates in the New York analysis were based on actual emissions that
     were projected forward reasonably assuming no change in operation. EPA's 2023 modeling, in contrast,
     is projecting lower future emissions rates and assuming changes in operations without any requirement to
     do so, many of which have not actually occurred.
     11 New York State DEC, High Ozone Values During 2018, available at
     http://www.dec.ny.gov/chemical/38377.html
     9 Argus Air Daily, Issue 18-154, August 10, 2018


                                                   Page 2 of 6
          Case: 23-3216          Document: 32-3          Filed: 06/16/2023         Page: 113




$1,400 per ton estimated to turn on idled existing SCR units.10 Allowance prices never                       C
exceeded the $800 per ton threshold during the 2017 ozone season or the 2018 ozone
season to date. Absent permanent and enforceable emission limits, it is unreasonable
to assume that units will operate already-installed controls, rather than just purchasing
cheaper allowances.

Uncertainty in Model Performance
Under the 4-step approach, EPA attempts to determine future air quality through the
use of projection inventories and predictive air quality modeling. While this is valid in
attempting to compare the potential efficacy of proposed control strategies and other
emission reduction scenarios, EPA uses the model results to predict actual air quality in
future years. In this way, EPA overly relies on a single analysis using the
Comprehensive Air Quality Model with Extensions (CAMx) to determine future air
quality. EPA completely ignores, however, a similar, equally valid regulatory model it
has developed for the same purpose, the Community Multiscale Air Quality Modeling
System (CMAQ),11 which shows far different results. EPA has not explained or justified
its choice of the CAMx model over the CMAQ model.

DEC modeling using the CMAQ platform showed major differences in projected ozone
levels when compared to the CAMx model that was used by EPA to support the
proposal. Projected design values using CMAQ were up to 9.2 ppb higher - more than
10 percent of the standard - for northeastern region monitors when using the MARAMA
2023 (gamma2) emissions inventory. The greatest differences were at coastal
receptors, such as the Susan Wagner (NY) and Westport {CT) monitors - the latter
being the current design value monitor for the NYMA nonattainment area. DEC's
                                                                                                             C
modeling results are enclosed.

To verify the accuracy of CMAQ modeling at these receptors, DEC projected 2017
design values from a 2011 baseline at the Westport (83 ppb) and Susan Wagner (78
ppb) monitors. The results compare favorably to the actual measured 2017 design
values of 83 ppb and 76 ppb, respectively. This lends further credibility to the CMAQ
modeling results for 2023 and warrants further analysis by EPA prior to finalization of
this proposal.

In a separate action, EPA faulted New York for "not provid[ing] any information to
explain why the [Ozone Transport Commission (OTC)] CMAQ modeling results for the
Westport, Connecticut and Susan Wagner, New York monitoring sites are dissimilar to

10 •cross State Air Pollution Rule Update for the 2008 Ozone NMQS," Final Rule. Published October 26,

2016. 81 FR 74541: "The EPA identifies $800 per ton as a level of uniform control stringency that
represents optimizing existing SCR controls that are already operating to some extent...The EPA
identifies $1,400 per ton as a level of uniform control stringency that represents turning on idled SCR
controls:
11 "CMAQ provides detailed information about the concentrations of air pollutants in a given area for any

specified emissions or climate scenario. Since 1998, when the first version was released. CMAQ has
been used to evaluate potential air quality policy management decisions. The model provides reliable
information for decision makers about the estimated impacts of different air quality policies." EPA's CMAQ   (
Fact Sheet, June 2017, available at https·//www.epa.gov/cmaq/cmaq-fact-sheet

                                              Page 3 of 6
               Case: 23-3216          Document: 32-3            Filed: 06/16/2023          Page: 114




0   other near-by sites or why the CMAQ modeling provides a more representative ozone
    projection for these two sites compared to the EPA and OTC CAMx based modeling
    results."12 This frankly is EPA's responsibility and not New York's. CMAQ was
    developed, validated, and approved for SIP use by EPA, and as a community air quality
    model it has been through an intensive performance evaluation. OTC and New York
    have followed EPA modeling guidance in conducting its projections and CAMx
    comparison. Before EPA can conclude in the Proposed Rule that ozone design values
    in 2023 attain by only the narrowest of margins - 0.1 ppb - it must conduct its own
    analysis of the emission response difference between CMAQ and CAMx since both
    models were developed by EPA and run by New York consistent with EPA guidance.
    Because the greatest differences in model performance were witnessed at coastal-area
    monitors, EPA should also review its methodology for the land/water interface in
    calculating future design values - for example, whether the water grid cells should be
    included in the calculation, ignored, or averaged. Given the model disparities, it is
    crucial to project ozone concentrations at these monitors accurately.

    Use of 2023 as a Projection Year
    In selecting 2023 as the future year for which new controls could reasonably be
    expected to be installed, EPA ignores what can be done fQr the next attainment date for
    the NYMA (i.e., July 20, 2021). Moreover, since whether or not a state has attained is
    determined by looking at the three years prior to the deadline, EPA cannot ignore those
    years in detennining whether an upwind state "will contribute" to downwind
0   nonattainment or interfere with maintenance. By failing to assess air quality within an
    appropriate timeframe, EPA functionally sets an artificial attainment date for the NYMA
    so that upwind areas are not burdened by controls. This unduly burdens the NYMA
    because if the area does not attain the standard - as is expected - EPA will be required
    to reclassify the area to severe nonattainment which brings additional programmatic and
    emission reductions requirements to the nonattainment area.

    EPA argues in its Proposed Rule that future-year projections are appropriate for
    resolving good neighbor obligations based on its interpretation of the phrase "will
    contribute" in CM section 11 0(a)(2)(0)(i). 13 This interpretation is inconsistent with the
    plain meaning of section 110 and arbitrary and capricious, particularly in light of EPA's
    past practice. EPA ignores CM section 110(a)(2)(d)(i)'s use of the word "emitting,''
    which includes protection against current emissions from upwind sources that are
    significantly contributing to a downwind areas inability to attain a NMQS. By ignoring
    the plain language of the CM and the fact that once emissions from an upwind area



    12 ·Air Plan Approval; Kentucky; 2008 Ozone NAAQS Interstate Transport SIP Requirements,• Final Rule.
    Published July 17, 2018, effective August 16, 2018. 83 FR 33753.
    13 CAA section 110(a)(2)(D)(i)(I) reads (emphasis added): •each implementation plan submitted by a

    State under this Act shall be adopted by the State after reasonable notice and public hearing. Each such
    plan shall contaln adequate provisions prohlbltingj consistent with the provisions of this title, any source
    or other type of emissions activity within the State from emitting any air pollutant in amounts which will
    contribute significanUy to nonattainment in, or interfere with maintenance by, any other State with respect
    to any such nationat primary or secondary ambient air quality standard.

                                                   Page4of6
          Case: 23-3216         Document: 32-3         Filed: 06/16/2023         Page: 115




transport into a downwind nonattainment area in high enough amounts14 that upwind
source is significantly contributing to nonattainment in that downwind area, EPA is
                                                                                                         C
denying downwind states a vital tool in their battle against upwind pollution transport.
Additionally, CAA section 126(b) is directly linked to section 110(a)(2)(D)(i); it provides
that a state "may petition the Administrator for a finding that any major source or group
of stationary sources emits or would emit any air pollutant in violation of the prohibition
of section 110(a}(2)(D)(i)" (emphasis added). Here, EPA is focusing solely on future air
quality, ignoring the current situation. The above clauses confirm that current air
pollution transport cannot be ignored. Indeed, EPA denied New York's 2008 ozone
good neighbor SIP, in part, because "the submission used a projection year (2020) to
model downwind air quality that is two years beyond the July 11, 2018 [sic] moderate
area attainment date for the 2008 ozone NAAQS."15

Further, while EPA has emphasized the selection and modeling of 2023 based on a
reasonable expectation of the timing needed for installation of new controls, it has
consistently failed to state that the optimization it has assumed to support the proposal's
conclusions can be addressed through the present application of federally enforceable
permit conditions. These enforceable conditions would ensure that the optimization
occurs in the time frame needed to address the significant contribution from upwind
sources to downwind nonattainment well in advance of the July 20, 2021 attainment
deadline for serious areas. This proactive approach for enforceable commitments by
the 2021 attainment deadline is necessary to determine what emission reductions are
possible, rather than waiting until 2023 to see whether such assumptions have been
realized. EPA in the past has shown a greater urgency to have controls in place; for
example, with the CSAPR Update, it examined controls available for 2017
                                                                                                         C
implementation in time to assist with moderate nonattainment areas' 2018 attainment
deadline.

Rule Reconsiderations, Rollbacks and Petition Denials
EPA's projection modeling did not account for rule changes that EPA is currently
considering that could occur by 2023. For example, the Trump administration's plan to
roll back clean car standards and EPA's proposal to eliminate the cap on glider trucks,
which have the potential to emit 20 to 40 times the NOx of new trucks, will lead to more
ozone pollution.16,17 Likewise, the proposed rollback of the Clean Power Plan (CPP) will
result in increased NOx emissions from coal-fired plants that will operate more than
would be expected under the CPP.


14
   EPA has identified that CSAPR uses a screening threshold of 1 percent of the NAAQS to identify
contributing upwind states. "Determination Regarding Good Neighbor Obligations for the 2008 Ozone
National Ambient Air Quality Standard,· 83 FR 31923.
15
   "Partial Approval and Partial Disapproval of Air Quality Implementation Plans; New York; Interstate
Transport Infrastructure SIP Requirements for the 2008 Ozone NAQS," Anal Rule. Published August 26,
2016, effective September 26, 2016. 81 FR 58850.
18
   •The Safer Affordabte Fuel-Efficient (SAFE) Vehicles Rule for Model Years 2021-2026 Passenger Cars
and Light Trucks," Notice of Proposed Rulemaking. Published August 24, 2018. 83 FR 42986-43500.
17
   "Repeal of Emission Requirements for Glider Vehicles, Glider Engines, and Glider Kits." Proposed
Rule. Published November 16, 2017. 82 FR 53442.
                                                                                                         C
                                            Page5of6
              Case: 23-3216         Document: 32-3          Filed: 06/16/2023        Page: 116




0   EPA has also followed circular logic when acting on petitions submitted by states
    seeking relief from ongoing ozone pollution transport from upwind states. In denying a
    CAA section 176A petition brought by nine ozone transport region states, EPA stated
    that an expansion of the OTR "would not be the most efficient or effective way to
    address the remaining interstate transport issues for the 2008 ozone NAAQS in states
    currently included in the OTR. "18 EPA went on to tout the flexibilities provided by the
    good neighbor provision and CAA section 126(b), noting that the latter would "provide□
    states with an additional opportunity to bring to the EPA's attention specific instances
    where a source or a group of sources in a specific state may be emitting in excess of
    what the good neighbor provision would allow. "19 Yet EPA in recent months has denied
    a CAA section 126(b) petition brought by Connecticut, and has proposed denial of
    petitions brought by Delaware and Maryland.20, 21


    Enclosures




0




    18 "Response to December 9, 2013, Clean Air Act Section 176A Petition from Connecticu~ Maryland,
    Massachusetts, New Hampshire, New York, Pennsylvania, Rhode Island and Vermont." Notice of final
    action on petition. Published and effective November 3, 2017. 82 FR 51250.
    19 fbid, 82 FR 51242.
    20 "Response to June 1, 2016 Clean Air Act Section 126(b) Petition from Connecticu~· Notice of final

    action on petition. Published and effective April 13, 2018. 83 FR 16064,
0   21 "Response to Clean Air Act Section 126(b) Petitions from Delaware and Maryland: Notice of proposed
    action on petitions. Published June 8, 2018. 83 FR 26666.

                                                Page 6 of 6
                                                                    Case: 23-3216                                    Document: 32-3                                  Filed: 06/16/2023                               Page: 117


                                                                                                             Modif,cation or EPA's '2023en_Engineering_Analysis_Unit_Fi!e.xls'




             ,,                                                                       ,..._._ .•.,_.   .   .,... .      ...
                                                              I   ·- - -
                                                                                                                                       1                201TJt.leat' - \--Av·, - -~               ~- -'D!I'~ :~16 l:KOSS'i J 2016 ' ~&NQi 2023 NOx I
                                                Stale ORIS. 18clffar.' ~,§
                                                                                                                                       201'1'Npxj                                    Rate      . · lftput
                  5a.!!lllly                                                                           ~'l')pe ,                                         "Input            l .        .,._ .   <                 ]Generatfoo C a ~!                                 Reason for Adjustment
                                                              \            ~ ~   ·~ J ._.._.                         ·---·    ....,.
                                                                                                                                       !i<~) l #-me•"'· ""litmniatu\, r'"'mBN , L r...un.--i                                      F...;+,v ! ~ ~
                                                                                                                                                                                                                                                       (tons)
,G,eeniomo Generation LLC                        NY      2527     6 1759 T"""entialw.fired                                                  128,0        1A.'32134                       Mn                                                                     nntimize SCR lo 0.10 lblmmBtu
 Massena Ene""' Facilitv                         NY     54592   001 3783 Combined .........                                            I       ~    I     _ ..1f'..'!CI0 1 t.           10:,490       31 .503          2,070         1%            3          2 Optimize SCR to 0.10 lblmmBtu
 Somerset .....,.ra,...,, Comnanv l l<intlahl
AMP-Ohio Gas Turbines Galion
AMP-Ohro Gas Turbines Naooleon
                                                 NY
                                                 OH
                                                 OH
                                                         6082
                                                        55263
                                                        55264
                                                                  1 2781 .JW bottom wall-fired boiler
                                                                   en4363 Combustion turbine
                                                                CT1 4365 Combustion !urbine                                            ;
                                                                                                                                                85.9
                                                                                                                                       c:.::;.:::i.1r5 1 :
                                                                                                                                                   3:7J,
                                                                                                                                                            ·~,-,,,
                                                                                                                                                            1.1107915

                                                                                                                                                               ◄e,890
                                                                                                                                                                                 ~
                                                                                                                                                                                         0,171
                                                                                                                                                                                       . 0;150
                                                                                                                                                                                         OA49
                                                                                                                                                                                                   5,561,371
                                                                                                                                                                                                      30199
                                                                                                                                                                                                33,2811
                                                                                                                                                                                                                     581 267
                                                                                                                                                                                                                       2212
                                                                                                                                                                                                                       2,101
                                                                                                                                                                                                                                    24%
                                                                                                                                                                                                                                     2%
                                                                                                                                                                                                                                     2%
                                                                                                                                                                                                                                                505
                                                                                                                                                                                                                                                   2
                                                                                                                                                                                                                                                   2
                                                                                                                                                                                                                                                           27f Ootimize SCR to 0.10 lb/mmBtu
                                                                                                                                                                                                                                                              2 Onnmize SCR to D.10 lblmmBtu
                                                                                                                                                                                                                                                              2 uotimlze SCR to 0.10 lb/mmBtu
 GenJ ~Gavin                                     OH      8102     1 3461              cen
                                                                               bumer boiler                                                1 806.2         34.47(' 988 -         - - G.:105 34,012 071             3.416.518        78%       1.912      1701 ODlimize SCR lo 0 .10 lblmmBtu
 K11oerCreek                                     OH      2876     1 1971 Wat bottDm wall-fired boiler                                         173.7         5.74r7o&                     0.060     5858 1!.21i       578.434        61%          531       293 Ootimize SCR lo 0. 10 lb/mmBlu
 K"""rCreek                                      OH      2876     2 1972 Wet boltom wall-fired boiler                                       156.0        5.239 657                       0.080
                                                                                                                                                                                      5,352.170                      528,705        55%          508       268 INifflize SCR to 0.10 lb/mmBtu
 Kyge r Creek                                    OH      2876     3 1973 Wal bottom waif.fired boiler                                       171.4        5.40~.639                    5.no.◄ S&
                                                                                                                                                                                         0.063                       575.183        80%          562       289 Ootimize SCR to 0.10 lblmmBtu
 Kum,rCreek                                      OH      2876     4 1974 Wal bottom waif.fired boiler                                       174.9        5 -•=624                        0.1164
                                                                                                                                                                                      5 322 115                      "'"' 54.:;     55%         476        266 Oollmize SCR to 0.10 lb/mmBtu
 Kvee rCreek                                     OH      2876     5 1975 \Ml! bot1xlm wall-fired boiler                                     166.8     5,19:?',417          o.oa.. 5 663 ]!Ill                         563 474       59%          530       283 •, -_~-,- SCR lo 0 .10 lb/mmBtu
 Miami Fort Power Station                        OH      2632     7 1895 Ceil bumer boiler                                                   753.3   13.190.753 _          0.11 15.487 535                         1623 286         78%          796       774 n"lim1ze SCR lo 0 .10 lb/mmBtu
 Miami Fort Power Station _                      OH      2832     8 1896 jjy bottom wall-fired boiler                                        951.9 12 2(· 331              0,1Sl 13.026,033                        1,552,677 '      71%       1. 116       651 Ootimize SCR to 0 ..10 lb/mmBlu
1W HSammis                                       OH      2866     6 1961 ..., bottom waif.fired boiler                                       623.4 12. Qi',537             0.10 13 727JJ-;n                        1,547,935        51%          716       686' Ootimlze SCR to 0 .10 lb/mmBtu
 W H Zimmer Generarinn Station                   OH      6019     1 2683 rv bottom waif.fired boiler                                       2 971.9 ' 30 2;· 7,53          10;1,c 32 508,51!                        3 762 307        66%       3,240      1.625 Ootlmlze SCR to O 10 lb/mmBtu
 Bruoa Mansfield                                 PA      6094     1 2no iV bottom waif.fired boiler                                          439.8 13 4 1.413              0.085 14.331 148                        1.583,080        44%         968        717  o~-        SCR to 0 .10 lblmmBlu
 Bruce Mansfield                                 PA      6094     2: 2771 ..., bottom wall•fired boiler                                      491.4 12.677.401              0,078 20457 91(                         2,349 576        62%       1.628      t 023 Oolimize SCR lo 0 .10 lb/mmBtu
 Bruce Mansfield                                 PA      6094,    3 2772 HY bottom wall-fired boiler                                         450.7 10-91t.224              0.083 21689747                          2.425 03/i       68%       2,009      1.0114 :lll mlze SCR to 0 .10 lblmmBtu
 Cheswick                                        PA      8226 '   1 347~ TanamliaW-lirad                                                     532.7    6 834411             0.1 ..... 10.586 120                    1.045 on         46%       2086         529 Qo 'mize SCR lo 0 ,10 lblmmBIU
 Conemaooh
 HomerCilv
                                                 PA
                                                 PA
                                                         3118
                                                         3122'
                                                                  1 2065 TaMer,tia!lv-fired
                                                                  1 2072 Drv bottom wall-fired boiler
                                                                                                                                             805.4 22 ,..,.. 935
                                                                                                                                             963.8 10981.718
                                                                                                                                                                           0.072, 20,538.696
                                                                                                                                                                           0.1n 11.612,798
                                                                                                                                                                                                                   2.104,24~
                                                                                                                                                                                                                   1.171.548
                                                                                                                                                                                                                                    61%
                                                                                                                                                                                                                                    47%
                                                                                                                                                                                                                                              1822
                                                                                                                                                                                                                                              1.43:a
                                                                                                                                                                                                                                                         1 027  -    ·m1ze SCR lo 0 .10 lblmmBlu
                                                                                                                                                                                                                                                           581 Qr, ""ize SCR to 0 .10 lblmmBtu
 HomerCitv                                       PA      3122     2 2073 J<W bottom wall-fired boiler                                        443.8    4.954466             0.179 7,870.946                            824,348       32%'      1.410        394 Oolimize SCR ID 0. 10 lb/mmBtu
 HomerCitv                                       PA      3122     3 2074 ON bollom waif.fired boiler                                         332.8    5 79!, 026 1-        0.1'15 13 004 787                       1,320 226        49'11,    1,854        650 .JOtimlze SCR to 0.10 lblmmBlu
 ,u,yl!:fl::>n&                                  PA      3136     1 2089 Taooon.tlallv•fired                                               1057.2    2484i 854             0.085 24 209 336                        24712415         74%       1.859      1,210 Oolimlze SCR to 0.10 lb/mm811J
 Ke...,one                                       PA      3136     2 2090 r - u a l l11-fired                                                 947.1   27.24i.115            0.070 21 909,1 19                       2.290. 089       67%       1.749      1095 · ...,llmfze SCR lo 0 10 lb/mmBlu
                                                                                                                                                                           o.~
                                                                                                                                       .
MOnlOU~ LLC                                      PA      3149     1 2124 T,.,..._.R■;-nrec,                                                  462.8    6.<112.016      ,              11 961 o-                     1 ,32◄ 219       ◄◄ 'II,   2,316        598 ODIJmlm SCR to 0.10 lblmmBtu
Montour~LLC                                      PA      3149     2 2125 T~""iElllliaJw.fired                                                497.9    6 528 253 L =-=n>:153 11 2596'8                              1 293L343        42%       2129         563 ODtimlze SCR lo 0. 10 lb/mmBtu
WAPansh                                          TI(     3470 CTSC 9081~ CombuSIJon turbine                                              - , No,unlttmn.:h ln!CAMO; .........           1211,751                        9,449        3%           6           6 Optimize SCR to 0.10 lb/rnmBtu
H11nison Power Station                          Wv       394-4    1 2553 DIV bottom wall-fired boiler                                      1 038.3 19.170 52& I ,-..       0.105 '"602.24!                         2L366 899        81%       1,235      1,130 ODtimize SCR to 0. 10 lblmmBlu
Hamson Power Station                            W,/      3944     2 2554 IJ'N bottom wall-fired boiler                                       911.7   2103~- 930            0.087 16 669 936                        1787310          61%       2,004        633 intimlze SCR to 0.10 JblmmBtu
Hamson Power s1a11on                            W,/      3944     3 2555 J1Y bottom wall-fired boder                                         593.1   16..440 316 1         0.072 21 .974.924                       2 .285,081       78%       2.033      1099 OaUmlze SCR to 0 ,10 lb.'mmBtu
John EAmos                                      W,/      393~     3 2540 Cell burner boiler                                                1 581.8   21105t 104 ' -     • 0.113 23502.4~                           2.438.995        54%       1.268      1 175 Ootimize SCR to 0.10 Jb/mmBlu
Pleasants Power Station                         Wv       6004,    1 2673 Ow bottom waif.fired boder                                          369.4    8 ~,864              o....... 15.535 826                     1 769,486        53%       1442         777 0111Jmize SCR to 0 .10 lblmmBtu
Pleasanls Power Station                         Wv       6004     2 2674 n.v bottom wall-fired boiler                                      1201.8 111..2-4&..221           01:r.a 14.784.129                       1,657,827
Combined Locks Enemv Center. LLC
                                                ....,   55558   806 4988 Combined = I t                                                :_· "£-4.1•. ....-7 3!',1.7 64      0.011
                                                                                                                                                                                                                                    46%       1.203        739 Oollmlze SCR to 0.10 111/m mBtu
                                                                                                                                                                                                                                                                Optimize SCR ID 0. 10 lb/mmBIU




                                                                                                                                                    Page2 of 2




                  n                                                                                                                                                                                                                                                          ')
                                                                Case: 23-3216                      Document: 32-3                           Filed: 06/16/2023                        Page: 118
                     0                                                                                                              0                                                                                                         0
                                                                                             Modification of EPA's '2023en_Engineering_Anelysis_Unit_F~e.xls'




                                                                                                                                                                                                                 ·-=
b-
                     F.ac•llr           ~ls~l~~l~1er~~~~11· ,. 'lftlltirype                                                                                                    '2016'Groaa"
                                                                                                                                                                               I    - · - ..
                                                                                                                                                                                  Generitlon ~~
                                                                                                                                                                               I i m'MI) L Fac:to'r
                                                                                                                                                                                                   2018' ,, --"' •
                                                                                                                                                                                                   ·      , 2016"NOxu 2023NOxl
                                                                                                                                                                                                              (t
                                                                                                                                                                                                              ' ~ .
                                                                                                                                                                                                                   )   (tons)        Reason for Adjuabnont

 Charles R Lowman                             Al         5Ei     2                                                    330.5        2 831 1134                                 t--:#i-~el---=F.l---.;!          59~2f---=='='=,::;a::..;e;~~:.;;.;;=.=~
 Charles R Lowman                             Al         56      3                                                    672.6        7 12£ 321                                                               1. 096
,<3ofuas                                      Al          B     1Q                                                  1,411.1       18,191.Z!!Z                                 1-.,..;:;;i;;;;!-.....;~!1---1          . --.;,;:~t::::::i~~~;.1,:;:,=::.::,::~
                                                                                                                                                                                                           ,;.,;:54;,;3:f.
10aNman                                       IL        963     31        645 C      ei boiler                         63.1         1    979              0.098     1.97034                            61%          105     99        imizeSCRto0.101blmmBtu
[Dallman                                      IL        963     32        646 CYCIOIII'! boiler                        SU           1.ocl,886             0.098     1.368.998                          42%    ________12_   68 Qptiml:o SCR to 0.10 tblmmBlu
I;. e Brown Generalino Station            I   IN   I   6137il    1   I   2mloiv bottom wait-fired boiler        I      268.&  j &]g877          I _ o@              1,807.1461             178 .914f   14%j        1511      90i0ptlmiu SCR to 0.10 lblmmatu
   B Brown Genera . ,Station                  IN                                                                       312.8 I 5 2~ 699                                                                44%        452      365 0         ize SCR to 0, 10 lblmmSCu
IA1CoeA11owanceMan.iJrl<(!ffillntlnc          IN                                                                       327.6    8 ,181,099                                        ...........__.="--- -80%      1,452      492           lzeSCRh::l0.10fblmmBltJ
ICa11t1ru1                                    IN     1001        1        708 r~-lialht•fired                          624.9   14 794.651                  O,H! 10.363. 170                976 786     47%      1 690      51B h---...iiiilm SCR to 0.10 lblmmBtu
 C8"'""a                                      IN     1001        2        707 T.-.nliafhl-fired                        498.2   1111."\7.752                0.09( 15.407,920              1831173       72%      2.320      770 ,..-...- scRto 0.101b/mmBtu
,,.,_, Creek                                  IN      983        1        ""' WIit bollDm wall-fired boiler            178.5    483,170                    0,07• 5,000 634                 492.403     49%         653     250 IQi:i!ifni.NI SCR to 0.10 lblmmBlu
~ t Creek                                     IN      983        2        6511, Wet bottom wall-fired boilet'          172.7    4.715.705                  0.073 5,009,274                 492,801 ~'l!,_          669     250 !'l>iiiimize SCR 1c 0.10 lb/mmBtu
 C      C111ek                                IN      983        3        660 Wet bottom wal-fired boiler              149,1                                          5,396,978            5 096       53%         678     270        'mize SCR to 0.10 lb/mmBtu
 CfflY Creel<                                 IN      983        4        661 wet bottom waN-fired boiler              2311.~                                         4,947,507            499,943     48%    .J,Qfl_S     247 OPlftn_jz~~G_R_IQ_0.1Q_!l:llmmBtu
 Cl!fty Creek                             I   IN I 9831          51 682!\.'IJJ!tbottom.wal-firedboilerl                22&.8 I 4,76:..'.-4801           _o.~11        3'. 901'.1811        394,seol    38%1        no!     195loatimiHSCRtoo.101blmmBtu
                                              IN     1012        2   727       bottom wall-fired boiler                 98.4    1 1361                     0.15 - 1 538,899                124,969     15%.        256        n          lze SCR le 0 .10 lblmmBtu
                                              IN     1012        3   728' . bottom wall-fired boiler                   522.7    9.◄57,1154 .               0.111 4.185,938                 371.945     30%        262      209 Qatimize SCR to 0 ,10 fblr1!1!1Btl!
 Gibson                                   I   lti_ L ru13I       11 2782ffk; bottomwall-firedboiler             I      582.3  ! 14:727:441!                o.01sl11.733,1891 11331 ,132j               49%f        9071    5871Qe!i!r!im SCR100.101blmmBtu
 Gibson                                   I   IN I   61131       21 2783f ~_botlomwall-firedboiler              I      349.5 1 13:111:121 1                0.053113.855,5181 1,478,671!                55%1     1.0311     693IOellmizeSCRto0.101blmmBIU
 Gibson                                   I   IN • 61131         JI 2784tDIV boUomwall-liredboiler I                   534.5 I 12.927.938 1                O.OS3118,170.2Sel 1,671 .1821               60%!   -~-399l- -809IOotlmizeSCRto0.10lb/mmBIU
 Gibson                                       IN                               bolttllnwall-firedboiler                674.0   17 3248                                                   1.366687      50%         748     6510 ' ' SCR to 0 .101blmmBtu
'Gibson                                       IN                                                                    1 097,1 15 Qfl:P 371                                                 1 380 171     51%      1.056      625 ,0 lmize SCRI!> 0 1.!UlimmBIU
IPL • Peler&bum Generatinci Station           IN                                                                       470.5 _11.JOtl, 674                                               1.219.213     83%         935    _6_32 Qtlfimlze SCR ta 0.10 lb/mmBtu
 IPL• Peters: ; ; Generati~-.S..mlion     I IN I 9941       31 694ha~liau;.~                                J          526.6  I13:691'.470      I          o.onh6;osi,~:,j 1,476,.9861                 79%)     1.527f     B031@njze SCR to 0.10 lblmmBtu
,EW Brown                                   KY f 1355       3   87& Tan«1entl.ll""-"--'                                219.8    5 ...,., 872               0.0731 8,123,757                751 399     44%        816      406 ~•-lze SCR 1o 0.10 lblmmBtu
IEastBend                                   KY    6018      2 7fil'\~ OnoboUamwall-firedboder                          981.8   18~51.983                   0.10l 19601319                1872,619      68%      1.163      980 IC1nriMizeSCRto0.101blmmBtu t
IGhent                                      KY    1356      3   aaG            o"'
                                                                          bottom wall-fired bo'ler                     917.7 11.ar..784                    0.1- 12110 380                1.390 969     57%      1. 004     606 ~         Wl SCR to 0.10 lblmmBtu
(Ghent                                      KY    1356   ~ _ 887 Q.IY~ wall-fired bo:ter                               353.3 14.157.722                    o.~ 14 109 599                1.515 538     70%         798,    705 Otl!imize SCR to 0.10 lb/mmBlu
 HMP&L Station 2                            KY    13B_2,   H1   92"1      bottom wall-fired boder                      174.7    2 1 588                               2 696.002            2B3 ,894    37$.       284      135        'mize SCR too.10 lblmmBlu I
1HMP&L Station 2                            KY    1382     H2, 9_3.0      boltDm wall-fired boiler                     375.8    4 6. 578                              4 984 no             473 181     68%         36&     249        lmize SC,R to O 10 lb/mmBlu
 Johns. coooor                              KY    1384      2   933 DrY bottom wall-ftltld boiler
                                                                     1
                                                                                                                        98,5    2,09!',482                            2.311!1,.111         244.608     27%         129     120          _tze.§Cl3 ta o.10 tblmmB1u
 Parad.i_se                                 KY    1378      3                                                       2 425.2                                                             2 001 15:?     38%      1. 933   1.028        . g,, S_CR to 0.10 lblmmBtu
 Chalk Point                                MO    1571      1                                                          128.0                                                               511.067     37%         332    _247 - umize SCR to 0,10 lb/mm8tu
                                          , MO 2076,        1                                                          353.4                                                            _ 5.95,088     72%         514     338        'mize SCR ta D.10 lb/mm8111
    NewMadridPawerPl8ot                     MO 2167         1 1351 c -• boiler                                         874.6   11~,,.. 093                 0,108 8,257 sal                 898,937     33%      3,000      413 n,u;,,,1zeSCRI00.101blmmBtu
    New Madrid Power Plant                  MO 2167         2 1358 ...........,e boiler                                787.9   15,09~ 828                 ·o.1"' 16 685,524              1 902,393     85%      3.832      834 rw ci,,,lz,e, SCR lo 0.10 fb/mmBtu I
    Thomas Hal """""' Center                MO 2188, MB1 1359 ·---ce boiler                                          . 349.3    5.971•.757 ,               0.111 4 037 481                 343 226     49%         911     202 0"""'ize SCR to 0.10 lb/mmBlu I
    Thomas Hill ~Center                     MO    2166 __MB2, 136t C'i'd0,teboiler                                     4&4.9    8,617,723                  D.10I 8.506.511! .              813,371     85%      2,022      425 OfJCiflllzeSCR 10 0.101b/mmBtu
    ~ s Hill     E'ne/'J
                      Center              I        I
                                            MO 21eel MB31 1361                rerv
                                                                          bottom wall-fired boiler j                1,002.7 j 20,110,10H                   0.1001 18,8-45,91§1 Z020.355I               63%1     2.2251     94210ptimlze SCR to 0.10 lb/mmBtu
    cam    Point                            NJ 10566· 1001 3554 O boUomwall-firedboiler                                111.1                                                                           41%         143     118        'mizeSCRto0.10lb/mmBtu
    Camew._f>oi_O_t                         NJ 10566, 1002 365:S Orv bottom wall-fired boiler                          133.4                 :1.:..--   --"''-'-"'"""                                  48%         150     139 Oolfmize SCR to 0.10 lblmmBtu
    LOQ!ffl.Gen111111ina Plant            I NJ     hoocal10011 352◄lo&: bottom well-fired boiler                I     182.9   I 3J#,aoa I                 o.tUI       3,259.7641               I       38%1        1751    1&310pelmize SCR to 0.10 lblmmBtu
    ,West Station                           NJ    6776 002001 .2909 Combustion turbine               ~                   0.61 - ·                                           2,962               168     0%           1        o O        lze SCR to 0.10 lblmmBtu
1A~. Enarov                                 NY 10803:       1 359{1 C.!m!t,;ned c.cr.                r-                    .,                                                                                                          mize SCR 1c 0.10 lblmmBIU
iAG- Enemv                                I NY I 10803!     2i 3599!Combmed cyde                   h                      ~ "iL,-:__,c.         1              11             I                I          I            I       !Optimize SCR to 0.10 lblmmBtu




                                                                                                                              Page1cf2
                            Case: 23-3216         Document: 32-3          Filed: 06/16/2023         Page: 119




 Process to compare CAMx and CMAQ models using consistent projectron emissron inventory:

      Began with EPA 2023 projection modeling utilizing 'en'projection inventory and CAMx, released in Oct 2017 (column L)

      Used CAMx to model MARAMA gamma2 projection inventory (column K) to show relative consistency with column L

      Used CMAQ to model MARAMA gamma2 projection Inventory (column J)

      Summarized the difference between CMAQ and CAMx models using MARAMA gamma2 projection inventory (column M}




('                                                                   0                                                       n
                                            Case: 23-3216                   Document: 32-3                       Filed: 06/16/2023               Page: 120
 n                                                                                                   0                                                                                             t;
                                                                                                                   DVF 2021131<3    DVF202331<3     DVF211233"3
                                                                                                 DVF20l73"3                                                          DVF202331<3       DVF2023
                                                                                                                  cellsMARAMA      celkMARAMA      ctlls MARAMA
                                                                                                ctllt MAAAMA                                                         celll frDm £PA Dffference •
St:tte AQSCod• POC latitude 1.of11itude                          Site                DVC:ZOU                      pmma2emls        pmma2 t!fflis   pmrnazemls
                                                                                                betlo2 emb OTC
                                                                                               CMAQS.0 2 setup
                                                                                                                 OTC CMAQS.l.l OTC CMAQS.l.l OTCCAMJl&.40
                                                                                                                       ""UP            ll!tup           setup
                                                                                                                                                                          ...,,.
                                                                                                                                                                    201len/2023ell     CMAQ1t
                                                                                                                                                                                        CAMx

                                                                                                                                              72.3            69.5               69.8    ♦2.1
 er 09-001-0017 1 41.003613 .73.5114999 Greenwich Point Part-Greenwich                   80.3                77               76.2
                                                                                                             74               7Ll             68.0            66.3               66.4   +1.7
 er 09-001-1123 1 41,399166 .73_4431,v Western Conn State Unlv-Danilury                  81.3
 CT 09-001-3007 1 41.15',;Qtl -73.103104 U"'1thoull!-Str.ltfotd                          843                 77               76.8            73.7            70.6               71.2   +J.1
                                                                                         83.7                                                 BLl             71.9               7l.7    ~
 CT 09-001-!l003 1 41.11833l •73.3""7<V ShefWOOd Island Stale Parlt•WestPOrt                                 Bl               83.4
                                                                                         73.7                66               61.9            58.6            511.4              G0.7    ♦0.2
 CT 09-003-1003 1 41.784721 -72.631699 McAuQffe Part•E.ast Hamonl
 CT 09-005-0005 1 41.821342 .73.297302 Moh•wk Ml-tomwail                                 70.3                6l               S9.8            57.0            55.!I              57.2   +1.1
                                                                                         793                 70               66.9            63.S            6.1.1              64.7   +oA
 CT 09-007-0007 1 41.552223 -n.629997 Ce!>rr.11 Valley H~lllli-Mlddletown
 CT !&009-0027 1 41301399 ·72.902901 Criscuolo Park-New Haven                            743                 67               67.8            65.l            61.5               62.3   +3.ti
 CT ~ 2 l 41.260834 .72.550003 Hammona- Slate Part-Madison                               85.7                77               73.9            69.7            69.9               71.2    -G.l
                                                                                                                              70.3            66.2            65.2               66.4    ♦lJI
 CT 09-oll-41124 1 41.35361!1 .72_,r,ncu; fort Griswold Park-Groton                      80.3                73
 CT (&(113-1001 1 41.!176391 -72.388100 Shenlpslt State Forest•Staffonl                   75.3               61               63.2            59.9            59.9               61.4     0.0
 DE 10-001-0002 1 lll.984749 -75.555199 PJIOP!RlY 01' IOUENS POND STATE PARK; BEH        74.3                66               63.8            60.8            57.6               58.3   +3.l
                                                                                         76.3                67               64,l            61.0            58.3               S!l.2   +2.7
 DE 10-003-1007 1 39.551109 ·75.730797
 0£ 10-003-1010 1 39.817223 -75.563904 OPEN FlfiO                                         71.0               67               66.9            63.9            60.9               61.2    +J.0
 OE 10-003-1013 1 39.7738118 •75,4- 8EU£VUE STATE PARK, FIElO IN 51: PORTION             77,7                67               65.9            62.B            60.l               60.8    +2.S
 OE 10-003-2004 1 39.739445 ·75.5S8098 CORNER OF MUC BlVD ANO JUSTISON ST, NOT           75.0                6S               63.6            60,7            58.2                      +Z.S
 DE 10-005-1002 1 31.644471 •75.612701 Sealonl Slllpley State Se<vice Center             773                 61               64,9            61.6            59.6               59.7    +2.0
 OE 10-005-1003 1 38.779198 -75.162697 Sl'M SITT. NEAR UO ACID RAIN/MERCURY COU          77.7                69               66.4            62.7            61.1               r;v    +L6
                                                                                         76.0                65               62.4            58.6            58.2               58.7    ♦CIA
 DC 11-001-0041 1 38.897221 ·76.952797 RIVER TERRACE
                                                                                         80.7                69               66.2            62.2            61.a               62.3    ♦OA
 DC 11-001-()043 1 lll.921848 -77.013199 MCMIUAN PAMS
                                                                                         61.0                54               51.9            49.3            41.9               49.4    ♦OA
 ME 23-001-0014 2 43.974621 -70.U4603 DURHAM flRE STATION
 ME 23-003-1100 1 46.6964'Ml -68.032997 MICMAC HEAi.TH DEPARTMENT                         51.3               -8               .a.o            ·S.O            ·8.0
 ME ll-005-2003 1 43.561043 -70.2072911 am.- Cape Elltabeth Two u,111s (Sbt•              69.3               62               60.3            57.2            56.1               56.2    ♦U

 ME 23.()09-()102 1 44.3516~ -611.226997 TOP OF CADIUAC MTN IFENCl:D ENC\OSURfl           71.7               65               62.8            60,4            S9.8               61.l   +O.&
 ME ~ 1 0 3 1 44.377048 .Ql.260902 MCFARLAND HIUAlrPollutant Research Si                 66.3                60               57.3            S4.8            54.l               55.C   +O.&
 ME 23-011·2005 1 44,230621 ·69,785004 G;i,dlner, Pray SlnN!t School (GPSS)               62.7               55               52.2            49.S            49.9               50.S    -G.4
 ME 23-013-0004 2 0.917953 -69.260597 Mlll'.lha/1 Polnt Ushthause                         61.7               60               57.6            55.0            54.3               54.7   +o.7
 ME 23-017-3001 1 44.250923 -70.860603                                                   54.3                49               ·B.O            -a.o            44.0               43.
 ME 23-019-4008 1 44.735977 -68.670799 wt.8Z TV Transmitter 8ulldlnt1 • Sunni! ol        57,7                 -8              -8.0            ·B.O            .a.o               46.6
                                                                                         61.0                54               51.6            49.2            48.4               48.7   ♦0.8
 ME 23-023-0006 1 44.005001 •69.827797 IIOWOOINHAM, MERRYMEETING BAY. BROWN'S P'l
 ME 2l-02!HJ019 1 44.531906 -67.595901 Harbor Masters Offia,; Jonesport Public           58.3                53               52.2            50.S            49,7                      +0.8
 ME 23-0l!HIOll   1 44.963634 -67.060699                                                 53.0                49               ·I.O            .8.Q            -8.D
 ME 23-031-0038 1 43.656765 ·70.629097 WBFO -West Bumm (Hollis) Fire Oepartm              60.3               54               51.0            48.S            47.8               48.2    +G.7
 ME 23-031-0040   1 O.S88890 .70.877l96 58P • Shaplel&h Ball Parle                       64.3                57               54.2            51.S            SU                 51,S    ♦0.3

 ME 23-031•2002 1 43.343166 •70.471001 KPW • KenMbunkport Parso<1'd W,y                  73.7                65               6U              58.7            S9.2               60.1    -0.S
 MD 24-003-0014 1 38.9025"" •76.653099 DIYldsonvRle                                      83.0                71               68.8            64.7            63.S               63.4    +1..2
                                                                                                             69               68.2            65.0            64.2               63.9   ♦0.8
 MO 24-005-1007 1 39.462025 -76.631302 Paclonla                                          79.0
                                                                                         80.7                74               68.9            65.D            64.6               64.9    ♦OA
 MD 24-005-3001 1 39.310S33 -76.474403 Essex
 MD 24-GD!l-00ll 1 lll.536720 -76.617203 C.lvert                                         79.7                73               68.9            66.2            63.1               64.2    ♦3.1

 MO 24-013-0001 1 39,444161 •77,041702 South Carrol                                       763                67               64.1            61.3            59.0               58.B   +2.3
 MO 24-015-0003 1 39.701111 •75.860001 fair Hill Nltur.al Resoura. MlftlCffllffll Al     83.0                73               69.9            66.3            64.0               64.S   +2.J
 MD 24-017-0010 1 38.504166 •76.811897 Southern Matyland                                 79.0                69               65.8            62.8            61.2               61.E    +LIi
 MO 24-019-9991 1 38.445000 -76.111397 Bladwaler NWR                                      75.0               67               64.7            62.0            60.0               60,7   +2.0
 MD 24-021-0037 1 39.422760 ·77.375198 Frederick Airport                                  76.3               61               64.2            61.6            S9.4               S!U     ♦2.2

 MD 24-023-0002 1 39.705952 ·7!1.0120D1 Pill<!YRun                                       72.0                60               58.4            57.6            56.7               SS.1    ♦O.!I

 MD 24-025-1001 1 39.410000 •76."""'7fY Edgewood                                         90.0                81               77.6            74.1            71.8               71.4    ♦2.3

 MD 24-025-9001 1 39.563332 -76.203903 Aldlno                                            79.3                7D               67,1            63.7            62.0               61.I   +L7




                                                                                                   P.,.. 1..rs
                                                       Case: 23-3216              Document: 32-3                    Filed: 06/16/2023                        Page: 121



                                                                                                                            DVF202031t3         DVf 2023 3113      DVF20233x3
                                                                                                          Dlll'20173113                                                               DVF20233x3         DVF2023
                                                                                                                           cellsMARAMA         cells MAIIAMA      cellsMARAMA
                                                                                                          cells MAIIAMA                                                               cells from EPA     DHferenca•
Stile    AQSc.od•      POC      Latitude   Loncltude                  Site                     DVC20U
                                                                                                         beta2 enis OTC
                                                                                                                           pmmaZemls           pmma?emls          Pl:lm.JZemls
                                                                                                                                                                                      20Uen/ZOZ3en        CMAQv
                                                                                                                           OTCCMAQS.U          <Jn:CMAQS.2.1      OTC CAMlr 6.40
                                                                                                         CMAQ5,D 2 setup                                                                  emls             CAMJc
                                                                                                                              setup                setup              setup
MD 24-02,-0002             1    39.305199 •75.797203 MIIUnldOfl                                   71.7                68               66.S                63.7               60.9               61.2       +U
MD 24-<131•3001            1    39.114445 -n.106903 Rodorille                                     75.7                6S               63.2                S9.6               59.3               60.ii      .a.]
MD 24-033-0030             l    39.055279 ·76.87Bl04 HU·Bel1$11ille                               79.0                68               65.0                6U                 60.7               605        .a.]
MD 24-033-8003             1    31.811939 -76.744202 PG Equestrian Cfflter                        82.3                70               67.li               63.7               63.1               63.2       -t0.6
MD 24-033•!19!11           1    39.021141111 •76.817101 lleltMlle                                 80.D                69               66.3                62.4               liL4               61.1       +LO
MD 24-043-0009             1    39.565582 -n.721603 Ha-own                                        72.7                63               60.8                58.3               56.7               56.0       +L6
MD 24-510-0054             1    39.32Jl892 •76.SS24!NI Ft.Wlev                                    73.7                68               62.9                59.4               60.2               59.9       ~.a
MA 2S-00HlDD2              1    4U7580J -70.023598 TRURO NATIONAL SEASHORE                        73.D                66               62.7                S9.1               58.S               S9.6       +o.&
MA 25-003-4002             1    42.636681 -73.167397 MT GREYLOCk SUMMIT                           69.0                62               60.1                sa.o               ~                 56.l       +L7
MA 25-00!>-1002            1    41.6332711 ·70.879204 LEROYWOOOSOIOOL                             74.D                66               63.3                59.9               60.3              61.6        -0.C
MA 25-007-(1001            1    4L330467 -70.785202 1 HEMING CREEK RO, AQUINNAH {WAMPANOAG        n.o                 71               67.S                64.S               63.S              64.l       -+0.7
MA 25.()09.2006            1    42.474644 •70.970802 LYNN WATEII TREATMENT PlANT                  7LO                 65              54.9                 49.7               56.8              57.S       ·7.1
MA 2 5 ~ 5                 1    42.814411 ·70.817802 NEWBURYPORT HARBOR ST PARKIN<i lOT           70.0                63              S9.7                 56.5               56.7              57.2        -0.2
MA 25-CJ09.500S            1    42.770831 •71.102303 aJN5ENTINO SOiOOL                            69.3                61              51.9                 56.1               56.1              56.2        0.0
MA 254)13.000S             1   42.194382 .72.555099 WESTOVER AFB                                  73.7                65              61.3                 58.1               S8.2              59.3        ~
MA 25.015-0103             1   42.400571 -72.523102 AMHERST                                       64.7                S7              53.7                 S0.9               S1.4              SL9        ~
MA 25.0!S-4002             1   42.298492 •72.334099 QUABBIN RES                                  7L3                  62              59.7                 56.6               56.0              57.[       -+0.6
MA 25.017-QOO!I            l   42.626671 •71.362099 USEPA REGION 1 LAB                           67.3                 S9              56.8                 54.0               53.7              S4.1       +o.l
MA 25.017·1102         1       42.413574 •71.482803 lnat1fve milltarv nnv 680 hudson rd sud      67.0                 59              56.3                 S3.6               52.9              53.4       -+0.7
MA 25-021-3003         1       42.211m -71.113998 BlUE Hill OBSERVATORY                          72.3                 &3              60.3                 SS.9               58.8              59.6       .2.9
MA Z S ~ l             1       42.317371 -70.961399 BOSTON LONG ISLAND                           61.3                 59              S7.2                 53,2               55.3              56.4       •2.1
MA      25-025-0042    l       42.329491 ·7L082603 DUDlEI' SQUARE ROXBURY                        60.7                 53              41.6                 44.3               49.4              49.1       ·5.l
MA      ZS-o27-001S    1       42.274319 •7Ul75504 WORCESTER AIRPORT                             61.3                 60              57.6                 S4.B               S4.1              S4.6       -t0.7
MA      25-027-0024    1       42.099697 -71.619401 UXBRIDGE                                     69.0                 60              S7.!l                55.0               54.2              54.9       fU
NH      33-00J.2004    1       43.566113 -71.496399 flELD OFFICE ON THE GROUNDS OF THE FORME     62.3                 55              52.9                 SO.o               50.3              50.4       -03
NH      33-005-0007    1       42.930473 •72.272400 WATER STllEET                                62.3                 55              52.6                 50.2               49.4              49,7       +o.a
NH      33-007-..001   1       44.270168 •71.303S02                                              69.3                 64              62.7                 60.7               56.7              S7.1       +4.0
NH      33-007-..002   1       44.3081"' ·71.217697 CAMP DODGE'. GREENS GRANT                    59.7                 55              54.0                 S2.3               49.0              49.3       +3.3
NH      33-009-0010    l       43.629612 -72.309601 LEBANON AIRPORT ROAD                         S9.7                 53              52.l                 50.0               41.4              41.l       +L6
NH      33.011-1011    1       42.711662 •71.522"'" GILSON ROAD                                  66.3                 58              56.0                 53.2               52.9              53.i       +o.l
NH      33-011•5001    1       42.8617S2 •71.878403 MIUER STATE PARK                             69.0                 61              58.5                 55.8               S4.9              5S.5       +u
NH 33-013-1007         1       43.2111498 •71.514503 HAUN DRIVE                                  64.7                 57              54.l                 S1.5               51.2              51.6       -o.l
NH 33.QJ.S.0014        1       43.075333 •70.748001 PORTSMOUTH - PEIRCE ISLAND                   66.0                 59              55.9                 52.S               S3.2              53.1       -0..7
NH JHllS-0016          1       43.11'S277 ·70.713799 SEACOAST SOENCE CENTER                      66.3                 S9              S6.1                 52.7               S3.4              SJ.8       -0.7
NH 33.0lS-0018         1       42.86253 •71.3&0203 MOOSEHIU. SCHOOt.                             68.0                60               57.2                 54.4               54.3              5S.1       +0.1
NJ 34-001-ooo&         1       39.464871 •74.""""" Brcantlne                                     74.3                66               61.9                 58.0               511.S             58.S       ~
NJ 34-003-000li        1       40.8704"' -73.991997 Leonia                                       77.0                68               66.S                 63.3               62.0              64.1       +LJ
NJ 34-007-1001         1       39.6842SO •74.ll61S04 Ancora Stlte Hosplt.11                      12.7                72               70.3                 66.9               66.3              66.3       +D.5
NJ 34--111HlDD7        1       3!U22272 ~75.0252111 MiMle                                        72.0                64               6Lli                 S8.8               57.D              57.r       ♦La
NJ 34-013.QOOJ         1       40.720989 -74,1!12902 - r t. Fin,housc,                           78.0                69               67.3                 64.0               62.S              64.3       ♦LS
NJ 34.ol.5-0002        1       39.800339 -75.212097 Clarilsboro                                  84.3                74               72.4                 69.1               67.S              68.l       +U
NJ 34-017-ooo&         1       40.6702SO .J4.126099 llaycnne                                     n.o                 69               69.6                 67.D               63.0              65.4       +4.0
NJ 34-01,-0001         1       40.515263 •74.8116702 flemlncton                                  78.0                68               65.S                 62.3               60.S              62.0       +La
NJ 34-021.000S         1       40.283092 •74.742599 Rider tJnlvenltv                             71.3                68               "·1                  62.7               62.S              63.2       +o.z
NJ 34.021-9991         l       40.312500 •74.872902 Wash. Cnisslng                               71i.D               66               63.S                 60.4               59.6              60.4       -tO.I
NJ 34.023-0011         1       40.4621111 -74.429398 Rulll!rs Unlvt!,.,ty                        81.3                71               68.6                 65.0               &3.6              65.1       +1.4
NJ 34.025-0005         l       40.2n64S +74.005096 Monmoulh Unlvenltv                            80.0                71               6!1.4                66.0               64.Z              65.4       +LI
NJ 34.027-3001         1       40.787628 -74,67.0>IY Chester                                     76.3                67               64.7                 61.5               S9.2              62.4       ♦Z.3




                                                                                                         Poftl~S



 0                                                                                                          0                                                                                                         ,)
                                                   Case: 23-3216                  Document: 32-3                    Filed: 06/16/2023                       Page: 122
  0                                                                                                         0                                                                                                       0
                                                                                                                            DVF20203113       DVF 2023 3113        DVF20U3113
                                                                                                      DVF2Dl73"3                                                                    DVF20233"3        DVF2023
                                                                                                                           ceHsMMAMA         cellsMARAMA          cell• MARAMA     cells m,m EPA
                                                                                                     cells MA'lAMA                                                                                   Dlfferena! -
         AQSCOde POC latitude         lolllftude                      Site                    DVC20U                        pmma2emls        pmmal..,,.s          prnrnaZamls
State                                                                                                beta2 •mis OTC                                                                20Uen/2023en       CMAQv
                                                                                                                           OTC CMAQS.2.1     OTC CMAQS.2.1        OTCCAMx&.40
                                                                                                         CMAQS.D2 ""tup                                                                 emls            CAM•
                                                                                                                               amlp              Sl!tup              gtup
                                                                                                                     72              69.4                 65.8             64.3              65.S       ♦1.5
 NI     34-02!Ml006     1   40.0&4831 -74.444099 ColliersMms                                      82.0
                                                                                                  133                65              63.6                 60.7             60.S              613        +o.2
 HI     34--031·5001    1   41.058617 -74.255501 Ramapo
 NJ     34-oll-0007     1   40.924580 •75.1167802 Columbia WMA                                    66.D               57              ss.s                 52.6             5LO               54.ll      +L&
 NY     36-001-0012     1   "2.680752 •73.757301 lOUOONVIW                                        68.D               61              58.S                 56.1             SS.7              S5.4       .a..c
                                                                                                  74.0               71              Ga.0                 64.5             67.'J             68.        .3A
 NY     36-()05-0133    1   40.1167901 -73.878D91 PflZER IAB SITE
 NY     36-0U,(l()C)6   1   42.4!19630 -79318802 DUNKIRK                                          73.3               66              64.4                 61.1             59.1              59.        +:Z.0
                            42.29071[ ·79"""""" WESTl'IELD                                        74.0               !i6             65.0                 61.7             59.S              60.2       +LI
 NY     36-013-0011     1
                        1   42.110951 ·76.80221X El.MIRA                                          66.5               61              59.4                 57.S             55.l              54.9       +2A
 NY     36-015-0003
 NY     36-027-0007     1   41.785549 -73.741402 MII.LBROOK                                       n.o                64              60.7                 511.0            57.4              SI.I       ..a.a
        36-029-0002     1   42.993279 -7B.nl50C AMHE!IST                                          71.3               6S              64.3                 61.7             58.5              583        +1.2
 NY
                                                                                                  70.3               64              61.9                 59.6             57.S              57.S       ♦U
 NY     36-031-0002     3   44.366081 -73.903099 WHrTtfACE SUMMIT
 NY     36-031-()003    1   44.393082 •73.858902 WHITEFACE BASE                                   67.3               61              59.2                 57.1             55.0              55.l       +2.1
 NY
 NY
        36-033-7003
        3!i-o41-0005
                        l
                        l
                            44.980576 -74.69500C Ylllll
                            43.449571 •74.Sllil'II! PIS£aJ LAKE
                                                                                                  45.0
                                                                                                  66.0
                                                                                                                     ·•
                                                                                                                     59
                                                                                                                                     -s.o
                                                                                                                                     57.7
                                                                                                                                                          .a,o
                                                                                                                                                          55.6
                                                                                                                                                                           37.3
                                                                                                                                                                           53.7              53.7        ♦1.!I

 NY
 NY
        36-043--0005
        36-045-0002
                        1
                        1
                            43.6857"' -74.98S397 NICICS LAKE
                            XX-XXXXXXX •75S73l'lll PUCHRIVER
                                                                                                  62.0
                                                                                                  71.7
                                                                                                                     ·•
                                                                                                                     65
                                                                                                                                     54.7
                                                                                                                                     60.5
                                                                                                                                                          52.8
                                                                                                                                                          57.0
                                                                                                                                                                           SO.JI
                                                                                                                                                                           59.2
                                                                                                                                                                                             50.S
                                                                                                                                                                                             59.1
                                                                                                                                                                                                        +:Z.D
                                                                                                                                                                                                         •2.2
                        1   42.730l61 -75.7114401 CAMP GEORGETOWN                                 67.0               61              593                  57.2             54.9              55.(       ♦2.3
 NY     36-053-0006
        36-061-0135     1   40.819759 •73,948303 CCNY                                             73.3               70              67.7                 64.7             66.4              65J         •1.7
 NY
 NY     36-063-1006     1   0.223862 -78.478897 MIDDlfPOffT                                       72.3               67              56.3                 64.1             60.5              60.S       ♦J.6

 NY     36-065-00(),I   2   43.302681 •75.719803 CAM0£N                                           61.5               56              54.3                 S2.4             50.4              50.!       +:Z.0
                        1   43,052349 •76.0591!11; EAST SYRACUSE                                  69.3               63              61.4                 59.4             57,7              57.1       ♦1.7
 NY     36-1167-1015
                            41.523750 •74.21530.2 VALLEY CEl'm!AL HIGH SOIOOl                     67.0               60              57.5                 55.1             53.S              55.3       ♦1.3
 M'     36-071•5001     1
 KY     36-07S-0003     1   43.284279 •76.46.l2D3 RILTON                                          68.0               61              58.5                 55.4             55,5              ss.,        •11.1
                                                                                                  70.0               63              60.5                 57.7             56.8              58.4       ♦0.,
 m      3i;.on-ooo5     1   41.4S5891 -73.709801 MTNINHAM
 H'(    36-081-0124     l   40,736141 •73,821503 QUEENS COW:GE 2                                  71.0               74              72.0                 68.8             69.4              70.l       -0-'
                                                                                                  67.0               60              57.'J                55.S             S4.7              54.4       ♦0.8
 NY     36-083-0004     1   42.781191 -73.46361111 GRAFTON STATE PARK
 NY     36-085-0067     1   40.596642 •74.125298 SUSAN WAGNER HS                                  81.3               78              79.5                 76.9             71.1              71.!       +5.1
 NY     36-087-0005     1   41.182079 •74.G28198 Rodcland County                                  7S.O               67              65.5                 62.4             61.S              62.(       ♦0.9

                            43.012089 •73.648903 STIUWAlER                                        670                59              57.8                 55.3             54.6              54.3       ♦0.7
 NY     36-0!!1-0004    1
        36-101-0003     1   42.091419 -n.200801 PINNAC.E STATE PARK                               65.3               60              58.5                 56.6             54.3              54.4       ♦2.3
 NY
 NY     36-lOJ-0002     1   40.745289 -73.419197 BA&YlON                                          83.3               n               75.2                 71.4             72,0              72.5        -0.6
        ;16-lOJ-OIXM    1   40..960781 •72.712"'2 RIVERHEAD                                       78.0               71              68.5                 GS.5             65.11             66.3        4.1
 NY
 NY 36-103-0009         l   40.827991 •73.057503 HOLTSV1lll                                       78.7               73              72.9                 70.4             ril.7             68.S       +2.7
 NY     J&-111·1005     1   42.144032 •74.4!14301 IIEU.EAYRE MOUliTAIN                            69.D               6l              60.6                 58.3             56.2              57.4       +2.1
 NY 36-117-3001         1   43.230862 -n.111402 WllUAMSON                                         65.0               59              56.9                 54.4             53.6              53.4       .a.a
 NY 36-119-2004         1   41.D51!122 •73,763702 WHITEPIAINS                                     75.3               73              72.7                 69.S             68.l              68.1       +1.4
                                                                                                                     70              67.2                 65.0             63.!l             65.S        ♦1.1
 PA 42-003-0008         1   40A654" .79.--,, L.awrencavillt!                                      76.3
 PA 42-003-0010         l   40.445576 -80.0161!17 !AT/LON IS APPflOXIMATE LOCATION OF SCIEN       73.7               68              114.9                62.8             61.7              63.3       ♦1.l

 PA 42-003-0067         1   40.375645 -80.169899 Souch Fav,ttte                                   75.7               69              66.3                 64.2             61.4              63.1       +2..8
 PA 42-003-lOOII        1   40.617489 •7!1,727661 Harrison                                        80.7               73              70.6                 68..2            66.4              67.1       +1.1
 PA 42-00S--OOOl        1   40.814182 ·79.564697 LAT/I.ON 15 CENTER OF TIIAllfR                   74.3               67              63.0                  60.7            60.4              60,E       -+G.3
 PA 42-007-0002         1   40.562519 .ao.5Q38!l9                                                 70.7               65              62.9                  60.8            58.1              59.5       ♦:Z.7

 PA 42-007-000S         1   <10.684723 -II0.359703 DRIVEWAY TO BAKEY WIOENa                       74.7               69              66.6                  64.7            62.3              63J         +2A
 PA 42-007-0014         1   40.747795 -80316399                                                   72.3               66              64.0                 .61.9            60.7              61.11      +Ll
 PA 42-011.()Q()fi      1   40,5140!0 -75.789703 Kumown                                           71.7               62              60.D                  57.2            56.1              56.2       +U
 PA 42-011-0011         1   40.3833"' •75.968597 Readln, Alll>O<t                                 76.3               65              62.6                  59.6            saa               58.9       .a.a
                            40.535278 -78.370796                                                  72,7               65              63.4                 61-1             59.5              E0.3        ♦l.,
 PA 42-013-0801         1




                                                                                                          ,. ,olS
                                                    Case: 23-3216                   Document: 32-3                       Filed: 06/16/2023                      Page: 123



                                                                                                                          OVF 2020 3113         DVF 2023 3IC3        OVF20233ll3
                                                                                                          OVF20173113                                                                    OVF 2023 3113      OVF2023
                                                                                                                         cells MARAMA          ttlfsMARAMA          cellsMARAMA



                                                                                                                                                                                             -
                                                                                                         cellsMMAMA                                                                      cells from EPA    Difference -
Slate     AQSCCde       POC Latitude    Lonsltude                      Site                     DVC2011                  pmma2 emls             prnma2 emls         pmma2...,ls
                                                                                                         beta2 enak OTC                                                                 2011m/2023en        CMA(lv
                                                                                                                        OTC CMAQS.2,1          OTCCMAQS.2.1         QTC CAM11 6.40
                                                                                                        CMAQS,O 2 setup                                                                                      CAMlC
                                                                                                                                setup              setup                setup
 PA     U-017-0012       1   40,107224 -74.8112202 M20170012lAT/LONG POINT 15 OF SAMPUNG            80.3                  70            68.l               64.6                 63.B               64.6       tO.I
 PA     42-02Ul011       1   40.309723 -78.915001                                                   70.3                  63            60.3               58.4                 57.S               58.C       .0.9
 PA     42-027-0100      1   40.811390 •77.fi76'!1'19 LAT/LON•PDINT SW CORNER OF TRAIL£R            71.0                  64            62.2               60.1                 58.8               59.1       ♦1-3

 PA     42.027-9991      1   40.720798 •77.9JI!IUl Penn State                                       72.0                  64            62.8               60.8                 59.1               59.8       +1.7
 PA     42-0l!J.11100    1   39.834461 -75.768204 O!ESTER COUNTY TRANSPORT SITE INTO PHILA          76.3                  66            62.7               59.7                 58.7               58.7       ♦1.0

 PA     42-033-4000      1   41,117Slll •78.526199 MOSHANNON STATE FOREST                           72.3                  65            63.7               61.4                 60.2               60.3       ♦LI

 PA     42-043-0401      1   40.246- -7&.84nn: M20430401LAT/l0N POINT ISAT CORNER OF                69.0                  60            58.5               56.3                 54.4               54.,       ♦L9
 PA     42-043•ll00      1   40.272221 -76.681396 A4204311001AT/l0N POINT IS AT CORNER Of           74.7                  64            61.7               59.0                 57.9               58.3       ♦U

 PA     42-045-0002      l   39.835556 ·75.372498 A4204500021AT/IDN POINT IS OF CORNER OF           7S.7                  66            64.7               61.7                 59.5               60.3       ♦l.2
 PA     42,049-0003      1   42.141750 ·80.038597                                                   74.0                  66            65.0               6LO                  58.9               59.l       +Z.1
 PA     42-0SS-0001      l   39.961111!1 -77A75601 HIGH ELEVATION OlONE SITE                        67.0                  S9            56.8               54.8                 53.2               53.2       +L&
 PA     42-059-0002      1    39.809330 -80.265701 75 KM SSW OF PfTTSBUIIGH RUIIAL SITE OH A        69,0                  61            59.2               57.6                 55.7               56.5       ♦L9
 PA     42-063-0004      1   40,563332 ·78.919998                                                   75.7                  67            65.6               63.1                 61.9               62.7       ♦L2
 PA     42-06!Ml101      1   41.479115 -75.578201 M206901011AT/LON POINT IS AT CORNER Of            71.0                  62            60.0               57.4                 55.9               55.8       +1.5
 PA     42-Cl69-2006     1   41•.«278C -75.6231[]( A42.0li920061AT/l0N POINTIS AT CORNER Of         68.7                  60            5&.o               55.6                 54.l               54.0       +1.5
 PA     42-071-0007      1   40.046665 •76.283302 A42D7l0007lAT/LON POINT AT CORNER OF TRA          n.o                   65            63.1               60.8                 59.5               60.l       +1-3
 PA     42-07Hl0l2       1   40.043835 •76.1123% Lancaster OW                                       78.0                  66            63.8               61.1                 59.9               60.2       +Ll
 PA     42-073-0015      l   40.995BSC •80.346397                                                   71.0                  64            61.4               58.4                 57.2               sa.o       +L2
 PA     42-()75-0100     1   40.337330 -76.38341)[ Lebanon                                          76.0                  65            62.5               59.7                 58.7               S8.6       +1.0
 PA     42.077-0004      1   40.611942 •75.432503 A4207700041AT/IDNG POINT IS OF SAMPLING           76.0                  66            63.7               60.4                 59.5               59.5       ♦0.9

 PA     42-07!>-1100     1   41.209167 -76.003304 A420791100LAT/LON POINT IS AT CORNER Of           65.0                  56            53.0               50.8                 49.8               49.9       +LO
 PA     42-07!Hl01       1   41.265556 •75.846397 A4207!111DllAT/IDN POINT IS AT CORNER OF          64.3                  56            53.7               51.4                 49.9               49.9       t-1.5
 PA     42-081-0100      l   41.250801 •76.923798 MOHl'OORSVllLE                                    67.0                  61]           56.7               54.3                 53.7               53.9       ♦O.&

 PA     42-0IIS-0100     l   41.215015 -80.4848D2                                                   76.3                  68            65.1               60.5                 58.9               60.0       +L&
 PA     42-08!MI002      1   4LDll3061 -75.323303 SWIFTWATER                                        66.7                  58            56.2               53.5                 51.5               52.9       +z.o
 PA     42-091-0013      1   40.112221 •75.309196 A4209100131AT/IDN POINT IS OF CORNER OF           76.3                  66            65.3               62.l                 59.7               61.0       +2.5
 PA     42-09S-0025      1   40.628056 -75.341110 IAT/1..0N POINTIS CENT£R OFTRAIL£R                74.3                  66            62.3               59.1                 58.0               511.5      +Ll
 PA     42•095-8000      1   40.692223 ·75.237198 COMBINED EASTON SITE (420950100) AND EA5          69.7                  61            58.4               55.3                 54.5               54.8       ♦O.I
 PA     42-099-0301      1   4o.◄569.« -77.165604 A420990301LAT/lON POINTIS AT CORNER Of            68.3                  60            58.2               56.1                 54.6               54.8       +LS
 PA     42•101-0004      1   40.008811>1 -75.097801 Air Ma11a£ffllent Sen,krs Laborato,y (AMS       li&.O                 58            Si.6               53.9                 53.2               53.9       .0.7
 PA     42-101-0024      1   40.076401 -75.011497 North East Al<POrt (NEAi                          83.3                  73            70.8               67.2                 67.1               67.3       ♦0.1
 PA     42•1D1•1002      1   40.01S98-4 •75.ool403 l!Allltll IIIAXl                                 80.D                  7D            68.0               64.5                 6-C.S              64.7       D.D
PA      42-111-9991     1    39.937801 .79.251503 Laurel Hill                                       65.0                  55            54.3               53.0                 51.8               so.a       +L2
PA      42•117-IODO     1    41.644721 -76.!139201 PENN STAT£ OZONE MONITORING SITE                 69.7                  64            61.6               59.2                 57.9               57.3       ♦1.J
PA      42-125-0005     1    40.146667 •79.902199                                                   70.0                 63             60.1               58.4                 57.5               57.6       +0.9
PA      42•125-0200     1    4D.170555 -80.261398                                                   70.7                 63             60.5               58.7                 57.7               57.6       +LO
PA      42•125'5001     1    40.445278 -80.420799                                                   70.3                 64             61.3               59.4                 57.5               57.9       +U
PA      42-129-0006     1    40.428078 •79.692802                                                   71.7                 65             62.2               60.0                 59.5               60.l       +o.s
PA      42-12~          l    40.3(14695 •79.505699 LAT/I.ON POl"'1' 15 TRAILER                      71,0                 63             61,l               58.9                 511.1              53.0       ♦OJI
PA      42-133-oooa     1    39.965279 -76.699402 A4213300081ATII..ON POINT AT CORNER OF TRII       72.3                 62             59.3               57.0                 5S.7               56.!       +U
PA      42-133-0011     1    39.86097~ •7'-4'2097 Yori: DW                                          74.3                 63             61.3               SIi.ii               57.5               58.(       ♦1.J
RI      .«-000-0002     l    41.615238 •71.7l00Dl Al                                                73.7                 66             63.7               60.5                 59.6               60.4       ♦0.9
RI      44-007-%010     1    41.841572 •71.360802 FRANOS SO!OOl East Provl<Mntt                     74.0                 66             63.0               59.4                 59.3               60.1       ♦0.1
RI      44-009--0007    1    41.495110 ·71.423698 US.EPA laborato,y                                 76.3                 69             66.2               62.11                62.6               63.6       ♦O.l
VT      50-003-0004     1    42.887589 ·73.249802 Morse AJ,pon - State of Vermont ProPerl           63.7                 57             54.8               52.5                 51.7               51.3       ♦O.I
VT      50-007-0007     1    44.5283119 •72.868797 PROCTOR MAPL£ RESEARO! CTll                      6LO                  55             53.7               51.11                49.9               49.6       +1.9
VA      51-013-0020     1    38.asnoo -n.DS91!ffi Auror.a Hlls Vositcn Cenlff                       81.7                 71             68.7               64,7                 64.8               64.9       -0.1




                                                                                                            Pare 4 ars



  c'                                                                                                           0                                                                                                          r-,
  n                                                      Case: 23-3216                  Document: 32-3
                                                                                                              0
                                                                                                                        Filed: 06/16/2023                      Page: 124
                                                                                                                                                                                                                         I)


                                                                                                                               DVF202D3a3         DVF2023.h3        DVF20233d
                                                                                                           DVF20173a3                                                                  DVF2Dll 3a3         DVf 2023
                                                                                                                              tellsMARAMA         tells MARAMA      czllsMARAMA
                                                                                                           cells MARAMA                                                               cehs from EPA        Dllf"""""'-
Stale    AQSCode         POC    Lalltude   1.Dngllude                      Site                 DVC2Dll                       pmrmlemls           pmtna2emls        pmmaZ•mk
                                                                                                          bdaZemlsOTC                                                                 20111111/2112.Jen     CPNIQY
                                                                                                                              OTC CMAQS.2.1       OTCCMAQS.U        OTCCAMir~
                                                                                                          CMAQS.0.2 setup                                                                  •mk               CAMx
                                                                                                                                  setup              Mtup              setup
VA      51•059-0030       1    38.713350 -n.104698 l.tt District Parit                             82.3                  72               69.9              6&.1               64.9                65.1       +L2
VA      51-107-1005      1     39.024731 -n.489304 Broad Run Hllh School. Ashburn                  73.0                  64               61.4              58.4               57.4                57.8       +LO
VA      51•153-0009      1     38.852871 -n.634598 James S. IDng Patlc                             70.0                  62               59.8              57.S               55.6                56.2       +13
VA      51-510--0009     1     38.810402 -77.044403 Al"undria Haith Dept.                          80.D                  69               67.0              63.3               62.7                63.4       +o.&
VA      51-00l-0001      1     38.076569 -78.503998 Albemarle Heh School                           66.7                  59               56.4              54.l               52.5                52.9       +L6
VA      51-033-0001      1     38.200871 -n.3n403 USGS Geoma1""1k: Center, Corbin                  71.7                  62               59.9              56.7               SS.4                56.ll      ♦U
VA      51-036-0002      1     37.344379 -77.25...,,, 51,irley Plantation                          75,7                  66               61.2              59.7               58.2                59.4       +1.5
VA      51.()41.(l[I04   1     37.357479 -n.sg3s97 VDOT Chestorfleld Residency Shop                72.0                  '4               60.6              58.7               56.4                56.8       •2.3
VA      51-061-0002      l     38.473671 •77.76TJOC Chester Pimps Wildltfe Man;111emen1 Area,      6l.7                  55               54.C              51. 7              48.B                49.S       ♦2.9
VA      51-069-001D      1     39.281021 •7B.lllllS!J6 Rest                                        66.7                  58               55.5              53.4               51.8                SU         ♦LI
VA      Sl-071-9991      1     37.329700 -80.55781JC HortanStatian                                 63.D                  56               55.6              54.5               51.8                <17,1      ♦2.7

VA      51-<'85-0003     1     37.606129 -77.218803 Turner Prai>ertv, Oki D,urcl,                  73.7                  65               60.D              57.7               56.S                56.9       ♦L2

VA      51-087-0014      1     37.556519 -77.400299 MathSdrnco lmavallon Cenll!r                   75.0                  67               61.3              59.S               59.D                511.B      t0.5
VA      51-113-0003      1     38.521984 -78.435799 Shenandoah Nll11an.t Parle. Big Meadows        70.7                  64               &2.D              60.2               57.3                57.ll      +2.9
VA      51-139-0004      1     38.663731 ·78.5044D2 l.ur.ay Cr,em, Airport                         66.3                  6D               58.2              56.3               53.6                53.2       ♦2.7

VA      51-147•9991      1     37.165501 ·78.306900 P,tnce Edward                                  62.0                  56               52.8              51.4               49.3                50.3       ♦2.l
VA      Sl-161-1004      1     37.283421 ·79.884499 East V11110n rlementarv Schaal                 67.3                  6D               58.8              56.8               54.3                53.4       ♦2,5
VA      51-163-0003      1     37.626678 ·79.512&04 Natu,.1 Bri.,... lbn1er 5tlltlon               62.3                  56               55.6              54.2               51.4                50.2       +U
VA      51-165-0003      1     38.477531 •78.819504 R0CK!NGHAM CO. VDOT                            66.0                  6D               57.8              56.D               53A                 53,7       ♦2.6
VA      Sl-17!Hl001      1                                      o..
                               3U81232 .n.370399 Widewater rnenta,v Schaal                         73.0                 62                59.1              ss.o               54.8                SS.4       +o.2
VA      51•197-0002      1     36.~1171 -111.254204 Rural Relre■t 5"w■ tt Trulment Plant           64.3                 58                S6.S              54.&               52.5                51.9       +2.1
VA      Sl-650-0008      1     37.103733 -76387001 NASA un1lev ResoartfrCentor                     74.D                 66                65.3              62.2               58.2                58.2       +4.0
VA      51-II00-0004     1     36.9011IIO •76.438103    TI-••     Community College                71.3                 66                63..8             60.9               58.6                58.7       +2.3
VA      51-1100-000S     1     36.665249 •76.7Yn97 VA Tech A,atkultural Research Station, H        69.7                 61                58,6              56.4               55.2                54.7       +1.2




                                                                                                          P~gc 5 (a S
       Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 125




 C




'''-
                Case: 23-3216          Document: 32-3            Filed: 06/16/2023          Page: 126

                                                       Chase Tower, 17th Roor                 Writer's Concact Information
                                                       P.O. BoK 1588                                            (304) 353-8171
                                                                                             Dave.Flannery@stcptoe-johnson.com
                                                       O,.arlcston, WV 25326-1588
                                                        (304) 353-8000 (304) 353-8180 Fax
                                                        www.steptoe•johnson.com


                                                         September 21, 2018



    Sean 0. Alteri, Director
    Kentucky Division for Air Quality
    300 Sower Boulevard
    Frankfort, Kentucky 40601

                    RE:     Proposed Infrastructure State Implementation Plan Related to the
                            2015 Ozone NAAQS.

    Dear Director Alteri:

           The Midwest Ozone Group (MOO) is pleased to have the opportunity to comment in
    support of the Good Neighbor SIP portion of Kentucky's proposed Infrastructure State
    Implementation Plan related to the 2015 ozone NAAQS.

            MOG is an affiliation of companies, trade organizations, and associations that draws
    upon its collective resources to seek solutions to the development of legally and technically
0   sound air quality programs.1 MOG's primary efforts are to work with policy makers in
    evaluating air quality policies by encouraging the use of sound science. MOG has been actively
    engaged in a variety of issues and initiatives related to the development and implementation of
    air quality policy, including the development of transport rules, NAAQS standards,
    nonattainment designations, petitions under Sections 176A and 126 of the Clean Air Act,
    NAAQS implementation guidance, the development of Good Neighbor state implementation
    plans (SIPs) and related regional haze and climate change issues. MOG members and
    participants operate a variety of emission sources including more than 75,000 MW of coal-fired
    and coal-refuse fired electric power generation in more than ten states. MOG Members and
    Participants also own and operate several fossil-fired generating units in the Commonwealth of
    Kentucky. They are concerned about the development of technically or legally unsubstantiated
    interstate air pollution actions and the impacts of those actions on their facilities, their
    employees, their contractors, and the consumers of their products.

           While the attached comments will identify several factors that support the Cabinefs
    proposal, we will highlight only a few in this letter.

    1
     The members of and participants in the Midwest Ozone Group include: American Coalition for Clean Coal
    Electricity, American Electric Power, American Forest & Paper Association, American Wood Council, Ameren,
    Alcoa, Appalachian Region Independent Power Producers Association (ARIPPA), ArcelorMittal, Associated
    Electric Cooperative, Citizens Energy Group, Council of Industrial Boiler Owners, Duke Energy, East Kentucky
    Power Cooperative, FirstEnergy, Indiana Energy Association, Indiana Utility Group, LGE / KU, National Lime
    Association, Ohio Utility Group, Olympus Power, and City Water, Light and Power (Springfield IL).
C
           West Virginia • Ohio • Kentucky • Pennsylvania • Texas • Colorado
           Case: 23-3216        Document: 32-3        Filed: 06/16/2023       Page: 127


Sean 0. Alteri, Director
Page2
September 21, 2018

    1. MOG supports the conclusion that no additional em1ss1ons reductions beyond
       existing and planned controls are necessary to comply with CAA Section
       110(a )(2)(D)(i)(I}.

        MOG supports the conclusion reached by the Cabinet ''that the emissions reductions
resulting from on-the-books and on-the-way emissions reductions are adequate to prohibit
emissions within Kentucky from significantly contributing to nonattainment, or interfering with
the maintenance, of downwind states with respect to the 2015 ozone NAAQS; therefore, meeting
the requirements of CAA section l 10(a)(2)(D)(i)(I) "prongs land 2." MOG not only supports the
Cabinet's conclusion but also points out in these comments that such a conclusion is very
conservative. MOG offers in these comments, additional data and comments that we believe will
further support the conservative nature of the conclusion that no further emission requirements
are necessary to satisfy the requirements of CAA section 11 0(a)(2)(D)(i)(I).

    2. Independent State-of-the-Art Modeling by Alpine Geophysics on behalf of MOG
       shows that all monitors in the Northeast are at or near attainment of the 2015 ozone
       NAAQS in 2023.

        Beyond the modeling work performed by EPA, the Cabinet has relied on modeling work
performed by Alpine Geophysics on behalf of MOG. This modeling was undertaken to address
the concerns about whether modeling with a 12 km grid is sufficiently refined to address the
land/water interface issues, Alpine Geophysics undertook to run EPA's modeling platform at a
finer 4km grid. When this state-of-the-art modeling is used to assess air quality downwind of
                                                                                                     C
Kentucky at the appropriate attainment date, the only remaining nonattainment monitor linked to
Kentucky is a single monitor at Harford Maryland which is predicted by Alpine Geophysics to
have an average DV in 2023 of only 71.1 ppb (0.2 ppb above the 2015 ozone NAAQS).
Remarkably, LADCO's predicted average design value for this monitor using its "water" data is
71.0 ppb (0.1 ppb above the 2015 ozone NAAQS), LADCO's "no water" data shows this
monitor to have an average design value of70.5 ppb (attainment with the 2025 ozone NAAQS)
and EPA's predicted average design value for the same monitor is 70.9 ppb (also attainment with
the 2015 ozone NAAQS). Accordingly, all monitors in the Northeast are at or near attainment of
the 2015 ozone NAAQS in 2023, making it unnecessary to further consider the potential for
controls in upwind states.

   3. Mobile sources have the most significant impact on ozone concentrations at the
      problem monitors identified in this proposal.

       Given the dominant role of mobile sources in impacting on ozone air quality, MOG
agrees with the Cabinet that additional local mobile source controls in downwind states are
necessary before requiring additional emission reductions from upwind states such as Kentucky.
We urge that downwind states talce full advantage of all of the authority provided to each of them
under the CAA and to reduce mobile source emissions appropriately to assure continued
attainment with the 2015 ozone NAAQS.                                                                C
                 Case: 23-3216       Document: 32-3        Filed: 06/16/2023        Page: 128


    Sean O. Alteri, Director
    Page 3
C   September 21, 2018


          4. The 1o/o significant contribution test is inappropriate and should not be applied.

           On August 31, 2018, EPA issued significant new guidance on this matter in which it
    analyzed 1 ppb and 2 ppb alternatives to the 1% significance level that it has historically used. In
    that memo, EPA offers the following statement:

             Based on the data and analysis summarized here, the EPA believes that a
             threshold of 1 ppb may be appropriate for states to use to develop SIP revisions
             addressing the good neighbor provisions for the 2015 ozone NAAQS.

           In the case of Kentucky, EPA's modeling data below show that at the historical 1%
    threshold, Kentucky would be linked to 4 non-attainment monitors and one maintenance
    monitor. However, applying the 1 ppb threshold to this data would eliminate any linkage to non-
    attainment monitor reduce to 1 the linkage to any maintenance monitor. Moving to the 2 ppb
    threshold would completely eliminate all linkage to any non-attainment or maintenance monitor.

             Conclusion

            As is stated in detail in the attached comments, the Midwest Ozone Group supports the
    Cabinet's draft Good Neighbor SIP as a conservative justification for the conclusion that no
0   additional emissions reductions beyond existing and planned controls are necessary to mitigate
    any contribution Kentucky may have to any downwind monitors to comply with CAA section
    11 0(a)(2)(D)(i)(I).


                                                         Very truly yours,


                                                   c::::2)~ ~                  a~. i f .
                                                         David M. Flannery
                                                         Legal Counsel
                                                         Midwest Ozone Group


    cc:      Ms. Lauren Hedge
             Division for Air Quality
             Kentucky Energy and Environmental Cabinet
             300 Sower Boulevard
             Frankfort, KY 40601




C
   Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 129




                                                                    C
  COMMENTS OF THE MIDWEST OZONE GROUP
   REGARDING THE KENTUCKY ENERGY AND
ENVIRONMENTAL CABINET'S PROPOSED REVISION
    TO KENTUCKY'S 2015 OZONE STANDARD
INFRASTRUCTURE STATE IMPLEMENTATION PLAN
 ADRESSING CLEAN AIR ACT 110 REQUIREMENTS




                                                                    0




                   SEPTEMBER 21, 2018




                                                                    C
                    Case: 23-3216                      Document: 32-3                      Filed: 06/16/2023                      Page: 130




0                                                            TABLE OF CONTENTS



    I.    MOG supports the conclusion that no additional emissions reductions beyond
          existing and planned controls are necessary to comply with CAA Section
          11 0(a)(2)(D)(i)(I). .. . . . . . . . . . . . .. . . . . . . . . . . . . .. . . . .. . . . . .. . . . . . . . . . . . . . .. . . ........ ....... 2
    2.    Independent State-of-the-Art Modeling by Alpine Geophysics on behalf of MOG
          shows that four monitors identified by EPA as nonattainment are actually predicted
          to be in attainment in 2023........................................................... ..... 3
    3.    Emission trends in the CSAPR Update region have been decreasing for many
          years and will continue to do so in the immediate future adding assurance that
          there will be no interference with any downwind maintenance areas .................. 4
    4.    Had current air modeling projections taken into account the significant emission
          reduction programs that are legally mandated to occur prior to 2023, even better
          air quality would have been demonstrated............................ ............... . .... 7
    5.    Controls on local sources must be addressed first before any additional emission
          reductions can be imposed on sources in Kentucky. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
    6.    Consideration of international emissions also adds support to the conclusion
          that there is no further obligation to reduce emissions .................................. 10
    7.    Mobile sources have the most significant impact on ozone concentrations at the
          problem monitors identified in the Cabinet's proposal................................ 13
0   8.    2023 is the appropriate year for assessing Good Neighbor SIP requirements
          related to the 2015 ozone NAAQS .. .. .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19
    9.    The Cabinet is correct in calling for the application of an alternative significance
          threshold............................................................... . .............. . ...... 20
    10.   An important flexibility that should be considered is an alternative method for
          determining which monitors should be considered "maintenance" monitors...... 22
    11.   In the development of its Good Neighbor SIP, maintenance areas should not be
          given the same weight and status as nonattainment areas. . .......................... 24
    12.   An additional element of conservatism in the Cabinet's proposal is recognition
          of Kentucky's very limited proportional contribution to the Harford Maryland
          monitor..................................................................................... . . 27
    Conclusion . . .... . .............. . ............... . .... . ................. .. ............. . ............ . .... 28




C
           Case: 23-3216           Document: 32-3            Filed: 06/16/2023           Page: 131




    COMMENTS OF THE MIDWEST OZONE GROUP REGARDING THE KENTUCKY                                                        C
      ENERGY AND ENVIRONMENTAL CABINET'S PROPOSED REVISION TO
        KENTUCKY'S 2015 OZONE STANDARD INFRASTRUCTURE STATE
    IMPLEMENTATION PLAN ADRESSING CLEAN AIR ACT 110 REQUIREMENTS


       The Midwest Ozone Group (MOO) is pleased to have the opportunity to comment' on the
proposed Infrastructure State Implementation Plan (SIP) by the Kentucky Energy and Environmental
Cabinet ("Cabinet") related to the 2015 ozone National Ambient Air Quality Standard (NAAQS).
While the full proposal relates to the requirements of Section 110(a)(2) of the federal Clean Air Act
(CAA), these comments will be limited to the interstate transport provisions. MOO strongly supports
the Cabinet's proposed plan as fully satisfying the requirements CAA section 11 O(a)(2)(D)(i)(I)
regarding the interstate transport for the 2015 ozone N AAQS ..

         MOO is an affiliation ofcompanies, trade organizations, and associations that draws upon its
collective resources to seek solutions to the development oflegally and technically sound air quality
           2
programs. MOG's primary efforts are to work with policy makers in evaluating air quality policies
by encouraging the use ofsound science. MOG has been actively engaged in a variety of issues and
initiatives related to the development and implementation of air quality policy, including the
development of transport rules, NAAQS standards, nonattainment designations, petitions under
Sections 176A artd 126 of the Clean Air Act, NAAQS implementation guidance, the development of                        Q
Good Neighbor state implementation plans (SIPs) and related regional haze and climate change
issues. MOO members and participants operate a variety of emission sources including more than
75,000 MW of coal-fired and coal-refuse fired electric power generation in more than ten states.
MOO Members and Participants also own and operate several fossil-fired generating units in the
Commonwealth of Kentucky. They are concerned about the development of technically or legally
unsubstantiated interstate air pollution actions and the impacts of those actions on their facilities,
their employees, their contractors, and the consumers of their products.




1
  Comments or questions about this document should be directed to David M. Flannery, Kathy G. Beckett, or Edward L.
Kropp, Legal Counsel, Midwest Ozone Group, Steptoe & Johnson PUC, 707 Virginia Street East, Charleston West
Virginia 25301; 304-353-8000; dave.flannery@steptoe-johnson.com and kathy.beckett@steptoe-johnson.com and
skipp.kropp@steptoe-johnson.com respectively. These comments were prepared with the technical assistance ofAlpine
Geophysics, LLC.
2
  The members ofand participants in the Midwest Ozone Group include: American Coalition for Clean Coal Electricity,
American Electric Power, American Forest & Paper Association, American Wood Council, Ameren, Alcoa, Appalachian
Region Independent Power Producers Association (ARIPPA), ArcelorMittal, Associated Electric Cooperative, Citizens
Energy Group, Council of Industrial Boiler Owners, Duke Energy, East Kentucky Power Cooperative, FirstEnergy,
Indiana Energy Association, Indiana Utility Group, LGE / KU, National Lime Association, Ohio Utility Group, Olympus
Power, and City Water, Light and Power (Springfield IL).                                                              C
                Case: 23-3216            Document: 32-3             Filed: 06/16/2023            Page: 132




C
    1.      MOG supports the conclusion that no additional emissions reductions beyond existing
            and planned controls are necessary to comply with CAA Section l lO(a)(l)(D)(i)(I).

            The issue being addressed in the proposed Good Neighbor SIP, is whether these existing
    measures also satisfy the Good Neighbor requirements of Section 11 0(a)(2)(D)(i)(I) which prohibits
    a state from significantly contributing to nonattainment or interfering with maintenance of any
    primary or secondary NAAQS in another state.

            As was identified in the March 27, 2018, memorandum of EPA's Peter Tsirigotis3, a four
    step process is to be used by EPA to address Good Neighbor requirements. These four steps are:

         Step 1:     identify downwind air quality problems;

         Step 2:    identify upwind states that contribute enough to those downwind air quality problems
         to warrant further review and analysis;

         Step 3:    identify the emissions reductions necessary to prevent an identified upwind state from
         contributing significantly to those downwind air quality problems; and

         Step 4:     adopt permanent and enforceable measure needed to achieve those emission
0        reductions.

            Central to the Cabinet's proposal is its reliance on the 12km modeling work performed by
    both EPA and the 4km modeling work performed by Alpine Geophysics on behalfof the MOG. The
    Cabinet notes that use ofthe Alpine Geophysics 4km modeling "is appropriate for areas where there
    are land-water interfaces". With respect to the Alpine Geophysics modeling, the Cabinet goes on to
    note:

                      This model provides a better analysis ofthe downwind monitors; however, it does not
                      account for all of the factors contributing to these monitors.

          Among the additional factors addressed by the Cabinet in the proposal that go beyond
    modeling are the following:

                      the use of an alternative significance threshold

                      downward emission trends in Kentucky;

                      the need to account for local onroad emissions in the northeast before requiring

    3
      I,ifom1atio11 on the llllerstate Transport State Implementation Plan Submissions for the 2015 Ozone Natio11al
    Ambielll Air Quality Standards 1111der Clean Air Act Section 11 0(a)(2)(D)(i)(I), prepared by Peter Tsirigotis, March
    27, 2018. btsns:/lwww.c;pa,1ov/airmarketslmarch-2018-memo-and-supp)cmental-in fonnation-regarding-intcrstate-
C   transport-sips-2015.

                                                              2
             Case: 23-3216         Document: 32-3         Filed: 06/16/2023        Page: 133




                   additional reductions from Kentucky; and                                               C
                   the need to consider international emissions.

           The ultimate conclusion by the Cabinet as stated on page 55 of its proposal is as follows:

                   The Cabinet concludes that the emissions reductions resultingf,-om on-the-books and
                   011-the-way emissions reductions are adequate to prohibit emissions within Kentucky
                  from significallt/y contributing to nonattainment, or interfering with the
                  maintenance, ofdownwind states with respect to the 2015 ozone NAAQS; therefore,
                  meeting the requirements ofCAA section I J0(a)(2)(D)(i)(l) "prongs Jnad 2.

       MOG not only supports the Cabinet's conclusion but will point out in these comments that
such a conclusion is very conservative. MOG will offer in these comments additional data and
comments that we believe will further support the conservative nature of the conclusion that no
further emission requirements are necessary to satisfy the requirements of CAA section
110(a)(2)(D)(i)(I).

2.         Independent State-of-the-Art Modeling by Alpine Geophysics on behalf of MOG shows
           that four monitors identified by EPA as nonattainment are actually predicted to be in
           attainment in 2023.

        Beyond the modeling work performed by EPA, the Cabinet has relied upon modeling work
                                                                                                          C
performed by Alpine Geophysics on behalf of MOG. This modeling by Alpine Geophysics was
undertaken to address the concerns about whether modeling with a 12 km grid utilized by EPA is
sufficiently refined to address the land/water interface issues. Accordingly, MOO undertook to run
EPA's modeling platform at a finer 4km grid. A copy of the Technical Support Document4
containing these results of this modeling is set forth as an attachment to the proposal being advanced
by the Cabinet.

       Modeling of this type using a finer grid is specifically recommended under existing EPA
guidance which states:

                  The use ofgrid resolution finer than I 2 km would generally be more appropriatefor
                  areas with a combination of complex meteorology, strong gradients in emissions
                  sources, and/or /and-water interfaces in or near the nonattainment area(s). 5
                  Emphasis added.

      Accordingly, when state-of-the-art modeling is used to assess air quality downwind of
Kentucky at the appropriate attainment date, all monitors are in attainment except for a single


4
5
    hUp://www.midwestozoncgroup.com{tile,s/Fina1TSD-OzoneModelingSupnortingGNStpObligati(msJunc2Dl8.pdf
    http://www3.epa.gov/scram00l/guidance/guide/Draft O3-PM-RH Modeling Guidance-2014.pdf                 C
                                                     3
                 Case: 23-3216           Document: 32-3       Filed: 06/16/2023       Page: 134




C   monitor at Harford Maryland with a MOG predicted average DV in 2023 of only 71.1 ppb (0.2 ppb
    above the 2015 ozone NAAQS). Remarkably, LADCO's predicted average design value for this
    monitor using its "water" data is 71.0 ppb (0.1 ppb above the 2015 ozone NAAQS), LADCO's "no
    water" data show this monitor to have an average design value of70.5 ppb (attainment with the 2015
    ozone NAAQS) and EPA's predicted average design value for the same monitor is 70.9 ppb (also
    attainment with the 2015 ozone NAAQS). It is clear from these various modeling results that the
    Harford monitor is at or near attainment.

            Additionally the Alpine Geophysics prediction for MOG shows that the Sheboygan monitor
    could be expected to have an average design value of71.7 ppb. While this value shows this monitor
    to be in nonattainrnent, the value predicted in the MOG modeling is lower than the average design
    value predicted by EPA which is 72.8 ppb. It is worth noting that when the average design value for
    this monitor was determined by LADCO in its modeling6, a value of 70.5 ppb was obtained putting it
    into attainment with the 2015 ozone NAAQS. As will be discussed elsewhere in these comments,
    Kentucky is not linked to the Sheboygan monitor at an alternative significance threshold of 1 ppb or
    higher.

           Even though there are modeling platforms that predict both Sheboygan and Harford to be in
    attainment with the 2015 ozone NAAQS, the Cabinet conducted thoughtful and careful analysis of
    those monitors and others as part of its conservative demonstration that the Kentucky SIP contains
0   adequate provisions to prevent sources and other types of emissions activities within the state from
    contributing significantly to nonattainment in any other state with respect to the 2015 ozone
    NAAQS.

    3.         Emission trends in the CSAPR Update region have been decreasing for many years and
               will continue to do so in the immediate future adding assurance that there will be no
               interference with any downwind maintenance areas.

            Beyond the data provided by the Cabinet on the reduction on NOx emissions that have
    occurred in Kentucky in recent years and are expected to continue to decline in the future, we note
    that NOx emissions across the CSAPR region have also been dramaticaly reduced in recent years.
    These NOx emission reductions will continueas the result of "on-the-books" regulatory programs
    already required by states on their own sources, "on-the-way" regulatory programs that have already
    been identified by state regulatory agencies as efforts that they must undertake as well as from the
    effectiveness of a variety of EPA programs including the CSAPR Update Rule.

           Set forth below are tables developed from EPA modeling platform summaries7 illustrating the
    estimated total anthropogenic emission reduction and EGU-only emission reduction in the several
    eastern states. As can be seen in the first table, total annual anthropogenic NOx emissions are


    ~ https://protect-us.mimecast.com/s/o6GECG690VcJg2gwcK.5t5z?domain---ladco.org.
C   7
        83 Fed. Reg. 7716 (February 22, 2018).


                                                         4
              Case: 23-3216     Document: 32-3           Filed: 06/16/2023         Page: 135




predicted to decline by 29% between 2011 and 2017 over the CSAPR domain and by 43% (an                           C
additional 1.24 million tons) between 2011 and 2023.

            Final CSAPR Update Modeling Platform Anthropogenic NOx Emissions (Annual
Tons).

                            Annual Anthropogenic                 Emissions Delta        Emissions Delta
                            NOx Emissions ITons)                  (2017-2011             (2023-201 l
Stale                   2011            2017             2023          Tons        %,          Tons        O/e
Alabama               359,797         220,260          184,429       139,537   -39%         175.368    -49%
Arkansas              232,185         168,909          132,148        63,276   -27%         100,037    -43%
Illinois              506,607         354,086          293,450       152,521   -30%        213,156     -42%
Indiana               444,421         317,558          243,954       126,863   -29%        200,467     -45%
Iowa                  240,028         163,126          124,650        76,901   -32%         115,377    -48%
Kansas                341,575         270,171          172,954        71,404   -21%         168,621    -49%
Kentucky              327,403         224,098          171,194       103,305   -32%         156,209    -48%
Louisiana             535,339         410,036          373,849       125,303   -23%         161,490    -30%
Maryland              165,550         108,186           88,383        57,364   -35%         77,167     -47%
Michigan              443,936         296,009          228,242       147,927   -33%        215,694     -49%
Mississippi           205,800         128,510          105,941        77).90   -38%         99,859     -49%
Missouri              376,256         237,246          192,990       139,010   -37%        183,266     -49%
New Jersey
New York
                      191,035
                      388,350
                                      127,246
                                      264,653
                                                       101,659
                                                       230,001
                                                                      63,789
                                                                     123,696
                                                                               -33%
                                                                               -32%
                                                                                            89,376
                                                                                           158,349
                                                                                                       -47%
                                                                                                       -41%
                                                                                                                 0
Ohio                  546,547         358,107          252,828       188,439   -34%        293,719     -S4%
Oklahoma              427,278         308,622          255,341       118,656   -28%         171,937    -40%
Pennsylvania          S62.366         405,312          293,048       157,054   -28%        269,318     -48%
Tennessee             322,578         209,873          160,166       112,70S   -35%        162,411     -50%
Texas               1,277,432       1,042,256          869,949      235,176    -18%        407,482     -32%
Virginia              313,848         199,696          161,677       114,152   -36%        152,171     -48%
West Virginia         174,219         160,102          136,333        14,117   -8%          37,886     -22%
Wisconsin             268,715         178,927          140,827        89,788   -33%        127,888     -48%
CSAPR States        8,651,264       6,152,990      4,914,012      2,498,274    -29%      3,737,252     -43'1/o




        When looking exclusively at the estimated EGU emissions used in these modeling platforms,
even greater percent decrease is noted between 2011 and 2017 (40% reduction CSAPR-domain
wide) and between 2011 and 2023 (51% reduction). These reductions are particularly significant
since the CSAPR Update Rule focus exclusively on EGU sources.




                                                                                                                 C
                                                   5
                   Case: 23-3216      Document: 32-3           Filed: 06/16/2023       Page: 136




0              Final CSAPR Update Modeling Platform EGU NOx Emissions (Annual Tons).
                                    Annual EGU                        Emissions Delta       Emissions Delta
                                 NOx Emissions ITons)                  (2017-2011            (2023-2011
    State                    2011            2017             2023          Tons      %           Tons      •I,,

    Alabama                64,008           23,207          24,619        40,800    -64%         39,388    -62%
    Arkansas               38,878           24,I03          17,185        14,775    -38%         21,693    -56%
    Illinois               73,689           31,132          30,764        42,557    -58%         42,926    -58%
    Indiana               119,388           89,739          63,397        29,649    -25%         55,991    -47%
    Iowa                   39,712           26,041          20,122        13,671    -34%         19,590    -49%
    Kansas                 43,405           25,104          14,623        18,301    -42%         28,781    -66%
    Kentucky               92,279           57,520          42,236        34,759    -38%         50,043    -54%
    Louisiana              52,010           19,271          46,309        32,740    -63%           5,701   -11%
    Maryland                19,774           6,001           9,720        13,773    -70%         10,054    -51%
    Michigan                77,893          52,829          33,708        25,064    -32%         44,186    -57%
    Mississippi            28,039           14,759          13,944        13,280    -47%         14,095    -50%
    Missouri                66,170          38,064          44,905        28,106    -42%         21,265    -32%
    New Jersey               7,241           2,918            5,222        4,323    -60%           2,019   -28%
    New York                27,379          10,191          16,256        17,188    -63%         11,123    -41%
    Ohio                   104,203          68,477          37,573        35,727    -34%         66,630    -64%
    Oklahoma                80,936          32,366          21,337        48,570    -60%         59,599    -74%

0   Pennsylvania
    Tennessee
                           153,563
                            27,000
                                            95,828
                                            14,798
                                                            49,131
                                                             11,557
                                                                          57,735
                                                                          12,201
                                                                                    -38%
                                                                                    -45%
                                                                                                104,432
                                                                                                 15,442
                                                                                                           -68%
                                                                                                           -57%
    Texas                  148,473         112,670          103,675       35,804    -24%         44,799    -30%
    Virginia                40,141           7,589           20,150       32,553    -81%         19,992    -50%
    West Virginia           56,620          63,485          46,324        (6,865)   12%          10,296    -18%
    Wisconsin               31,881          15,374           15,419       16,507    -52%         16,462    -52%
    CSAPR States         1,392,682         831,466          688,175      561,216    -40%        704,508    -51%



           Importantly, these estimated 2017 emissions used in the EPA modeling are inflated as
    compared to the actual 201 7 CEM-reported EGU emissions. As can be seen in the following table,
    when the CS APR-modeled 2017 annual EGU emissions are compared to the actual CEM-reported
    2017 annual EGU emissions, it becomes apparent that there is a significant domain-wide
    overestimation (129,000 annual tons NOx) of the predicted emissions for this category. The modeled
    values from state-to-state vary between over- and under-estimated, domain-wide, CEM-reported
    annual NOx ranging from 158% overestimation (2017 actual emissions are 61 % of modeled
    emissions) for Pennsylvania to 54% underestimation (2017 actual emissions are 118% of modeled
    emissions) for Virginia with a domain-wide overestimation of 18% (129,553 tons) of annual NOx
    emissions from EGUs.


0
                                                        6
              Case: 23-3216       Document: 32-3             Filed: 06/16/2023    Page: 137




        Final CSAPR Update Modeling Platform EGU NOx Emissions Compared to CEM-
                       Reported EGU NOx Emissions (Annual Tons).
                                          Annual EGU                                Emissions Delta
                                       NOx Emissions (Tons                       2017 CEM-2017 EPA
State                      2011 EPA             2017 EPA          2017 CEM               Tons           %
Alabama                       64,008               23,207            24,085               878          4%
Arkansas                      38,878               24,103            27,500              3,397         14%
Illinois                      73,689               31,132            33,066              1,934         6%
Indiana                      119,388               89,739            63,421           (26,318)        -29%
Iowa                          39,712               26,041            22,564            (3,477)        -13%
Kansas                        43,405               25,104            13,032           (12,072)        -48%
Kentucky                      92,279               57,520            46,053           (11,467)        -20%
Louisiana                     52,010               19,271            29,249             9,978          52%
M11ryland                     19,774                6,001             6,112               111          2%
Michigan                      77,893               52,829            37,739           (15,090)        -29%
Mississippi                  28,039                14,759            12,162            (2,597)        -18%
Missouri                      66,170               38,064            49,692             11,628        31%
New Jersey                     7,241                2,918             3,443               524          18%
New York                     27,379                10,191            11,253              1,062         10%
Ohio                         104,203               68,477            57,039           (11,438)        -17%
Oklahoma
Pennsylvania
                             80,936
                             153,563
                                                   32,366
                                                   95,828
                                                                     21,761
                                                                     37,148
                                                                                      (10,606)
                                                                                      (58,680)
                                                                                                      -33%   G
                                                                                                      -61%
Tennessee                    27,000                14,798            18,201             3,402         23%
Texas                        148,473              112,670           109,914            (2,756)         -2%
Virginia                     40,141                 7,589            16,545             8,957         118%
West Virginia                56,620                63,485            44,079           (19,406)        -31%
Wisconsin                    31,881                15,374            17,856             2,482          16%
CSAPR States               1,392,682              831,466           701,913          (129,553)        -16%


       These data conclusively demonstrate that annual anthopogenic NOx emissions in the CSAPR
Update region are projected to be significantly reduced through 2017, with overall actual EGU 2017
emissions being even lower than these estimates. Emission trends for these states have been
deceasing for many years and will continue to decrease through at least 2023 as the result ofnothing
more than on-the-books controls.

4.          Had current air modeling projections taken into account the significant emission
            reduction programs that are legally mandated to occur prior to 2023, even better air
            quality would have been demonstrated.




                                                       7
              Case: 23-3216            Document: 32-3         Filed: 06/16/2023         Page: 138




C           The State of Maryland has identified8 nine such programs that have been recommended by
    the OTC for implementation by its member states to reduce both NOx and VOC. These programs
    (set out below) have the potential to reduce a total of nearly 27,000 tons of ozone season NOx and
    22,000 tons of ozone season VOC emission reductions.

                                        NO , andVOCReductton P ro2rams
             OTC Model Control               Regional Reductions              Regional Reductions
                 Measures                       (tons per year)                  (tons per day)
               Aftennarket Catalysts               14,983 (NOx)                       41 (NOx)
                                                   3,390 (VOC)                         9 (VOC)

                  On-Road Idling                   19,716 (NOx)                       54 (NOx)
                                                   4,067 (VOC)                        11 (VOC)

                  Nonroad Idling                   16,892 (NOx)                       46 (NOx)
                                                   2,460(VOC)                         7 (VOC)

                Heavy Duty I & M                    9,326 (NOx)                       25 (NOx)


             Enhanced SMARTWAY                         2.5%



0             Ultra Low NOX Burners                 3,669 (NOx)                       IO (NOx)


                Consumer Products                   9,729 (VOC)                       26 (VOC)


                       AIM                         26,506 (VOC)                       72 (VOC)


                  Auto Coatings                     7,711 (VOC)                       21 (VOC)




            Most re_cently, Maryland's 75 ppb Ozone Transport SIP dated July 25, 2018 9, confirms the
    additional emissions-reduction measures that Maryland has applied to such NOx sources as mobile
    sources, and industrial sources as well as several sources of VOCs. In addition, Maryland lists a
    series of "Voluntary/Innovative Control Measures" that it identifies as assisting in •'the overall clean
    air goals in Maryland" although these measures have not been quantified.



    8
     http://midwes1o21me;roup.co m/files/MOG May 7 Final 050515.m:itx
    9
     hups://mdc.maryland.~ov/g ro~rams/Air/Air0ualityPlanninuP9c ume9t,;iOz.oneTr11nsportSIP 2008/Proposed MOO.
C   075ppmOzoneTransportSIP%20.pdf


                                                         8
              Case: 23-3216          Document: 32-3     Filed: 06/16/2023        Page: 139




        The Cabinet's proposal correctly notes on page 52 that there are several on-the-books NOx          C
emission reductions programs that have not yet been included in the current modeling efforts related
to 2023 ozone predictions. These programs, both individually and collectively, will have a material
effect on predicted air quality, particularly in the East and in combination with other local control
programs discussed elsewhere in these comments will almost certainly improve ozone predictions in
2023. Accounting for the programs and the related emission reductions at this time offers additional
support for the Cabinet's conclusion that on-the-books control programs are all that is needed to
address the 2015 ozone NAAQS.

5.         Controls on local sources must be addressed first before any additional emission
           reductions can be imposed on sources in Kentucky.

         The Cabinet very properly has undertaken a review of monitors in each of Connecticut, the
NY-NJ-CT Nonattainment Area, Maryland and Wisconsin and has noted the nonattainment
designation status of each of those areas as well as their distance from Kentucky. This analysis also
notes the significant impact of mobile sources including the very large amount of vehicle miles
traveled. From this analysis it is apparent that Kentucky emissions have little impact on these areas.
It is also apparent that significant remaining responsibility rests with the downwind nonattainment
areas to address their own local sources.

        When an area is measuring nonattainment ofa NAAQS, as is the case with the areas linked to         C
Kentucky, the Clean Air Act (CAA) requires that the effects and benefits of local controls ·on all
source sectors be considered first, prior to pursuing controls of sources in upwind states. CAA
§ 107(a) states that"[ eJach State shall have the primary responsibility for assuring air quality within
the entire geographic area comprising such State." In addition, CAA§ 110(a)( 1) requires that a state
SIP "provides for implementation, maintenance, and enforcement" of the NAAQS '•in each air
quality control region ... within such State." Moreover, by operation oflaw, additional planning and
control requirements are applicable to areas that are designated to be in nonattainment.

        This issue is important because upwind states must be confident this has occurred as they
prepare to submit approvable Good Neighbor state implementation plans to address the 2015 ozone
NAAQS. EPA' s current interstate transport modeling platforms fails to incorporate local emission
reductions programs that are required to improve ambient ozone concentration by 2023. Only
through a full assessment of these local emissions reductions can EPA determine whether there are
any bases for the imposition of additional emissions controls in upwind states. This is because
additional control requirements in upwind states can only be legally imposed if, after consideration
of local controls, there is a continuing nonattainment issue in downwind areas. 10

       The CAA addresses the affirmative obligations of the states to meet the deadlines for
submittal and implementation of state implementation plans designed to specifically address their

10
     EME Homer et.al. v EPA, 134 S. Ct. at 1608.                                                           C
                                                   9
                  Case: 23-3216            Document: 32-3     Filed: 06/16/2023        Page: 140




C   degree ofnonattainment designation. Review of Section l 72(c)(l) of the CAA provides that State
    Implementation Plans (SIPs) for nonattainment areas shall include "reasonably available control
    measures", including "reasonably available control technology" (RACT), for existing sources of
    emissions. Section 182(a)(2)(A) requires that for Marginal Ozone nonattainrnent areas, states shall
    revise their SIPs to include RACT. Section 182(b)(2)(A) of the CAA requires that for Moderate
    Ozone nonattainrnent areas, states must revise their SIPs to include RACT for each category of VOC
    sources covered by a CTG document issued between November 15, 1990, and the date ofattainment.
     CAA section l 82(c) through (e) applies this requirement to States with ozone nonattainrnent areas
    classified as Serious, Severe and Extreme.

            The CAA also imposes the same requirement on States in ozone transport regions (OTR).
    Specifically, CAA Section l 84(b) provides that a state in the Ozone Transport Region (OTR) must
    revise their SIPs to implement RACT with respect to all sources of VOCs in the state covered by a
    CTO issues before or after November 15, 1990. CAA Section 184(a) establishes a single OTR
    comprised of Connecticut, Delaware, Maine, Maryland, Massachusetts, New Hampshire, New
    Jersey, New York, Pennsylvania, Rhode Island, Vermont and the Consolidated Metropolitan
    Statistical Area (CMSA) that includes the District of Columbia.

           Given the significance of the need for local controls to address concern about any possible
    residual nonattainment area, MOO urges that this factor be considered as an additional factor
0   supporting the conclusion that no further emission requirements are necessary to satisfy the
    requirements of CAA section l 10(a)(2)(D)(i)(I).

    6.         Consideration of international emissions also adds support to the conclusion
               that there is no further obligation to reduce emissions.

           As an integral part of the consideration of this proposal, MOO supports consideration of the
    impact of natural and manrnade international emissions on the ultimate question of whether the
    downwind monitors can be properly considered either nonattainment or maintenance monitors.

               The CAA addresses international emissions directly. Section l 79(B)(a) states that -

               (a) Implementation plans and revisions

                    Notwithstanding any other provision oflaw, an implementation plan or plan revision
                  required under this chapter shall be approved by the Administrator if-
                    (}) such plan or revision meets all the requirements applicable to it under the 11 chapter
                  other than a requirement that such plan or revision demonstrate attainme/11 and
                  maintenance ofthe relevant national ambient air quality standards by the attainment date
                  specified under the applicable provision ofthis chapter, or in a regulation promulgated
                  under such provision, and

C   11
         So in original. Probably should be "this".

                                                         10
           Case: 23-3216           Document: 32-3            Filed: 06/16/2023   Page: 141




              (2) the submitting State establishes to the satisfaction of the Administrator that the        C
            implementation plan ofsuch State would be adequate to attain and maintain the relevant
            national ambient air quality standards by the attainment date specified under the
            applicable provision ofthis chapter, or in a regulation promulgated undersuch provision,
            but for emissions emanating from outside ofthe United States.

       In addition, addressing international emissions is particularly important to upwind states as
they implement the requirements of CAA section l I0(a)(2)(D)(i)(n.

       The U.S. Supreme Court has ruled that it is essential that Good Neighbor states be required to
eliminate only those amounts of pollutants that contribute to the nonattainment of NAAQS in
downwind States. Specifically, the Supreme Court stated: "EPA cannot require a State to reduce its
output of pollution by more than is necessary to achieve attainment in every downwind State... "
EPA v. EME Homer City Generation. 134 S. Ct. 1584, 1608 (2014).

       In addition, the D.C. Circuit has commented that " ... the good neighbor provision requires
upwind States to bear responsibility for their fair share ofthe mess in downwind States." 12 However,
this "mess" seems to be related to international emissions for which upwind states and sources have
no responsibility.

         The D.C. Circuit has also stated "section 11 0(a)(2)(D)(i)(I) gives EPA no authority to force an
upwind state to share the burden ofreducing other upwind states' emissions," North Carolina, 531
F.3d at 921. Given this ruling by the Court it seems logical that the CAA would not require upwind
                                                                                                            0
states to offset downwind air-quality impacts attributable to other countries' emissions. Simply put,
EPA over-controls a state if the state must continue reducing emissions after its linked receptors
would attain in the absent of international emissions.

        The Projected 2023 ozone design values (ppb) excluding the contribution from boundary
condition, initial condition, Canadian and Mexican emission sources) shown below was prepared by
Alpine Geophysics for MOO and depicts the projected 2023 8-hour ozone Design Values across the
U.S. excluding the international emissions sector. The exclusion of international emissions was
executed for all such emissions whether from international border areas or beyond. Note that this
projection shows all monitors in the continental U.S. with a design value equal to or less than 56.6
ppb when international emissions are excluded. Modeling the U.S. emissions inventory projected to
2023 but without the impact of uncontrollable international emissions demonstrates that the CAA
programs in the U.S. are performing as intended.




1
 ~ EME Homer City Generation, L.P. i • EPA, 696 F3.3d 7, 13 (D.C. Cir. 2012).                               C
                                                       11
                     Case: 23-3216                   Document: 32-3                            Filed: 06/16/2023                          Page: 142


         Projected 2023 ozone design values (ppb) excluding the contribution from boundary condition,
                           initial condition, Canadian and Mexican emission sources

0

                                                                                                                                       ~- - ·-
                                                                                                                                    Tai"""
                                                                                                                                          ..........

          ...
         "1"9"",
                __
                ..
                                         ..
                                        ?.....
                                           ,
                                                     -      1'   I{ P   S 1-A Ht
                                                                                   ·k•u•C..,         -·,:,,- ""'·~·
                                                                                                      ·- __ •
                                                                                                                                 •,.....,,,
                                                                                                                                          Wi0\119;_,
                                                                                                                                          ..........
                                                                                                                                                               "';t1"
                                                                                                                                                       fl••r,..t



                               '"'~""            •
                                                                                                  - ----·- •  k ......... _...    .......- ,,,. ...j..             > 55 to 56.6




                         ·~·
                                                                        r.t'-0t,
                                                                                                                                                                   >50to55
                                        ...:..
                                           -
                   l.otfa'llllr•
                                                          •                   w.                                                                                   > -10 to so
                                                                                                                                                                   > 30 to "10
                                                                             -"'
                                                                    s.,,.,,i,rio H.......i,.
                                                                                                 ttr.Ottlr,
                                                                                                                                                                   > 20 to 30

                                                                                                                                                          •        > 10 to 20
                                                       , ..... t.aClnlat.,
                                                                                                                                                          •        < 10



            In addition to changing emissions resulting from growth and control in the continental U.S.,
    EPA has identified updated projected emissions in both Canada and Mexico that have been
    integrated into the modeling platform used in this modeling. 13 EPA's modeling boundary
0   conditions, however, have been held constant at 2011 levels. This is inconsistent with recent
    publications that indicate emissions from outside of the U.S., specifically contributing to
    international transport, are on the rise. 14

           In support of conclusion that boundary conditions are significantly impacted by international
    emissions, the following chart illustrates that 89% of the emissions being modeled to establish
    boundary conditions are related to international sources. 15




    13
       EPA-HQ-OAR-2016-0751-0009.
    14
       Atmos. Chem. Phys., 17, 2943- 2970(2017).
    15 European Commission, Joint Research Centre (JRC)/PBL Netherlands Environmental Assessment Agency.


Q   Emission Database for Global Atmospheric Research (EDGAR). bups;//protect-us.mimecast.com/s/N-
    G6CERPwVI3vMWjhNVOlp?domain..edgar.jrc.ec.europa.eu


                                                                                   12
              Case: 23-3216             Document: 32-3                  Filed: 06/16/2023                       Page: 143




       Relative International NOx Emissions(% of Total) Used to Inform Global Model                                                          C
                              Boundary Concentrations of Ozone

      35%
                                                                                                                                  30%
      30% -    -
 "'
 C

 ~25% - - - - -
 e"'       21%
 ':: 20% ·
 0
 z
 'o 15%                13%                    -------
 ~




                   11-i
 j 10%
 .2




                                                                                                      -
 C,
      5%                                       3%       3%
                                                                 2%~                2%       2%       2%
      0%
              China     Int.     US   India
                                               ■ ■
                                              Russian   Brazil
                                                                 • ., ■ .JI •
                                                                 Iran   Indonesia   Jap.n   Mexico     lnl,     Canada   S;iudi All Others
                      Shippine                 fed                                                   Aviation            Ar.lbl~




         There can be no doubt that international emissions have a significant impact on ozone
measurements at all monitors related to this proposal. MOG urges that the Cabinet not only
recognize (as it does on page 53 ofits proposal) that consideration ofthe Canada/Mexico component
of the Alpine Geophysics modeling is all that is needed to bring the Harford Maryland monitor into
attainment, but also that but for international emissions there would be no downwind problems areas
at all and therefore no need to for additional action to be undertaken to satisfy the requirements of
CAA section 11 0(a)(2)(D)(i)(I).

7.          Mobile sources have the most significant impact on ozone concentrations at the
            problem monitors identified in the Cabinet's proposal.

       As the Cabinet points out in its proposal, it must be recognized that it is emissions from
mobile, including both on-road and non-road, and local area sources that have the most significant
impact on ozone concentrations and the problem monitors identified in this proposal.

        EPA itself recently recognized the significance of mobile source emissions in preamble to its
full remedy proposal. There EPA stated:

                   Mobile sources also account for a large share of the NOx emissions inventory (i.e.,
          about 7.3 million tons per year in the 2011 base year, which represented more than 50% of
          co11ti11e11tal U.S. NOx emissions), and the EPA recognizes that emissions reductions achieved
         from this sector as well can reduce transported ozone pollution. The EPA has national
         programs that serve to reduce emissionsfrom all contributors to the mobile source inventory
         (i.e., projected NOx emissions reductions of about 4. 7 million tons per year between the

                                                                                                                                             C
                                                                 13
                  Case: 23-3216            Document: 32-3               Filed: 06/16/2023   Page: 144




C              2011 base year and the 2023 future analytical year). A detailed discussion of the EPA 's
               mobile source emissions reduction programs can befotmd at www.epa.gov/otaq.

                      In light ofthe regional nature of ozone transport discussed herein, and given that
               NOx emissions from mobile sources are being addressed in separate national rules, in the
               CSAPR Update (as in previous regional ozone transport actions) the EPA relied on regional
               analysis and required regional ozone season NOx emissions reductions from EGUs to
               address interstate transport of ozone.

               8 3 Federal Register 31918.

           We strongly agree that mobile source emissions are the dominant contributor to predicted
    ozone concentrations across the nation. At the request ofMOG, Alpine Geophysics has examined
    not only the relative contribution of mobile and local area sources to problem monitors but also how
    a small reduction in these emissions could bring about significant additional reductions in ozone
    concentrations.

           The following table presents the annual mobile source NOx emission totals (onroad plus
    nonroad) for eastern states as presented in the final CSAPR update emission summary files 16• As can
    been seen in this table, consistent with EPA's national assessment of mobile source emissions,
    annual mobile source NOx emissions in this region comprise 51 %, 41 %, and 33% of the annual
0   anthropogenic emission totals for 2011, 2017, and 2023, respectively.




C   16
         ftp://ftp.epa.gov/Emislnventoryl2011 v6/v3platfonn/rep_orts/

                                                                14
            Case: 23-3216             Document: 32-3                Filed: 06/16/2023           Page: 145




                       Eastern State Mobile Source NOx Emissions (Annual Tons).                                             C
                                                                                                       Mobile Sources as%
                           Annual Anthropogenic NOx                  Annual Mobile Source NOx             of All Annual
                               Emissions (Tons)                           Emissions (Tons)                Emissions (%)
Stale                       2011        2017       2023               2011        2017      2023       2011 2017 2023
Alabama                   359,797     220,260     184,429           l7S,473      88,094      S4,104    49%    40%    29%
Arkansas                  232,ISS     168,909     132,148           113,228      68,949      44,S83    49%    41%    34%
Connecticut                72,906      46,787      37,7S8           49,662       26,9S4      18,718    68%    S8%    SO%
Delawilre                  29,Sl3      18,301      14,SI I          17,788       10,387       6,819    60%    S7%    47%
District of Columbia        9,404       6,0S2       4,569            7,073        3,947       2,500    7S%    65%    SS%
Florida                   609,609     410,536     323,476          406,681      232,319     153,27S    67%    S7%    47%
Georgia                   4Sl,949     29S,397     236,S74          267,231      147,690      90,S4 I   S9%    SO%    38%
Illinois                  S06,607     3S4,086     293,4S0          261,727      166,393     114,243    S2%    47%    39%
Indiana                   444,421     317,558     243,9S4          218,629      122,633      76,866    49%    39%    32%
Iowa                      240,028     163,126     124,650          132,630       82,212      S3,712    SS%    SO%    43%
Kansas                    341,S7S     270,171     172,9S4          I IS,302      68,491     43,169     34%    2S%    2S%
Kentucky                  327,403     224,098     171,194          139,866       80,244     50,633     43%    36%    30%
Louisiana                 SJS,339     410,036     373,849          117,S29       67,331     43,962     22%    16%    12%
Maine                      S9,838      42,918      32,186            34,933      18,380     12,240     S8%    43%    38%
Maryland                  165,SSO     108,186       88,383          103,227      60,164     38,922     62%    S6%    44%
Massachusetts             136,998      90,998       73,082          83,398       4S,03I     30,508     61%    49%    42%
Michigan                  443,936     296,009     228,242          250,483      13S,434     88,828     56%    46%    39%
Minnesota                 316,337     216,92S     174,797          176,424      102,728     65,868     56%    47%    38%

                                                                                                                            C
Mississippi               205,800     128,510     105,941          108,198      57,751      34,561     53%    45%    33%
Missouri                   376,256    237,246     192,990          219,S0S     122,137      75,380     S8%    51%    39%
Nebraska                   217,427    IS9,062     119,S27           88,985      55,067      3S,556     41%    35%    30%
New Hampshire               36,526     22,413      18,794           24,919      14,780      10,322     68%    66%    55%
New Jersey                 191,035    127,246     101,659          133,073      75,538      51,231     70%    59%    SO%
New York                   388,350    264,653     230,001          224,454     130,023      92,171     58%    49%    40%
North Carolina             369,307    231,783     167,770          250,549     114,952      70,812     68%    50%    42%
North Dakota               163,867    1~5,009     128,864           57,289      37,071      23,9S6     35%    27%    19%
Ohio                       546,547    358,107     252,828          311,896     168,799     100,058     57%    47%    40%
Oklahoma                   427,278    308,622     255,341          139,SS0      79,830      50,525     33%    26%    20%
Pennsylvania               562,366    405,312     293,048          249,792     135,765      81,645     44%    33%    28%
Rhode Island                22,429      15,868     12,024           13,689       7,705       5,209     61%    49%    43%
South Carolina             210,489     134,436    104,777          132,361      73,359      44,886     63%    55%    43%
South Dakota                77,757      49,014     37,874           48,499      30,473      19,685     62%    62%    52%
Tennessee                  322,578     209,873    160,166          213,748     122,738      77,135     66%    58%    48%
Texas                    1,277,432   1,042,256    869,949          554,463     292,609     189,601     43%    28%    22%
Vermont                     19,623      14,063     10,792           14,031       8,569       5,958     72%    61%    5S%
Virginia                   313,848     199,696    161,677          179,996     108,175      67,678     57%    S4%    42%
West Virginia              174,219     160,102    136,333           48,294      27,487      17,494     28%    17%    13%
Wisconsin                  268,715     178,927    140,827          167,753     100,814      67,201     62%    56%    48%
Eastern US Total        11,455,243   8,042,552   6,411,386        5,852,332   3,291,024   2,110,555    51%   41"/o   33%



       Additionally, when source apportionment is applied to many of the problem monitors in the
northeastern states, a distinct signal ofmobile and local area source contribution to future year ozone
concentrations is demonstrated.                                                                                             C
                                                             15
                            Case: 23-3216                            Document: 32-3                     Filed: 06/16/2023                 Page: 146




0           Using the Harford, MD (240251001) monitor as an example and the 2023 4km modeling and
    source apportionment methods outlined elsewhere 17, it can be seen in the following table and figure
    that area, nonroad, marine/air/rail (MAR) and onroad mobile source emission from within Maryland
    itself dominate the relative contribution to projected nonattairunent.

                  Relative Contribution of Source Regions and Categories to Harford, MD Monitor.

    .:..:
     M.:..::
          o;:.;_
             nltc:.:o:..:.
                        r _ _-=-
                              24:.:c
                                  o2=5.::.:
                                       10=01   ~ Harford, Maryland                                                                   Final CSAPR DV                    71.l

                                                                                                                                                          1111   tM.rAlllhnl
    er                                                                                                                        0.00          ODO         0.00
                                                                                                                                                                        0.00
    DE
    MD                                                                                                                        0.00          0.00        0.00
    NJ                                         0.01                                                                           0.00          0.00        0.00
    NY                                         0.01                                                                           0.00          ODD         0.00            0.02
    PA                                         D.Sl                                                                           0.00          0.00        0.00            l 71
    VA/DC                                      1.37             lAO                                                           0.00          0.00        0.00            Ul
    IL                                         032              0.17                                                          0.00          0.00        0.00            1.06
    IN                                         DAI                                                                            0.00          0.00        0.00            1.1.1
    Ill                                        0.06                                                                           0.01          o.ao        0.00            0.21
    OH                                         077              0.66                            1.12             OAO          0.00          0.00        0.00            3.03
    WV                                         0.81             0.24              115           0 .74            DAI          0.00          0.00        ODO             2.55j
    «Y                                         0.62             o.n               0.84          OJI                           ODO           ODO         0,00            2.0,
     T)(                                       0.2,           ~.£                 OA4
                                                                                                                 0.01
                                                                                                                              O.Ol
                                                                                                                              0AO
                                                                                                                                            o.oo
                                                                                                                                            0.00
                                                                                                                                                        0.00
                                                                                                                                                        0.00
                                                                                                                                                                       ..w..
     Can/Mei                                   0.14             Dlll              Olli          0.01                                                                    !'·'1.'
     IC                                        ODO              ODO               ODO           0.00             0.00         0.00          o.oo        O.Ol            O.OD
     BC                                        0 .00            0.00              ODO           o.oo             0.00         0.00         1134         0.00            ODO


                                                                                 Harford, Maryland
                                                              20t3 OSAT Results B~Jedon MATS/Top 10 Fut11r• Year Days Method
                  30
           :ii'
            D.
           ~

0           C:

           ..
            0
           -=:,
                  25


             .,u 20
            C:

            C:
           d 15
            i!l
            C:
            0


           ..
           0




                                                                                                                                                                  I
           .e 10
           1
           :; s
            0
           ::i;
                   0




                                ■ Bio/Fire         ■ MotorVehlcl'e     ■ Areil/NR/MAR    ■ EGU Point    ■ NonEGU Point   ■ Other     ■ Boundary    ■ lnl!lal




             When focusing only on the anthropogenic contribution from the significant contributing
     states (1% of NAAQS or greater than or equal to 0.70 ppb), area/nonroad/MAR categories
     demonstrate more than half(51%; 35% from Maryland) of the total significant contribution from
     these states. As is shown in the following pie chart, an additional 21 % of projected ozone from
     significant contributing state anthropogenic categories is estimated from onroad motor vehicle


     17
       "Good Neighbor" Modeling for the 2008 8-Hour Ozone State Implementation Plans, Final Modeling Report, by
     Alpine Geophysics, LLC, December 2017

0    (http://www,midwestozonegroup.com/tileslOzone Modeling Results Supporting GN SIP Obligations fJllal Dec
      2017 .pdf.

                                                                                              16
              Case: 23-3216          Document: 32-3           Filed: 06/16/2023      Page: 147




emissions. Of this 21 %, 12% is estimated from onroad mobile source emissions originating in            C
Maryland.

      Relative Contribution of Anthropogenic Emission Categories in 2023 from Significant
                         Contributing States to Harford, MD Monitor.




                                                                    MD
                       Area/NR/MAR
                           16%
                                                              Area/NR/MAR
                                                                   35%
                                                                                                        C



        To further the assessment of which regions and categories have the greatest impact on this
monitor's future year ozone concentration, a review of the modeling platform used in the 4km
modeling develops relationships between the State-source category specific OSAT modeling and the
seasonal NOx emissions used to develop the ozone concentrations. Using monthly, county and
source category specific emissions published by EPA 18 , relational "impact factors" were developed
using these data.

       This value represents the relative contribution of modeled emissions (tons) to resultant ozone
concentrations (in ppb).

                  Impact Factor (ppb/ton) =OSAT Contribution (ppb) / Emissions (tons)

18
     ftp://flp.epa.gov/Emislnventoryl2011v6/v3platfonn/reportst2011 en and 2023en/                      C
                                                         17
                      Case: 23-3216             Document: 32-3                Filed: 06/16/2023                    Page: 148




0   A primary purpose for this calculation is to determine, at each monitor, from where and what source
    category, on a ppb per ton basis, we see the greatest relative contribution. In other words, to
    determine which source category, and from what state, has the greatest per ton NOx contribution to
    the monitor's modeled ozone concentrations.

            After this calculation was conducted for each monitor, results to the maximum individual
    state/category contributor were normalized, so that in the comparisons, it could easily be identified
    the greatest ppb per ton state/source category and provide an easy way of determining which
    categories have greater relative impact compared to all others.

           The chart below provides this normalized comparison of significant contributing state-
    category combinations to the Harford, MD monitor.

                                 Harford, Maryland- Normalized Impact Factor (IF/Max IF)


                           ___ _____________ -----------
                                   I
     ;;- 9<M      -t--------11-- - - - - - - - - - - - - - - - - - - - - - - - - - -
     1 8C111,                      ,_

     j
     -i ~ l
         70K

                                   - - - - - - - - - - - - - - - - - - - - ~- - - -
     i 5°" ~,-----11---------------------------
0    14°"
     -   3(1!1;
                  I
                  -----

     12(1!1; - - - -
     1 10'6 - - - - -
                                        _ _ _ ____ _,_.
                                                     [L,.,_._,-...11& .-..-&o. , - - , . . . . . .:.11...Ea..------.
                      CT    OE    MD       NJ        NY       P,\   VA/DC        IL        IN         Ml      OH    WV   Kl    TX
                                          • Matar Vehicle   • Ana/NR/MAA    • EGU Paint   • NC111EGU Poil,t



            In addition to recognizing the usefulness of this impact factor in determining which states and
    categories are the largest ppb/ton contributors to each monitor, the results may be used to assist in the
    development of control strategies and their relative impact on ozone concentrations at various
    locations.
                                                                                                                                    19
           As a further example using these impact factor calculations, and similar to EPA methods
    with the Air Quality Assessment Tool, assuming a linear relationship ofNOx emissions to ozone
    concentrations at low emission changes, we estimate that a 1.5% NOx emission reduction in
    Maryland's area, nonroad, and MAR category (226 NOx tons per ozone season) would have enough
    associated ozone concentration reduction (0.20 ppb) to bring the noted monitor into attainment at
    70.9 ppb. Similarly, a reduction of 4% (or 426 tons NOx/ozone season) from onroad mobile source


    19

C     https://www.eoa.gov/sites/production/files/2017-
    05/documents/ozone transport policy analysis final rule tsd.pdf

                                                                      18
          Case: 23-3216         Document: 32-3          Filed: 06/16/2023         Page: 149




NOx emissions in Maryland alone would have the same ozone concentration impact (0.20 ppb). This             C
compares to a 7% reduction from EGUs in all the other non-Maryland significant contributing states
(PA, VA, DC, IL, IN, OH, WV, KY, and TX) and would be equivalent to an estimated 11,887 tons
NOx per ozone season reduction from these sources.

        The regulation of mobile sources is specifically addressed in the CAA section 209, which
provides guidance on the management roles ofmobile sources for the federal government, California
and other states. Section 209(a) opens with the statement concerning on-road engines and vehicles,
..No State or any political subdivision thereof shall adopt or attempt to enforce any standard relating
to the control of emissions from new motor vehicles or new motor vehicle engines subject to this
part." Relative to non-road engines or vehicles, CAA 209(e) provides similar language.

        The exception to these prohibitions is set forth in CAA § 177 for California and any other
state that chooses to adopt an ..EPA-approved California control on emissions ofnew motor vehicles
or engines." Regulation of new mobile-source emissions has been principally federally- driven, but
states continue to have a role. Engine Mfrs. Ass '11 v. EPA, 88 F.3d 1075, 1079 (D.C. Cir. 1996).
The CAA §209(d) preserves the authority of the states to control, regulate, or restrict the use,
operations, or movement of registered or licensed motor vehicles. The D.C. Circuit has interpreted
this as maintaining state power to regulate pollution from motor vehicles once they are no longer
new; for instance, through in-use regulations such as car pools and other incentive programs. Id. In
response to the D.C. Circuit opinion, EPA clarified its position relative to state non-road regulatory
authority in 40 CFR 89, Subpart A, Appendix A- State Regulation ofNonroad Internal Combustion
                                                                                                            0
Engines as follows:

        EPA believes that states are not precluded under section 209 from regulating the use and
operation of nonroad engines, such as regulations on hours of usage, daily mass emission limits, or
sulfur limits on fuel; nor are permits regulating such operations precluded, once the engine is no
longer new. EPA believes that states are precluded from requiring retrofitting of used nonroad
engines except that states are permitted to adopt and enforce any such retrofitting requirements
identical to California requirements which have been authorized by EPA under section 209 of the
Clean Air Act. [62 FR 67736, Dec. 30, 1997]

         Given the dominant role of mobile sources in impacting on ozone air quality, MOG urges
that the Cabinet offer as an additional basis for its SIP that additional local mobile source controls in
downwind states are necessary before requiring additional emission reductions from upwind states
such as Kentucky. We urge that downwind states take full advantage of all of the authority provided
to each of them under the CAA and to reduce mobile source emissions appropriately to assure
continued attainment with the 2015 ozone NAAQS.

8.     2023 is the appropriate year for assessing Good Neighbor SIP requirements related to
       the 2015 ozone NAAQS.
                                                                                                            C
                                                   19
                Case: 23-3216             Document: 32-3             Filed: 06/16/2023             Page: 150




             It is appropriate for the modeling results relied upon by the Cabinet to have been based on
    2023 as the future analytic year. That year was selected by EPA as the basis for its modeling
    "because it aligns with the anticipated attainment year for the Moderate ozone nonattainment
    areas". 20 Indeed, 2023 aligns with the last full ozone season before the attainment year for Moderate
    ozone nonattainment areas.

    9.      The Cabinet is correct in calling for the application of an alternative significance
            threshold.

            For many months, EPA has had under consideration the appropriateness of the use of its 1%
    significance test to determine whether an upwind state significantly contributes to downwind non-
    attainment or interference with downwind maintenance areas. While EPA' s March 2 7, 2018 memo
    related to interstate transport state implementation plan submission involving the 2015 ozone
    NAAQS provides a set of contributions by upwind states to downwind states, that data is not based
    on a particular significance threshold. 21 Indeed, that memo identifies the significance threshold as
    one of the flexibilities that a state may wish to consider in the development of its Good Neighbor
    SIP. Specifically, EPA offers the following description of this flexibility:

             "Consideration of different contribution thresholds for different regions based on
             regional differences in the nature and extent of the transport problem."

0          In commenting on this flexibility, states have made the point that the significant contribution
    threshold of 1% of the NAAQS (0. 70 ppb for the 2015 ozone NAAQS) value is arbitrary and is not
    supported by scientific argument. 22

            On August 31, 2018, EPA issued significant new guidance in which it analyzed 1 ppb and 2
    ppb alternatives to the I% significance level that it has historically used. 23 In that memo, EPA offers
    the following statement:

             Based on the data and analysis summarized here, the EPA believes that a threshold of
             1 ppb may be appropriate for states to use to develop SIP revisions addressing the
             good neighbor provisions for the 2015 ozone N AAQS.


    20 Infom,ation on the Imerstate Transport State Implementation Plan Submissions for the 2015 Ozone National

    Ambient Air Quality Standards under Clean Air Act Section 1 J0(a)(l)(D)(i)(I), prepared by Peter Tsirigotis, March
    27, 2018, p. 3. https://www.eoa.gov/ainnarkets/march-2018-memo-and-supplemental-infonnation-regarding-
    interstate-transport-sios-2015.
    21
       Id at p. A-2.
    22
       Georgia EPD Comments on EPA's March 27, 2018 Interstate Transport Memo, J.W. Boylan, Air Protection
    Branch, George EPD, May 4, 2018. https:llwww.epa.gov/sites/production/files/2018-
    QB/documenL!ilga epd comments on cpa march 27 2018 ozone transport memo.pdf.
    i 3 Analysis o/Co111ributio11 Thresholds for Use in Clean Air Act Sectio11 I J0(a)(2)(D)(i)(l) Interstate Transport State
    Implementation Plan Submissions for the 2015 Ozone National Ambient Air Q11ality Standards, Peter Tsirigotis,

C   August 31, 2018. l:!!.!P.s.:.l/www,ma,gov/sites/production/files/20 I8-
    09/documents/contrib thresholds transport sip subm 2015 ozone memo 08 31 18.pdf.

                                                               20
                 Case: 23-3216              Document: 32-3                     Filed: 06/16/2023                  Page: 151




        In reaching its conclusion that a 2 ppb threshold was not recommended, EPA compared the 2                                                 C
ppb alternative to the 1 ppb alternative using data which averaged all receptors outside California. In
that circumstance, EPA determined that using a 1 ppb threshold captures 86 percent of the net
contribution captured using a 1% threshold whereas a 2 ppb threshold captures only half of the net
contribution using I%. A different picture is presented, however, when the receptors east of the
Mississippi River (involving the states of Connecticut, Maryland, Michigan, New York and
Wisconsin) are considered separately from the states of Arizona, Colorado and Texas. In that case,
use a I ppb threshold captures 92% of the net contribution captured using a 1% threshold compared
with 78% for the 2 ppb threshold.

     In the case of either a I ppb threshold or a 2 ppb threshold, a significant reduction in
downwind linkages occurs.

            The following chart compares all three alternatives when applied to EPA 's modeling result:

                                                                Otone Concentratlon leebl
EPA Identified
Nonattalnment                            2009-2013    2023Av1    Conlribfrom        Conlribfrom    Contrlb from   "of 1ppb from "of 2ppb from
Site ID          State       Cou!!!:t     A!!!DV        DV        uew1m11"          uewlnd !!!eb   Uewlnd~l!b            1"          1"
90013007         Connecticut Fairfield      84.3        7LO         36.91              33.63           2738             91%          74%
90019003         Connecticut Fairfield      83.7        73.0        38.55              36.93           32.28            96%          84"
361030002        New York    Suffolk        83.3        74.0        2231               18.74           15,74--+         84%          71%
480391004        Te,cas      Brazoria       88.0        74.0        748                4.80            3.80             64%          51%
484392003        Texas       Tarrant        B7.3        72.5        4.20               3.42

                                                                                                                                                  C
                                                                                                       0.00
5S0790085        Wisconsin   Milwaukee      80.0        7L2         28.45              23.61
                                                                                                                        Bl%
                                                                                                                                     °"
551170006        Wisconsin   Shebonan       84.3        72.8        31.62      t-      29.02
                                                                                                       22.39
                                                                                                       24.90
                                                                                                                        83%
                                                                                                                        92%
                                                                                                                                     79%
                                                                                                                                     79%


        The results of the same comparison when applied to the LADCO modeling results are set
forth in the following chart:



LADCO
                   ------
                            -                                      Ozone Concentration (eeb)                      -,                 -
                                                                                                                                             -l
                                                                                                   I               I


                                                                                                                  l
Identified
Nonattalnment
Monitor              State       County
                                                     2023Avg
                                                        DV
                                                                Contrlb from
                                                                Upwind_!%
                                                                                    Contrlb from
                                                                                    Upwind lppb
                                                                                                   Contrlb from
                                                                                                   Upwlnd2ppb
                                                                                                                       % of lppbI  %of2ppb
                                                                                                                       from1%      from1%
90019003
240251001
                    Connecticut Fairfield
                    Maryland___,.Harford
                                                       71.4
                                                       71.0
                                                                   36.15
                                                                    19.9
                                                                            ----       34.51
                                                                                       17.51
                                                                                                   r    28.21
                                                                                                        14.56
                                                                                                                         95%
                                                                                                                         88%
                                                                                                                                 1   78%
                                                                                                                                     73%
361030002           New York    1Suffolk               71.6         20.85              17.42             14.6            84%         70%
                   1
480391004           Texas      J erazoria              74.1         7.45                4.65             3.62            62%         49%
484:192003          Texas        Tarrant              72.6          4.99                 3.4              0              68%
482011039           Texas        Harris               71.7          8.14                5.64             4.5             69%         °"
                                                                                                                                     55%


       The results of the same comparison for the MOG modeling results are set forth in the
following chart:




                                                                                                                                                  C
                                                                     2l
                       Case: 23-3216                                     Document: 32-3                                    Filed: 06/16/2023                              Page: 152




C   MOG ldentlfted
                                                                                                                    Ozane Conce ntratlan l!!e!!I

    Nanattainment I                                                                   2009-2013        ZOZ3AVI           Contrlb from Contrlb from Cantrlbfram                  "of lppb        "of2ppb
    Site ID         State                            County                             Av1DV            DV               uew1nd1" Upwind lppb UpwlndZppb                        framl"          framl"
    !KXl10017        Connetttcut                     Fairfield                            80.3              69.2            26.85        _25.98       ~168                         97"             81"
                                                                                                                                      ~
                     Connecticut                     Fairfield                            84.3                              23.9!..._ _ _23.04        18.57                        96%_    --1._8"
    !KXI~
    !KXl19003    __, i:;nnettl;i;t                   Fairfield                            83.6
                                                                                                       ~      -1_
                                                                                                            69.9            2778          26.U        2149
                                                                                                                                                          -- --                    94"            77"
    90110124         Connecticut                     New London                           80.3              68.2            19.60         17.86       U98                          91"            66'4
    !KXl9!KXl2       Connecticut                     New Haven                            85,7              70.3            2108          17.92       15.04                        85"            71"
    240251001        Maryland                        Harford                              90.0              711             1799          17.119      14.23                        95"            79%
    340150002        New Jersey                      Gloucester                           84.3              68.8            30.27         30.27       20.92                       100%           _69%
    360850067        New York                        Rlchmond                             8l3               69.6            29.17         26.64       20.29                       91%             70%
    36l031XXJ2       New York                        Suffolk                              83.3     t        70.7_           22.52         19.85       14.511                      88%             64%
    421010024        Pennsylvania                    Philadelphia                         SH                68.0            18.65         15.91        8.54                       85%             46"


                    In the case of Kentucky, EPA' s modeling data below show that at the 1% threshold,
    Kentucky would be linked to 4 non-attainment monitors and one maintenance monitor. Applying the
    1 ppb threshold to this data would eliminate any linkage to non-attainment monitor reduce to 1 the
    linkage to any maintenance monitor. Moving to the 2 ppb threshold would completely eliminate all
    linkage to any non-attainment or maintenance monitor.


    EPA Identified
                     1                                  ZOOt-ZOU
                                                                Ozane lppb)                                                         Slplnant cantrtbutlan jppb)

    Nanamlnment                                          AVSDV               ZDZJ AVS
    Sib ID         Sllb                  county            lppb)             DV lppb)      All    IL        IN      IA    KY  Ml MO NJ
                                                                                                                               IA   MD                I
                                                                                                                                             NY OH I OK PA TX VA WV WI                     I

    -~=
    90013007          COnn♦<1lcut        Fairfield             84.3            11-0       o,u o.n 0.97j 0.1& o.89 0.11 ui    0.7 0.311 5.94 lA.12 1.114 0.21 6.32 0.44 1.51 1.1 0.24
    9C019C03          COnnectlcut        Fairfield             1137            73.0       O.U 0.67 ~Q,~ 0,17 0.71 0,11 l lT 0.63 0 37 775 15.8 1.6 O.Zl 5.56 0.45 1.91 1.14 0.2
                                                                                          0.12 0.64 0.69 0.Z 0.49 O,U 114 o.9i" o.39 asa 1&11 1.1, 0.34 6.86 o.& 11.        a.n o.zs
C
                      Now Yark_          Suffolk                               74.0
                      Te111              Brazoria              BS.O            74.0       0.9    1    0.32 0.4 0,14 , .. 0 0.22 ~ 0           0 'T0.06 0.9 0.01 26 0.02 0.02 0.4
    4114392!113       Te111              Tarrant               117 3           72.5       0.78 0.29 O.lS 0.19 0,U 1..n 0.01 0.13 0.311 0 0.01 0.1 1.71 0.05 TT 64 0.05 0.05 0.13
    550790085         Wl sa,nsln         Mtlw1uhe              IIO.O           71.l       0.4 15.1 5.28 0.79 O.Tl 0.721 0.03 2.01 .{o:;r; o 0.02                      "'iii7'
                                                                                                                                                        o.761o.33 ~n 0.12 o.59 t!.'9
    551170006         Wlsconsln          Shtb:!#;■n            84.3            72.8       0.s1<1s .13 1 u !o.4510.11 o.Ml o~ 2 0& 1 ~1 o 0.02 1.1 o.,5t o.41 U'lo 0.1 o.64 ~ !,t


                                                                                                                                     llp,IRCIIII Contribution (ppb)
    EPAldonllflod                   •-
    M.tllntanana1                                                                                                                   I
    -
                                                                       alllM•
    SRolD            1111,          C-ty                               Ill/ (ppb)    AA CT      IL   IN IA KS ff IA MD                     Ml
                                                                                                                                           M$ MD NJ NY 011 OK PA                    1X VA WV             WI
    900111117        connectlc.ut   Falrfltld          113.0              71.2      0.01 1 u , 0.39 o.44 0.11 0.09 0. 34 nos u s           0.03 •0.21 ·6.24)17.31 1.1),1 o.ui uj•· 0.3 in 0.68
                                                                                                                                           o.5                                                           0.2&
                     CoAntdlcut     New Havitn         119.0              7t6        0.08 ~      46 0.5 DI& 0.14 0.32 n08 U1 0.:Jl 0.04 0.29 5.06 § ID ~-~I 0.24 4 117 0.41 l l6 0.61                    n25
    240251001        111,uyl&nd     H&rford            93.0               7H         1u 1 o O:i4           L-
                                                                                                          o.n o.n.,.,.!.. o.a l u§. o?v o.08 o.s, 0.111 0.1& .'-.!.U o.JS uz o.74              ~ 1J!l.   0.2•
    2f,0050llll      Mlchl11n       Alle11n            116.0              71.7        I Ii& 0 19.62 711 0.17 0.17 D.51 0.7 0.01 3.32 0.4 ~2.61] 0             0 0.19 1.31 O.OS 2.39 0.04 0.11            L$
    26Uil0019        M1d,I1an       Wayne              81.0               71.0       nn     0 2.37 2. 1'(o.':i. 0.44 D. 65 D.ll ·0.02 2039 D.09 ~      0.01 D.06 3.81 0.62 D.18 1.12 D.16 0.23           1.08
    31iCSIOIN        Ntw Yott       au,enJ             lllO               72.0       n09 D.57 0.73 0.69 nl6 D.19 0.42 0.U 1.S6 l 111 0.IM 0.311             &5! ~ -
                                                                                                                                                                  1118 0.32 IT,t6 0.51 t.56 1,01         0.311
    &11210034        Tt a11         O.nton             117.0              72.0       0.51 0 0.Zl 0.16 0.1 0.4 0.11 1 'I] 0.01 0.08 0.33 0.24 0 0.01 0.08 ..                     Pt
                                                                                                                                                                             0.IM l!i-69 0.0S n04        0.08
    "20l002-4        Tea.a1         M.uris             113.Q              12.1       0.29 0 0. 34                                     0.06 o.5 0.38 o         o n os 0.2 0.02 25.62 0.06 o.os            0.01
    "20UD34          T■HI           ...nil             82.Q               71.6      In ~    0 • ~5■1 0,11 D.27 D,32 D.OS :J       0 D.17 D.3' 0.63 0          0 (l:OS D.68 0.01 l'5.6& 0.03 O.~          O.ll
    4820UD3'         Tu:,11         Harris             84.0               715       r11~ , 0 ~       0.24 D.33 0.33 0.11 4c       o 0.21 lil'l't o .-1 o      o n os o.51 0.01 , v~ 0.02 0.01            0.21



            We urge the Cabinet to carefully evaluate these additional flexibilities as further support for
    the conclusion that Kentucky has already satisfied the requirements of CAA section
    11 0(a)(2)(D)(i)(I).

    10.             An important flexibility that should be considered is an alternative method for
                    determining which monitors should be considered "maintenance" monitors.

           Historically, the CSAPR Update methodology has been to address "interference with
    maintenance." This approach is, however, not only inconsistent with the CAA, but also inconsistent
    with both the U.S. Supreme Court and D.C. Circuit decisions on CSAPR. Upon consideration ofthe
C
                                                                                                                 22
            Case: 23-3216         Document: 32-3            Filed: 06/16/2023    Page: 153




reasonableness test, EPA' s emphasis upon the single maximum design value to determine a                   C
maintenance problem for which sources ( or states) must be accountable creates a default assumption
of contribution. A determination that the single highest modeled maximum design value is
appropriate for the purpose to determining contribution to interference with maintenance is not
reasonable either mathematically, in fact, or as prescribed by the Clean Air Act or the U.S. Supreme
Court. The method chosen by EPA must be a "permissible construction of the Statute."

        The U.S. Supreme Court in EPA v. EME Homer City explains the maintenance concept set
forth in the Good Neighbor Provision as follows:

         Just as EPA is constrained, under the first part of the Good Neighbor Provision, to eliminate
         only those amounts that "contribute ... to nonattainment," EPA is limited, by the second part
         of the provision, to reduce only by "amounts" that "interfere with mainte11a11ce, "i.e. by just
         enough to permit an already-attaining State to maintain satisfactory air quality. " 24

        Relative to the reasonableness of EPA' s assessment of contribution, the U.S. Supreme Court
also provides,

         The Good Neighbor Provision . . . prohibits only upwind emissions that contribute
         significantly to downwind nonattainment. EPA's authority is therefore limited to eliminating
         ... the overage caused by the collective contribution . . ." 25 (Emphasis added.)

        EPA's use ofa modeled maximum design value, when the average design value is below the
NAAQS, to define contribution, results in a conclusion that any modeled contribution is deemed to
be a significant interference with maintenance. This concept is inconsistent with the Clean Air Act
and the U.S. Supreme Court's assessment of its meaning.

       As noted by the D.C. Circuit in the 2012 lowercase of EME HomerCityv. EPA, "The good
neighbor provision is not a free-standing tool for EPA to seek to achieve air quality levels in
downwind States that are well below the NAAQS." 26 "EPA must avoid using the good neighbor
provision in a manner that would result in unnecessary over-control in the downwind States.
Otherwise, EPA would be exceeding its statutory authority, which is expressly tied to achieving
attainment in the downwind States." 21

       The Texas Commission on Environmental Quality (TCEQ) introduced in its 2015 Ozone
NAAQS Transport SIP Revision 28 an approach for identifying maintenance monitors that differs
from the approach used by the EPA in CSAPR and the 2015 Transport NODA. The EPA used the
maximum ofthe three consecutive regulatory design values containing the base year as the base year


1
 ~ 134 S. Ct. at 1064, Ftn 18.
15
   Id. at 1604.
16
   EME Homer City v. EPA, 696 F.3d 7, 22 (D.C. Cir 2012).
11 Id.                                                                                                     C
                                                     23
                  Case: 23-3216           Document: 32-3             Filed: 06/16/2023   Page: 154




C   design value (DVb) to identify maintenance monitors. Both the EPA's approach and the TCEQ's
    approach account for three years of meteorological variability in their choice of DVb to identify
    maintenance monitors since a single design value is a three-year average ofthe annual fourth-highest
    MDA8 ozone concentration. The EPA's approach is to choose the maximum ofthe three consecutive
    regulatory design values containing the base year as the DVb while the TCEQ's approach is to
    choose the latest of the three consecutive regulatory design values containing the base year as the
    DVb, For the reasons described in TCEQ's SIP revision, the TCEQ detennined that the selection of
    the most recent DV b addresses all issues relevant for an independent assessment ofmaintenance; and
    therefore, provides a comprehensive assessment of the potential impacts of Texas emissions on
    potential maintenance monitors.

           We urge that the Cabinet offer this alternative calculation of maintenance monitors as an
    additional statement ofthe conservative nature of its conclusions that no further action on the part of
    Kentucky is needed to address the requirements of CAA section l lO(a)(2)(D)(i)(I).

    11.        In the development of its Good Neighbor SIP, maintenance areas should not be given
               the same weight and status as nonattainment areas.

            Maintenance areas should not be subject to the same "significance" test as is applied to
    nonattainment areas. Maintenance areas do not require the same emission reduction requirements as

0   nonattainment areas, and therefore, require different management. The Cabinet's proposal at page
    55, correctly summarizes as follows the manner in which its proposal must address interfere with
    maintenance:

                       The "interfere with maintenance" prong ofthe statute is not an open-ended invitation
                       for EPA to impose reductions 011 upwind states. Rather, it is a "carefully calibrated
                        and commonsense supplement to the "contribute significantly" requirement.

            The U.S. Supreme Court opinion in EPA v. EME Homer City offered the following on
    "interference with maintenance,"

               The statutory gap identified also exists in the Good Neighbor Provision's second instruction.
                That instruction requires EPA to eliminate amounts ofupwind pollution that "interfere with
               maintenance" of a NAAQS by a downwind State. §741 0(a)(2)(D)(i). This mandate contains
               no qualifier analogous to "significantly," and yet it entails a delegation of administrative
               authority of the same character as the one discussed above. Just as EPA is constrained, under
               the first part of the Good Neighbor Provision, to eliminate only those amounts that
               "contribute ... to nonattainment," EPA is limited, by the second part of the provision, to
               reduce only by "amounts" that "interfere with maintenance, " i.e., by just enough to pennit an
               already-attaining State to maintain satisfactory air quality. (Emphasis added). With multiple


C   28
         https://www.tceg.texas.govlairguality/ainnod/data/gn

                                                                24
             Case: 23-3216           Document: 32-3          Filed: 06/16/2023      Page: 155




           upwind States contributing to the maintenance problem, however, EPA confronts the same             C
           challenge that the "contribute significantly" mandate creates: How should EPA allocate
           reductions among multiple upwind States, many of which contribute in amounts sufficient to
           impede downwind maintenance" Nothing in either clause of the Good Neighbor Provision
           provides the criteria by which EPA is meant to apportion responsibility. 29

           The D.C. Circuit opinion in EME Homer City v. EPA, also informs the maintenance area
issue:

           The statute also requires upwind States to prohibit emissions that will "interfere with
           maintenance" of the NAAQS in a downwind State. "Amounts" of air pollution cannot be
           said to "interfere with maintenance" unless they leave the upwind State and reach a
           downwind State's maintenance area. To require a State to reduce "amounts" of emission
           pursuant to the "interfere with maintenance" prong, EPA must show some basis in evidence
           for believing that those "amounts" from an upwind State, together with amounts from other
           upwind contributors, will reach a specific maintenance area in a downwind State and push
           that maintenance area back over the NAAQS in the near future. Put simply, the "interfere
           with maintenance" prong of the statute is not an open-ended invitation for EPA to impose
           reductions on upwind States. Rather, it is a carefully calibrated and commonsense
           supplement to the "contribute significantly" requirement. 30

       EPA's January 17, 2018 briefin the CSAPR Update litigation (Wisconsin et al. v EPA, Case
                                                                                                              C
No. 16-1406) documents with the following statement on pages 77 and 78 that EPA is ready to
concede that a lesser level of control is appropriate in situations not constrained by the time limits of
the CSAPR Update:

           Ultimately, Petitioners' complaint that maintenance-linked states are unreasonably subject to
           the "same degree of emission reductions" as nonattainment linked states must fail. Indus. Br.
           25. There is no legal or practical prohibition on the Rule's use of a single level of control
           stringency for both kinds of receptors, provided that the level of control is demonstrated to
           result in meaningful air quality improvements without triggering either facet of the Supreme
           Court's test for over-control. So while concerns at maintenance receptors can potentially be
           eliminated at a lesser level of control in some cases given the smaller problem being
           addressed, this is a practical possibility. not a legal requirement. See 81 Fed. Reg. at 74,520.
           Here, EPA's use of the same level of control for both maintenance-linked states and
           nonattainment-linked states is attributable to the fact that the Rule considered only emission
           reduction measures available in time for the 2017 ozone season. Id. at 74,520. Under this
           constraint, both sets of states reduced significant emissions, without over-control, at the same


29
30
     134 S. Ct. at 1064, Ftn 18.
     EME Homer City v. EPA. 96 F.3d 7, 27 Ftn. 25 (D.C. Cir 2012).                                            C
                                                        25
              Case: 23-3216         Document: 32-3          Filed: 06/16/2023        Page: 156




C          level of control. Id. at 74,551-52. Accordingly, EPA's selection of a unifonn level of control
           for both types of receptors was reasonable. Emphasis added.

            As an alternative to maintenance monitors being accorded the same weight as nonattainment
    monitors, we urge that the Cabinet take the position that no additional control would be needed to
    address a maintenance monitor if it is apparent that emissions and air quality trends make it likely
    that the maintenance monitor will remain in attainment. Such an approach is consistent with Section
     l 75A(a) of the Clean Air Act which provides:

           Each State which submits a request under section 7407 (d) of this title for redesignation of a
    nonattainment area for any air pollutant as an area which has attained the national primary ambient
    air quality standard for that air pollutant shall also submit a revision of the applicable State
    implementation plan to provide for the maintenance of the national primary ambient air quality
    standard for such air pollutant in the area concerned for at least 10 years after the redesignation. The
    plan shall contain such additional measures, if any, as may be necessary to ensure such maintenance.

           It is also consistent with the John Calcagni memorandum of September 4, 1992, entitled
    "Procedures for Processing Requests to Redesignate Areas to Attainment", which contains the
    following statement on page 9:

                    A State may generally demonstrate maintenance of the NAAQS by either
0                   showing that future emissions of a pollutant or its precursors will not exceed
                    the level of the attainment inventory, or by modeling to show that the future
                    mix of source and emission rates will not cause a violation of the NAAQS.
                    Under the Clean Air Act, many areas are required to submit modeled
                    attainment demonstrations to show that proposed reductions in emissions will
                    be sufficient to attain the applicable NAAQS. For these areas, the
                    maintenance demonstration should be based upon the same level of
                    modeling. In areas where no such modeling was required, the State should be
                    able to rely on the attainment inventory approach. In both instances, the
                    demonstration should be for a period of 10 years following the redesignation.

            As stated above, while Kentucky would not be linked to any maintenance monitor at a
    significance threshold of2 ppb, it would be linked by EPA's 12km modeling data to a maintenance
    monitor (Harford Maryland) at a significance threshold of 1 ppb. Accordingly, MOO urges that the
    Cabinet apply an alternate methodology to assess maintenance monitors that is different than any
    method it would apply to assess nonattainment monitors. Any impacts which Kentucky has on
    maintenance areas will certainly be addressed by consideration of controls that are already on-the-
    books and by emissions reductions that have been and will continue to apply to Kentucky sources as
    is well-demonstrated by these comments and the Cabinet's proposed GNS.




                                                       26
          Case: 23-3216        Document: 32-3          Filed: 06/16/2023        Page: 157




12.     An additional element of conservatism in the Cabinet's proposal is recognition of                 C
        Kentucky's very limited proportional contribution to the Harford Maryland monitor.

       MOG was very pleased that EPA's March 27, 2018 memorandum recognized two methods
for apportioning responsibility among upwind states to downwind problem monitors. In its
memorandum, EPA offers the following statement:

               For states that are found to significantly contribute to nonattainment or
               interfere with maintenance of the NAAQS downwind, apportioning
               responsibility among states.

                              Consider control stringency levels derived through "uniform-
                           cost" analysis ofNOx reductions.

                               Consider whether the relative impact (e.g., parts per
                           billion/ton) between states is sufficiently different such that this
                           factor warrants consideration in apportioning responsibility.

       Addressing these issues is particularly important in the situation in which a state's
contribution to a downwind problem monitor is greater than the level at which a monitor exceeds the
NAAQS. To avoid unlawful over-control, a state must be allowed the option of prorating the
reduction needed to achieve attainment over all states that contribute to that monitor. This process
allows a state the option of addressing only their prorate portion of responsibility for the portion of
                                                                                                          0
the problem monitors ozone concentration that exceeds the NAAQS.

        In EPA's March 2018 memorandum, the agency also recognizes that consideration can be
given to states based on their relative significant impact to downwind air quality monitors compared
to other significant contributing states and whether the contribution values are sufficiently different
enough that each state should be given a proportional responsibility for assisting in downwind
attainment. Under an analysis like this, reductions should be allocated in proportion to the size of
their contribution to downwind nonattainment.

        As Alpine Geophysics points out in the Technical Support Document (TSO) relied upon by
the Cabinet, the Harford, MD (240251001) monitor and the OSAI-derived significant contribution
results from the 4km modeling, the Harford Maryland monitor is required to have a 0.2 ppb
reduction to demonstrate attainment with the 2015 ozone N AAQS. In the following calculation taken
from that TSO, each significantly contributing (based on 1% NAAQS) upwind State must ( l)
achieve less than 0. 70 ppb significant contribution or (2) the monitor must achieve attainment (70.9
ppb). From these assumptions, the reduction necessary from each upwind state has been calculated.




                                                                                                          C
                                                 21
              Case: 23-3216         Document: 32-3        Filed: 06/16/2023        Page: 158




C
    Proportional contribution and reductions associated with significantly contributing
    upwind states to Harford, MD (240251001) monitor in 4km modeling domain.

                                                                      Required
                                         Relative Contribution        Reduction
                          Ree:ion           nob          •;.              nob
                          VA/DC            3.92         22%              0.04
                          OH               3.02         17%              0.03
                          PA               2.70         15%              0.03
                          WV               2.52         14%              0.03
                          KY               2.07         12%              0.02
                          IN                l.81        10%              0.02
                          IL                1.05        6%               0.01
                          TX               0.90         5%               0.01
                          Total            17.99       100%              0.20

            Even though this modeling predicts Kentucky's contribution to the Harford Maryland
    monitor to be 2.07 ppb, the result of the proportional reduction requirement associated with the
    relative significant contribution from each upwind state, Kentucky's required reduction would be
    lowered to only 0.02 ppb - a level that conservatively addressed by the various factors cited by the
0   Cabinet and reinforced by these comments.

             For reasons stated elsewhere in these comments MOO does not favor applying the same
    weight to maintenance monitors as would be applied to nonattainment monitors. We therefore urge
    that this same approach not be applied to maintenance monitors. Any impacts which Kentucky has
    on maintenance areas will certainly be addressed by consideration of controls that are already on the
    books and by emissions reductions that have been and will continue to apply to Kentucky sources as
    is well-demonstrated by these comments and the proposed GNS.

       Conclusion.

            Accordingly, the Midwest Ozone Group supports the Cabinet's proposed Good Neighbor SIP
    as a conservative justification for the conclusion that no additional emissions reductions beyond
    existing and planned controls are necessary to mitigate any contribution Kentucky may have to any
    downwind monitors to comply with CAA section 11 0(a)(2)(D)(i)(I).




C
                                                     28
       Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 159




 C




'''-
            Case: 23-3216          Document: 32-3             Filed: 06/16/2023    Page: 160




lG£ KU.
  PPL companies

  CERTIFIED MAil..                                                                        LG&E and KU Energy LLC
  CERTIFIED NUMBER 7015 1520 000 79S8 9403                                                Environmental Affairs
  RETURN RECEIPT REQUESTED                                                                220 West Main Street
                                                                                          Louisville, KY 40202
                                                                                          www.lge-ku .com

  September 21, 2018                                                                      Jason Wilkerson
                                                                                          Sr. Environmental Engineer
  Ms. Lauren Hedge                                                                        T 502-627-4043
  Environmental Scientist II                                                              F 502-627-2550
  Kentucky Division for Air Quality                                                       Jason.wil kerson@lge-ku.com
  Evaluation Section
  300 Sower Blvd
  Frankfort, KY 40601

 Comments on Proposed Kentucky Infrastructure State Implementation Plan for the 2015 Ozone
 National Ambient Air Quality Standard

 Dear Ms. Hedge:

 LG&E and KU Energy LLC is pleased to have the opportunity to comment in support of the Proposed
 Kentucky Infrastructure State Implementation Plan (SIP) for the 2015 Ozone National Ambient Air Quality
 Standard. LG&E and KU Energy supports the conclusion of the proposed SIP that no additional emission
 reductions beyond existing and planned controls are necessary to mitigate any contribution Kentucky may
 have on downwind monitors to comply with CAA section l 10(a)(2). Additionally, LG&E and KU Energy
 concur with the comments submitted on September 21, 2018 by the Midwest Ozone Group in support of the
 proposed SIP revision.

 LG&E and KU Energy has identified one area of the proposed SIP that needs correction as listed here:

 Proposed Infrastructure SIP for the 2015 Ozone NAAQS

     1. Page 31, Emission Totals after CSAPR Implementation, second paragraph: This section makes
         reference that the "Louisville Gas & Electric Company's (LG&E) Cane Run Station converted Unit 7
         to natural gas ..." Revisions should be made to correctly state "Louisville Gas & Electric Company's
         (LG&E) Cane Run Station constructed and began operating a natmal gas combined cycle unit (CR7)
         in 2015 and retired all remaining coal-fired units the same year".

 If you have any questions, please feel free to contact me.

 Respectfully,

          ~~
  ason Wilkerson
 Sr. Environmental Engineer
 LG&E and KU Energy
 1I1
       Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 161




 C




'''-
              Case: 23-3216       Document: 32-3        Filed: 06/16/2023       Page: 162




0           j SIERRA
           ,· CLUB
    September 21, 2018

    Lauren Hedge
    Environmental Scientist
    Kentucky Department for Environmental Protection
    Energy and Environment Cabinet
    Division for Air Quality, Evaluation Section
    300 Sower Boulevard
    Frankfort, KY 40601
    (502) 782-6561
    lauren.hedge@ky.gov

    Comments Submitted Via Electronic Mail to Lauren.Hedge@ky.gov

    Re:    Proposed Revision to Kentucky's 2015 Ozone Standard Infrastructure State
0          Implementation Plan (SIP) Addressing the Clean Air Act (CAA) Section 110
           Requirements Submitted by the Kentucky Energy and Environment Cabinet to the
           U.S. Environmental Protection Agency (EPA) on August 23, 2018

    Dear Ms. Hedge:

            Sierra Club submits the following comments in response to the Kentucky Energy and
    Environment Cabinet's ("Cabinet") recently proposed revision to Kentucky's 2015 Ozone
    Standard Infrastructure State Implementation Plan ("SIP") addressing the Clean Air Act
    ("CAA") Section 110 requirements (hereinafter "August 2018 SIP Proposal"). Sierra Club is a
    national environmental nonprofit organization with over 6,000 members in Kentucky and tens of
    thousands of members living in downwind states adversely impacted by Kentucky emissions of
    ozone precursors. For reasons identified below, the August 2018 SIP Proposal is unsupported in
    the record, unreasonable, and contrary to plain statutory mandate, and therefore may not lawfully
    be finalized in its present form.

           The Cabinet submitted a letter dated August 23, 2018, to the U.S. Environmental
    Protection Agency ("EPA") purporting to certify that Kentucky's existing SIP contains CAA
    Section 110 provisions adequately address the requirements necessary to implement the 2015
    ozone National Ambient Air Quality Standards ("NAAQS"). The Cabinet requested that EPA
0
                                                    1
            Case: 23-3216         Document: 32-3        Filed: 06/16/2023        Page: 163




approve the accompanying submission as satisfying Kentucky's obligations under CAA Section
 l 10(a)(2) for purposes of implementing the 2015 ozone NAAQS. See 42 U.S.C. § 7410(a)(2).
The submission asserts its consistency with 2013 EPA guidance on infrastructure SIP elements
under Section 1 l0(a). To that end, the Cabinet reasons that that that ''existing ... provisions" in
Kentucky's EPA-approved 2008 ozone NAAQS infrastructure SIP suffice to "address the
requirements for purposes of implementing the 2015 ozone NAAQS." 1 The Cabinet then
suggests that EPA should deem Kentucky's 2015 ozone NAAQS obligations satisfied on the
basis of state laws on the books, yet without incorporating and adopting those laws into
Kentucky's 2015 infrastructure SIP. 2

        The Cabinet's decision essentially to rely on existing state laws in conjunction with
EPA's 2008 approval, for purposes of satisfying the 2015 ozone NAAQS, is arbitrary and
capricious, and unsupported by evidence, and fails to satisfy the plain statutory requirement that
Kentucky's SIP ensure that the Commonwealth does not contribute significantly to
nonattainment in, or interfere with maintenance by, any other State with respect to the 2015
ozone NAAQS. 42 U.S.C. § 7420(a)(2)(D)(i)(I).

        First, the Cabinet's reliance on prior EPA approval, in regards to the 2008 ozone
NAAQS, is unsupportable and unreasonable in light of the fact that EPA's own, most recent
guidance and modeling, issued in March 2018, projects that Kentucky will contribute more than
1% of the NAAQS at 5 nonattainment or maintenance monitors (namely, two in Fairfield                       0
County, CT; one in Harford County, MD; one in Sheboygan County, WI, and one in Milwaukee
County, WI). For specific reference, see the attached EPA Memorandum, Information on the
Interstate State Implementation Plan Submissions for the 2015 Ozone National Ambient Air
Quality Standards under Clean Air Act Section 1 J0(a)(2)(D)(i)(I) (March 27, 2018),
Attachments B & C (submitted herewith as Appendix A hereto), along with the attached Excel
spreadsheet featuring EPA's most updated modeling, with highlighting added (for convenience
and clarity) of projected nonattainment monitors in orange and projected maintenance monitors
in yellow (submitted herewith as Appendix B hereto). In other words, EPA's own, most recent
determinations show that Kentucky's previously approved SIP is stale and does not show
compliance with the 2015 ozone NAAQS; Kentucky's attempt simply to point to existing state-
law provisions fails to address the Commonwealth's significant contributions to nonattainment
and maintenance that EPA projects will persist in 2023. 3 On that critical point, EPA's prior


1
    Proposed Kentucky I-SIP Package (Aug. 23, 2018) at 1.
2
    Id.
3
 Sierra Club continues to underscore and protest, as it has in prior comments to the Cabinet as well as
EPA, the unreasonableness of EPA's modeling being based on 2023, which is beyond relevant attainment
dates for marginal areas {which at least the Maryland and Wisconsin counties are) for the 201S standard.
Using an earlier year, as is proper, would only exacerbate the flaws discussed herein; but, as explained
above, the August 2018 SIP Proposal is untenable even with EPA's 2023 modeling basis.                      C
                                                    2
              Case: 23-3216         Document: 32-3          Filed: 06/16/2023        Page: 164




C   conclusion that Kentucky is not contributing significantly to nonattainment or maintenance under
    the 2008 ozone NAAQS is outdated and simply irrelevant to the instant query. 4 Thus, because
    EPA's modeling shows that Kentucky is in fact contributing significantly to nonattainment and
    maintenance at five monitors in three states under the 2015 standard, Kentucky obviously may
    not claim that it has no further obligations under the 2015 ozone NAAQS.

            Unconvincingly, the August 2018 SIP Proposal acknowledges, but unfoundedly
    dismisses or dodges, the aforementioned EPA modeling and determinations that are fatal to its
    claims of adequacy at present. 5 For instance, the Cabinet's apparent argument that other sources
    also contribute significantly to failing air quality at downwind monitors is legally irrelevant; it
    simply does not obviate the need for Kentucky to address its own significant contribution. 6 Also,
    the submission's observations about meteorological data and HYSPLIT back trajectories are
    unpersuasive because EPA's CAMx modeling already incorporates meteorological inputs and
    links downwind air quality at specific locations with upwind emissions originating in Kentucky. 7
    Likewise, the Alpine modeling submitted by the Midwest Ozone Group is unpersuasive: Among
    other fatal deficiencies, it utilized an inappropriate and arbitrary significance threshold ( l ppb
    rather than 1% of the NAAQS); and in any event, even if one were to accept the Alpine
    modeling, four of the five nonattainment or maintenance monitors linked to Kentucky still
    recorded maximum design values above the 2015 ozone NAAQS, and for all five monitors
    Kentucky's contribution exceeded 1 percent of the NAAQS. 8
0
            In addition, the Cabinet's assertion that existing provisions of state law will "address the
    requirements," vis-a-vis Kentucky's legal obligations to satisfy the 2015 ozone NAAQS, is
    unreasonably vague and non-committal; more detailed explanation and explicit guarantees, based
    on binding legal obligations, are required. The Cabinet points to existing local, state and federal
    regulations and other legal obligations in attempt to satisfy its obligations under Section
    110(a)(2)(D)(i)(I) for the 2015 ozone NAAQS. 9 However, the submission fails to recognize,
    importantly, that EPA was unsatisfied this very year by those very laws and regulations when
    conducting its 2018 modeling, which found that Kentucky does contribute significantly to both
    nonattainment and maintenance monitors in downwind states. Given that EPA already took into


    4
      Sierra Club previously explained, in comments provided to the Cabinet on March 30, 2018, how the
    proposed Kentucky SIP revision to address the requirements of Section 11 0(a)(2)(D)(i)(I} of the Clean
    Air Act vis-a-vis the 2008 ozone NAAQS was deeply flawed. See also supra n.3. However, even
    accepting arguendo the validity of EPA' s conclusions vis-a-vis the 2008 NAAQS, those conclusions are
    inapposite to satisfying Kentucky's obligations under the 2015 NAAQS, as discussed above.
    5
      See. e.g., Proposed Kentucky I-SIP Package at 32-55.
    6
      See id. at 32-49.
    7
      See, e.g., id. at 37, 42, 49.
    8
      See id. at 51.
C   9
      Id. at 19-28.
                                                       3
          Case: 23-3216        Document: 32-3         Filed: 06/16/2023        Page: 165




account the suite of control measures identified in the August 2018 SIP Proposal, and yet still      C'
found that Kentucky emissions were significantly interfering with downwind attainment and
maintenance of the 2015 ozone NAAQS, Kentucky's submittal is inadequate and unlawful.

        In conclusion, the August 2018 SIP Proposal concerning Kentucky's 2015 ozone
NAAQS obligations is unsupported, unreasoned, and contrary to the CAA. The Cabinet
therefore may not lawfully finalize it, but rather must revise the SIP to include obligations that
will satisfy Section l lO(a)(2)(D)(i)(I).

       Thank you for your consideration. Please feel free to contact us if you have any
questions or would otherwise like to discuss these or related issues.



                                              Respectfully submitted,

                                              Isl Aaron Messing
                                              Aaron Messing
                                              Legal Fellow
                                              Sierra Club
                                              50 F St. NW, 8th Floor
                                              Washington, DC 20001
                                              (202) 548.4593                                         0
                                              aaron. messing@sierraclub.org

                                              Matthew E. Miller
                                              Staff Attorney
                                              Sierra Club
                                              50 F St. NW, 8th Floor
                                              Washington, DC 20001
                                              (202) 650-6069
                                              matthew.miller@sierraclub.org




                                                                                                     (
                                                  4
              Case: 23-3216                Document: 32-3                 Filed: 06/16/2023                Page: 166




C                           UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                    RESEARCH TRIANGLE PARK, NC 2n11




                                                                                                                         OFFICE OF
                                                                                                                  AIR QUAUTY Pl.ANNING
                                                                                                                     ANO STANDAAOS


    MEMORANDUM

    SUBJECT:         Infonnation on the Interstate Transport State Implementation Plan Submissions
                     for the 2015 Ozone National Ambient Air Quality Standards under Clean Air Act
                     Section 11 O(a)(2)(D)(i)(I
                                                          '--~~~
    FROM:             Peter Tsirigotis
                      Director

    TO:               Regional Air Division Directors, Regions 1- 10

           The purpose of this memorandum is to provide infonnation to states and the Environmental
    Protection Agency Regional offices as they develop or review state implementation plans (SIPs)
0   that address section ) l O(aX2)(D)(i)(I) of Clean Air Act (CAA), also called the "good neighbor"
    provision, as it pertains to the 2015 ozone National Ambient Air Quality Standards (NAAQS).
    Specifically, this memorandum includes EPA's air quality modeling data for ozone for the year
    2023, including newly available contribution modeling results, and a discussion of elements
    previously used to address interstate transport. In addition, the memorandum is accompanied by
    Attachment A. which provides a preliminary list of potential flexibilities in analytical approaches
    for developing a good neighbor SIP that may warrant further discussion between EPA and states.

           The information in this memorandum provides an update to the contribution modeling
    analyses provided in EPA's January 2017 Notice of Data Availability (NODA) of ozone transport
    modeling data for the 2015 ozone NAAQS and builds upon information provided in the October
    2017 interstate transport memorandum.' ·me October 2017 memorandum provided projected
    ozone design values for 2023 based on EPA·s updated nationwide ozone modeling with the
    primary goal of assisting states in completing good neighbor transport actions for the 2008 ozone
    NAAQS.


    1
      See Notice of Availability of the Environmental Protection Agency's Preliminary Interstate Ozone Transport
    Modeling Data for the 2015 Ozone National Ambient Air Quality Standard (NAAQS), 82 FR 1733 (January 6,
    2017). This memorandum also supplements the information provided in the memorandum, S11pplemental
    lnformalion on the lnterstale Transporl State /mpleme111a1ion Pion Submissions/or the :!008 O:one National
    Ambient Air Quality Standards under Clean Air Act Section I IO(a)(2)(D)(i)(I). Memorandum from Stephen D.
    Page, Director, U.S. EPA Office of Air Quality Planning and Standards, to Regional Air Division Directors, Regions
    1-10. October 27, 2017. Available at hups:llwww.epa.govlsiteslproductionljiles/10/7-
0   I 0ldocumentslfinal_2008_o3_naaqs_transport_memo_ I 0-27- I 7b.pdf. (The October 27, 2017, memorandum
    includes links to all supporting documentation, including modeling and emissions technical support documents.)


                                            Internet Address (URL) • http://www.epa.gov
                 Recycl~acyclable • Pl1nllld wllh Vegetable OU Based Inks on Recycled Paper (Minimum 25% Postconsumer)
            Case: 23-3216           Document: 32-3              Filed: 06/16/2023        Page: 167




        EPA's goal in providing this information is to assist states' efforts to develop good                    C
neighbor SIPs for the 2015 ozone NAAQS to address their interstate transport obligations. While
the infonnation in this memorandum and the associated air quality analysis data could be used to
inform the development of these SIPs, the information is not a final determination regarding states'
obligations under the good neighbor provision. Any such determination would be made through
notice-and-comment rulemaking.

The Good Neighbor Provision
        Under CAA sections l l0(a)(l) and l 10(a)(2), each state is required to submit a SIP that
provides for the implementation, maintenance and enforcement of each primary and secondary
NAAQS. Section I t0(a)(l) requires each state to make this new SIP submission within 3 years
after promulgation of a new or revised NAAQS. This type of SIP submission is commonly referred
to as an 11 infrastructure SIP." Section 110(a)(2) identifies specific elements that each plan
submission must meet. Conceptually, an infrastructure SIP provides assurance that a state's SIP
contains the necessary structural requirements to implement the new or revised NAAQS, whether
by demonstrating that the state's SIP already contains or sufficiently addresses the necessary
provisions, or by making a substantive SIP revision to update the plan provisions to meet the new
standards.

        In particular, CAA section I IO(a)(2)(D)(i)(I) requires each state to submit to EPA new or
revised SIPs that "contain adequate provisions ... prohibiting, consistent with the provisions of this
subchapter, any source or other type of emissions activity within the State from emitting any air
pollutant in amounts which will ... contribute significantly to nonattainment in. or interfere with              Q
maintenance by, any other state with respect to any such national primary or secondary ambient
air quality standard." EPA often refers to section 11 0(a)(2}(D}(i)(l) as the good neighbor provision
and to SIP revisions addressing this requirement as good neighbor SIPs.

         On October I, 2015, EPA promulgated a revision to the ozone NAAQS, lowering the level
of both the primary and secondary standards to 70 parts per billion (ppb).2 Pursuant to CAA section
11 0(a), good neighbor SlPs are, therefore, due by October I, 2018. As noted earlier, EPA intends
that the information conveyed through this memorandum should assist states in their efforts to
develop good neighbor SIPs for the 2015 ozone NAAQS to address their interstate transport
obligations.

Framework to Address the Good Neighbor Provision
        Through the development and implementation of several previous rulemakings, including
most recently the Cross-State Air Pollution Rule (CSAPR) Update,3 EPA, working in partnership
with states, established the following four-step framework to address the requirements of the good
neighbor provision for ozone and fine particulate matter (PM2.s) NAAQS: (l) identify downwind
air quality problems; (2) identify upwind states that contribute enough to those downwind air

1
    National Ambient Air Quality Standards for Ozone Final Rule, 80 FR 65292 (October 26, 2015).
3
    See Finding of Significant Contribution and Rulemaking for Cenain Stales in the Ozone Transport Assessment
Group Region for Purposes of Reducing Regional Transport of Ozone (also known as the NOx St P Call), 63 FR
57356 (October 27, 1998); Clean Air Interstate Rule (CAIR) Final Rule, 70 FR 25162 (May 12, 2005); CSAPR
Final Rule, 76 FR 48208 (August 8, 2011 ); CSAPR Update for the 2008 Ozone NAAQS (CSAPR Update) Final
Ruic, 81 FR 74504 (October 26, 2016).                                                                            C
                                                          2 .
              Case: 23-3216            Document: 32-3            Filed: 06/16/2023           Page: 168




C   quality problems to warrant further review and analysis; (3) identify the emissions reductions
    necessary (if any), considering cost and air quality factors, to prevent an identified upwind state
    from contributing significantly to those downwind air quality problems; and (4) adopt pennanent
    and enforceable measures needed to achieve those emissions reductions. EPA notes that, in
    applying this framework or other approaches consistent with the CAA, various analytical
    approaches may be used to assess each step. EPA has undertaken several previous regional
    rulemakings applying this framework, and its analytical approaches have varied over time due to
    continued evolution of relevant tools and information, as well as their specific application.

            This memo presents information regarding EPA's latest analysis for purposes of assisting
    states in developing SIPs for the 2015 ozone NAAQS, and, in doing so, generally follows
    approaches that EPA has taken in its regional rulemaking actions addressing prior ozone NAAQS.
    EPA also notes that, in developing their own rules, states have flexibility to follow the familiar
    four-step transport framework (using EPA's analytical approach or somewhat different analytical
    approaches within these steps) or alternative frameworks, so long as their chosen approach has
    adequate technical justification and is consistent with the requirements of the CAA. In various
    discussions, states and other stakeholders have suggested specific approaches that may warrant
    furlher consideration, and have indicated that they may be exploring other approaches as well.
    Over the next few months, EPA will be working with states to evaluate potential additional
    flexibilities for states to consider as they develop their good neighbor SlPs for the 2015 ozone
    NAAQS. Such potential tlexibilities could apply to modeling conducted by stales or to states' use
    of EPA's updated modeling presented here. Attachment A provides a preliminary list of potential
    flexibilities that may warrant further discussion. EPA looks forward to discussing these and other
0   potential flexibilities with states over the next few months, which will help inform slates'
    development of their good neighbor SIP submittals, as well as EPA's development of further
    information on good neighbor SIPs.

    Air Quality Modeling Projection of 2023 Ozone Design Values
            As noted previously and as described in more detail in both the 2017 NODA and the
    October 2017 memorandum, EPA uses modeling to identify potential downwind air quality
    problems. A first step in the modeling process is selecting n future analytic year that considers both
    the relevant attainment dates of downwind nonattainment areas impacted by interstate lransport4
    and the timeframes that may be required for implementing further emissions reductions as
    expeditiously as pmcticablc. 5 For the 2015 ozone NAAQS, EPA selected 2023 as the analytic year
    in our modeling analyses primarily because it aligns with the anticipated attainment year for
    Moderate ozone nonattninment areas.6

    4
      North Caroli11a v. EPA, 53 I F.Jd 896, 911- 12 (D.C. Cir. 2008) (holding that compliance timeframes for necessary
    emission reductions must consider downwind attainment deadlines).
    s See October 2017 memorandum, pp. 4-6 (discussion ofliming of controls).
    6 On November 16, 2017 (82 FR 54232), EPA established initial air quality designalions for most areas in lhe United

    States. On December 22, 2017 (83 FR 651 ), EPA responded to state and tribal recommendations by indicating the
    anticipated area designations for the remaining portions of the U.S. In addition, EPA proposed the maximum
    attainment dates for nonattainment areas in each classification, which for Moderate ozone nonattainment is 6 years
    (81 FR 81276, November 17, 2016). Based on the expected timing for final designations, 6 years lrom the likely
    effective date for designations would be summer 2024. Therefore, the 2023 ozone season would be the last full

0   ozone season before the 2024 attainment date.


                                                             3
          Case: 23-3216             Document: 32-3              Filed: 06/16/2023             Page: 169




        As noted in the aforementioned October 2017 memorandum, EPA then used the                                           C
Comprehensive Air Quality Model with Extensions (CAMx v6.40)7 to model emissions in 2011
and 2023, based on updates provided to EPA from states and other stakeholders. 8 EPA used outputs
from the 20 t t and 2023 model simulations to project base period 2009-2013 average and
maximum ozone design values to 2023 at monitoring sites nationwide. In projecting these future
year design values, EPA applied its own modeling guidance,9 which recommends using model
predictions from the "3 x 3" array of grid cells surrounding the location of the monitoring site. 10
In light of comments on the January 2017 NODA and other analyses, EPA also projected 2023
design values based on a modified version of the "3 x 3" approach for those monitoring sites
located in coastal areas. Briefly, in this alternative approach, EPA incorporated the flexibility of
eliminating from the design value calculations those modeling data in grid cells that are dominated
by water (i.e., more than 50 percent of the area in the grid cell is water) and that do not contain a
monitoring site (i.e., if a grid cell is more than 50 percent water but contains an air quality monitor,
that cell would remain in the calculation). 11 For each individual monitoring site, the base period
2009-2013 average and maximum design values, 2023 projected average and maximum design
values based on both the "3 x 3" approach and the alternative approach affecting coastal sites, and
2014-2016 measured design values are provided in an attachment to the October 27 memorandum.
The same information is available in Excel format at https:llwww. epa.govlairmurke1slocloher-
2O I 7-memo-and-information-inlerstale-transport-sips-2OO8-ozone-naaqs.

        In the CSAPR Update rulemaking processt EPA considered a combination of monitoring
data and modeling projections to identify receptor sites that are projected to have problems
attaining or maintaining the NAAQS. 12 Specifically, EPA identified nonattainment receptors as
those monitoring sites with current measured values exceeding the NAAQS that also have                                      0
projected (i.e., in 2023) average design values exceeding the NAAQS. EPA identified maintenance
receptors as those monitoring sites with maximum design values exceeding the NAAQS. This
included sites with current measured values below the NAAQS with projected average and
maximum design values exceeding the NAAQS, and monitoring sites with projected average
design values below the NAAQS but with projected maximum design values exceeding the
NAAQS. The projected 2023 ozone design values and 2014-2016 measured design values for
monitors in the United States have not changed since they were first presented in the October 2017
memorandum.



7 CAMx v6.40 was the most recent public release version ofCAMx at the time EPA updated its modeling in fall

2017. ("Comprehensive Air Qualily Model with Extension version 6.40 User' s Guide" Rambo II Environ, December
2016. /rttp:llwww.camx.com/,)
1 For the updated modeling, EPA used the conslruct of the modeling platform (i.e., modeling domain and non-

emissions inputs) that we used for the NODA modeling, except that the phololysis rates files were updated to be
consistent with CAMx v6.40. The NODA Air Quality Modeling Technical Support Document describing the
modeling platform is available at h11ps:llwww. epa.go\llairmarketslnotice-data-availability-preliminary-interstate-
o:one-transport-mode/ing-data-1015-ozone.
9
   h11p:llwww.epa.go\llttn/scram/guida11cclguidelDraft_03-PM-RH_Modeling_Guidance-2014.pdf.
10 EPA's modeling uses 12 kilometer grid cells.
 11 A model grid cell is identified ns n "water" cell if more than 50 percent of the grid cell is water based on the 2006

National Land Cover Database. Grid cells lhat mee1 lhis criterion are treated as entirely over waler in the Weather
 Research Forecast (WRF) modeling used to develop the 2011 meteorology for EPA 's air quality modeling.
 12 See 81 FR 74530-74532 (October 26, 2016).                                                                               C
                                                            4
              Case: 23-3216           Document: 32-3            Filed: 06/16/2023          Page: 170




0          In this memorandum, EPA is identifying 2023 potential nonattainment and maintenance
    receptors with respect to the 2015 NAAQS, following its approach taken for previous NAAQS.
    This infonnation is based on applying the CSAPR method for identifying potential nonattainment
    and maintenance receptors, and presents the design values in two ways: first, following the "3 x
    3" approach to evaluating all sites, and second, following the modified approach for coastal
    moni taring sites in which ..overwater" modeling data were not included in the calculation of future
    year design values. After incorporating these approaches, the modeling results suggest, based on
    the approach used for previous NAAQS, 11 monitoring sites outside of California as potential
    nonattainment receptors and 14 monitoring sites outside of California as potential maintenance
    receptors. See Attachment B for this receptor infonnation.

    Air Quality Modeling of 2023 Contributions
            After identifying potential downwind air quality problems by projecting base period 2009-
    2013 average and maximum ozone design values to 2023 at monitoring sites nationwide, EPA next
    performed nationwide, state-level ozone source apportionment modeling using the CAMx
    Anthropogenic Precursor Culpability Analysis tAPCA) technique 13 to provide information
    regarding the expected contribution of2023 base case nitrogen oxides (NOx) and volatile organic
    compound (VOC) emissions from all sources in each state to projected 2023 ozone concentrations
    at each air quality monitoring site. ln the source apportionment model run, EPA tracked the ozone
    formed from each of the following contribution categories (i.e., "tags"):

        • States - anthropogenic NOx and VOC emissions from each of the contiguous 48 states and
0         the District of Columbia tracked individually (EPA combined emissions from all
          anthropogenic sectors in a given state);
        • Biogenics - biogenic NOx and VOC emissions domain-wide (i.e., not by state);
        • Initial and Boundary Concentrations - concentrations transported into the modeling domain
          from the lateral boundaries;
        • Tribal Lands - the emissions from those tribal lands for which EPA has point source
          inventory data in the 2011 NEI (EPA did not model the contributions from individual
          tribes);
        • Canada and Mexico - anthropogenic emissions from sources in those portions of Canada
          and Mexico included in the modeling domain (EPA did not separately model contributions
           from Canada or Mexico);
        • Fires - combined emissions from wild and prescribed fires domain-wide (i.e., not by
          state); and
        • Offshore - combined emissions from offshore marine vessels and offshore drilling
           platforms (i.e., not by state).

           EPA performed the CAMx source apportionment model simulation for the period May I
    through September 30 using the 2023 future base case emissions and 2011 meteorology for this



     13 As part of 1his technique, ozone formed from reactions between biogenic and anthropogenic VOC and


C    NOx are assigned to lhe anlhropogenic emissions.


                                                            5
         Case: 23-3216           Document: 32-3            Filed: 06/16/2023           Page: 171




time period. 14 EPA processed hourly contributions15 from each tag to obtain the 8-hour average                  C
contributions corresponding to the time period of the 8-hour daily maximum concentration on each
day in the 2023 model simulation. This step was performed for those model grid cells containing
monitoring sites to obtain 8-hour average contributions for each day at the location of each site.
EPA then processed the model-predicted contributions on each day at each monitoring site location
to identify the contributions on the subset of days in the 2023 modeling with the top 10 model-
predicted maximum daily 8-hour average concentrations. The daily 8-hour average contributions
on the top 10 concentration days in 2023 were applied in a relative sense to quantify the
contributions to the 2023 average design value at each site.

       In the CSAPR and CSAPR Update modeling efforts, EPA had used a slightly different
approach by basing the average future year contribution on future year modeled values that
exceeded the NAAQS or the top 5 days, whichever was greater. While technically sound, EPA's
previous approach resulted in different contributions for an individual linkage depending on the
level of the NAAQS. For the modeling effort described in this memorandum, EPA considered
comments on the January 2017 NODA and developed and incorporated the flexibility ofcalculating
the contribution metric using contributions on the top 10 future year days. As some commenters
have indicated, this approach makes the contribution metric values more consistent across
monitoring sites and more robust in tem,s of being independent of the level of the NAAQS. The
contributions from each tag to each monitoring site identified as a potential nonattninment or
maintenance receptor in 2023 are provided in Attachment C. 16

Conclusion
         States may consider using this national modeling to develop SIPs that address requirements              0
of the good neighbor provision for the 2015 ozone NAAQS. When doing so, EPA recommends
that stales include in any such ~ubmission state-specific information to support their reliance on
the 2023 modeling data. Further, states may supplement the information provided in this
memorandum with any additional infonnation that they believe is relevant to addressing the good
neighbor provision requirements. States may also choose to use other infonnation to identify
nonattainment and maintenance receptors relevant to development of their good neighbor SIPs. If
this is the case, states should submit that information along with a full explanation and technical
analysis. EPA encourages collaboration among states linked to a common receptor and among
linked upwind and downwind states in developing and implementing a regionally consistent
approach. We recommend that states reach out to EPA Regional offices and work together to
accomplish the goal of developing, submitting, and reviewing approvable SIPs that address the
good neighbor provision for the 2015 ozone NAAQS.

       Finally, as indicated previously in this memorandum, in addition to the flexibilities already
incorporated into EPA's modeling effort (i.e.~ considering the removal of modeled values in "over
water" grid cells and EPA's modified approach for calculating the contribution metric), EPA is

1~ See the October 2017 memorandum for a description of these model inputs.

" Ozone contributions from anthropogenic emissions under "NOx-limited" and "VOC•limited" chemical regimes
were combined to obtain the nel contribution from NOx and VOC anthropogenic emissions in each state.
16 Given stakeholder input on the 2017 NODA and other analyses, EPA elected to represent the contribution

infonnation in this memorandum using the altemotive approoch for projecting design values for sites in coastal
are:is.                                                                                                          C
                                                       6
             Case: 23-3216        Document: 32-3         Filed: 06/16/2023       Page: 172




    evaluating whether states may have additional flexibilities as they work to prepare and submit
    approvable good neighbor SIPs for the 2015 ozone NAAQS (see Attachment A). EPA looks
    forward to discussing these and other potential flexibilities with states over the next few months,
    which will help inform states' development of their good neighbor SIP submittals, as well as
    EPA's development of further information on good neighbor SIPs.

           Please share this information with the air agencies in your Region.

    For Further Information
           If you have any questions concerning this memorandum, please contact Norm Possiel at
    (919) 541-5692, possiel.norm@epa.gov for modeling information or Beth Palma at (919) 541-
    5432, palma.elizabeth@epa.gov for any other information.

    Attachments
    A. Preliminary List of Potential Flexibilities Related to Analytical Approaches for Developing a
       Good Neighbor State Implementation Plan
    B. Projected Ozone Design Values at Potential Nonattainrnent and Maintenance Receptors
       Based on EPA's Updated 2023 Transport Modeling
    C. Contributions to 2023 8-hour Ozone Design Values at Projected 2023 Nonattainment and
       Maintenance Sites



0




0
                                                     7
         Case: 23-3216         Document: 32-3           Filed: 06/16/2023       Page: 173




                                            Attachment A
                                                                                                          C
Preliminary List of Potential Flexibilities Related to Analytical Approaches for Developing
                       a Good Neighbor State Implementation Plan


         The Environmental Protection Agency believes states may be able to consider certain
approaches as they develop good neighbor state implementation plans (SIPs} addressing the 2015
ozone National Ambient Air Quality Standards (NMQS). To that end, EPA has reviewed
comments provided in various forums, including comments on EPA's January 2017 Notice of Data
Availability (NODA) regarding ozone transport modeling data for the 2015 ozone NMQS, and
seeks feedback from interested stakeholders on the following concepts. This list is organized in
the familiar four-step transport framework discussed on pages 2-3 of the memorandum above, but
EPA is open to alternative frameworks to address good neighbor obligations or considerations
outside the four-step process. The purpose of this attachment is to identify potential flexibilities to
inform SIP development and seek feedback on these concepts. EPA is not at this time making any
determination that the ideas discussed below are consistent with the requirements of the CM, nor
are we specifically recommending that states use these approaches. Determinations regarding
states' obligations under the good neighbor provision would be made through notice-and-comment
rulemaking.
       EPA has identified several guiding principles to consider when evaluating the
appropriateness of the concepts introduced in this attachment, including:
   • Supporting states' position as ..first actors" in developing SIPs that address section
      l 10(a)(2)(D) of the CAA;
                                                                                                          0
   • Consistency with respect to EPA 's SIP actions is legally required by the statute and
     regulations (see CAA § 301 (a)(2) and 40 CFR part 56) and is a particularly acute issue
     with respect to regional transport issues in which multiple states may be implicated;
   • Compliance with statutory requirements and legal precedent from court decisions
     interpreting the CAA requirements;
   • Encouraging collaboration among states linked to a common receptor and among linked
     upwind and downwind states in developing and applying a regionally consistent approach
     to identify and implement good neighbor obligations; and
   • The potential value of considering different modeling tools or analyses in addition to
     EPA's, provided that any alternative modeling is performed using a credible modeling
     system which includes "state-of-the-science" and "fit for purpose" models, inputs, and
     techniques that are relevant to the nature of the ozone problem. The use of results from
     each alternative technique should be weighed in accordance with the scientific
     foundation, construct and limitations of the individual techniques.

        EPA intends to reflect on feedback received on these concepts and communicate closely
with air agencies as they prepare and submit SIPs to address the good neighbor provisions for the
2015 ozone NAAQS.



                                                                                                          C
                                                 A- 1
             Case: 23-3216        Document: 32-3         Filed: 06/16/2023      Page: 174




C   Analytics
       • Consideration of appropriate alternate base years to those used in EPA's most recent
         modeling (e.g., appropriate alternative base years should be selected consistent with EPA's
         air quality modeling guidance suggesting that years with meteorology conducive to ozone
         formation are appropriate).
       • Consideration of an alternate future analytic year. EPA has identified 2023 as an
         appropriate analytic year to consider when evaluating transport obligations for the 2015
         ozone NAAQS; however, another year may also be appropriate.
       • Use of alternative power sector modeling consistent with EPA's emission inventory
         guidance.
       • Consideration of state-specific information in identifying emissions sources [e.g., electric
         generating units (EGUs) and non-EGUs] and controls (e.g., combustion/process controls,
         post-combustion controls) that are appropriate to evaluate.
    Step I - Identify downwind air quality problems
       • Identification of maintenance receptors.
         - Evaluate alternative methodologies to give independent meaning to the term "interfere
            with maintenance" under CAA section t I0(a)(2)(O)(i)(I).
         - Identify maintenance receptors that are at risk of exceeding the NAAQS ( even if they
            do not currently violate the standard) using an alternative approach that does not rely
            on the projection of maximum design values.
             Identify maintenance receptors where current, presumably "clean," measured data are
0           shown through analysis to occur during meteorological conditions conducive to ozone
             forn1ation such that exceednnces are unlikely to reoccur in the future.
       • Consideration of downwind air quality context.
         - Consider the role of designations issued in FY 2018 based on approved air quality
             monitors.
             Assess current and projected local emissions reductions and whether downwind areas
             have considered and/or used available mechanisms for regulatory relief.
       • Consideration of model performance.
             Consider removal of certain data from modeling analysis for the purposes of projecting
             design values and calculating the contribution metric where data removal is based on
             model performance and technical analyses support the exclusion.
    Step 2 - Identify upwind states that contribute to those downwind air quality problems to
    warrant further review and analysis
        •   Considerations related to determining contributions.
            - EPA has used the Anthropogenic Precursor Culpability Analysis (APCA) approach
               for the purpose of quantifying contribution to downwind receptors. We have received
               questions regarding the use of other modeling approaches (e.g., Ozone Source
               Apportionment Technology, Decoupled Direct Method, and zero-out brute force
               sensitivity runs) to help quantify ozone impacts from upwind states.
        •   Considerations related to evaluating contributions (contributions contained in Attachment
            C are not based upon a particular significance threshold).
               Establishing a contribution threshold based on variability in ozone design values that
C               leverage some of the analytics and statistical data created to support the development
               of the Significant Impact Level for ozone.
                                                   A-2
          Case: 23-3216           Document: 32-3             Filed: 06/16/2023          Page: 175




            Consideration of different contribution thresholds for different regions based on                   C
            regional differences in the nature and extent of the transport problem.
            An evaluation of "collective contribution" in the receptor region to determine the extent
            to which a receptor is "transport influenced." The results of this analysis could be
            applied before assessing whether an individual state is linked to a downwind receptor
            (i.e .• above the contribution threshold).

Step 3 - Identifying air quality, cost, and emission reduction factors to be evaluated in a
multifactor test to identify emissions that significantly contribute to nonattainment or
interfere with maintenance of the NAAQS downwind, if any
•    Consideration of international emissions, in a manner consistent with EPA's Ozone
     Cooperative Compliance Task Force efforts to fully understand the role of background ozone
     levels and appropriately account for international transport. 17
             Develop consensus on evaluation of the magnitude ofinternational ozone contributions
             relative to domestic, anthropogenic ozone contributions for receptors identified in step
             I. As contained in Attachment C, EPA recognizes that a number of non-U.S. and non-
             anthropogenic sources contribute to downwind nonaltainment and maintenance
             receptors.
             Consider whether the air quality, cost, or emission reduction factors should be weighted
             differently in areas where international contributions are relatively high.
•    For states that are found to significantly contribute to nonattainment or interfere with
     maintenance of the NAAQS downwind, apportioning responsibility among states.
             Consider control stringency levels derived through "uniform-cost,. analysis of NOx
             reductions.
                                                                                                                C
             Consider whether the relative impact (e.g. , parts per billion/ton) between states is
             sufficiently different such that this factor warrants consideration in apportioning
             responsibility.
•    Considerations for states linked to maintenance receptors.
         - Consider whether the remedy for upwind states linked to maintenance receptors could
             be less stringent than for those linked to nonattainment receptors.
             For example, consider whether upwind states could satisfy linkage(s) to maintenance
             receptors based on recent historic or base case emissions levels.

Step 4-Adopt permanent and enforceable measures needed to achieve emissions reductions
(translating the control levels identified in Step 3 into enforceable emissions limits)
     •   EPA welcomes concepts from stakeholders regarding Step 4, including potential EPA
         actions that could serve as a model as well as the relationship to previous transport rules.




17
  See Final Report on Review ofAgency Actions that Potentially Burden the Safe, Efficient Development of
Domestic Energy Resources Under £:cecutive Order 11783 (October 25, 2017) and Report to Congress on
Adminislralive Options to Enable States ta Enter into Cooperative Agreements lo Pro,•ide Regulatory Relieffor
Implementing 0:one Standards (August 14, 2017).                                                                 C
                                                       A-3
                Case: 23-3216       Document: 32-3         Filed: 06/16/2023      Page: 176




0                                               Attachment B

     Projected Ozone Design Values at Potential Nonattainment and Maintenance Receptors
                      Based on EPA's Updated 2023 Transport Modeling

           This attachment contains projected ozone design values at those individual monitoring sites
    that are projected to be potential nonattainment or maintenance receptors based on the
    Environmental Protection Agency's updated transport modeling for 2023. The scenario name for
    the updated modeling is "2023en." The data are in units of parts per billion (ppb).
    The following data are provided in the table below:
    1. Base period 2009 - 2013 average and maximum design values based on 2009 - 2013 measured
       data.

    2. Projected 2023 average and maximum design values based on the "3 x 3" approach and a
       modified "3 x 3" approach in which model predictions in grid cells that are predominately
       water and that do not contain monitors are excluded from the projection calculations {"No
       Water"). Note that the modified approach only affects the projection of design values for
       monitoring sites in or near coastal areas.

    3. 2016 ozone design values based on 2014 - 2016 measured data (N/A indicates that a 2016
       design value is not available). The following Web site has additional infonnation on the 2016
       design values: https:llwww. epa.govlair-trendslair-qua/ity-design-values#report.
0   Note: A value of 70.9 ppb (or less) is considered to be in attainment of the 2015 ozone NAAQS.
    and a value of 71.0 ppb (or higher) is considered to be in violation of the 2015 ozone NAAQS.

    Note also: Site 550790085 in Milwaukee Co., WI would be a nonattainment receptor using
    projected design values based on the "No Water" cell approach, but would not be a receptor with
    the "3 x 3" approach. Conversely, site 360850067 in Richmond Co., NY would be a nonattainment
    receptor using the "3 x 3" approach, but would not be a receptor with the "No Water" cell approach.

                                                                             2023en    2023en
                                         2009-    2009-    2023en   2023en
         Site                                                                 "No       "No      2014-
                    St      County       2013     2013      "3x3"    "3x3"
          ID                                                                 Water"    Water"    2016
                                          Avg      Max      Avg      Max
                                                                               Avg      Max
      40130019      AZ   Maricopa        76.7      79       69.3     71.4      69.3     71.4       73
      40131004      AZ   Maricopa        79.7      81       69.8     71.0      69.8     71.0       75
      60190007      CA   Fresno          94.7      95       79.2     79.4      79.2     79.4       86
      60190011      CA   Fresno          93.0      96       78.6     81.2      78.6     81.2       89
      60190242      CA   Fresno          91.7      95       79.4     82.2      79.4     82.2       86
      60194001      CA   fresno          90.7      92       73.3     74.4      73.3     74.4       91
       60195001     CA   Fresno          97.0       99      79.6     81.2      79.6     81.2       94
       60250005     CA   Imperial        74.7       76      73.3     74.6      73.3     74.6       76
       60251003     CA   Imperial        81.0       82      79.0     80.0      79.0     80.0       76

C      60290007     CA   Kern            91.7       96      77.7     81.3      71.1      81.3      87

                                                     8-1
        Case: 23-3216        Document: 32-3       Filed: 06/16/2023      Page: 177




                                  2009-   2009-
                                                                    2023en    2023en
                                                                                               C
                                                  2023en   2023en
 Site                                                                "No       "No     2014-
            St       County       2013    2013     "3x3"    "3x3"
  ID                                                                Water"    Water"   2016
                                   Avg     Max      Avg      Max
                                                                     Avg       Max
60290008    CA   Kern             86.3     88      71.3     72.8     71.3      72.8     81
60290014    CA   Kern             87.7     89      74.1     75.2     74.1      75.2     84
60290232    CA   Kern             87.3     89      73.7     75.2     73.7      75.2     77
60295002    CA   Kern             90.0     91      75.9     76.8     75.9      76.8     87
60296001    CA   Kern             84.3     86      70.9     72.4      70.9     72.4     81
60311004    CA   Kings            87.0     90      71.7     74.2      71.7     74.2     84
60370002    CA   Los Angeles      80.0     82      73.3     75.1      73.3     75.1     88
60370016    CA   Los Angeles      94.0     97      86.1     88.9      86.1     88.9     96
60371201    CA   Los Angeles      90.0     90      79.8     79.8      79.8     79.8     85
60371701    CA   Los Angeles      84.0     85      78.1     79.1      78.1     79.1     90
60372005    CA   Los Angeles      79.5     82      72.3     74.6      72.3     74.6     83
60376012    CA   Los Angeles      97.3     99      85.9     87.4      85.9     87.4     96
60379033    CA   Los Angeles      90.0     91      76.3     77.2      76.3     77.2     88
60392010    CA   Madera           85.0     86      72.1     72.9      72.1     72.9     83
60470003    CA   Merced           82.7     84      69.9     71.0      69.9     71.0     82
60650004    CA   Riverside        85.0     85      76.7     76.7      76.7     76.7    N/A
60650012
60651016
            CA
            CA
                 Riverside
                 Riverside
                                  97.3
                                  100.7
                                          99
                                          101
                                                   83.6
                                                   85.2
                                                            85.1
                                                            85.5
                                                                      83.6
                                                                      85.2
                                                                               85.1
                                                                               85.5
                                                                                       93
                                                                                        97
                                                                                               C
60652002    CA   Riverside        84.3     85      72.4     73.0      72.4     73.0     81
60655001    CA   Riverside        92.3     93      79.5     80.1      79.5     80.1     87
60656001    CA   Riverside        94.0     98      78.3     81.6      78.3     81.6     91
60658001    CA   Riverside        97.0     98      87.0     87.9      87.0     87.9     94
60658005    CA   Riverside        92.7     94      83.2     84.4      83.2     84.4     91
60659001    CA   Riverside        88.3     91      73.7     75.9      73.7     75.9     86
60670012    CA   Sacramento       93.3     95      74.5     75.9      74.5     75.9     83
60675003    CA   Sacramento       86.3     88      69.9     71.3      69.9     71.3    79
60710005    CA   San Bernardino   105.0   107      96.2     98.1      96.2     98.1    108
60710012    CA   San Bernardino   95.0     97      84.1     85.8      84.1     85.8    91
60710306    CA   San Bernardino   83.7     85      76.2     77.4      76.2     77.4    86
60711004    CA   San Bernardino   96.7     98      89.8     91.0      89.8     91.0    101
60712002    CA   San Bernardino   101.0   103      93.1     95.0      93.1     95.0     97
60714001    CA   San Bernardino   94.3     97      86.0     88.5      86.0     88.5    90
60714003    CA   San Bernardino   105.0    107     94.1     95.8      94.1     95.8    101
60719002    CA   San Bernardino   92.3     94      80.0     81.4      80.0·    81.4    86
60719004    CA   San Bernardino   98.7     99      88.4     88.7      88.4     88.7    104
60990006    CA   Stanislaus       87.0     88      74.8     75.7      74.8     75.7     83
61070006    CA   Tulare           81.7     85      69.1     71.9      69.1     71.9     84
61070009    CA   Tulare           94.7     96      76.1     77.2      76.1     77.2     89     C
                                            8-2
             Case: 23-3216        Document: 32-3       Filed: 06/16/2023      Page: 178




                                                                      2023en      2023en
                                      2009-   2009- 2023en 2023en
      Site                                                             ''No        "No     2014-
                St       County       2013    2013   "3x3"  "3x3"
       ID                                                             Water"      Water"   2016
                                       Avg     Max    Avg    Max
                                                                        Avg        Max
    61072002    CA   Tulare            85.0    88      68.9    71.4    68.9        71.4     80
    61072010    CA   Tulare            89.0    90      73.1    73.9    73.1        73.9     83
    61112002    CA   Ventura           81.0    83      70.5    72.2    70.5        72.2     77
    80050002    co   Arapahoe          76.7    79      69.3    71.3    69.3        71.3     N/A
    80350004    co   Douglas           80.7    83      71.1    73.2    71.1        73.2     77
    80590006    co   Jefferson         80.3    83      71.3    73.7    71.3        73.7     77
    80590011    co   Jefferson         78.7    82      70.9    73.9    70.9        73.9     80
    80690011    co   Larimer           78.0    80      71.2    73.0    71.2        73.0     75
    81230009    co   Weld              74.7    76      70.2    71.4    70.2        71.4     70
    90010017    CT   Fairfield         80.3    83      69.8    72.1    68.9        71.2     80
    90013007    CT   Fairfield         84.3    89      71.2    75.2    71.0        75.0     81
    90019003    CT   Fairfield         83.7    87      72.7    75.6    73.0        75.9     85
    90099002    CT   New Haven         85.7    89      71.2    73.9    69.9        72.6     76
    240251001   MD   Harford           90.0    93      71.4    73.8    70.9        73.3     73
    260050003   Ml   Allegan           82.7    86      69.0    71.8    69.0        71.7     75
    261630019   Ml   Wayne             78.7    81      69.0    71.0        69.0    71.0     72
                                                                                   72.0     69
0   360810124
    360850067
                NV
                NV
                     Queens
                     Richmond
                                       78.0
                                       81.3
                                               80
                                               83
                                                       70.1
                                                       71.9
                                                               71.9
                                                               73.4
                                                                           70.2
                                                                           67.1    68.5     76
    361030002   NY   Suffolk           83.3    85      72.5    74.0        74.0    75.5     72
    480391004   TX   Brazoria          88.0    89      74.0    74.9        74.0    74.9     75
    481210034   TX   Denton            84.3    87      69.7    72.0        69.7    72.0     80
    482010024   TX   Harris            80.3    83      70.4    72.8        70.4    72.8     79
    482011034   TX   Harris            81.0    82      70.8    71.6        70.8    71.6     73
    482011039   TX   Harris            82.0    84      71.8    73.6        71.8    73.5     67
    484392003   TX   Tarrant           87.3    90      72.5    74.8        72.5    74.8     73
    550790085   WI   Milwaukee         80.0    82      65.4    67.0        71.2    73.0     71
    551170006   WI   Sheboygan         84.3    87      70.8    73.1        72.8    75.1     79




C
                                                 B-3
          Case: 23-3216           Document: 32-3             Filed: 06/16/2023           Page: 179




                                                Attachment C
                                                                                                                    C
                Contributions to 2023 8-hour Ozone Design Values at Projected
                         2023 Nonattainmcnt and Maintenance Sites


         This attachment contains tables with the projected ozone contributions from 2023
anthropogenic nitrogen oxide and volatile organic compound emissions in each state to each
potential nonattainment receptor and maintenance receptor (based on the 2015 ozone National
Ambient Air Quality Standards) in the United States, following the approach for identification of
such receptors EPA has used in the past, with slight modification. 18 In addition to the state
contributions, we have included the contributions from each of the other categories tracked in the
contribution modeling, including point source emissions on Tribal lands, anthropogenic emissions
in Canada and Mexico, emissions from offshore sources, fires, biogenics, and contributions from
initial and boundary concentrations.
        The contribution information is provided in a three-part table for all of the projected
receptors throughout the country, except California, and a separate three-part table for the
projected receptors in California. For each monitoring site, we provide the site ID, county name,
and state name in the first three columns of the table. This information is followed by columns
containing the projected 2023 average and maximum design values based on the "No Water" cell
approach. Next, in Parts 1 and 2 of each table, we provide the contributions from each state and
the District of Columbia, individually. Finally, in Part 3 ofeach table, we provide the contributions
from the Tribal lands, Canada and Mexico, offshore, fires, initial and boundary concentrations                      Q
(Boundary), and biogenics categories. The units of the 2023 design values and contributions are
parts per billion (ppb). Note that the contributions presented in these tables may not sum exactly
to the 2023 average design value due to truncation of the contributions to two places to the right
of the decimal.




11
  For the purposes of creating the contribution tables, data are provided for sites identified as potential
nonattainment and maintenance receptors using projected design values pascd on the "No Water" cell approach. In
addition, we provide the contributions to the Richmond Co., NY site that would be a nomlllainment receptor in the   1\_,..
"3 x 3" approach.

                                                       C-1
                                                    Case: 23-3216                     Document: 32-3                        Filed: 06/16/2023                       Page: 180
             0                       Contributions to 2023 Nonattainment and Maintei.... ,ce Sites Outside of California (Part l)                                                                                                0
                             2023en   20~n
Site Ill    County     State Avtrage Maximum    ~      AZ     AA     ~        00     CT        ~      OC      n     ~         m       ~       m       ~      ~        ~       ~      ~      MO     ~       ~      ~      ~       ~        MT
 40130019 Maricopa     AZ    69.3      71.4    0.00   25.19   0.00   1.87    0.03 • 0.00       0.00   0.00   0.00   0.00     0.01    0.00    0.00    0.00    0.00    0.00    0.02    0.00   0.00   0.00   0.00    0.00   0.00    0.1111   0.00
 40Ulll04 Mancopa      AZ    69.8      7LO     ~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                                                                   0.00
 80D500D2 Arapahoe     CO    69.3      71.3    000    0.29    000    1.20    22.!14   0.1111   0.00   0.00   0.00   0.00     0.19    0.111   0.00    0.00    0.28    0.00    0.02    0.00   0.00   0.00   0.00    000    0.00    001      0.02
 80350004 Douglas      CO    71.l      712     ~0.38~~~~~~~~~~~~~~~~~~~~~~                                                                                                                                                                0.01
 ~ Jetrerson           CO    71.3      73.7    0.01   0.49    0.03   1.32    25.52    0.00     0.00   0.00   0.00   0.00     o.u     0.00    0.00    0.00    027     0.00    0.05    0.00   000    0.00   0.00    0.00   0.01    0.03     0.03
 80590011 Jellerson    CO    70.9      73.9    0.01   O.lll   0.01   1.50 24.ll       0.00     0.00   0.00   0.00   0.00     0.12    0.00    0.00    0.00    0.32    0.00    0.04    0.00   0.00   0.00   0.00    0.00   0.01    0.02     0.02
 80690011 urlmer       co    71.2      73.0    0.00   0.46    0.00   LSS     21.74    0.00     0.00   0.00   0.00   0.00     0.13    0.00    0.00    0.0D    0.10    O.OD    0.02    0.00   0.00   0.00   0.00    0.00   000     0.00     0.07
 B1231XX19 wet«t       co    70.2      71.4    ~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                                                                                   0.04
 90010017 Falrfleld    CT    li8.9     71.2    0.08   0.03    0.07   0.03    0.07     8.70     0.18   0.04   0.02   0.09     0.01    0.39    0.44    0.11    0.09    0.34    0.05    0.01    1.18 0.06    0.50    0.17   0.03    0.21     0.03
 90013007 Falrfleld    CT    71.0      75.0    0.1c   o.os    u.u    0.05    o.09     4.64     D.35   0.06   o.os   0.11     0.01    u.n     0.91    0.16    o.u     0.89    o.n     0.01    1.111 o.u    0.10    0.15   0.01    0.38     0.02
 90019003 flllrfletd   er    710       75.9    0.14   o.os    0.13   o.os    0.09     3.71     0.40   0.08   0.05   0.17     0.01     0.67   0.83    0.17    0.13    0.79    o.u     0.00   2.17 0.10     0.63    0.14   0.07    0.37     0.01
 90099002 New Haven    CT    69.!I     72.fi   0.06   o.~     0.08   0.05    0.08     9.10     0.30   0.04   0.02   0.07     0.02     0.46   o.so    0.16    0.14    0.32    0.011   0.01   1.37 0.18     0.73    0.19   0.04    0.29     0.04
2402Sl001 Harford      MO    70.9      73.3    0.31   0.07    0.17   0.07    0.12     0.00     0.03   0.65   0.11   0.32     0.01     0.84   1.35    0.23    0.23    1.52    0.19    0.00   22.60 0.00    0.79    0.13   0.011   0.59     0.04
260050003 Allelitl     Ml    69.0      71.7    0.35   O.IB    l.64   0.09    0.18     0.00     0.00   0.00   0.09   0.18     0.03    19.62   7.11    0.77    0.77    0.511   0.70    0.00   0.01 0.00      3.32   0.11   0.40    2.61     0.06
261630019 Wayno        Ml    69.0      71.0    0.11   0.07    0.27   0.13    0 17     0.00     0.00   0.00   0.05   0.09     0.05     2.37   2.Sl    0.44    0.44    0.65    0.22    0.00   0.02 0.00     20.39   0.31   0.09    0.92     0.08
360810124 QuHnS        NY    70.2      72.0    0.11   0.06    0.09   0.011   0.11     0.57     0.38   0.05   0.07   0.16     0.03     0.73   0.69    0.26    0.19    0.42    0.13    0.00    LS& 0.24     1.26    0.17   0.04    0.38     0.05
3li08S0067 Richmond    NY    67.1      68.5    0.24   0.011   0.11   0.09    o.n      0.21     1u1    o.05   0.09   0.21     0.02     o.so   0.92    o.n     0.21    o.84    0.1&    0.00    1.74 0.01    0.99    o.u    o.oe    0.46     0.03
3610l0002 Suffolk      NY    74.0      75.S    0.12   o.06    o.u    o.cs    o.n      o.83     0.22   0.04   o.04   0. 12    o.03     0.64   o.69    0.20    0.20    o.49    0.13    0.01   1.24 o.04     0.94    0.18   a.06    0.39     0.06
4111391004 Braroria    TX    74.0      74.9    0.3S   0.08    0.90   0.21    0.30     0.00     0.00   0.00   0.21   0. 14    0.011    1.00   0.32    0.40    0.47    0.14    1111    0.00   0.00 0.00     0.22    0.34   0.63    0.88     0.10
481210034 llenton      TX    69.7      n.o     0.49   0.07    0.58   0.13    0.27     0.00     0.00   0.00   0.27   0.34     0.06     0.23   0.16    0.10    0.40    0.11    1.92    0.00   0.01 0.00     0.08    0.11   0.33    0.24     0.07
482010024 Harns        TX    70.4      72.B    0.39   o.oo    0.29   0.12    o.u      o.oo     o.oo   o.oo   0.39   0.26     0.05     0.34   0.11    0.11    0.11    0.10    10&     0.00   0.00 o.oo     0.0&    0.06   a.so    0.38     0.05
"82011034 Harris       TX    70.B      71.6    0.32   0.03    0.54   0.10    0.15     0.00     0.00   0.00   O.S3   0.16     0.04    O.Sl    O.U     0.27    0.32    0.05    3.38    0.00   0.00 0.00     0.17    0.23   0.39    0.63     0.05
482011039 Ham•         TlC   7LB       73.5    0.37   0.04    0.99   0.12    0.20     0.00     0.00   0.00   0.23   0.13     0.05     0.88   0.24    0.33    0.33    0.11    4.n     0.00   0.00 0.00     0.27    0.20   0.79    0.88     0.07
484392003 Tairanl      nc     n.s      74.B    0.37   0.011   0.78   0.15    0.33     0.00     0.00   0.00   0.18   0.26     0.07     0.29   0.18    0. 19   0.69    0. 13   1.71    0.00   0.01 0.00     o.u     0.15   0.27    0.38     0.10
SS01'30085 MilwaukH    WI    71.2      73.0    0.14   0.04    0.40   0.07    0.08     0.00     0.00   0.00   0.06   0.06     0.03    15.10   5.28    0.79    0.35    0.77    o.n     0.00   0.0) 0.00     2.01    0.40   0.28    0.93     0.10
55111000& Sheboypn     WI    72.8      75.1    0.14   0 08    0.51   0. t2   0. 1t    0.00     0.00   0.00   0.07   0.07     0.04    15.73   7. 11   0.45    0.46    0.81    0.84    0.00   0.03 0.00     2.06    0.28   0.30    1.37     0.06




                                                                                                         C-2
                                                      Case: 23-3216                         Document: 32-3                    Filed: 06/16/2023                       Page: 181
                                         Contributions to 2023 Nonattainment and Maintenance Sites Outside of California (Part 2)

                             2023en 2023en
 SIie iD      County     Sme Avera11t Mulmum NE             NV      NH       NJ     NM        NY     NC       ND     OH      OK        OR      PA      RI      SC      so    TIii    TX       UT      VT     VA     WA      WV      WI     W'(
 40130019 Maricopa       A2    li!l.3   71.4 0.00           0.0!1   0.00    0.00    0.0!I     0.00   0.00    0.00    0.00    D.02     a.us    0.00    0.00    0.00    0.00   0.00   0.22    0.06     0.00    0.00   0.02    0.00   0.00    0.01
 40131004 Maricopa       A2    li!l.8   71.0 0.00           D.14    0.00    0.00    0.04      0.00   0.00    0.00    0.00    0.01     0.06    0.00    0.00    0.00    0.00   0.00   0.11    0.06     0.00    0.00   0.03    0.00   0.00    0.00
 8005(XX)2 Arapahoe      co    li!l.3       71.3    0.34    0.33    0.00    0.00    0.22      0.00   0.00    a.OJ    0.00    o.u      0.11    0.00    0.00    0.00    0.02   0.00   0.30     L23     0.00    0.00   0.04    0.00   0.00    1.04
 803S(XX)4 Douglas       co    71.l         73.2    0.32    0.32    0.00    0.00    0.22      0.00   0.00    0.00    0.00    0.12     0.10    0.00    0.00    0.00    0.02   0.00   0.36     I.Ill   o.oo    0.00   0.04    0.00   0.00    LOO
 80590006 Jefre,son      co    71.3         73.7    0.41    0.31    0.00    0.00    0.70      0.00   0.00    0.00    0.00    0.24     0.10    0.00    0.00    0.00    0.02   0.00   L02     0.83     0.00    0.00   0.04    0.00   0.00    0.81
 80590011 Jefre,son      co    10.9         73.9    0.36    0.38    0.00    0.00    D.38      D.00   D.00    0.00    0.00    a.ta     D.10    o.m     0.00    0.00    0.02   o.oo   0.94     L04     0.00    0.00   0.03    0.00   0.00    L03
 80690011 u,lmer         co    71.2         73.0    0.25    0.37    D.00    0.00    D.52      0.00   D.00    0.00    0.00    u.os     0.10    0.00    0.00    0.00    0.03   0.00   0.40     LOS     0.00    0.00   D. 10   o.oo o.oo      0.88
 8l231XXl9 Weld          co    70.2         71.4    0.27    0.24    0.00    0.00    o.n       0.00   0.00    0.00    0.00    0.111    D.04    0.00    0.00    0.00    0.03   0.00   UIS     0.54     0.00    0.00   0.05    0.00   0.00    0.58
 90010017 Fairfield      CT    68.!l        71.2    0.06    0.00    0.01    6.24    0.04     17.31   0.29    0.07    1.04    0.15     0.00    5.11    O.D1    0.06    0.03   0.15   0.30    0.03     0.01    1.27   0.02    0.68   D.26    0 .07
 90013007 Fairfield      CT    71.0         7S.D    O.D7    0.01    O.D2    6.94    0.06     14.12   0.40    0.07    1.84    0.21     0.00    6.32    0.02    0.11    0.02   031    0.44    0.04     D.01    1.51   0.01    1.10   0.24    D.(B
 90019003 Fairfield      CT    73.0         7S.!l   0.07    0.01    0.02    7.7S    0.06     15.80   0.43    0.06    1.r,o   0.21     0.01    6.56    0.02    0.12    0.02   0.28   0.45    0.04     0.01    1.91   0.01    1.14   0.20    0.08
 900!l9C02 New Hav1m     CT    li!l.!l      n.6     0.0')   0.01    0.03    5.06    0.01     15.03   0.32    0.15    1.17    0.24     0.01    4.87    0.02    0.01    0.01   0.12   0.41    0.04     0.0 2   1.26   0.04    0.61   0.2S    0.10
240251.(X)l HarfO<d      MO    70.9         73.3    0.13    0.01    0.00    0.07    0.0')    0.16    0.42    0.07    2.n     0 ..35   0.02    4.32    0.00    0.11    0.04   0.43   0.74    0.05     0.00    5.05   0.04    2.78   0.24    0.12
260050003 Allegan        M     69.0         71.7    0.16    0.02    0.00    0.00    0.16     0.00    0.05    O.O!I   0.19    1.31     0.01    O.l!i   0.00    0.04    0.05   0.65   2.39    0.06     0.00    0.04   o.os    0.11   t.!lS   0.12
261630019 Wayne          Ml    li!I.O       71.0    0.17    0.03    0.00    0.01    0.(B     0.06    0.20    0.12    3.81    0.62     0.05    O.IB    0.00    a.as    0.04   0.27    L12    0.09     0.00    0.16   0.07    0.23   um      O.ta
360810124 Queens         NV    70.2         n.o     0.12    0.02    0.06    8.57    0.07     13.55   0.35    0.12    1.88    0.32     0.02    7.16    0.0I    0.09    0.05   0.13    0.58   O.D7     0.07    1.56   0.03    1.01   0.38    0.14
.3Cillll50067 Richmond   NV    67.l         68.S    0.12    0.02    0.00    10.53   O.O!I    6.57    0.37    0.09    2.05    0.36     0.01    10.41   0.00    0.10    0.04   0.36    0.70   0.07     0.00    1.67   0.02    1.54   0.30    0.12
3610300)2 SYffolk        NY    74.0         75.S    0.12    0.02    0.01    8.88    0.06     IB.11   0.23    0.20    1.76    0.34     0.03    6.86    0.00    0.05    0.05   0.22    0.60   0.07     0.02    0.99   0.06    0.81   0.2S    0, 14
480391004 llra101la      TX    74.0         74.9    0.23    0.06    0.00    000     o.ai     0.00    0.04    0.00    0.06    o.~      0.(!i   0.01    0.00    0.04    0.05   0.28   26.00   0.14     0.00    0.02   0.06    0.02   0.40    0.27
481210034 Denton         1)(   flJ.7        72.0    0.15    0.04    0.00    0.00    0.13     0 .01   0.09    0.03    0.111   1.23     0.03    0.04    0.00    0.09    0.03   0.14   26.69   0.10     0.00    0.05   o.os    0.04   0.(8    0.25
482010024 Hauls          TX    70.4         72.8    0.08    0.03    0.00    0.00    0.05     o.oo    0.14    0.04    0.05    0.20     0.03    0.02    0.00    0. 14   0.02   0.26   2S.62   0.(B     0.00    0.06   0.03    0.05   0.07    0.14
482011034 Harris         TX    70.8         71.6    0.16    0.03    0.00    QOO     0.04     0.00    0.09    0.04    0.05    0.68     0.02    0.01    0.00    0. 10   0.03   0.09   25.66   0.07     0.00    0.03   0.02    0.03   0.22    0.15
482011039 H,mls          lX    71.8         73.5    D.19    0.03    0 .00   0.00    0.06     0.00    D.04    0.06    QOS     0.58     0.03    0.01    0.00    0.03    0.04   0.30   22.82   0.08     0.00    0.02   0.04    0.01   0.28    0.20
484392003 larrant        TX    n.s          74.8    0.30    0.04    0.00    000     (U4      0.01    0.0!I   0.0!>   0.10    1.71     0.05    0.05    0.00    0.111   0.07   0.15   27.64   0.15     0.00    0.05   0.09    0.05   0.13    0.28
5507!laB5 Milwaukee      W1    7L2          73.0    0.06    0.01    0.00    0.00    0.08     0.02    0.04    0.23    0.87    0.76     0,02    0.33    O.IXl   0.02    0.03   0.31    L22    004      0.00    0.12   0.09    0.59   13.39   0.09
551170006 Sheboygan      WI    n.s          75. 1   0.06    0.03    0.00    0.00    0.14     0.02    0.04    0.10    1.10    0.!15    0.04    0.41    0.00    0.02    0.02   0.31    L65    0.06     0.00    0.10   0.07    0.64   9.00    0.12




                                                                                                             C-3


             0                                                                                                        0                                                                                                            ~
n             Case: 23-3216                Document: 32-3                Filed: 06/16/2023
    Contributions to 2023 Nonattainment and MaintD.ce Sites Outside of California (Part 3)
                                                                                                          Page: 182
                                                                                                                      0
                                           2023en 2023en              Canada/
             SIie iD      County    Sliite Average Maximum   Tribal    Mexco Ofhhore   Fire    Boundary Blogenlc
              40130019 Marlcupa     Al      69.3     71.4     0.06      3.29  0.37     0.49     34.74     2.52
              40131004 Maricopa     AZ      69.1     71.0     0.06      2.70  0.34     0.56     33.85     2.24
              80050002 Ar.apahoe    co      69,3     71.3     0.22     0.55    0.14    0.46     34.84     4,24
              80350004 0o1Jgla$     co      71.l     73.2     0.21     0.71    0.16    0.47     34,74     4.19
              8059<XDi leffenon     co     71.3     73.7      O.Zl     0.90    0.17    0.66     31.41     5.40
              80590011 Jefferson    co     70.9     73.9      0.16     0.70    0.16    0.45     32.96     4.74
              80690011 Larlm1tr     co     71.2     73.0      0.25     0.78    0.19    1.74     34.54     5.71
              8123000'J Weld        co     70.2     71.4      0.23     1.04    0.15    1.57      31.11    6.08
              90010017 Falrfll,ld   CT     68.9     71.2      0.00     1.64    0.65    0.20      16.73    3.28
              90013007 Fairfield    CT     71.0     75.0      0.01     1.35    1.93    0.34      17. 17   4.01
              90019003 Fairfield    CT     73.0     75.9      0.01     1.37    J.96    0.33      17.00    4.09
              90099002N1twH.aven    CT     69.9     72.6      0.01     1.58    2.15    0.22      )7. 17   4. 13
             240251001 Harford      MO     70.9     73.3      0.01     0.79    0.32    0.42      15.28    S.32
             260050003 Allegan      Ml     69.0     71.7      0.02     O.S4    0.36    0.93      11.85    B.91
             251630019 Wayne        Ml     69.0     71.0      0.02     3.13    0.17    0.44      20.06    6.93
             3E0810U4 Queens        NY     70.2     72.0      0.01     J.73    1.39    0.25      17.87    4.45
             3E0850067Rlchmond      NV     67.l     68.5      0.01     1.44    0.83    0.35      15.46    4.75
             361030002 Suffolk      NV     74.0     75.5      0.01     1.85    1.24    0.30      18.94    4.49
             480391004 Brazoria     TX     74,0     74.9      0.02     0.44    2.31    2.05      24.02    5.50
             481210034 Denton       TX     69.7     no        0.01     0.92    1.23    O.IS7     24.69    6.42
             482010024 Harris       TX     70.4     72.8      0.01     0.28    4.83    o.n       27.83    2.66
             482011034 Harris       TX     70.8     71.6      0.01     0.24    3.91    1.75      25.71    3.44
             4S2011039 H.:arrll     TX     71.8     73.5      0.01     0.47    4.04    2.0!I     24.67    4.50
             484392003 Tarrant      TX     72.5     74.8      0.02     1.24    L18     1.34      24.38    6.44
             5507900BS Mllwauke"    WI     71.2     73.0      0.01     0.82    0.43    0.37      16.67    6.70
             551170006 Shoboygan    WI     72.8     75.1      0.01     0.69    0.55    0.64      17.53    7.51




                                                             C-4
                                                     Case: 23-3216                          Document: 32-3                      Filed: 06/16/2023                           Page: 183
                                           Contributions to 2023 Nonattainment and Maintenance Sites in California (Part I)
                                 ZOU       2023
                                                                                                                                                      ,,.
Site ID
60190001 r,nno
               COUIIIY     Sblt Aven1•
                           CA    79.2
                                          Mnlmum
                                           79.4
                                                    Al
                                                   0.00
                                                            A2
                                                           0.16
                                                                    AA
                                                                   0.00
                                                                            CA
                                                                           35.611
                                                                                     CO
                                                                                    0.00
                                                                                              CT
                                                                                             0.00
                                                                                                      0[
                                                                                                     0.00
                                                                                                              DC
                                                                                                             0.00
                                                                                                                      IL
                                                                                                                     0.00
                                                                                                                             GA
                                                                                                                             0.00
                                                                                                                                      10
                                                                                                                                     0 .0]
                                                                                                                                              IL
                                                                                                                                             0 .00   0.00
                                                                                                                                                              IA
                                                                                                                                                             O.DD
                                                                                                                                                                      !CS
                                                                                                                                                                     0.00
                                                                                                                                                                              ICY
                                                                                                                                                                             0.00
                                                                                                                                                                                     lA
                                                                                                                                                                                    0.00
                                                                                                                                                                                             M[
                                                                                                                                                                                             0.00
                                                                                                                                                                                                     MO
                                                                                                                                                                                                     0.00
                                                                                                                                                                                                             MA
                                                                                                                                                                                                             0.00
                                                                                                                                                                                                                      Ml
                                                                                                                                                                                                                     000
                                                                                                                                                                                                                             M,.
                                                                                                                                                                                                                             o.oo
                                                                                                                                                                                                                                     MS
                                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                                                             11.10
                                                                                                                                                                                                                                             0.00     ""
                                                                                                                                                                                                                                                      0.00
60190011 frnno             CA    711.6     11.2    0.00    0.15    0.00    ]5.20    0.01     0.00    0.00    0.00    0.00    0.00    0.0]    0 .00   0.00    0 .00   0.00    0.00   0.00     D.00    0.00    O.DD    0.00    0.00   0.00     D.00     D.00
60l9024Z f,esno            CA    79.4      IU      0.00    0 .21   0 .00   31.H     0.01     0.00    0.00    o.oo    0.00    0 ,00   0.04    0.00    0 .00   0 .00   0.00    0.00   0.00     0.00    0.00    0.00    0.00    O.DD   0.00     0.00     0.00
60l!MOOI Fresno            CA    7J.3      74.4    0.00    0.03    0.00    34.10    0.00     0.00    0.00    O.DD    D.DD    0 .00   0.00    0.00    0.00    O.DD    0.00    0.00   0.00     0,00    0.00    0.00    0.00    0.00   0.00     0.00     0.00
60195001 r,nno             CA    79.6      11.2    0.00    o.u     0.00    35.7!I   0.00     0 .00   0.00    O.DD    O.IXI   0.00    0.00    0.00    0.00    0.00    0 .00   0.00   0.00     0.00    0.00    0.00    0.00    0.00   0.00     O.DD     0.00
60250005 ln,peri1I         CA    73.3      74.6    0.00    0.61    0.00    ,.21     0 .08    0.00    0.00    0.00    0.00    0.00    0.01    0 .00   0 .00   0 .00   0 .01   0.00   O.Ol     0.00    0.00    0.00    0 .00   0.00   0.00     0.00     0.00
602§1001 Imperil!          CA    79.0      80.D    0.00    0.67    0.00    U.l4     0.07     0.00    0 .00   0.00    0 .00   0.00    0.01    0.00    0.00    0 .00   0 .01   0.00   0.00     0.00    0.00    0.00    0.00    0.00   0.00     0.00     0.00
60190007 Ktm               CA    n .1      ll 3    000     0.07    0.00    29.9!1   0 .01    0.00    0.00    0.00    0.00    0.00    0 .02   0.00    0 .00   0 .00   0.00    0.DD   0.00     0.00    0.00    0.00    0.00    0.00   0.00     0.00     0.00
6029DOOII Ktm              CA    71.l      72.1    0.00    0.17    0.00    Zli.44   0 .02    0.00    0 .00   0.00    0 ,00   D.00    0.00    0 .00   0.00    0.00    0 .00   0.00   0.00     0.00    0.00    0.00    0.00    0.00   0.00     0.00     o.oo
60190014 ICem              CA    74,l      75.1    0.00    0 .11   0.00    31.54    0.01     0.00    0.00    O.DD    0 .00   0.00    0.00    O.DD    0 .00   0 .00   D.00    0.00   0.00     0.00    0.00    0.00    0.00    0.00   0.00     D.00     0.00
60290132 Ktm               CA    73.7      75.1    0.00    0.03    0.00    31.66    0.00     0.00    0.00    0 .00   0 .00   0 .00   0 .00   0 .00   0 .00   0 .00   0.00    D.DD   0.00     0.00    0.00    0 .00   0.00    0.00   0.00     0.00     0.00
60295002 Kem               CA    75.!I     76.1    0.00    0.13    0.00    28.33    0.01     0.00    D.DD    0 .00   0 .00   0.00    0.01    0.00    0.00    0 .00   0.00    0.00   D.00     0.00    0.00    0.00    0.00    0.00   0.00     0.00     0.00
60l!l6001 ICtm             CA    70.9      n.4     o.oo    0.16    o.oo    a.so     0.01     D.00    0.00    0.00    0.00    0.00    0.00    o.oo    0 .00   O.DD    0 .00   0.00   0.00     0.00    0.00    0.00    0 .00   0.00   0.00     D,1111   D.00
60370002 Loi Anctln        CA    73.3      75.1    0.00    0.JJ    0.00    39.611   0.04     D.00    0 .00   0 .00   0 .00   0.00    0.DD    O.DD    O.DD    0.00    0.00    0.00   0.02     0.00    0.00    0.00    0.00    0.00   D.11>    0.00     0.00
60170016 Los Ancelet       CA    86.1      88.9    000     0.21    0.00    46,61    0.05     D.00    0.00    0 .00   0.00    0.00    0.00    0 .00   0.00    O.DD    0.00    0.00   0.01     0.00    0.00    0.00    0.00    0.00   O.IIO    0 .00    D.00
60171201 Loi Ancelet       CA    79.1      79.1    0.00    0.37    0 .00   35.55    0.0&     0.00    0.00    0 .00   0.00    O,DD    0.03    0.00    D.00    0 .00   0.00    0.00   O.DI     0.00    0.00    0.00    0.00    D.DD   0.00     0.00     0.00
60371701 Los A,weln        CA    78.1      79.1    0.00    0.27    0.00    42.09    D.04     0.00    0 .00   0 .00   0 .00   0.00    0.00    D.00    0.00    0.00    0.00    0.00   D.OZ     D.00    0.00    0.00    0.00    0.00   0.00     0 .00    O.DD
603noo5 Los qt101          CA    71,l      74.6    0.00    0.31    0.00    l7.l9    D.06     0.00    D.00    0.00    0.00    000     0 .01   D.00    0 .00   D.DD    O.DD    0.00   0.0]     0.00    0.00    0.00    0.00    D.00   0.00     0 .00    D.00
60l7601l Los Ancdes        CA    IS.9      87.4    0.00    0.42    0.00    39.16    D.OI     0.00    0.00    O.DD    D.00    0.00    0.02    0.00    0 .00   0 .00   0.01    0.00   0.02     0.00    0 .00   0.00    0.00    0.00   0.00     0 ,00    0.00
60l790lJ Loi Ance!H        CA    76.3      77.1    0.00    O.l4    0.00    25. 79   0.05     0.00    0.00    0 .00   0.00    0.00    0.01    D.00    D.00    0.00    0.00    0.00   11.02    0.00    0 .00   0.00    0.00    0.00   0.00     0 .00    0.00
603'20l0 Mldm,             CA    72.1      72.9    0 .00   D.20    0 .00   11.39    0.00     0.00    0.00    D.DD    0 .00   0.00    0.04    0.00    0 .00   0.00    0.00    0.00   0.00     O.DD    O.DD    0 .00   0.00    0.00   0.00     0.00     0.00
60l70003 Mtrctd            CA    69.9      71.0    0.00    0 .10   0.00    1'-52    O.DD     O.DD    0.00    0 .00   0.00    0.00    0.00    0.00    o.oo    0.00    O.DD    0.00   0.00     0.00    0 .00   0.00    0.00    0.00   0.00     0.00     0.00
606Sllm Riwnlde            CA    76.7      76.7    0.00    0.21    0.00    41.91    0.03     0.00    000     0.00    0.00    0.00    0.00    0.00    0 .00   0.00    0.00    0,00   D.01     0.00    0.00    O.DD    0.00    0.00   0.00     0.00     0.00
                           CA    13.6      15.1    0.00    O.ll    0.00    Jl.55    0.02     0 .00   0.00    0.00    0.00    0.00    0.00    0.00    0.00    0.00    0.00    0.00   0.00     0.00    0.00    O.DD    0.00    0.00   0.00     0 .00    0.00
60650012 Rivefslde
60651016 Riwnlde           CA    85.1      15.5    0.00    0.22    0.00    35.47    0.01     0.00    0.00    0.00    0.00    0.00    O.DD    O.DD    0 .00   0 .00   0 .00   0.00   0 .00    0.00    D.00    0.00    D.00    D.00   0.00     0 .00    0.00
60652001 Rlvcnldc          CA    'T.l,4    73.0    0.00    0.27    0.00    15.57    0.05     O.DD    0.00    0.00    0.00    0.00    0.01    0.00    0 .00   O.DD    0.01    0.00   0 .03    0.00    0.00    0.00    0.00    0.00   0 .00    0.00     0.00
60655001 Rlvenlde          CA    79.5      IIO.I   0.00    0 .20   D.00    24 70    0.05     0.00    0.00    0.00    0.00    0.00    O.DD    D.00    0.00    0.00    0.01    0.00   O.Q.I    0.00    0 .00   0.00    0.00    0.00   0.00     0.00     0.00
606S6001 Rivenlde          CA    71.3      11.6    0.00    0 .17   0 .00   39.14    O.Ol     O.DD    0.00    0.00    0.00    0.00    0.01    0.00    0.00    0 .00   0.00    0.00   0.00     0.00    0.00    0.00    0.00    0.00   0 .00    0.00     0.00
606SIOOI Rivenlde          CA    17.0      17.!I   0 .00   0.27    0.00    47.'9    0.04     0.00    0.00    0.00    0.00    0.00    0.00    D.00    0 .00   0 .00   0.00    0.00   D.Ol     0 .00   0.00    0.00    0.00    0.00   0.00     0 .00    o.oo
606SIOOS Rlwcnlde          CA    83.2      14.4    0.00    0.15    0.00    45.60    0.04     0 .00   o.oo    0.00    0.00    O.DD    0.00    0.00    0.00    0.00    0.00    0.00   0.01     0 .00   0 .00   0.00    0.00    0.00   0.00     0.00     0.00
60659001 Rlwcnlde          CA    73.7      75.9    0.00    0.16    o .oo   11.21    a.oz     0.011   0.00    0 .00   0.00    0.00    0.01    0.00    0.00    0.00    O.DD    0.00   0 .00    0.00    0 .00   0.00    o.oo    0.00   0.00     0 .00    0.00
60670012 SICIIIMnlO        CA    74,5      75.9    0 .00   0.01    0.00    35.!II   0.00     0 .00   0 ,00   0 .00   0.00    0.00    O.DD    O.DD    0.00    0 .00   D.00    0.00   0.00     0 .00   0 .00   0.00    0.00    D.00   0 .00    0 .00    0.00
60675003 s.cramtn10        CA    69.9      7U      0.00    0.00    0.00    34.11    0.00     0.00    0 .00   0.00    0.00    o.oo    0.00    0 .00   0 .00   0.00    0.00    0.00   0 .00    0.00    0.00    0.00    0.00    0.00   0.00     0.00     0.00
60710005 Sin Bem11diro     CA    !16.Z     '8.l    0.00    O.Zl    0.00    41.09    0.03     0.00    0.00    O.DD    0.00    0.00    0.00    0 .00   0 .00   0 .00   O.DD    0.00   0.02     O.DD    0 .00   D.00    000     0.00   0.00     0 .00    0.00
6071001Z Sin Bemudona      CA    114. I    85.8    0.00    0.46    0.00    24.21    0.06     0.00    0.00    0 .00   0 .00   0 .00   0.01    0 .00   0 .00   D.00    0.00    0.00   0 .01    0.00    0.00    0.00    ODO     0.00   0.00     0 .00    0.00
60710l06 Sin Bernardino    CA    76.1      77.4    0.00    0.14    0.00    29 7l    0.01     D.00    0 .00   0.00    0 .00   0.00    0 .00   0.00    0 .00   0.00    0.00    0.00   0 .111   0.00    0 .00   0.00    D.00    0.00   0.00     0.00     0.00
607UOIM Sin lle1nardino    CA    89 I      91.0    0.00    0.35    0.00    47.69    0.05     0.00    0.00    0.00    0 .00   o.oo    0.01    0.00    D.DD    0.00    0.01    0.00   0.02     0.00    0 .00   0.00    D.00    0.00   0.00     0.00     0.00
60712002 Sin a.mardino     CA    93,l      !IS.0   0.00    0. 14   0.00    51. 11   0.01     0.00    0.00    0 .00   0 .00   0.00    0.00    0 .00   0 .00   0.00    0.00    0.00   a.oz     O.DD    0 .00   0.00    0.00    0.00   0 .00    0.00     0.00
                                           18.5    0.00    0.11    0.00    4 LZl    D.01     D.00    0.00    0 .00   0.00    0.00    0.00    D.DD    DOD     D.00    0.00    0.00   0.00     0 .00   0 .00   0.00    O.DD    0.00   0 .00    0 .00    0 .00
60714001 Sin Bunard""'     CA    16.0
60714003 Sin Bernardino    CA    94.1      !IS.8   0.00    0.10    O.DD    52 53    0.02     0.00    0.00    O.DD    0.00    0 .00   0 .01   0 .00   D.00    0 .00   o.oo    D.00   0 .02    O.DD    0 .00   0.00    0.00    0.00   0 .00    0.00     0.00
60719002 Sin lle1Nrd'tn0   CA    80.0      81.4    0.00    D.45    0.00    ll.21    0.08     0.00    0.00    0 .00   0 .00   0.00    001     0.00    0.00    O.DD    0.01    0.00   0.04     0.00    0 ,00   0.00    0.00    0.00   0.00     0.00     0.00
60719004 Sin Bernardino    CA    U.4       81,7    0.00    0.10    0.00    49.35    002      o.oo    0 .00   0.00    0 .00   0.00    0.01    0.00    0 .00   0.00    0.00    D.00   0 .02    0.00    0.00    0.00    0.00    0.00   o .oo    0 .00    O.IIO
60990006 s,.~us            CA    74.B      75. 7   0.00    0.03    0.00    34.16    0.00     O.DD    0.00    0.00    0 .00   0 .00   D.0J    0.00    0 .00   0 .00   O.DD    0.00   0.00     0 .00   0 .00   0.00    0.00    o.oo   0 .00    0.00     0.00
610'10006 T..He            CA    69.1      71.9    0.00    0.0&    D.00     7.37    0.00     0.00    0.00    0 .00   0 .00   0.00    0.00    0.00    O.DD    D.00    0 .00   0.00   0.00     0.00    0 .00   0.00    O.DD    0.00   0 .00    0.00     0.00
61070009 T...,e            CA    76.l      77.2    0.00    0.07    0.00    23. 74   0.00     0.00    0.00    0.00    0.00    0.00    0.00    0 .00   0 .00   0 .00   O.DD    0.00   0 .00    0.00    0.00    0.00    0.00    0.00   0.00     0.00     0.00
61072001 T...,e            CA    68.9      71.4    0.DD    0.12    0.00    30.91    0.00     0.00    0.00    0 .00   D.00    0.00    0.00    0 .00   0 .00   0 .00   0.00    0.00   0 .00    0 .00   O.DD    0.00    0.00    0.00   0.00     0.00     0.00
&1ono10 T,.ue              CA     73.l     73.9    0.00    0.03    0.00    30.19    0.00     0,00    0 .00   0 .00   0 .00   0.00    0 .00   0 .00   0 .00   0 .00   0.00    0.00   0.00     0.00    0.00    0.00    0.00    0.00   0.00     o.oo     0.00
6Ul2002 VCftlu,a           CA    10,5      n .z    o.oo    0,31    0.00    29.51    0.06     0.00    0.00    0.00    0 .00   0.00    0 .02   0.00    0.00    0 .00   0.00    0.00   0.01     0.00    0.00    O.DD    0.00    0.00   0 .00    0.00     0.00




                                                                                                               C-S


           ('                                                                                                          0                                                                                                                    t'1
                                                     Case: 23-3216                  Document: 32-3                       Filed: 06/16/2023                      Page: 184
          0                                Contributions to 2023 Nonallainment and MO enance Sites in California (Part 2)
                                                                                                                                                                                                                           ()
                                 20Z3       :ZOU
                                          Maalrnum   NC      NV      NH      NI    NM       NT     NC     HD      OH       OK     OR       PA     RI     SC       50      TH     TX     UT      VT      VA       WA     WV     WI      W{
SIie 10     County      51a11   Average
60190007 fr6nll         CA       79.2       79.4     0.00   0.51     0.00   0.00   0.01    0.00    0.00   o.oo    0.00    0.00    0.29    D.00    0.00   0.00    0.00    0.00   0.03    0.08    0.00    a.OO    0 .05   0.00   0.00    0.01
                                                            0.44     0.00   0.00   0.01    0.00    0.00   0.00    o.oo    0.00    0.27    0.00    0.00   0.00    0.00    0.00   0.03    0.119   0.00    a.OD    0 .05   0.00   0.00    0.01
60190011 r,elftO        CA       7B.6       IL2      0.00
601'0242 f,nno          CA       79.4       82.2     0.00   0.64     0.00   0.00   0.01    0.00    0.00   0.00    o.oo    0.00    0.35    0.00    a.OO   0.00    0.00    0.00   0.03    0.10    O.DD    0.00    0.07    0.00   0.00    0.01
60194001 Fresno         CA       73.3       74.4     0.00   0.27     0.00   0.00   0.00    0.00    0.00   a.OD    0.00    0.00    0.31    0.00    0.00   0.00    o.oo    0.00   0.00    0.00    0.00    0.00    0.07    0.00   0.00    0.00

60195001 Fnsno          CA       79.6       BL2      0.00   0.31     0.00   0.00   0.00    0.00    0.00   0.00    a.00    0.00    1133    0.00    0.00   0.00    0.00    0.00   a.OO    0.00    o.oo    0.00    0.05    0.00   0.00    0.00

fi0250D05 l,npetlal     CA       73.3       74.6     0.00   0.119    0.00   0.00   0.12    0.00    0.00   0.00    a.OD    0.0J    0.05    0.00    0.00   a.OD    0.00    0.00   0. 20   0.05    0.00    0.00    0.02    o.00   0.00    a.04
                                                     0.00   0.25     0.00   0.00   o.u     0.00    0.00   0.00    a.00    0.02    0.06    0.00    0.00   0.00    0 .00   0.00   0.09    0.06    0.00    0.00    0.02    0.00   0.00    0.03
60251003 1,npetlal      CA       79.0       IIO.O
                                                     0.00   0.29     0.00   0.00   0.00    0.00    0.00   0.00    a.OD    0.00    0.37    0.00    0.00   0.00    0.00    0.00   0.02    0.10    0.00    0.00    0.15    0.00   0.00    0.03
60290007 Kem            CA       77,7       8L3
                                                     0.00   0.31     0.00   0.00   0.01    0.00    0.00   0.00    0.00    0.00    0 .34   0.00    0.00   0.00    0.00    0.00   0.01    0.02    0.00    0.00    0.10    0.00   0.00    0.01
602,000S ~n             CA       7L3        72.B
                                                     0.00   0.38     0.00   0.00   0.01    0.00    0.00   0.00    0.00    0.00    0.34    0.00    0.00   0.00    0.00    0.00   0.00    0.01    0.00    0.00    a.08    0.00   0.00    0.00
60290014 Kem            CA       74.l       75.2
60290232 Kem            CA       73.7       75.2     a.DO   0.27     0.00   o.oo   0.00    0.00    0.00   0.00    0.00    0.00    0.3'    0.00    0.00   0.00    0.00    a.oo   0.01    0.02    0.00    0.00    0.17    0.00   0.00    o.oo
60295002 Kem            CA       75.9       76.8     ODO    0.31     0.00   0.00   0.00    0.00    0.00   a.OO    0.00    0.00    0.25    o.oo    0.00   0.00    0.00    0.00   0.02    0.06    0.00    0.00    0.05    0.00   0.00    0.02
60296001 ICem           CA       70.9       72.4     000    0.51     0.00   0.00   0.01    0.00    0.00   0.00    0.00    0.00    0.26    0.00    0.00   0.00    0.00    0.00   0.01    0.02    0.00    0.00    0.02    0.00   o.oo    0.00

60310002 losAnples      CA       73.3       75.1     0.00   0.12     0.00   0.00   0.05    0.00    0.00   o.oo    0.00    0.01    0.13    0.00    0.00   0.00    0.00    0.00   O.lli   0.03    0.00    0.00    0.04    0.00   o.oo    0.01
                                                                                                          0.00    0.00    0.02    0.15    0.00    0.00   0.00    0.00    0.00   0.18    0.03    0.00    0 .00   0.05    0.00   0.00    0.02
6037!1116 LDSAngeles    CA       86.1       11.9     0.00   0.14     0.00   0.00   0.06    0.00    0.00
                                            79.8     0.00   0.17     a.00   0.00   0.06    0.00    0.00   0.00    o.oo    0.01    0.)0    0.00    0.00   0.00    0.00    0.00   0.13    0.09    0.00    0.00    o.os    0.00   0.00    0.03
60371201 Lai Anples     CA        79.8
                                                                            0.00   0.01    0.00    0.00   0.00    0.00    0.02    0.15    0.1IO   0.00   000     0.00    0.00   0.)9    0.03    0.00    0.00    0 .05   0.00   0.00    0.01
60371701 La•An&eles     CA        78.1      7'-1     0.00   0.11     0.00
                                            74.6     0.00   0.08     0.00   0.00   0.08    0.00    0.00   0.00    0.00    O.a2    0.)0    0.00    0.00   0.00    0.00    0.00   0.21    0.06    0.00    0.00    0.04    0.00   a.DO    0.02
60372005 LasAnples      CA        72.3
60376012 UH Angeles     CA        B5.9      B7.4     0.00   0.11     0.00   0.00   0.09    0.00    a.OD   0.00    0.00    D.DJ    O.lli   0.00    0.00   0.00    0.00    0.00   0.21    0.08    o.oo    0.00    0.07    0.00   0.00    0.04
                                                                            0.00   0.06    0.00    0.00   0.00    0.00    0.01    0.19    0.00    0.00   0.00    0.00    0.00   O.lS    0.04    0.00    0.00    0.07    0.00   0.00    0.02
60379033 Las Aft&eles   CA        76.3      71.2     0.00   0.15     0.00
                                                                            0.00   0.00    0.00    0.00   0.00    0.00    0.00    0.34    0.00    0.00   0.00    0.00    0.00   0.01    0.12    0.00    000     0.06    0.00   0.00    0.02
60392010 Maden          CA        72.1      72.9     0.00   0.65     0.00
                                                                                   0.00    0.00    0.00   0.00    0.00    0.00    0.42    0.00    0.00   0.00    0.00    D.00   0.00    0.00    0.00    0.00    0 .07   0.00   0.00    0.00
~70003 Mettu            CA        69.9      7LO      0.00   0.39     0.00   0.00
60650004 Rivellicle     CA        76.7      76.7     0.00   0.14     a.OO   0.00   0 .05   0.00    0.00   0.00    o.oo    0.01    0.13    0.00    0.00   0.00    0.00    0.00   0,13    0.03    o.oo    0.00    0.03    0.00   o.oo    0.01

                                            15.1     0.00   0.24     o.oo   0.00   0.02    0.00    0.00   0.00    0.00    0.00    0.15    0.00    0.00   0.00    0.00    0.00   0.03    0.02    0.00    0.00    0.08    a.DO   0.00    0.00
60650012 RlvelSide      CA       13.li                                                                                                                                                                                                 0.00
                                                                                   0.02    0.00    0.00   0.00    0.00    0.00    0.09    0.00    0.00   0.00    0.00    0.00   0.02    0.02    0.00    0.00    0.01    0.00   0.00
60651016 Rlverslde      CA       15.2       15.5     0.00   0.21     0.00   0.00
60652002 Rlvetslde      CA       72.4       73.0     0.00   0.18     0.00   0.00   0.06    0.00    0.00   o.oo    0.00    0.04    0.07    0.00    o.oo   0.00    o.oo    0.00   0.22    0.04    0.00    0.00    0.02    0.00   0.00    0.02
                                                                                                                                          o.oo                   0.00    0.00   0.26    0.03    0.00    0.00    0.07    0.00   0.00    0.02
60655Cl01 RJvelSide     CA        79.5      80.1     0.00   0.11     0.00   o.oo   0.06    0.00    0.00   0.00    0.00    0.04    0.12            0.00   0.00
                                                                            0.00   0.02    0.00    0.00   0.00    0.00    0.00    0.10    a.OD    0.00   0.00    0.00    0.00   0.04    0.07    0.00    0.00    0.02    0.00   0.00    a .02
60656001 Rlvetslde      CA        71.3      IL6      0.00   0.19     0.00
                                                                            0.00   0.05    0.00    0.00   0.00    0.00    0.01    0.17    0.00    0.00   0.00    0.00    0.00   0.12    0.03    0.00    0.00    0.06    0.00   0.00    0.01
60658001 Riverside      CA        87.0      87.9     0.00   0.15     0.00
                                                                                           0.00    0.00   o.oo    0.00    0.01    0.17    0.00    0.00   0.00    0.00    a.OO   0.11    0.03    0.00    0.00    0.06    0.00   0.00    0.01
606S8005 Rtttnlde       CA        83.2      84.4     0.00   0.14     0.00   0.00   0.05
606S9001 Riverside      CA        73.7      75.9     0.00   0,15     0.00   0.00   0.01    0.00    0.00   0.00    a.DO    0.00    O.lli   0.00    a.DO   o.oo    0.00    0.00   0.02    0.05    0.00    0.00    0.04    0.00   0.00    0.01

                                            75.9     0.00   0.30     0.00   0.00   D.00    0.00    0.00   0.00    0.00    0.00    0.57    0.00    0.00   0.00    0.00    0.00   0.01    0.00    0.00    0.00    0.20    0.00   o.oo    0.00
60610012 Sacramelllo    CA        74.5                                                                                                                                                                                         0.00    0.00
60675003 Sammento       CA        69.9      71.3     0.00   0.44     0.00   0.00   0.00    0.00    0.00   a.OO    0.00    o.oo    0.45    0.00    0.00   0.00    0 .00   0.00   0.00    0.00    0.00    0.00    0.14    0.00

60710005 San Bernardino CA        91i.2     91.1     0.00   0.25     0.00   0.00   0.0J     0.00   0.00   0.00    0.00    0.02    0.20    0.00    0.00   0.00    o.oo    0.00   0.13    0.03    0.00    0.00    0.01    0.00   0.00    0.01

60710012 San Bemanlino CA         14. 1     15.8     0.00   0.15     0.00   o.oo   0.07     0.00   0.00   0.00    0.00    0.01    0.11    0.00    0.00   0.00    o.oo    0.00   0.12    0.06    0.00    0.00    0.04    0.00   0.00    0.03
                                                                            0.00   0.01     0.00   0.00   0.00    0.00    0.00    0.14    0.00    0.00   0.00    0.00    0.00   0.04    0.01    0 .00   0.00    0.114   0.00   0.00    0.00
60710306 San kmanlino CA          76.2      77.4     0.00   0.06     D.00
                                                                                   0.08     0.00   0.00   0.00    0.00    0.02    0.15    0.00    0.00   0.00    0.00    0.00   0.22    0.114   0.00    0.00    0.05    0.00   0.00    0.01
60711004 San Bernardino CA        89.8      9LD      0.00   0 .14    0.00   0.00
601U002 Sankmardino CA            93.1      95.D     0.00   0.16     0.00   0.00   003      0.00   0.00   0.00    0.00    0.01    0.23    0.00    0.00   0.00    0.00    0.00   0.13    0.01    o.oo    0.00    o.oa    0.00   0.00    0.00
                                                                                   0.02     0.00   0.00   0.00    0.00    0.00    a .15   0.00    0.00   0.00    0.00    0.00   0.03    0.01    0.00    0.00    0.05    0.00   0.00    0.00
60714001 San Bernardino CA        16.0      88.5     0.00   0.19     0.00   0.00
                                                                                   a.oz     0.00   0.00   0.00    0.00    0.01    0 .25   a.OD    0.00   0.00    0.00    a.DO   0.12    O.OI    0.00    0.00    0.15    0.00   0.00    0.01
60114003 San Bemardlno CA         94.1      95.1     0.00   0.21     0.00   0.00
                                                                            0.00   0.10     0.00   0.00   0.00    0.00    0.05    0.10    0.00    0.00   0.00    0.00    0.00   0.28    0.05    0.00    0.00    a.oi    0.00   0.00    0 .04
601190D2 San Bomatdlno CA         80.0      8L4      0.00   0.14     0.00
60719004 San lle,Nrdlno CA        11.4      88.7     0.00   0.20     0.00   0.00   0.02     0.00   0.00   0.00    0.00    0.01    0.23    0.00    o.oo   0.00    D.00    0.00   0.11    0.07    0.00    0.00    0.14    0.00   0 .00   0.01

li09'JOOOli Stanislaus  CA        74.8      75.7     0.00   0.24     0.00   0.00   0.00     0.00   0.00   0.00    0.00    0.00    0.47    0.00    0.00   0.00    0.00    0.00   0.01    o.os    0.00    0.00    0.11    0.00   0.00    0.01
                                                                                           0.00    0.00   0.00    0.00    0.00    0.11    0.00    0.00   0.00    0.00    0.00   0.01    0.00    0.00    0.00    0.03    0.00   0.00    0.00
61070006 Tulan,         CA •      69.1      7L9      0.00   0.05     0.00   0.00   0.01
 61070009 Tulare        CA        76.l       77.2    0.00    0.11    0.00   0.00   0.01    0.00    0.00   0.00    0.00    0.111   0.21    0.00    o.oo   0.00    0.00    0.00   0.02    0.00    a.DO    0.00    0.07    0.00   0.00    0.00
                                                                                           0.00    0.00   0.00    0.00    0.00    0.32    0.00    0.00   0.00    0.00    0.00   0.01    0.00    a.00    0.00    0.16    0.00   0.00    0.00
 61012002 TIiiar■       CA        61.9       7L4     0.00    0.11    0.00   0.00   0.01
                                                                                           0.00    0.00    a.oo   0.00    o.oo    0.40    0.00    0.00   0.00    0 .00   0.00   0.01    0.00    0.00     0.00   0.17    a.OD   0.00    0.00
 61072010 Tulan,        CA        73.1       73.9    0.00    0.20    0.00   0.00   0.00
                                                                                   a.as    0.00    0.00    0.00   0.00    0.02    0 .16   o.oo    0.00   0.00    a.OO    0.00   0.13    D.08    0.00     0.00   0.08    0.00   0.00    0.03
 61112002 veneura       CA        70.S       72.2    0.00    0 ,18   0.00   0.00




                                                                                                          C·6
 Case: 23-3216                 Document: 32-3                   Filed: 06/16/2023              Page: 185




Contributions to 2023 Nonattainment and Maintenance Sites in California (Part 3)                                 C
                                        2023      2023              C;ina~/
    SlU!ID       County        State   A~r;ige   Mnlmum    Trlb,I   Me1co Offshore   Are     Bo~ndary Blogenlc
    60190007 Fresno            CA       79.2      79.4      0.00     D.29   1.19     1.39     32.52     6.85
    60190011 Fresno            CA       78.6      81.2      D.DI     0.33   1,13     U2       32.34     6 .78
    60190242 Fresno            CA       79.4      82.2      0.00     0.31   124      1.48     3492      7,88
    601'4001 Fresno            CA       73.3      74.4      0.00     0.12   168      0.87     27.76     7.90
    60195001 Fresno            CA       79.6      81.2      o.oo     D.2D   1.75     1.12     32.10     7.66
    60250005 Imperial          CA       7).3      74.6      0.01     19.87  1.17     0,71     38.68     2.11
    60251003 Imperial          CA       79.0      80.0      0.01     18.74  1,14     0.61     43.58     2.08
    60290007 Kem               CA       77.7      81.3      0.00     0.30   159      3.27     33.68     7.70
    60290008 Kem               CA       71.3      72.8      0.01     0.67   196      105      n.n       7,30
    60290014 Kem               CA       74.1      75.2      0.00     0.31   168      0.85     31.31     7.37
    60290232 Kom               CA       73.7      7S.Z      0.00     0.13   167      1.11     29.43     7,73
    60295002 Kern              CA       75.9      76.B      0.00     0.35   134      3.80     33.45     7.68
    60296001 Kt,m              CA       70.9      72.4      o.oo     0 ,50  1.59     0.63     30.55     7.98
    60370002 Los Anaeles       CA       73.3      7S.I      0.01      1.47  3.53     0.82     24.67     l.15
    6037001& Los Anaeles       CA       86.1      88.9      0.01      1.73  4.14     0.97     28.98     2.53
    603712D1 Los Angeles       CA       79.B      79.8      0.02      1,74  4.20     1.29     32.92     2.83
    60371701 Los An&rles       CA       78.1      79. 1     0.01      1.82  4.16     0.97     25.57     2.35
    60372005 Los An&rles       CA       7Z.3      74,6      0.01      1,76  4.10     1.17     24.34     2.37
    60376012 Los An&rles       CA       85,9      87.4      0.02      2,27  4.69     1.22     32.85     3.43
    60379033 los An&rles       CA       76.3      77.2      0.01      LB2   3.52     0,4S     40.73     2.75
    60392010 Madera            CA       72.1      72.9      o.oo      0.23  J.22     1.30     32.12     7,30
    60470003 Merced            CA       69.9      71.0      0.00      0.37  1.94     Ll2      30.92     S.97
    60650004 R~slde            CA       76. 7     76.7      0.01      1.37  3.64     o.n      2S.79     2.34
    60650012 Riverside         CA       83.6      85.1      0.00      t.30  3.33     0.31     36.4B     2.66
    606510Ui Rlvenlde          CA       85.2      85.5      0.00      1.60  3.00     3.09     38.71     2.54
    60652002 Rl..:rslde        CA       72.4      730       0.01      2.29  L39      2.24     46.66     2.08
    6065S001 IU..:nlde         CA       79.5      BO.I      0.01      2.71  2.67     3.03     42.81     2 40
    60656001 Ri..:rslde        CA
                                                                                                                 0
                                        78.3      816       0.00      1.13  4.03     0.53     30.14     255
    60658001 Rifflslde         CA       87.0      87.9      0.01      1.76  4,77     0.77     28.27     2.68
    60658005 Riverside         CA       83.2      84.4      0.01      1.68  4.56     0.73     27.04     2 57
    606S9001 Riverside         CA       13.7      75.9      0.00      1.71  4.96     1.03     25.56     2.43
    6067D012 Sacramento        CA       14.S      75.9      0.00      0.12  0.88     L16      29.33     S.92
    60675003 Sacramento        CA       69.9      71 3      0.00      0.06  0 ,79    1.26     26.47     6,04
    6071D005 San Berna1dl110   CA       96.2      98.1      D.00      1.36  3,68     0.44     38.71     2. 77
    6071001Z 5an lernardl110   CA       84.1      as.a      0.02      133   U3       0.33     53.12     193
    60710306 San Bernardl110   CA       76.2      77.4      0.00      0.67  2.10     0.50     40.62     202
    60711004 San Bernardl110   CA       89.8      91.0      0.DI      2.D3  4.00     0.9S     31.07     2.74
    60712002 San Berna1dl110   CA       93.1      95.0      0.00      1.58  4.58     0.7S     31.34     2.82
    60714001 5an Berna1dl110   CA       B6.D      88.S      0.00      D.91  2.&9     0.37     37.56     2.45
    60714003 San Bernanll110   CA       94.1      9S.B      0 .00     0.98  4.15     0.69     31.70     2,90
    60719002 San Bernardino    CA       80.0      8L4       0,01      2.80  2.23     320      45.72     2.29
    60719004 San Bernardino    CA       88.4      88.7      0.00      0.92  3.90     0.65     29.78     2.72
    60990006 Stanislaus        CA       74.8      75.7      0.00      0.34  U9       1 .77    30.24     5.06
    61070006 Tulare            CA       69.1      7L9       0,00      D.33  0 .55    4 43     53.61     2.46
    61070009 Tulare            CA       76.1      77.2      0.00      0.43  144      340      39.41     7.08
    61072002 Tulare            CA       68.9      71.4      0.00      o.n   158      0 .95    26.BB     7.42
    61072010 Tulare            CA       73.1      73.9      O.DO      0.15  1-78     1,17     30.26     8.67
    61112002 Ventura           CA       70.5      72.2      0.01      1.65  4.60     101      29,69     2,75




                                                                                                                 (_
                                                          C-7
       Case: 23-3216   Document: 32-3   Filed: 06/16/2023   Page: 186




 C




'''-
                         Case: 23-3216                      Document: 32-3                       Filed: 06/16/2023     Page: 187




                                    STATEMENT OF CONSIDERATION
C                                 Relating to the Proposed SIP Revision for the
                              2015 Ozone Infrastructure State Implementation Plan

                                        Energy and Environment Cabinet
                                Kentucky Department for Environmental Protection
                                            Division for Air Quality

    Response to Comments for Kentucky's proposed SIP submittal to address Clean Air Act
    (CAA) Sections llO(a)(l) and (2), regarding the 2015 ozone National Ambient Air Quality
    Standards (NAAQS) Infrastructure State Implementation Plan (I-SIP).
    Beginning August 23, 2018 until September 21, 2018, the Energy and Environment Cabinet
    (Cabinet) provided an opportunity for the public to review and comment on the proposed SIP
    revision addressing CAA sections l I0(a)(l) and (2) for the 2015 ozone NAAQS. The Cabinet
    made available the public notice of the comment period and public hearing on the Division for
    Air Q~ality's website, and mailed the public notice to interested individuals registered on the
    regulatory mailing lists maintained by the Cabinet.
    The following people submitted written statements during the public comment period:


0                                                                                                Title/Agency/Organization/Entity/Other

    Scott Davis..............................................                                    U.S. EPA
    Steven E. Flint, PE.....................................                                     Director, Division of Air Resources of New
                                                                                                 York State
                                                                                                 Department of Environmental Conservation
    David M. Flannery. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   Legal Counsel, Midwest Ozone Group
    Jason Wilkerson............ ............................                                     Senior Environmental Engineer, LG&E and
                                                                                                 KU Energy
    Aaron Messing, Matthew E. Miller..................                                           Legal Fellow and Staff Attorney of Sierra
                                                                                                 Club

    A public hearing was conducted on September 21, 2018, at 10:00 a.m. at 300 Sower Boulevard
    in Frankfort, Kentucky.

    The following people attended this public hearing:

    Name                                        Title/Agency/Organization/Entity/Other                                    Testimony
    Brian Clark                                 Executive Director, Kentucky Petroleum Marketers                             No
    Stephanie Stumbo                            Attorney, Goss Samford Attorneys at Law                                      No
    Larry Taylor                                Environmental Scientist Consultant,                                          No
                                                Office of the Commissioner, DEP

C
                                                                                           1
             Case: 23-3216          Document: 32-3            Filed: 06/16/2023         Page: 188




The following people from the Division for Air Quality attended this public hearing:
Name and Title                                                                                                           C
Lauren Hedge, Environmental Scientist (Cabinet Representative)
Anna Bowman, Environmental Scientist


                             Summary of Comments and Responses

1. Comment: The modeling performed by Alpine Geophysics (Alpine) in support of
Kentucky's 2015 ozone interstate transport SIP determined downwind nonattainment
monitors in 2023 and evaluated the significance of upwind states contributions for the
2015 ozone national ambient air quality standards (NAAQS) based on alternative
flexibilities and/or analytics proposed in the EPA' s March 27, 2018 Memorandum
(Information on the Interstate Transport State Implementation Plan Submissions for the
2015 Ozone NAAQS under the Clean Air Act Section 1 J0(a)(2)(D)(i)(I). As discussed on
page 50 of the SIP submission, the use of these flexibilities provide alternative results than
the EPA's 2023 modeling platform in terms of downwind receptors and Kentucky' s
projected contribution. We would like to have further discussions on these differences and
below provide examples.

    a. Page 51 - Alpine projects the Harford County, Maryland, monitor as a nonattainment
       receptor with an average design value of 71.1 parts per billion (ppb). In the submittal,                      Q
       Kentucky indicates that the EPA's modeling platform did not account for newly
       announced unit retirements, fuel switching and modifications. Please identify any
       specific emission reductions anticipated in the downwind state that Kentucky believes
       were not accounted for in the EPA's modeling. To the extent that Kentucky believes
       anticipated emission reductions would address the average design value of 71.1 ppb
       identified in the Alpine modeling, Kentucky should also explain how such reductions
       would address maintenance concerns at this same receptor, given both the EPA
       modeling and the Alpine modeling identified a maximum design value of73.3 ppb and
       73.5 ppb, respectively.

Response: The Cabinet acknowledges this comment. The Cabinet has amended the language
on pagel9, within Kentucky's proposed 2015 ozone I-SIP, to reflect the use ofEPA's 1 ppb
threshold from its August 31, 2018 memo. 1 The Cabinet believes the 1 ppb threshold is a sound
alternative in identifying emissions contributions. EPA's memo states, "Thus, the use of a 1 ppb
threshold to identify linked upwind states still provides the potential, at step 3, for meaningful
emissions reductions in linked upwind states in order to aid downwind states with attainment
and maintenance of the 2015 ozone NAAQS." Further, as stated in the EPA v. EME Homer
City Generation case. "EPA does not view the obligation under the good neighbor provision as

1
  EPA, Analysis ofContribution Thresholds/or Use in Clean Air Act Section 1 J0(a}(2}(D)(i)(I) Interstate Transport   (
State Implementation Plan Submissions for the 20 I 5 Ozone National Ambient Air Quality Standards. (August 31,
2018)


                                                         2
                Case: 23-3216         Document: 32-3          Filed: 06/16/2023         Page: 189




    a requirement for upwind states to bear all of the burden for resolving downwind air quality
C   problems. Rather, it is an obligation that upwind and downwind states share responsibility for
    addressing air quality problems. If, after implementation of reasonable emissions reductions by
    an upwind state, a downwind air quality problem persists, whether due to international
    emissions or emissions originating within the downwind state, the EPA can relieve the upwind
    state of the obligation to make additional reductions to address that air quality problem. But the
    statute does not absolve the upwind state of the obligation to make reasonable reductions in the
    first instance."2 Kentucky has made the necessary reasonable reductions, which can be found
    within the Emission Trends section of the proposed 2015 ozone I-SIP, starting on page 30.
    EPA's EGU modeling platform for 2023 emissions did not account for the planned shutdown of
    units 1 and 2 at the E.W. Brown facility in February of 2019 which would reduce Kentucky
    emissions by another 471 tons of NOx. The Cabinet concludes that EPA's on-the-books
    regulations and controls, as well as enforceable permit conditions, will continue to limit any
    impact to the maintenance monitor from Kentucky sources.

       b. Page 53 - Kentucky says that the EPA" ... did not run separate models to assess how
          much the emissions from Canada and Mexico contributed to monitors within the
          U.S. Alpine determined that accounting for the contribution of emissions from
          Canada and Mexico would impact the attainment status of several monitors." The
          EPA believes these statements blend different aspects of accounting for
          contributions from Canada and Mexico. Specifically, the EPA did provide separate
          contribution data for emissions from in the portions of Canada and Mexico within

0         the modeling domain, as did Alpine. However, Alpine applied these contributions to
          the projected 2023 design values to lower the design values by the amount of
          contribution from Canada and Mexico. Please provide more information to support
          the technical basis for this approach to calculating design values. The application of
          this approach does not address the maintenance concerns at this same receptor, given
          both the EPA modeling and the Alpine modeling identified a maximum design value
          of 73.3 ppb and 73.5 ppb, respectively, and would still be above the NAAQS even
          without inclusion of the 2023 Canada and Mexico contributions.

    Response: The Cabinet acknowledges this comment. International emissions may
    significantly contribute to the maintenance monitor referenced above. To clarify, the
    Cabinet included the Alpine modeling to more accurately account for the contributions
    from international transport. As such, EPA's modeled contribution underestimates the
    international contributions and overestimates the impacts of emissions from Kentucky
    sources on the maintenance monitor.

        c. Pages 54-55 - Kentucky suggests that the degree of reductions required of upwind
           states linked to maintenance receptors should be different than that required for
           upwind states linked to nonattainment receptors. However, Kentucky does not
           propose how the obligations of upwind states should differ for the former group of
           upwind states. As noted, the EPA's modeling links emissions from Kentucky to one

C   2 81 FR 74504, 81 FR 74536 (Oct. 26, 2016); Cross-State Air Pollution Rule Update for the 2008 Ozone NAAQS



                                                          3
            Case: 23-3216          Document: 32-3          Filed: 06/16/2023         Page: 190




        maintenance receptor in Harford County, Maryland, based on the I ppb threshold. The                   (
        Alpine modeling identifies this receptor as nonattainment, which Kentucky asserts
        would have an average design value below the NAAQS if certain other factors,
        addressed in priorcomments, were considered. The EPA notes that the obligation to
        address maintenance of the NAAQS also applies to receptors identified as
        nonattainment receptors. Therefore, considering the results of either modeling
        platform, Kentucky should explain how it has addressed its projected interference to
        maintenance of the NAAQS at the Harford County receptor.
        (Scott Davis, U.S. EPA)

Response: The Cabinet acknowledges this comment. As provided on pages 20-30, the
permanent and enforceable measures to address the requirements of CAA section
11 0(a)(2)(D)(i)(I) control the emissions of NOx and VOC from Kentucky sources that may
impact downwind maintenance receptors. Additional reductions and downward trends of
NOx emissions from point sources in Kentucky are detailed on pages 30-33 of the proposed
SIP. Further, on pages 40-45 of the proposed SIP, the Cabinet details the local contributions
influencing the Harford maintenance monitor and the local controls that can be implemented
to reduce ozone levels. As stated by the Midwest Ozone Group (MOG), "When an area is
measuring nonattainment of a NAAQS, as is the case with the areas linked to Kentucky, the
Clean Air Act (CAA) requires that the effects and benefits of local controls on all source sectors
be considered first, prior to pursuing controls of sources in upwind states. CAA § 107(a) states
that "[e]ach State shall have the primary responsibility for assuring air quality within the entire           Q
geographic area comprising such State." In addition, CAA§ l lO(a)(l) requires that a state SIP
"provides for implementation, maintenance, and enforcement" of the NAAQS "in each air
quality control region...within such State." Moreover, by operation of law, additional planning
and control requirements are applicable to areas that are designated to be in nonattainment."3



2. Comment: The analysis of Step 1 and Step 2 includes an intricate combination of the EPA's
12-kilometer (km) modeling and Alpine's 4-km modeling. The outcome of this approach
appears to be that Kentucky is linked for nonattainment and maintenance (i.e. prong 1 and
prong 2) to the receptor in Harford County, Maryland where the 2023 average design value for
this site based on Alpine's modeling is 71.1 ppb. The approach in the SIP involves mixing and
matching the contribution data from the EPA' s modeling with design values from Alpine's
modeling. The EPA is unclear as to how this additional information would provide a basis to
conclude that Kentucky does not significantly contribute to downwind receptors. An
alternative, more straightforward approach would be to rely entirely upon the EPA' s projected
design values and contribution data and apply the 1 ppb screening threshold established in the
EPA' s August 31, 2018 Memorandum to the contributions from Kentucky to downwind
receptors. Specifically, the EPA's modeling projects that the Harford site will be a
maintenance-only receptor with a 2023 average design value of 70.9 ppb. See Analysis of

3
 Flannery, David M. (Midwest Ozone Group), Praposed Infrastructure State Implementation Plan Related to the
20/5 Ozone NAAQS. 21 Sep 2018: Page 9.
                                                                                                              C
                                                      4
               Case: 23-3216       Document: 32-3       Filed: 06/16/2023     Page: 191




    Contribution Thresholds for Use in Clean Air Act Section 110(a)(2)(D)(i)(I) Interstate
C   Transport State Implementation Plan Submissions for the 2015 Ozone National Ambient Air
    Quality Standards. The EPA's modeling also shows that this site is the only receptor to which
    Kentucky contributes above 1 ppb. Thus, under this approach Kentucky would only be linked
    to the maintenance receptor in Harford County, Maryland.
    (Scott Davis, U.S. EPA)

    Response: The Cabinet acknowledges this comment. In accordance with 40 CFR 51.102, the
    Cabinet made the proposed SIP available for public review and comment on August 23, 2018.
    On August 31, 2018, EPA published a memo regarding the analysis of contribution thresholds
    for use in CAA section l 10(a)(2)(D)(i)(I) interstate transport SIP submissions for the 2015
    ozone NAAQS. After review of the memo, the Cabinet concurs with EPA's assessment of the
    1 ppb threshold and that the Harford monitor is considered a maintenance monitor.


    3. Comment: The SIP refers to a number of expected electricity generating units (EGU)
    closures, plans for fuel-switching, and other actions that are expected to reduce future
    nitrogen oxide (NOx) emissions in Kentucky (page 31). As indicated in comment 1
    above, in the SIP revision, please identify which of these actions were not accounted for
    in the EPA's 2023 modeling. Also, in support of Kentucky's analysis, please provide an
    estimate of the anticipated ozone season NOx emissions reductions from these actions in
    2023. The EPA encourages Kentucky to include information about NOx reduction

0   efforts, costs, and air quality impacts which may help provide the Agency with
    additional rationales for why further NOx reduction is not needed. In addition, Kentucky
    should consider including information related to steps 3 (identification of emissions
    reductions necessary - considering costs and air quality factors - to prevent an identified
    upwind state from contributing significantly to those downwind monitors) and 4 of EPA'
    s traditional 4-step framework. This discussion should include information about EGU
    as well as non-EGU sources. If the Commonwealth intends to rely on the anticipated
    reductions related to these facilities as measures to address its contribution to downwind
    receptors, then the Commonwealth would need to consider providing a separate SIP
    revision that incorporates these emission reductions into the SIP and demonstrates how
    the reductions at these facilities will affect the receptors to which the Commonwealth is
    linked.
    (Scott Davis, U.S. EPA)

    Response: The Cabinet acknowledges this comment. EPA's EGU modeling platform for
    2023 emissions did not account for the planned shutdown of units 1 and 2 at the E.W. Brown
    facility in February of 2019 which would reduce Kentucky's NOi( emissions by another 4 71
    tons. Kentucky emissions have decreased significantly as detailed in the Emission Trends
    section of the proposed 2015 ozone I-SIP, starting on page 30. EPA' s updated modeling, along
    with the 1 ppb threshold memo, show Kentucky significantly contributing to one maintenance
    monitor located in Harford, Maryland. Pages 40-45 of the proposed SIP, discusses the local

C   contributions influencing the Harford maintenance monitor and the local controls that can
    be implemented to reduce ozone levels. The Cabinet does not agree that maintenance

                                                    5
           Case: 23-3216       Document: 32-3       Filed: 06/16/2023      Page: 192




monitors should require the same magnitude of reductions as nonattainment monitors from
upwind states. The benefits of local controls on all source sectors should be considered first,
prior to pursuing controls of sources in upwind states. Additionally, the Cabinet agrees with
                                                                                                    C
EPA's ruling "that section l lO(a)(2)(D)(i)(I) of the CAA only requires upwind states to prohibit
emission that will significantly contribute to nonattainment or interfere with maintenance of the
NAAQS in other states. It does not shift to upwind states the full responsibility for ensuring
that all areas in downwind states attain and maintain the NAAQS." (81 FR 74515)


4. Comment: To obtain full approval for prong 4, a state can either rely on a fully
approved regional haze SIP or provide a demonstration in its infrastructure SIP submission
that emissions within its jurisdiction do not interfere with other air agencies' plans to
protect visibility. The EPA acknowledges Kentucky's ongoing work to obtain a full
approval of its regional haze SIP, including a pending SIP submission that would change
the Commonwealth's reliance from the Clean Air Interstate Rule to the Cross-State Air
Pollution Rule for for [sic] certain regional haze requirements.
(Scott Davis, U.S. EPA)

Response: The Cabinet acknowledges the comment. On September 4, 2018, the Cabinet
submitted a proposed revision to the Kentucky Regional Haze SIP requesting EPA to
change Kentucky's reliance from the Clean Air Interstate Rule (CAIR) to reliance on the
Cross State Air Pollution Rule (CSAPR) to satisfy Best Available Retrofit Technology
(BART). The proposed submittal was provided to Federal Land Managers (FLMs) for a
                                                                                                    Q
60-day review and comment period. The public comment period closed October 4, 2018.
The Cabinet intends to submit a final revision in the near future.


5. Comment: Kentucky's prehearing submittal discusses use of a 1.0 ppb threshold in relation to
the 2015 EPA Significant Impact Level (SIL) guidance. On April 17, 2018, the EPA released
guidance on ozone and particulate matter significant impact levels (SILs) for the prevention of
significant deterioration (PSD) permitting program. The EPA has not made the determination
that the SIL, developed for source-specific (PSD) purposes, could be considered an appropriate
threshold to use when assessing contribution from an entire-state. The EPA's August 31, 2018,
memorandum regarding use of a 1.0 threshold, stated that the amount of upwind collective
contribution captured with the l percent and 1.0 ppb thresholds was generally comparable and
that it may be reasonable and appropriate for states to use a l ppb contribution threshold. The
EPA recommends Kentucky consider referring to this memorandum as part of its rationale for
comparing its contribution to a 1 ppb threshold. See Memorandum from Peter Tsirigotis,
Director, OAQPS to Regional Air Division Directors, re: Analysis of Contribution Thresholds
for Use in Clean Air Act Section l lO(a)(2)(D)(i)(I) Interstate Transport State Implementation
Plan Submissions for the 2015 Ozone National Ambient Air Quality Standards, available at
https://www.epa.gov/sites/production/files/2018-
09/documents/contrib thresholds sip subm 2015 ozone memo 08 31 18.pdf. If Kentucky
believes it is appropriate to use the 1 ppb threshold in its SIP development, then the              (
Commonwealth would only be linked to one potential maintenance receptor for the 2015 ozone


                                                6
               Case: 23-3216       Document: 32-3       Filed: 06/16/2023      Page: 193




    NAAQS in the EPA's 2023 air quality modeling in Harford County, Maryland (which Alpine
C   modeling identifies as a nonattainment receptor). The EPA notes that the contribution threshold
    alone was not intended to represent a "significant contribution" as suggested on page 51 of the
    SIP submission, but rather a contribution that merits more consideration to determine if a state
    impacting a downwind receptor above that threshold will significantly contribute to
    nonattainment or interfere with maintenance of the NAAQS.

    Response: The Cabinet concurs with the comment and has updated the narrative on page 19.


    6. Comment: On page 31 of the prehearing submission, the EPA notes that Kentucky cites to
    the Cross-State Air Pollution Rule (CSAPR) Update as part of its interstate transport
    demonstration for the 2015 ozone NAAQS. The Update trading program provides for
    reductions of annual and ozone season nitrogen oxides (NO11) and sulfur dioxide emissions
    from EGUs, and the analyses used to develop the Update rule were based on data and inputs
    specific to addressing downwind nonattainment and maintenance issues for the 1997 and 2008
    ozone NAAQS. The EPA suggests the Commonwealth modify the discussion on page 31 to
    clarify that the CSAPR trading programs were developed to address states' l 10(a)(2)(D)(i)(I)
    obligations for the 1997 and 2008 ozone NAAQS but may provide NO11 emission reduction co-
    benefits for the 2015 ozone NAAQS.
    (Scott Davis, U.S. EPA)


0   Response: The Cabinet concurs with the comment and has updated the narrative which can
    now be found on page 32.


    7. Comment: The EPA recommends that Kentucky include a statement noting that 40 CFR
    5 l.308(i)(4) requires states to maintain continuing consultation procedures with the Federal
    Land Managers regarding any regional haze plan (or plan revision), and includes progress
    reports, and that Kentucky maintains such procedures in the Commonwealth's regional haze
    plan and progress report.
    (Scott Davis, U.S. EPA)

    Response: The Cabinet acknowledges the comment. The Code of Federal Regulations (CFR)
    reference regarding continuing consultation procedures with the FLMs has been changed to "40
    CFR 51 .3080)(4)" and a statement concerning this requirement has been added to the narrative
    on page 58. The Cabinet maintains these required consultation procedures in our regional haze
    plan, and submitted our progress report for the first regional haze implementation period on
    September 17, 2014. EPA approved this progress report on October 12, 2017 (82 FR 36707).


    8. Comment: 401 KAR 51 :240 (CSAPR NO11 Annual) and 401 KAR 51 :250 (CS APR NO"
    Ozone Season) are currently listed with other SIP-approved provisions. The EPA suggests that
    the Commonwealth provide a note that it provided these regulations for approval into the SIP
C   on September 13, 2018.

                                                    7
            Case: 23-3216        Document: 32-3          Filed: 06/16/2023        Page: 194




(Scott Davis, U.S. EPA)

Response: The Cabinet concurs with the comment and has updated the narrative.
                                                                                                     C
9. Comment: DEC commends Kentucky on the reductions in ozone precursor emissions to
date, but requests that KY DEP take additional measures to resolve its current significant
contributions to the NYMA for the 2015 ozone NAAQS, rather than waiting to see whether its
contributions are resolved years into the future. Most importantly, KY DEP should make
enforceable commitments for all control measures and operational changes (e.g., unit
shutdowns) discussed in this transport analysis.
(Steven Flillt, New York Division of Air Resources)

Response: The Cabinet does not concur with the comment. Pages 32-33 within Kentucky's
proposed 2015 ozone I-SIP discuss additional emission reductions as a result of conversions
from coal to gas and permanent closures. Additionally, the Cabinet includes enforceable
limitations in the Title V operating permits issued to Kentucky EGUs. All operational changes
are enforced through permitting actions. Furthermore, as discussed on 39 within Kentucky's
proposed 2015 ozone I-SIP, when additional EGUs operate on High Electric Demand Days
(HEDD), NOx emissions increase, which contributes to higher monitored ozone levels.
According to the HEDD Initiative conducted by the Ozone Transport Commission (OTC), most
Simple Cycle (SC) turbine units in New York, also referred to as peakers, were installed prior to
1987; peakers installed prior to 1987 emit NOx at a significantly higher rate than those installed
after 1987.4 During the OTC/MANE-VU Joint Committees' Meeting held on September 21,
                                                                                                     0
2018, New Jersey presented their analysis of an ozone event in the Ozone Transport Region.
The analysis concluded that 50% of Simple Cycle (SC) units in New York are significant
contributors to NOx rates greater than 2.8/MWhr, 20% of SC units emit well over 10 lb/MWhr,
and 21 units emit greater than 20 lb/MWhr. 5 The Cabinet urges New York to implement local
controls first before placing unreasonable burden on Kentucky to implement more controls.


10. Comment: Without enforceable emission limits being implemented at facilities as assumed
in the faulty 2023 modeling, there is no guarantee that any emission reductions will actually
occur. This serves to underrepresent the extent of downwind nonattainment and maintenance
issues, and minimizes the extent of ozone transport from upwind states such as Kentucky.
Additional monitors in the New York City metropolitan area, including in New York State,
would likely be shown to be significantly impacted by Kentucky if not for the various issues in
EPA's modeling. Irrespective of projected future design values and emissions contributions,
Kentucky is obligated to resolve its current significant contributions to the New York City

4
  "Background, High Electric Demand Day (HEDD) Initiative", New York Department of Environmental
Conservation. hup://m_idwcstozonegroup.com/filcs/Ncw York Pcakcrs.pptx
s "OTC/MANE-VU Joint Committees' Meeting", Ozone Transport Commission.
https://otcair.org/upload/Doc umcnts/Mccting%20Matcrials/OTC SAS, Public 09212018.ndf
                                                                                                     C
                                                    8
                Case: 23-3216         Document: 32-3         Filed: 06/16/2023        Page: 195




    metropolitan area, which continues t~ record exceedances of the 2008 and 2015 ozone NAAQS.
C   (Steven Flint, New York Division of Air Resources)

    Response: The Cabinet does not concur with the comment. EPA's March 27, 2018 updated
    modeling does not link Kentucky to any downwind monitors located in New York. Further, the
    August 31, 2018 EPA memo demonstrates that Kentucky does not significantly contribute to any
    downwind nonattainment monitors. As discussed on pages 38-39 within Kentucky's proposed
    2015 ozone I-SIP, when additional EGUs operate on High Electric Demand Days (HEDD), NOx
    emissions increase, which contributes to higher monitored ozone levels. According to the
    HEDD Initiative conducted by the OTC, most Simple Cycle (SC) turbine units in New York,
    also referred to as peakers, were installed prior to 1987; peakers installed prior to 1987 emit NOx
    at a significantly higher rate than those installed after 1987.6 During the OTC/MANE-VU Joint
    Committees' Meeting held on September 21, 2018, New Jersey presented their analysis of an
    ozone event in the Ozone Transport Region. The analysis concluded that 50% of Simple Cycle
    (SC) units in New York are significant contributors to NOx rates greater than 2.8/MWhr, 20% of
    SC units emit well over 10 lb/MWhr, and 21 units emit greater than 20 lb/MWhr. 7 The Cabinet
    urges New York to implement local controls first before placing unreasonable burden on
    Kentucky to implement more controls.


    11. Comment: KY DEP claims that "NOx emissions from EGUs will continue to decrease
    with the implementation of the CSAPR Update," along with unit retirements. Despite the
0   CSAPR Update being fully implemented, Kentucky sources have not been optimizing their
    existing controls and NYMA continues to monitor NAAQS exceedances, due in large part to
    pollution transport from upwind states like Kentucky.
    (Steven Flint, New York Division ofAir Resources)

    Response: The Cabinet does not concur with the comment. EPA's March 27, 2018 updated
    modeling does not link Kentucky to any downwind monitors located in New York. Further, the
    August 31, 2018 EPA memo demonstrates that Kentucky does not significantly contribute to any
    downwind nonattainment monitors. As discussed on pages 38-39 within Kentucky's proposed
    2015 ozone I-SIP, when additional EGUs operate on High Electric Demand Days (HEDD), NOx
    emissions increase, which contributes to higher monitored ozone levels. According to the
    HEDD Initiative conducted by the OTC, most Simple Cycle (SC) turbine units in New York,
    also referred to as peakers, were installed prior to 1987; peakers installed prior to 1987 emit NOx
    at a significantly higher rate than those installed after 1987.8 During the OTC/MANE-VU Joint
    Committees' Meeting held on September 21, 2018, New Jersey presented their analysis of an

    6 "Background, High Electric Demand Day (HEDD) Initiative", New York Department of Environmental
    Conservation. hup://midwcstozonegroup.com/filcs/Ncw York Pcpls;crs,pn,tx
    7 "OTC/MANE-VU Joint Committees' Meeting", Ozone Transport Commission.

    hups://otca ir.org/upload/Documents/Mccting%20Matcrials/OTC SAS PuhJic 092J 20 I &.,wf


C   8
      "Background, High Electric Demand Day (HEDD) Initiative", New York Department of Environmental
    Conservation. hllp://midwcs101.0ncuroup.com/filcs/Ncw York Pcakcrs.,ggtx


                                                        9
             Case: 23-3216         Document: 32-3          Filed: 06/16/2023         Page: 196




ozone event in the Ozone Transport Region. The analysis concluded that 50% of Simple Cycle
(SC) units in New York are significant contributors to NOx rates greater than 2.8/MWhr, 20% of
SC units emit well over 10 lb/MWhr, and 2 I units emit greater than 20 lb/MWhr. 9 The Cabinet
                                                                                                                C
urges New York to implement local controls first before placing unreasonable burden on
Kentucky to implement more controls.


12. Comment: First, KY DEP must apply enforceable limits to assure projected emission
reductions take place. The CAA specifically requires SIPs to "include enforceable emission
limitations and other control measures, means, or techniques (including economic incentives
such as fees, marketable permits, and auctions of emissions rights), as well as schedules and
timetables for compliance, as may be necessary or appropriate to meet the applicable
requirements." 10 Indeed, a SIP cannot be considered administratively complete unless it
includes "[e]vidence that the plan contains emission limitations, work practice standards and
recordkeeping/reporting requirements, where necessary, to ensure emission levels." 11 Without
specific enforceable emissions limits and control measures, DEC submits that the SIP is
incomplete and does not meet the requirements of the CAA and implementing regulations. 12
(Steven Flint, New York Division of Air Resources)

Response: The Cabinet does not concur with the comment. The Cabinet includes enforceable
limitations in the Title V operating permits issued to Kentucky EGUs, including the regulatory
requirements of CS APR under 40 CFR Part 97. Additionally, the Permanent and Enforceable
Measures portion of the SIP, in the Element D section, lists the Kentucky Administrative
Regulations that include standards of performance for new and existing facilities, as well as
                                                                                                                Q
RACT requirements, applicable to VOC and NOx-emitting facilities. Furthermore, as stated by
MOG, "When an area is measuring nonattainment of a NAAQS, as is the case with the areas
linked to Kentucky, the Clean Air Act (CAA) requires that the effects and benefits of local
controls on all source sectors be considered first, prior to pursuing controls of sources in
upwind states. CAA § 107(a) states that "[e]ach State shall have the primary responsibility for
assuring air quality within the entire geographic area comprising such State." In addition, CAA
§ 110(a)( I) requires that a state SIP "provides for implementation, maintenance, and
enforcement" of the NAAQS "in each air quality control region ... within such State." Moreover,
by operation of law, additional planning and control requirements are applicable to areas that
are designated to be in nonattainment." 13 The Cabinet has added this language to the document.




9
 "OTC/MANE-VU Joint Committees' Meeting", Ozone Transport Commission.
h1tps://otcair.org£u[?load/Documcn1s/Mccting%20Matcrials/OTC SAS Public 09212018.p<lf

10 42 U.S.C. §741 O(a)(2)(A)


                                                                                                                C
11
   40 CFR Part 51, App. V, §2.2(g)
12
   42 U.S.C. §74 IO(a)(2) and 40 CFR 60.24
13
   Flannery, David M. (Midwest Ozone Group), Proposed Infrastructure State Implementation Plan Related to the
2015 Ozone NAAQS. 21 Sep 2018: Page 9.


                                                      10
                Case: 23-3216         Document: 32-3          Filed: 06/16/2023         Page: 197




    13. Comment: KY DEP should institute emission limits consistent with SCR optimization at
C   all EGUs forecasted by U.S. EPA to operate at a 0.1 lb/mmBtu emission rate in 2023, including
    unit 3 at the Paradise Fossil Plant. 14 While KY DEP touts the shutdown of two coal boilers at
    Paradise, the remaining unit had 2017 ozone season nitrogen oxide (NOx) emissions of 2,425
    tons at an emission rate of 0.223 lb/mmBtu. 15 Had it operated its SCR controls to achieve the
    assumed rate of 0.1 lb/mmBtu, this one unit by itself would have reduced its 2017 ozone season
    NOx emissions by an additional 1,338 tons.
    (Steven Flilll, New York Division of Air Resources)

    Response: The Cabinet does not concur with the comment. The U.S. EPA Air Markets
    Program Data shows in 2017 that New York had a total of 73 units with an emissions rate
    above 0.2 lb/mmBtu, 66 of those units operate above 0.4 lb/mmBtu with emissions rates as high
    as 0.8 lb/mmBtu. The number of units above 0.2 lb/mmBtu in New York is far greater than the
    units in Kentucky, where only 4 of 27 units are above 0.4 lb/mmBtu. In order to prevent over
    control of upwind states, the downwind states should be required to reduce emissions from local
    sources. As stated in the EPA v. EME Homer City Generation case, "EPA does not view the
    obligation under the good neighbor provision as a requirement for upwind states to bear all of
    the burden for resolving downwind air quality problems. Rather, it is an obligation that upwind
    and downwind states share responsibility for addressing air quality problems. If, after
    implementation of reasonable emissions reductions by an upwind state, a downwind air quality
    problem persists, whether due to international emissions or emissions originating within the
    downwind state, the EPA can relieve the upwind state of the obligation to make additional
    reductions to address that air quality problem. But the statute does not absolve the upwind state
    of the obligation to make reasonable reductions in the first instance." 16 Sources within
    Kentucky have made the necessary reasonable reductions, which can be found within the
    Emission Trends section of the proposed 2015 ozone I-SIP starting on page 30.


    14. Comment: Second, KY DEP should implement emission controls on its major stationary
    sources based on a more stringent control threshold. New York and other downwind states,
    such as Connecticut, have already adopted control measures that are considerable more
    stringent than most upwind states. For example, DEC applies Reasonable Available Control
    Technology (RACT) requirements statewide on both EGUs and non-EGUs, at a current cost
    threshold of $5,500 per ton of NOx reduced; meanwhile, many upwind states - including
    Kentucky - unreasonably rely on EPA' s flawed claim that EGU NOx reductions that cost more
    than $1,400 per ton would not be cost-effective. For the 2017 ozone season, emissions from
    Kentucky's electric generating sector were 400% (16,000 tons) greater than electric generating
    emissions in New York, with an average emission rate over 200% higher. 17
    (Stev~n Flint, New York Division ofAir Resources)



    14 "2023en_Engineering_Analysis_Unit_File.xls" workbook released with October 27, 2017 Page Memorandum
    15 U.S. EPA Air Markets Program Data


C   16 81 FR 74504, 81 FR 74536 (Oct. 26, 2016); Cross-State Air Pollution Rule Update for the 2008 Ozone NAAQS
    17 U.S. EPA Air Markets Program Data



                                                         11
            Case: 23-3216          Document: 32-3          Filed: 06/16/2023         Page: 198




Response: The Cabinet acknowledges the comment. The Cabinet includes enforceable
limitations in the Title V operating permits issued to Kentucky EGUs, including the regulatory
requirements of CS APR under 40 CFR Part 97. Additionally, the Permanent and Enforceable
                                                                                                                C
Measures portion of the SIP, in the Element D section, lists the Kentucky Administrative
Regulations that include standards of performance for new and existing facilities, as well as
RACT requirements, applicable to VOC and NOx-emitting facilities. For EGUs, EPA explained
in the CSAPR Update rule the reasoning behind the $1,400 per ton cost threshold, "emission
budgets reflecting the $1,400 per ton cost threshold do not over-control upwind states' emissions
relative to either the downwind air quality problems to which they are linked or the 1 percent
contribution threshold that triggered further evaluation." Furthermore, as discussed on pages 38-
39 within Kentucky's proposed 2015 ozone I-SIP, when additional EGUs operate on High
Electric Demand Days (HEDD), NO" emissions increase, which contributes to higher monitored
ozone levels. According to the HEDD Initiative conducted by the OTC, most Simple Cycle (SC)
turbine units in New York, also referred to as peakers, were installed prior to 1987; peakers
installed prior to 1987 emit NOx at a significantly higher rate than those installed after 1987. 18
During the OTC/MANE-VU Joint Committees' Meeting held on September 21, 2018, New
Jersey presented their analysis of an ozone event in the Ozone Transport Region. The analysis
concluded that 50% of Simple Cycle (SC) units in New York are significant contributors to NO11
rates greater than 2.8/MWhr, 20% of SC units emit well over 10 lb/MWhr, and 21 units emit
greater than 20 lb/MWhr. 19 The Cabinet urges New York to implement local controls first
before placing unreasonable burden on Kentucky to implement more controls.

                                                                                                                0
15. Comment:      While it is true that ozone concentrations are declining over the long term,20
KY DEP ignores current trends at monitors in the NYMA. Presented below are ozone design
value trends for the Stratford and Westport monitors, which show some variation, but both have
design values equal to or higher than in 2009 and exhibit an overall flat or increasing design
value trend since 2009. 21 This trend has developed despite continual NO" and volatile organic
compound reductions from New York, New Jersey, and Connecticut to fulfill their reasonable
further progress obligations pursuant to 2008 ozone NAAQS requirements (with actual
reductions having greatly exceeded the required three percent per year), further highlighting the
need for upwind emission reductions.
(Steven Flint, New York Division of Air Resources)




18
   "Background, High Electric Demand Day (HEDD) Initiative", New York Department of Environme ntal
Conservation. httn:L/midwcstozoncgroup.com/files/Nc w York Pcakcrs.pplx
19
   "OTC/MANE-VU Joint Committees' Meeting", Ozone Transport Commission.
https://otcair.orglupload/Documcn1s/Mcetine%20Matc r jals/OTC SAS Public 09212018.pclf
°
2
   KY DEP's Proposed Infrastructure State Implementation Plan for the 2015 Ozone National Ambient Air Quality
Standards, Table 4 - "Design Values for Kentucky-Linked Downwind Connecticut Monitors"
                                                                                                                C
21
   Note that 2018 design values are preliminary and represent exceedances as or September 5


                                                      12
                Case: 23-3216                Document: 32-3                Filed: 06/16/2023                  Page: 199




C                         0.090


                 - o.oss
                  E
                  CL
                  Q.
                 '-;; 0.080
                 .Q
                  ~
                  ~ 0.075
                  u
                  C
                  0
                  u 0.070

                          0.065



                                             -      Stratford, CT     -      Westport, CT




    Response: The Cabinet does not concur with the comment. The figure below, located on page
    31 of Kentucky's proposed 2015 ozone I-SIP, is comprised of Kentucky EGU ozone season NO~
    emissions from 2008-2017. This figure shows a steady decline of Kentucky EGU emissions
    since 2011. The decline of Kentucky emissions does not correlate with the Connecticut monitors
    referenced in New York's comments. This is further evidence that Kentucky is not a significant
    contributor to downwind receptors in the Northeast.

                 2008-2017 Ozone Season NOx Emissions for Kentucky EGUs (tpy)
             45000

             40000

             35000

             30000

             25000

              20000

              15000

              10000

               5000

                      0
                             2008   2009     2010      2011      2012      2013      2014      2015         2016   2017

                                                          -      NOx Emissions

            Note: Chart 2 dntn obtained from EPA's Air Markets Program Data: hUl)s.1/am['d cpa.gov/am['d/

C
                                                                    13
             Case: 23-3216           Document: 32-3           Filed: 06/16/2023          Page: 200




16. Comment: KY DEP chose to utilize the longstanding contribution threshold of 1% of the
standard (i.e., 0.70 ppb for the 2015 NAAQS),22 though it discussed the validity of using a 1
ppb threshold as an alternative. Despite EPA's August 31, 2018 memorandum analyzing the
                                                                                                                       C
use of a 1 ppb threshold, DEC believes there is not a sound basis for the piecemeal adoption of
such threshold.
(Steven Flint, New York Division of Air Resources)

Response: The Cabinet does not concur with the comment. Refer to page 19 of the Kentucky
proposed 2015 ozone I-SIP, which has been revised to reflect using EPA's 1 ppb threshold from
its August 31, 2018 memo. 23 The Cabinet believes the 1 ppb threshold is a sound alternative in
identifying emissions contributions. EPA's memo states, "Thus, the use of a 1 ppb threshold to
identify linked upwind states still provides the potential, at step 3, for meaningful emissions
reductions in linked upwind states in order to aid downwind states with attainment and
maintenance of the 2015 ozone NAAQS." This avoids putting the over-control burden on
upwind states.


 17. Comment: Rather, the continued use of the 1% threshold is required for consistency across
all states and because it is directly tied to the level of the NAAQS; thus, it is a far superior fit to
the reductions needed for downwind attainment. If upwind states selectively use a higher
contribution threshold while downwind states face a lower, more stringent NAAQS, it will have
the inequitable effect of requiring downwind states to reduce their emissions even more at
greater cost to compensate for upwind states doing even less at lower costs. The contribution
threshold is tied not only to the linkages established under step 2 of the CSAPR framework, but
                                                                                                                       Q
the resulting emissions budgets for upwind states under step 3. It is unreasonable and clearly
inequitable for upwind states, on an ad hoc basis, to use a higher contribution screening
threshold at the same time downwind states face a lower NAAQS. For example, while
contributions from Kentucky are linked to the two Fairfield, CT monitors at the 1% level, the
linkage would not be retained when using a 1 ppb threshold according to the Alpine modeling. 24
Using a higher contribution threshold places the burden of additional reductions at these other
downwind monitors entirely on the downwind states (and potentially on other upwind states
using a l % threshold), despite the demonstrable contribution using the settled l % approach
from Kentucky at these monitors. This is clearly not an equitable or cost-effective solution to
ensuring downwind states such as New York attain the 2015 ozone NAAQS as expeditiously as
practicable, and could mean the difference between attainment and nonattainment.
(Steven Flint, New York Division of Air Resources)

22
   See, e.g., Cross-State Air Pollution Rule (CSAPR), 76 FR 48208, 48236-38 (Aug. 8, 201 l) (using 0.80 ppb as
threshold, which is 1% of the 1997 ozone NAAQS); Cross-State Air Pollution Rule Update (CSAPR Update), 81 FR
74504, 74518 (Oct. 26, 2016) (using 0. 75 ppb threshold, I% of the 2008 ozone NAAQS; "much of the ozone
nonattainment problem being addressed by this rule is still the result of the collective impacts of relatively small
contributions from many upwind states.").
23
   EPA, Analysis of Contribution Thresholds for Use in Clean Air Act Section I /0(a)(2)(D)(i)(l) Interstate Transpon
State Implementation Plan Submissions for the 2015 Ozone National Ambiellt Air Quality Standards. (August 31,
2018)
24
   KY DEP's Proposed Infrastructure State Implementation Plan for the 2015 Ozone National Ambient Air Quality
                                                                                                                       C
Standards, Table 9 - "Kentucky Significant Contribution using 1.0 ppb Significant Threshold"


                                                        14
                 Case: 23-3216           Document: 32-3            Filed: 06/16/2023           Page: 201




    Response: The Cabinet does not concur with the comment and believes the 1 ppb threshold is a
C   sound alternative in identifying emissions contributions. EPA's August 31, 2018 memo states,
    "Thus, the use of a I ppb threshold to identify linked upwind states still provides the potential,
    at step 3, for meaningful emissions reductions in linked upwind states in order to aid downwind
    states with attainment and maintenance of the 2015 ozone NAAQS."25 This avoids putting the
    over-control burden on upwind states.


    18. Comment: Consideration of international emissions also adds support to the conclusion
    that there is no further obligation to reduce emissions: MOO urges that the Cabinet not only
    recognize (as it does on page 53 of its proposal) that consideration of the Canada/Mexico
    component of the Alpine Geophysics modeling is all that is needed to bring the Harford
    Maryland monitor into attainment, but also that but for international emissions there would be no
    downwind problems areas at all and therefore no need to for additional action to be undertaken to
    satisfy the requirements of CAA section 11 0(a)(2)(D)(i)(I).
    (David M. Flannery, Midwest Ozone Group)

    Response: The Cabinet acknowledges the comment.


    19. Comment: Given the dominant role of mobile sources in impacting on ozone air quality,
    MOO urges that the Cabinet offer as an additional basis for its SIP that additional local mobile
    source controls in downwind states are necessary before requiring additional emission
    reductions from upwind states such as Kentucky. We urge that downwind states take full
    advantage of all of the authority provided to each of them under the CAA and to reduce mobile
    source emissions appropriately to assure continued attainment with the 2015 ozone NAAQS.
     (David M. Flannery, Midwest Ozone Group)

    Response: The Cabinet acknowledges the comment. The Cabinet has referenced CAA section
    107(a), encouraging downwind states to first look into local controls on their emission sources
    before expecting upwind states to enforce more strict control measures, which would lead to
    over-control. This solidifies statements that were already within Kentucky's proposed 2015
    ozone I-SIP, which refer to violating monitors located along Interstate 95.


    20. Comment: In the case of Kentucky, EPA's modeling data below show that at the I%
    threshold, Kentucky would be linked to 4 non-attainment monitors and one maintenance
    monitor. Applying the 1 ppb threshold to this data would eliminate any linkage to non-
    attainment monitor reduce to 1 the linkage to any maintenance monitor. Moving to the 2 ppb
    threshold would completely eliminate all linkage to any non-attainment or maintenance
    monitor. We urge the Cabinet to carefully evaluate these additional flexibilities as further
    support for the conclusion that Kentucky has already satisfied the requirements of CAA section

    25 EPA, Analysis of Contribution Thresholds for Use in Clean Air Act Section I JO(a)(2)(D )(i)(I) Interstate Transport


C   State Implementation Plan Submissions/or the 2015 Ozane National Ambient Air Quality Standards; page 4
    (August 31, 2018)

                                                             15
           Case: 23-3216       Document: 32-3        Filed: 06/16/2023      Page: 202




l 10(a)(2)(D)(i)(l).
(David M. Flannery, Midwest Ozone Group)
                                                                                                      C
Response: The Cabinet acknowledges the comment. The Cabinet believes the l ppb threshold
is a sound alternative in identifying emissions contributions and has updated the narrative on
page 19 to rely on EPA's August 31, 2018 memo.


21. Comment: An important flexibility that should be considered is an alternative method for
determining which monitors should be considered "maintenance" monitors. We urge that the
Cabinet offer this alternative calculation of maintenance monitors as an additional statement of
the conservative nature of its conclusions that no further action on the part of Kentucky is needed
to address the requirements of CAA section 110(a)(2)(D)(i)(I).
(David M. Flannery, Midwest Ozone Group)

Response: The Cabinet acknowledges the comment. The Cabinet agrees that EPA's current
method of determining maintenance monitors needs to be re-evaluated.


22. Comment: As an alternative to maintenance monitors being accorded the same weight as
nonattainment monitors, we urge that the Cabinet take the position that no additional control
would be needed to address a maintenance monitor if it is apparent that emissions and air quality
trends make it likely that the maintenance monitor will remain in attainment. Such an approach is
consistent with Section 175A(a) of the Clean Air Act. ..
(David M. Flannery, Midwest Ozone Group)
                                                                                                      0
Response: The Cabinet acknowledges the comment. The Cabinet agrees that EPA's current
method of determining maintenance monitors needs to be re-evaluated.


23. Comment: ... while Kentucky would not be linked to any maintenance monitor at a
significance threshold of 2ppb, it would be linked by EPA's 12km modeling data to a
maintenance monitor (Harford Maryland) at a significance threshold of 1 ppb. Accordingly,
MOG urges that the Cabinet apply an alternate methodology to assess maintenance monitors that
is different than any method it would apply to assess nonattainment monitors. Any impacts,
which Kentucky has on maintenance areas, will certainly be addressed by consideration of
controls that are already on-the-books and by emissions reductions that have been and will
continue to apply to Kentucky sources as is well-demonstrated by these comments and the
Cabinet's proposed GNS.
(David M. Flannery, Midwest Ozone Group)

Response: The Cabinet acknowledges the comment and agrees that EPA's current method of
determining maintenance monitors needs to be re-evaluated and that on-the-books regulations
and controls, as well as enforceable permit conditions, will continue to limit any impact to
maintenance monitors from Kentucky sources.                                                           (_


                                                16
               Case: 23-3216        Document: 32-3       Filed: 06/16/2023       Page: 203




    24. Comment: LG&E and KU Energy supports the conclusion of the proposed SIP that no
C   additional emission reductions beyond existing and planned controls are necessary to mitigate
    any contribution Kentucky may have on downwind monitors to comply with CAA section
    110(a)(2).
    ( Jason Wilkerson, LG&E and KU Energy)

    Response: The Cabinet acknowledges the comment. .


    25. Comment: Additionally, LG&E and KU Energy concur with the comments submitted on
    September 21, 2018 by the Midwest Ozone Group in support of the proposed SIP revision.
    (Jason Wilkerson, LG&E and KU Energy)

    Response: The Cabinet acknowledges the comment.


    26. Comment: LG&E and KU Energy has identified one area of the proposed SIP that needs
    correction as listed here: Page 31, Emission Totals after CSAPR Implementation, second
    paragraph: This section makes reference that the "Louisville Gas & Electric Company's
    (LG&E) Cane Run Station converted Unit 7 to natural gas ... " Revisions should be made to
    correctly state "Louisville Gas & Electric Company's (LG&E) Cane Run Station constructed
    and began operating a natural gas combined cycle unit (CR7) in 2015 and retired all remaining

0   coal-fired units the same year."
    (Jason Wilkerson, LG&E and KU Energy)

    Response: The Cabinet acknowledges the comment and made the necessary corrections.


    27. Comment: The Cabinet decision essentially to rely on existing state laws in conjunction
    with EPA's 2008 approval, for purposes of satisfying the 2015 ozone NAAQS, is arbitrary and
    capricious, and unsupported by evidence, and fails to satisfy the plain statutory requirement that
    Kentucky's SIP ensure that the Commonwealth does not contribute significantly to
    nonattainment in, or interfere with maintenance by, any other State with respect to the 2015
    ozone NAAQS. 42 U.S.C. § 7420(a)(2)(D)(i)(I).
    (Aaron Messing and Matthew Miller, Sierra Club)

    Response: The Cabinet does not concur with the comment. The commenter fails to recognize
    the control strategies identified in Kentucky's proposed 2015 ozone I-SIP that limit NOx and
    VOC emissions from Kentucky sources. Further, the commenter does not acknowledge the
    significant decline in emissions from Kentucky sources as detailed in the Emissions Trends
    section of Element D of the proposed SIP. EPA has determined that Kentucky does not
    significantly contribute to any nonattainment monitor for the 2015 ozone NAAQS.



C
                                                    17
             Case: 23-3216           Document: 32-3           Filed: 06/16/2023          Page: 204




28. Comment: EPA's own, most recent determinations show that Kentucky's previously
approved SIP is stale and does not show compliance with the 2015 ozone NAAQS; Kentucky's
                                                                                                                         c
attempt simply to point to existing state-law provisions fails to address the Commonwealth's
significant contributions to nonattainment and maintenance that EPA projects will persists in
2023.26
(Aaron Messing and Matthew Miller, Sierra Club)

Response: The Cabinet does not concur with the comment. EPA's March 27, 2018 updated
modeling, released to specifically address the 2015 ozone NAAQS, demonstrates that Kentucky
does not significantly contribute to any downwind nonattainment monitors.


29. Comment: Because EPA' s modeling shows that Kentucky is in fact contributing
significantly to nonattainment and maintenance at five monitors in three states under the 2015
standard, Kentucky obviously may not claim that is has no further obligations under the 2015
ozone NAAQS.
(Aaron Messing and Matthew Miller, Sierra Club)

Response: The Cabinet does not concur with the comment. EPA's March 27, 2018 updated
modeling was released to specifically address the 2015 ozone NAAQS. Further, the August 31,
2018 EPA memo demonstrates that Kentucky does not significantly contribute to any
downwind nonattainment monitor.

                                                                                                                     0
30. Comment: The Cabinet's apparent argument that other sources also contribute
significantly to failing air quality at downwind monitors is legally irrelevant; it simply does not
obviate the need for Kentucky to address its own significant contribution.27
(Aaron Messing and Matthew Miller, Sierra Club)

Response: The Cabinet does not concur with the comment. The commenter fails to recognize
the control strategies identified in Kentucky's proposed 2015 ozone I-SIP that limit NOx and
VOC emissions from Kentucky sources. Further, the commenter does not acknowledge the
significant decline in emissions from Kentucky sources as detailed in the Emissions Trends
section of Element D of the proposed SIP. EPA has determined that Kentucky does not
significantly contribute to any nonattainment monitor for the 2015 ozone NAAQS.




26
   Sierra Club continues lo underscore and protest, as it has in prior comments to the Cabinet as well as EPA, the
unreasonableness ofEPA's modeling being based on 2023, which is beyond relevant attainment dates for marginal
areas (which at least the Maryland and Wisconsin counties are) for the 2015 standard. Using an earlier year, as is
proper, would only exacerbate the flaws discussed herein; but, as explained above, the August 2018 SIP Proposal is   (
untenable even with EPA's 2023 modeling basis. ·
27 See id. at 32-49.



                                                        18
                   Case: 23-3216       Document: 32-3     Filed: 06/16/2023       Page: 205




    31. Comment: The submission's observations about meteorological data and HYSPLIT back
C   trajectories are unpersuasive because EPA's CAMx modeling already incorporates
    meteorological inputs and links downwind air quality at specific locations with upwind
    emissions originating in Kentucky. 28
    (Aaron Messing and Matthew Miller, Sierra Club)

    Response: The Cabinet does not concur with the comment. The use of HYSPLIT and
    meteorological data on the noted pages is not to address any projected emissions from EPA's
    CAMx modeling. Rather, the figures represent ozone exceedance days at monitors that
    Kentucky was previously linked to using EPA's initial modeling. However, Kentucky is no
    longer linked to those monitors as they are no longer identified as nonattainment monitors for
    2023 based on EPA's 1 ppb threshold memo dated August 31, 2018.


    32. Comment: Among other fatal deficiencies, [Alpine's modeling] utilized an inappropriate
    and arbitrary significance threshold (1 ppb rather than 1% of the NAAQS); and in any event,
    even if one were to accept the Alpine modeling, four of the five nonattainment or maintenance
    monitors linked to Kentucky still recorded maximum design values above the 2015 ozone
    NAAQS, and for all five monitors Kentucky's contribution exceeded I percent of the
    NAAQS. 29
    (Aaron Messing and Matthew Miller, Sierra Club)

    Response: The Cabinet does not concur with the comment. Page 19 of the SIP states that
    "Using the 1 ppb threshold, there is only one monitor that shows a significant contribution from
    Kentucky."


    33. Comment: The Cabinet's assertion that existing provisions of state law will ..address the
    requirements," vis-a-vis Kentucky's legal obligations to satisfy the 2015 ozone NAAQS, is
    unreasonable vague and non-committal; more detailed explanation and explicit guarantees,
    based on binding legal obligations, are required. The Cabinet points to existing local, state and
    federal regulations and other legal obligations in attempt to satisfy its obligations under Section
    l 10(a)(2)(D)(i)(I) for the 2015 ozone NAAQS.30
    (Aaron Messing and Matthew Miller, Sierra Club)

    Response: The Cabinet does not concur with the comment. The commenter fails to recognize
    the control strategies identified in Kentucky's proposed 2015 ozone I-SIP that limit NOx and
    VOC emissions from Kentucky sources. Further, the commenter does not acknowledge the
    significant decline in emissions from Kentucky sources as detailed in the Emissions Trends
    section of Element D of the proposed SIP. EPA has determined that Kentucky does not
    significantly contribute to any nonattainment monitor for the 2015 ozone NAAQS.


    28 See, e.g., id. at 37, 42, 49.


C   29 See id. at 5 1.
    30 Id. al 19-28.



                                                     19
          Case: 23-3216       Document: 32-3       Filed: 06/16/2023     Page: 206




34. Comment: Given that EPA already took into account the suite of control measures
identified in the August 2018 SIP Proposal, and yet still found that Kentucky emissions were
significantly interfering with downwind attainment and maintenance of the 2015 ozone
                                                                                               C
NAAQS, Kentucky's submittal is inadequate and unlawful.
(Aaron Messing and Matthew Miller, Sierra Club)

Response: The Cabinet does not concur with the comment. Kentucky is no longer linked to
any downwind nonattainment monitors in 2023 based on EPA's August 31, 2018 memo which
provides the option of using the 1 ppb contribution threshold.




                                                                                               0




                                              20
        Case: 23-3216    Document: 32-3   Filed: 06/16/2023   Page: 207




                               EXHIBIT 6

Declaration of Rona Birnbaum (“Birnbaum Declaration”), Signed June 7, 2023.
         Case: 23-3216    Document: 32-3    Filed: 06/16/2023   Page: 208




              IN THE UNITED STATES COURT OF APPEALS
                       FOR THE SIXTH CIRCUIT
____________________________________
                                     )
COMMONWEALTH OF KENTUCKY,            )
                                     )
     Petitioner,                     )
                                     )
     v.                              )   No. 23-3216
                                     )
UNITED STATES ENVIRONMENTAL )
PROTECTION AGENCY, et al.,           )
                                     )
     Respondents.                   )
____________________________________)
                                    )
COMMONWEALTH OF KENTUCKY,           )
ENERGY AND ENVIRONMENT              )
CABINET                             )
                                    )
     Petitioner,                    )
                                    )
     v.                             )             No. 23-3225
                                    )
UNITED STATES ENVIRONMENTAL )
PROTECTION AGENCY, et al.,          )
                                    )
     Respondents.                   )
____________________________________)
               DECLARATION OF RONA BIRNBAUM AS TO THE
                  COMMONWEALTH OF KENTUCKY
       1.     I, Rona Birnbaum, under penalty of perjury, affirm and declare that
the following statements are true and correct to the best of my knowledge and
belief, and are based on my own personal knowledge, or on information contained
in the records of the United States Environmental Protection Agency (“EPA”), or
supplied to me by EPA employees under my supervision.




                                        1
         Case: 23-3216     Document: 32-3    Filed: 06/16/2023   Page: 209




       2.      I am the Director of the Clean Air Markets Division in the Office of
Atmospheric Protection within the Office of Air and Radiation at EPA. The Clean
Air Markets Division, which was initially created to implement the acid rain
provisions of the Clean Air Act Amendments of 1990, designs and operates
market-based programs to reduce emissions of sulfur dioxide (“SO2”) and nitrogen
oxides (“NOX”), generates and provides public access to power plant emissions
data, facilitates and oversees emissions monitoring and reporting, assesses
emissions control technology options, conducts atmospheric deposition monitoring
and analysis, develops information systems for market-based programs, assesses
environmental and human health effects, assesses benefits and costs of programs,
and educates the public regarding regional air pollution problems and market-
based programs. The currently operated market-based programs were established
under the Acid Rain Program, the Cross-State Air Pollution Rule (“CSAPR”), the
CSAPR Update, and the Revised CSAPR Update.

       3.     In my current capacity as Director of the Clean Air Markets Division,
I oversee EPA’s implementation of components of the Clean Air Act including
Title IV (acid deposition control) and parts of Title I (air quality standards and
associated emission limitations). In coordination with other EPA offices, I manage
the promulgation and implementation of regulations pursuant to the Clean Air Act
including the suite of CSAPR programs. I manage all of the Clean Air Markets
Division’s activities as listed in paragraph 2, including overseeing EPA’s
collection of emissions data from the power sector (and some other stationary
emissions sources) under the Acid Rain Program and the suite of CSAPR
programs.

       4.    Prior to becoming Director of the Clean Air Markets Division in 2022,
I held several management positions in the Office of Atmospheric Protection
including in the early years of the Acid Rain Program. I joined EPA in 1988 and
the Office of Atmospheric Protection in 1991. I hold a bachelor’s and master’s
degree in environmental and natural resource policy from The George Washington
University.

       5.     The purpose of this declaration is to provide information responsive to
certain allegations made in the Kentucky Petitioners’ Motions for Stays filed on
May 23 and June 1, 2023, based on the declarations of John Horne, Michael
Kennedy, Cristobal Fuentes, Jerry Purvis, Nathaniel Berry, and Jeffrey Brock.




                                         2
          Case: 23-3216      Document: 32-3      Filed: 06/16/2023    Page: 210




I.   The Emission Allowance Trading Program Established by the Federal
“Good Neighbor Plan” for the 2015 Ozone National Ambient Air Quality
Standards.
A.     Overview of the Good Neighbor Plan
       6.     Once EPA sets new or revised national ambient air quality standards
(“NAAQS,” or “air quality standard”), states must submit state implementation
plans (“SIPs”) to satisfy certain Clean Air Act requirements, including the good
neighbor provision. 42 U.S.C. § 7410(a)(2)(D)(i)(I). With respect to the 2015
NAAQS for ozone, EPA reviewed states’ good neighbor SIPs, and it approved 24
plans, disapproved 19 plans, including Kentucky’s, and partially approved /
partially disapproved 2 plans. See 88 FR 9336 (Feb. 13, 2023). (Ozone is
commonly referred to as smog pollution.) A SIP disapproval imposes no legal
obligation on the state or sources within the state, but rather imposes a legal
obligation on EPA to promulgate a federal implementation plan (“FIP”), at any
time, within two years of the disapproval. 42 U.S.C. § 7410(c)(1).
       7.    EPA Administrator Michael S. Regan signed a FIP action related to
these requirements, referred to as the “Good Neighbor Plan”1 (or the “Plan”), on
March 15, 2023, to achieve emissions reductions required by the good neighbor
provision of the Clean Air Act, 42 U.S.C. § 7410(a)(2)(D)(i)(I), with respect to the
2015 NAAQS for ozone. The Plan establishes federal requirements for qualifying
power-plant and industrial sources in 23 covered states, to reduce ozone pollution
during the May 1-to-September 30 “ozone season” by reducing emissions of NOX,
which is an ozone precursor pollutant.
       8.     The objective of the Plan is to eliminate the covered states’ significant
contribution to nonattainment and interference with maintenance of the ozone air
quality standard in other states as expeditiously as practicable and in alignment
with the statutory attainment schedule.
       9.    With respect to fossil fuel-fired power plants in 22 states, including
Kentucky, this action will prohibit those emissions by implementing an allowance-
based trading program beginning in the 2023 ozone season, although the majority
of the emission reductions captured in the trading program will not begin until the

1
  Federal “Good Neighbor Plan” for the 2015 Ozone National Ambient Air Quality Standards, 88
FR 36654 (June 5, 2023). The rulemaking docket is EPA-HQ-OAR-2021-0668 and can be
accessed through www.regulations.gov. A number of key supporting materials and additional
information are available at EPA’s website, Good Neighbor Plan for 2015 Ozone NAAQS,
https://www.epa.gov/csapr/good-neighbor-plan-2015-ozone-naaqs (last visited June 5, 2023).


                                             3
           Case: 23-3216       Document: 32-3       Filed: 06/16/2023      Page: 211




phase-in of reductions associated with new post-combustion control technology
retrofits over the 2026 and 2027 ozone seasons. The Plan also prohibits emissions
through emissions limitations and associated requirements for certain other
industrial stationary sources in 19 of those 22 states, and one other state, beginning
in the 2026 ozone season.2

       10. In assisting downwind states with attaining and maintaining the 2015
ozone NAAQS, the Plan will deliver substantial public health and environmental
benefits across wide swaths of the United States. The benefits of the Plan far
exceed its anticipated costs. Its predecessor programs, the NOX SIP Call,3 Clean
Air Interstate Rule (“CAIR”),4 and CSAPR,5 each were successfully implemented
without disruption to the reliability or affordability of the electrical power supply.
Estimated Monetized Health and Climate Benefits, Compliance Costs, and
Net Benefits of the Good Neighbor Plan, 2023 Through 2042 (Millions 2016$,
Discounted to 2023)6

                                               3% Discount Rate 7% Discount Rate

                          Health Benefits            $200,000                  $130,000
    Present Value             Climate
                                                      $15,000                   $15,000
                              Benefits



2
  Information and data presented in this declaration regarding the Good Neighbor Plan are
reflective of the rule as it was signed on March 15, 2023, and do not account for potential
impacts of subsequent administrative or judicial stays.
3
  “Finding of Significant Contribution and Rulemaking for Certain States in the Ozone Transport
Assessment Group Region for Purposes of Reducing Regional Transport of Ozone,” 63 FR
57356 (Oct. 27, 1998).
4
  “Rule to Reduce Interstate Transport of Fine Particulate Matter and Ozone (Clean Air Interstate
Rule),” 70 FR 25162 (May 12, 2005).
5
  “Federal Implementation Plans: Interstate Transport of Fine Particulate Matter and Ozone and
Correction of SIP Approvals,” 76 FR 48208 (Aug. 8, 2011) (generally referred to as the Cross-
State Air Pollution Rule, or “CSAPR”).
6
  Adapted from Good Neighbor Plan Executive Summary. For explanations, caveats, and table
notes associated with these figures, see 88 FR 36654, 36666.




                                                4
         Case: 23-3216     Document: 32-3     Filed: 06/16/2023   Page: 212




                         Compliance
                                               $14,000                $9,400
                           Costs

                        Net Benefits          $200,000               $140,000

                      Health Benefits          $13,000               $12,000

                          Climate
    Equivalent                                   $970                  $970
                          Benefits
    Annualized
      Value              Compliance
                                                 $910                  $770
                           Costs

                        Net Benefits           $13,000               $12,000


The estimated annualized compliance costs for the Plan of $910 million (3%
discount rate, 2016$) or $770 million (7% discount rate, 2016$) are comparable to
prior interstate transport rulemakings EPA has undertaken. For example, EPA
estimated that the NOX SIP Call would cost $1.7 billion (1990$) annually to
implement. 63 FR at 57478. Similarly, CAIR was estimated to cost the power
sector $2.4 billion in 2010 and $3.4 billion in 2015 (1999$). 70 FR at 25305.
CSAPR was estimated to cost the power sector $810 million in 2014 (2007$). 76
FR at 48215.
      11. The Plan will deliver substantial public health and environmental
benefits. On average, the ozone levels at the identified “receptor” locations around
the country are projected to decrease by 0.66 parts per billion (ppb). Good
Neighbor Plan, Table V.D.3-1 (88 FR at 36748). The Plan will help many
downwind areas make substantial progress toward coming into compliance with
the 2015 ozone NAAQS. In some cases, such as for receptors in Colorado, coastal
Connecticut, and Texas, the Plan is projected to make substantial progress toward
achieving full attainment of the standard.
       12. According to the air quality analysis for the SIP disapproval Final
Rule, there are 43 air quality monitoring sites throughout the United States that are
identified as “receptors”—i.e., these are areas that are projected to struggle to
attain or maintain the 2015 ozone NAAQS. See Final Rule, 88 FR at 9351-52. The
combined population of the designated ozone nonattainment areas associated with



                                          5
         Case: 23-3216     Document: 32-3      Filed: 06/16/2023   Page: 213




these receptors in 2021 is 82.3 million people, representing roughly 25 percent of
the total U.S. population.
      13. The air quality benefits of the Plan will also reach many other people
beyond the specific areas where receptor sites are located. The map below
graphically illustrates the reduction in ozone levels that is projected to occur across
the United States with full implementation of the Plan.




       14. The emissions control strategies on which the Plan is premised are all
conventional, widely-used, at-the-source technologies that have been available to
power plants and industrial sources for decades. This level of control is widely
mandated for these types of sources in downwind areas with ozone air quality
problems. For example, selective catalytic reduction (“SCR”) control technology is
already installed at roughly two-thirds of the coal-fired power plant capacity in the
U.S. fleet. Good Neighbor Plan, 88 FR at 36768.
       15. As can be seen in the figures below, several fossil fuel-fired power
plants in the Kentucky that are included in the Good Neighbor Plan have relatively
high, poorly controlled NOX emissions contributing to ozone pollution. These
sources along with other anthropogenic emissions sources in Kentucky are
impacting air quality hundreds of miles away.



                                           6
         Case: 23-3216     Document: 32-3     Filed: 06/16/2023   Page: 214




      Emissions from Kentucky power plants are highlighted in red.
      16. A delay in the implementation of the Plan would result in the
continuation of significant contribution to harmful levels of air pollution across the
United States. Delays of as long as three years in the implementation of two prior
good neighbor rulemakings (NOX SIP Call and CSAPR) have been experienced as

                                          7
            Case: 23-3216      Document: 32-3       Filed: 06/16/2023      Page: 215




a result of stay litigation. In both cases, the regulations were largely upheld once
courts were able to adjudicate the merits. EPA is applying this same, now-Supreme
Court-upheld analytical framework in this Plan. A delay of three years or more
here would delay the full elimination of significant contribution under this Plan
until 2029 or later. This would be eight years after the 2021 Marginal area
attainment deadline, five years after the 2024 Moderate area attainment deadline,
and two years after the 2027 Serious area attainment deadline.7 In the meantime,
many Americans could suffer illness and premature death from the harmful
pollution that would be allowed to continue, while downwind areas that fail to
attain the health-based NAAQS will be subject to ever more stringent regulatory
requirements under the Act without relief from the contributing effects of upwind-
state pollution. For example, the forgone emissions reductions in 2023 alone could
result in forgone reductions in avoided ozone-related premature mortalities and
illnesses equal to as much as $820 million (2016$, 3% discount rate).
B.       Establishment, Applicability, and Relationship to Other Trading Programs
       17. Among other things, the Plan implements a revised and expanded
allowance trading program for electricity generating units – the CSAPR NOX
Ozone Season Group 3 Trading Program (the “Trading Program”). This program
generally applies to fossil fuel-fired boilers and combustion turbines that are
located in covered states and serve generators larger than 25 megawatts producing
electricity for sale. 40 CFR 97.1004.
       18. The Plan amends the existing CSAPR NOX Ozone Season Group 3
Trading Program established for twelve states, including Kentucky, in 2021 under
the Revised CSAPR Update.8 The CSAPR NOX Ozone Season Group 3 Trading
Program was first established to achieve emissions reductions required by the good
neighbor provision with respect to the 2008 ozone NAAQS. For several other
states, the Trading Program will replace the CSAPR NOX Ozone Season Group 2
Trading Program established in 2016 under the CSAPR Update and currently still
being implemented for ten states.9 The CSAPR NOX Ozone Season Group 1
Trading Program was first established in the original CSAPR rulemaking in 2011


7
 Further discussion of the disruptive consequences of a stay of the Final Rule is in section V
below.
8
    “Revised CSAPR Update for the 2008 Ozone NAAQS,” 86 FR 23054 (April 30, 2021).
9
    “CSAPR Update for the 2008 Ozone NAAQS,” 81 FR 74504 (October 26, 2016).


                                                8
               Case: 23-3216   Document: 32-3       Filed: 06/16/2023      Page: 216




to address good neighbor obligations associated with the 1997 ozone NAAQS, and
currently applies only in the State of Georgia.10
      19. Under the Plan, power plants in seven states will transition from the
CSAPR Group 2 Trading Program to the CSAPR Group 3 Trading Program, and
power plants in three states not currently covered by a CSAPR trading program for
seasonal NOX emissions will be added to the CSAPR Group 3 Trading Program.
      20. Virtually all of the electric generating units covered by the Plan,
including those in the three states not currently covered by a seasonal NO X
emissions program, nonetheless participate in the Acid Rain emissions trading
program under Title IV of the Clean Air Act and already meet rigorous monitoring
and reporting requirements in compliance with 40 CFR Part 75.11
       21. Power plants have deep familiarity with Clean Air Act compliance
assurance and permitting obligations and face minimal administrative burdens
associated with entry into the Trading Program. All the Kentucky units that will
participate in the Trading Program already participate in another CSAPR trading
program.
       22. The emissions reduction requirements associated with the new
Trading Program emissions budgets established by the Plan will only apply as of
the effective date of the Plan, which will be on August 4, 2023, 60 days after
publication of the Plan in the Federal Register on June 5 (88 FR 36654).12
       23. For units in the states already covered by either the CSAPR NOX
Ozone Season Group 2 or Group 3 trading programs, the Plan has transitional
provisions so that the new budgets will apply only after the Plan’s effective date.13
For units in the remaining states that will be newly covered by the Trading
Program, no requirements, either in terms of emissions reductions or in terms of
other administrative requirements, will apply until the effective date.


10
     CSAPR, 76 FR 48208 (Aug. 8, 2011).
11
  Approximately 97 percent of ozone season NOX emissions reported under Part 75 are
determined using continuous emissions monitoring systems (“CEMS”). Gas- or oil-fired units
that qualify as peaking units or low mass emissions units under the regulations have options to
determine reported emissions using other methodologies.
12
     See Good Neighbor Plan Preamble Section VI.B.12.a (88 FR at 36811-13).
13
     See id.


                                                9
            Case: 23-3216      Document: 32-3      Filed: 06/16/2023     Page: 217




C.    How Emissions Trading Programs Work and the Enhancements to the
Trading Program
      24. The Clean Air Markets Division operates or has operated a number of
allowance trading programs, the earliest of which started more than 25 years ago.
These include the NOX Budget Trading Program for ozone-season NOX emissions
under the NOX SIP Call,14 programs for ozone-season and annual NOX emissions
under CSAPR and CAIR,15 and programs for annual SO2 emissions under CSAPR,
CAIR, and the Acid Rain Program.16 Most of the units that participate in the
Trading Program also participate or participated in some of these other programs.
There has not been, nor have Declarants identified, a single instance where
implementation of these EPA trading programs has caused an adverse reliability
impact.

       25. EPA provides robust technical analysis for identifying its emission
reduction requirements. For power plants, this includes starting with reported data
for recent historical operations. It further tests these requirements against future
expectations for the sector by using a state-of-the-art, peer-reviewed programming
model of the contiguous U.S. electric power sector (the Integrated Planning Model,
or IPM). IPM provides forecasts of least-cost capacity expansion, electricity
dispatch, and emissions control strategies while meeting energy demand and
environmental, transmission, dispatch, and reliability constraints.

       26. The Trading Program, like the other current and former allowance
trading programs operated by the Clean Air Markets Division, does not impose any
fixed limits on the operations or emissions of individual affected units. Instead,
each affected unit is required to monitor and report its emissions, and each source
with affected units is required to hold quantities of emission “allowances” based on
the reported emissions from all its affected units for each “control period” for the
program. (For the Trading Program, the control period is the May-September
ozone season.) Allowances can be traded with other sources covered by the
program in the same or other states or with third parties (e.g., brokers). The

14
  “Finding of Significant Contribution and Rulemaking for Certain States in the Ozone
Transport Assessment Group Region for Purposes of Reducing Regional Transport of Ozone,”
63 FR 57356 (Oct. 27, 1998).
15
  “Rule to Reduce Interstate Transport of Fine Particulate Matter and Ozone (Clean Air
Interstate Rule),” 70 FR 25162 (May 12, 2005).
16
     CAA subchapter IV-A, 42 U.S.C. 7651-7651o; 40 CFR parts 72-78.


                                              10
          Case: 23-3216      Document: 32-3       Filed: 06/16/2023     Page: 218




aggregated emissions from all the affected units under such a program are limited
by the total number of allowances issued for use in the program, each of which
authorizes the emission of up to one ton of NOX.
       27. The Trading Program budgets are set based on an evaluation of
available NOX mitigation control technologies. As in the prior CSAPR
rulemakings, as well as the earlier CAIR and NOX SIP Call rulemakings, EPA
assessed several well-understood, widely-available, at-the-source emissions control
strategies. Following a multifactor assessment at “Step 3” of the interstate transport
framework, EPA arrived at a suite of control strategies that obtain cost-effective
emissions reductions delivering meaningful downwind air quality benefits. EPA’s
assessment of these technologies is set forth in Section V.B-C of the Plan
preamble, 88 FR at 36720-40.
       28. The primary strategies for power plants that emerged from this
analysis are: starting in 2023, optimizing existing post-combustion controls;
starting in 2024, upgrading to state-of-the-art combustion controls at the few
remaining coal facilities without them; and, over the 2026-2027 ozone seasons,
retrofitting post-combustion controls on large emitting units currently lacking
them. See Good Neighbor Plan Preamble Section VI.A, 88 FR at 36754-58.
       29. It bears noting that the 2023 and 2024 strategies of optimizing
existing post-combustion controls and upgrading combustion controls are
essentially identical to the emissions control strategies that were identified in
CSAPR, the CSAPR Update, and the Revised CSAPR Update. EPA’s analysis in
the Good Neighbor Plan is that these strategies remain widely available on a
relatively near-term basis and additional, cost-effective emissions reductions can
be obtained from these strategies across the fleet of existing power plants in the
covered upwind states.
       30. For each control period, the total quantity of allowances is initially
allocated among the affected units. 17 Allocations in Good Neighbor trading
programs have followed a similar methodology for many years, relying on
historical heat input and emissions data to determine how many allowances to
allocate to each unit, as well as to new units. The Plan generally follows this
approach with some minor changes from prior programs. See generally Good
17
   CSAPR trading programs are designed to allow states to easily replace EPA’s allocation
methodology with their own. States may also leave the FIP through adopting the trading program
in full (in addition to replacing EPA’s allocation methodology) into their state program or
developing their own approaches for approvable SIPs that can replace the FIP. See Good
Neighbor Plan Preamble Section VI.D, 88 FR at 36838-43.


                                             11
          Case: 23-3216    Document: 32-3      Filed: 06/16/2023   Page: 219




Neighbor Plan Preamble Section VI.B.9, 88 FR at 36801-08. Among the features
of the Plan’s allocation methodology, similar to prior programs, is a “new unit set
aside,” which is available for any power plants that would not otherwise receive
allocations, mainly (but not exclusively) new power plants that come online after
the Plan is issued. Power plants that have gone offline but are then returned to
operation also qualify to receive allocations from the new unit set aside if the
plants are no longer eligible to receive allocations as existing units. Often, there are
allowances remaining in each state’s new unit set aside, and if so, these are
recycled back to existing units in proportion to their original allocation. Thus, the
entire budget for each compliance period is fully allocated, and units typically will
receive more allowances than their initial allocation figures suggest.
       31. The allowance allocation methodology is distinct from the method of
determining the emissions budget for each state. The number of initial allocations
each affected unit receives is not an emission limit, nor is it an express or implied
prohibition on how much that source may emit; rather, sources may buy or sell
allowances with any other party and use them for compliance. This incentivizes
units that can reduce their emissions easily or cheaply to make those reductions
and reap the benefits from selling their unneeded allowances, while units with
relatively more expensive reduction opportunities can comply by purchasing those
allowances. For a more comprehensive overview of emissions trading programs,
see the Division’s website at https://www.epa.gov/emissions-trading-resources.
       32. Sources with affected units under the Trading Program are not
required to hold allowances to cover their emissions before or at the actual time of
the emissions (e.g., in or during the 2023 ozone season). Instead, each source is
obligated to surrender allowances to cover its affected units’ emissions for a
control period by the program’s “allowance transfer deadline,” which is June 1 of
the year after the year of the control period. 40 CFR 97.1002, 97.1006(c)(1). For
the 2023 ozone season, the allowance transfer deadline will be June 1, 2024. Thus,
a source in the Trading Program has an extended period of time—eight months
after the end of the ozone-season control period on September 30—in which to
acquire any additional allowances that may be needed for compliance.
       33. Each state’s budget determines the total number of allowances to be
allocated among the state’s affected units for each control period. However, a state
budget is not a limit on how much NOX a state’s affected units may emit, in the
aggregate, during the control period. Under the Trading Program (like the trading
programs under the original CSAPR), the aggregated emissions from a state’s
affected units can exceed the state’s budget up to a certain level, called the
“assurance level,” without triggering any further obligations beyond each source’s


                                          12
         Case: 23-3216     Document: 32-3     Filed: 06/16/2023   Page: 220




basic compliance obligation to hold allowances equal to the sum of its affected
units’ emissions. If the aggregated emissions from the affected units in a single
state exceed the state’s assurance level during a control period, the sources that
contributed to the state’s exceedance must surrender two additional allowances for
each ton of their respective shares of the exceedance. 40 CFR 97.1025. The
assurance levels include “variability limits” beyond the respective state emissions
budgets that allow for potential inter-annual variability in operating needs for each
state. At the same time, the assurance levels function within the structure of an
interstate trading program to meet the Act’s requirement that each state’s sources
are held to the elimination of the state’s significant contribution.
       34. The Trading Program is fully achievable without any need for sources
to reduce their operations or retire, because the emission budgets are premised on
widely available pollution control technologies described above whose use would
achieve the required emission reductions without need to reduce operations or
retire any affected EGU. However, under the Trading Program, no power plant is
required to follow these strategies. In general, a power plant owner has options to
operate the emissions controls identified by the EPA for a type of unit (including
installation or upgrade of controls), operate other types of emissions controls, or
adapt the unit’s levels of operation to produce less emissions. The Plan generally
preserves the compliance flexibility of prior transport trading programs in
reserving these decisions to sources’ owners and operators.
       35. In addition to the intrinsic emissions trading compliance flexibilities
noted above that are preserved in the Plan, the Trading Program contains several
enhancements relative to prior trading programs. These enhancements operate
together to ensure that, within the structure of an interstate trading program,
sources continue to achieve a degree of emissions reduction consistent with the
Act’s requirement to eliminate “significant contribution” and “interference with
maintenance.” As EPA discusses in the Plan, experience with prior trading
programs has produced evidence that over time sources may not be properly
incentivized to operate emissions controls to the degree needed to eliminate
significant contribution on an ongoing basis. The enhancements included in the
Trading Program continue to provide flexibility while providing greater assurance
that significant contribution will be eliminated on the most critical days of the
ozone season and will remain eliminated on a permanent basis. EPA made several
adjustments to these enhancements from the proposal in light of comments
regarding grid reliability, as discussed in the following section beginning at
paragraph 37.



                                         13
         Case: 23-3216    Document: 32-3     Filed: 06/16/2023   Page: 221




       36. There are four enhancements to the Trading Program in the final Plan,
compared to prior CSAPR programs: dynamic budgeting; annual bank
recalibration; unit-specific backstop daily emissions rates; and a secondary
emissions limitation:
       a. Dynamic Budgets: Prior trading rules used a single, fixed emissions
          budget, set based on power sector data as of the date of the action. In the
          Revised CSAPR Update, EPA established preset budgets for several
          years into the future, to better reflect known changes in the power sector
          over time. In the Good Neighbor Plan, EPA is again establishing preset
          budgets as floors for the 2023 to 2029 control periods. Beginning in
          2026, dynamic budgets (i.e., budgets set by applying the emission
          control strategies selected in the Plan to more recent operating data) will
          be calculated for each control period. From 2026 through 2029, a state’s
          dynamic budget will be used only if it is higher than the state’s preset
          budget for that control period. Beginning in 2030, dynamic budgeting
          will be the sole method of budget calculation. See Good Neighbor Plan
          Preamble Section VI.B.4, 88 FR at 36777-79.

       b. Bank Recalibration: If a source does not use all of its allowances to
          demonstrate compliance in a given control period, the Trading Program,
          like all the other allowance trading programs operated by the Clean Air
          Markets Division, allows the unused allowances to be banked for use in
          the program in future control periods. In the CSAPR Update and the
          Revised CSAPR Update, EPA executed one-time conversions of
          available banked allowances from prior trading programs into initial
          allowance banks appropriately scaled to the budgets under the new
          trading programs. The Plan carries that process forward by limiting the
          collective allowable number of banked allowances for the Trading
          Program that can be carried over each year to 21% of the sum of the
          states’ emissions budgets, starting with the 2024 ozone season. This will
          prevent the buildup of an excessively large bank of allowances that
          would undermine program stringency in the latter years of a program.
          See Good Neighbor Plan Preamble Section VI.B.6, 88 FR at 36788-91.

       c. Unit-specific Backstop Daily Emissions Rates: To ensure more
          consistent operation of installed controls on sources with the highest
          level of emissions potential throughout each day of ozone seasons going
          forward, the Plan includes backstop daily emission rates applied to each
          of a subset of the covered sources. This rate applies beginning in 2024


                                        14
         Case: 23-3216     Document: 32-3      Filed: 06/16/2023    Page: 222




           for large, coal-fired sources that have SCR post-combustion emissions
           controls already installed. The rate is set at a level that reflects seasonal
           optimization of the control (not daily maximal performance), and
           sources must surrender additional allowances for the emissions
           associated with exceedances of this rate (after a 50-ton threshold, which
           accommodates the potential unavoidable emissions sources might have
           above the daily rate associated with activities like start-up). The same
           rate is applied for large coal-fired units with SCR-retrofit potential in
           the second control period after such control is installed or in 2030,
           whichever occurs first. See Good Neighbor Plan Preamble Section
           VI.B.7, 88 FR 36791-97.

       d. Secondary Emissions Limitations: To avoid foreseeable exceedances of
          the state-by-state assurance levels, the Plan establishes the conditions
          for an enforceable Clean Air Act violation in defined circumstances of
          egregious failure to operate existing pollution controls, starting with the
          2024 ozone season. See Good Neighbor Plan Preamble Section VI.B.8,
          88 FR at 36797-801.
D.    Key Changes in the Good Neighbor Plan from Proposal
      37. The proposal underwent a comment period of 76 days, and EPA held
many stakeholder meetings, including with electricity reliability coordinators, to
receive feedback as well. This public engagement provided useful information to
the Agency and produced a number of important changes in the Good Neighbor
Plan.

       38. It is standard practice in EPA rulemaking development that changes to
a proposal contemplated by the Agency are considered deliberative and are not
shared on an ex parte basis prior to finalization and public release of an action.
Therefore, the information regarding the contents of the Good Neighbor Plan,
reflective of these changes, became available to the general public on or about
March 15, 2023, with the release of the unofficial, pre-publication copy of the Plan
on EPA’s website.

       39. Several changes in the Good Neighbor Plan bear directly on the
claims of harm put forward by Declarants. These changes respond to concerns
raised by commenters that the Plan, as proposed, could have unintended effects on
power sector grid-reliability.



                                          15
         Case: 23-3216     Document: 32-3     Filed: 06/16/2023   Page: 223




       40. Commenters observed that the fleet of fossil-fuel fired power plants is
undergoing a period of transition to cleaner fuels and technologies. Many power
plant owners and operators highlighted their interest in seeing flexibility in this
program that would facilitate their business decisions, while, in their view, the Plan
as proposed could force uneconomical decisions either to retire power plants
earlier than intended or to force expensive pollution-control retrofits for sources
that in their judgment would otherwise not continue in operation for much longer.
See Good Neighbor Plan Preamble Section VI.B.1.d, 88 FR at 36770-75.

       41.     During rule development, EPA also actively engaged with key
stakeholders in the electricity sector, including system operators, regional
transmission operators (“RTOs”), the U.S. Department of Energy (“DOE”), the
Federal Energy Regulatory Commission (“FERC”), and other parties that have the
responsibility for ensuring reliability. EPA hosted a series of meetings with
reliability organizations who had commented on the proposal to ensure we had a
solid understanding of their concerns and perspectives. See Good Neighbor Plan
Preamble Section III.B.1.c, 88 FR 36678-80.

      42. In light of these viewpoints, EPA adopted multiple changes from the
proposal to address the reliability-related concerns identified in comments and
brought into greater focus through consultations with RTOs and other agencies.
These changes have been carefully crafted to ensure the statutory mandate to
eliminate significant contribution to interstate pollution problems under the Clean
Air Act is met without disrupting the reliable operation of the bulk power grid. See
Good Neighbor Plan Preamble Section VI.B.1.d, 88 FR at 36770-75.

       a. EPA had proposed to apply “preset” state emissions budgets only for
          the control periods in 2023 and 2024, with dynamic budgeting allowing
          for changes in the budget both upward and downward beginning in
          2025. EPA had proposed to use only one year of data in the dynamic
          budget-setting process. In the Final Good Neighbor Plan, preset
          budgets will operate as floors from 2023 through 2029. This will
          establish predictable minimum quantities of allowances available
          during the period when commenters have expressed concern that the
          reliability-related need for such predictability is greatest. In addition,
          the dynamic budgets will be set using multiple years of operating data
          to prevent an anomalous year of data from skewing the budgets. See
          Good Neighbor Plan Preamble Section VI.B.1.b.i, 88 FR at 36764-66.




                                         16
         Case: 23-3216    Document: 32-3      Filed: 06/16/2023   Page: 224




       b. The target percentage of the state emission budgets used to annually
          recalibrate the allowance bank will not be set at the proposed 10.5
          percent level until the 2030 control period. For the control periods from
          2024 through 2029, a target percentage of 21 percent will be used
          instead. The adoption of the higher target percentage for use through the
          2029 control period is intended to enhance the availability of allowances
          during this period by allowing power plant owners and operators to
          “bank” allowances at a higher level through 2030. See Good Neighbor
          Plan Preamble Section VI.B.1.b.ii, 88 FR at 36766-67.

       c. The application of the backstop daily emissions rate for units without
          existing SCR controls is deferred until the 2030 control period from the
          2027 control period as EPA had proposed. This change extends by
          several years the period during which the highest emitting sources in the
          fleet may continue surrendering only one allowance per ton emitted, as
          opposed to three allowances per ton emitted, while operating without
          widely available pollution control technology within the Trading
          Program. See Good Neighbor Plan Preamble Section VI.B.1.c.i, 88 FR
          36767-69.

       43. Additionally, EPA made several other key changes in the Good
Neighbor Plan from the proposal that will also help ensure it can be implemented
on a feasible and cost-effective basis in light of comments and other record-based
considerations that in EPA’s judgment warranted attention:

       a. The Good Neighbor Plan does not require any emission reductions
          associated with projected generation shifting using EPA’s Integrated
          Planning Model. See Good Neighbor Plan Preamble Section V.B.1.f, 88
          FR at 36731-32.

       b. EPA finalized a phase-in approach for emission reductions associated
          with the SCR-retrofit strategy. These reductions are phased in over
          2026-2027 in the final Good Neighbor Plan, as opposed to just 2026 at
          proposal. This change provides an additional year for the full
          implementation of reductions associated with this strategy relative to the
          proposal. See Good Neighbor Plan Preamble Section VI.A, 88 FR at
          36757-58.

       c. Emissions control stringency associated with combustion control
          upgrades does not go into effect for any state until the start of the 2024

                                         17
         Case: 23-3216    Document: 32-3      Filed: 06/16/2023   Page: 225




           ozone season. See Good Neighbor Plan Preamble Section V.A, 88 FR
           36754-55.


II.   NOX Mitigation Strategies and Timing: Further Detail
       44. The Plan assumes two mitigation strategies in setting emission
budgets for the 2023 ozone season. This is the optimization of two types of
existing post-combustion controls—SCR and selective non-catalytic reduction
(“SNCR”). Therefore, no new pollution control equipment is assumed in 2023,
only the operation of existing equipment. EPA uses its database of reported
historical power sector operations and emissions performance to derive state
emissions budgets based on these (and other) strategies. According to EPA data,
power plants have demonstrated through their historical operation (for more than
90% of such units) that they have already achieved this level in the past, in many
cases significantly out-performing the representative performance rates used by
EPA to establish budgets based on these strategies.
       45. The vast majority of SCR-controlled units (nationwide and in the 22
states subject to the Trading Program) at least partially operated these controls
during the 2021 and 2022 ozone seasons, based on reported emissions rates.
Existing SCRs operating at partial capacity still provide functioning, maintained
systems that may only require increased frequency or quantity of delivered
chemical reagents (i.e., ammonia or urea), which can be accomplished within a few
weeks. In many cases, units with SCR have historically achieved more efficient
NOX removal rates than their current performance and therefore are capable of
reverting to earlier operation and maintenance plans that achieved demonstrably
better SCR performance.
       46. There is ample evidence of units restoring optimal performance of
post-combustion controls within a timeframe of two months or less. See Good
Neighbor Plan Preamble Section V.B.1.a, 88 FR at 36720-25. Not only have units
reactivated SCR performance levels at the start of an ozone season or when
requirements took effect, but unit-level data also shows instances where sources
demonstrated the ability to quickly alter their emissions rate within an ozone-
season and even within the same day in some cases. Moreover, this emissions
control technique is familiar to sources and was analyzed and included in the
Revised CSAPR Update emissions budgets finalized in 2021 and the CSAPR
Update emissions budgets finalized in 2016.
     47. The recently implemented Revised CSAPR Update was finalized on
March 15, 2021, with emissions reductions premised on the same technology and

                                         18
          Case: 23-3216     Document: 32-3      Filed: 06/16/2023   Page: 226




nearly identical implementation schedules as this Plan regarding existing control
optimization. See paragraph 51. Sources were able to comply with a 100% success
rate in meeting their allowance-holding requirements, and units optimized their
controls, showing significant improvement in emissions performance relative to
prior years. Neither sources nor state agencies and reliability authorities reported
any difficulty maintaining compliance with electric reliability standards as a
function of achieving compliance with the Revised CSAPR Update.
       48. The recent experiences with both the Revised CSAPR Update and
CSAPR Update underscore the eminently achievable nature of the control
strategies informing the establishment of the Trading Program budgets for 2023
and 2024.
       49. In the Plan, EPA finds that new SCR retrofit installation is cost-
effective and is included as part of the overall strategy to eliminate significant
contribution. Corresponding emission reductions are reflected in state emissions
budgets, phasing in over the 2026 and 2027 ozone seasons. EPA extended the
timeframe for installation of SCR controls from 36 months at proposal to 36-48
months in the final Plan. There are many instances of individual SCR-retrofit
projects being completed well within a three-year timeframe; however, a 36-48
month period corresponds with EPA’s expectations regarding timing needs for
fleetwide implementation of this strategy. There is significant engineering
literature and third-party testimonials as to the feasibility of this timing for sources
pursing this compliance option. This technology is widely available. SCR controls
already exist on over 60 percent of the coal fleet in the states covered by the
Trading Program. Nearly every pulverized coal unit larger than 100 MW built in
the last 30 years has installed this control.
       50. The timeframes by which the requirements of the Plan go into effect
are all keyed to the finalization of the Plan. Thus, the phasing in of the SCR-retrofit
stringency over the 2026-2027 ozone seasons corresponds to a 36-48 month period
from the date of issuance of the Plan. See Good Neighbor Plan Preamble Sections
V.B.1.e, 88 FR at 36726-31, and VI.A, 88 FR at 36757-58.
       51. Even for near-term measures like optimization of existing controls in
2023, EPA’s record shows that no work need have occurred prior to finalization of
the Plan. The implementation of the Plan’s budgets reflecting that control strategy
as of the effective date 60 days after publication in the Federal Register
accommodates the two-month period EPA finds to be the maximum amount of
time needed to implement these strategies. These exact technology and timing
assumptions were just successfully implemented on an identical schedule in the


                                           19
          Case: 23-3216     Document: 32-3      Filed: 06/16/2023   Page: 227




Agency’s Revised CSAPR Update rule, which was finalized on March 15, 2021
and included emission reduction requirements premised on optimization of existing
controls going into effect upon the effective date of the rule during the 2021 ozone
season. See Good Neighbor Plan Preamble Section V.B.1.a., 88 FR at 36720-21;
see also Revised CSAPR Update, 86 FR 23054.
       52. EPA had observed in the proposal that sources could begin “planning
now” for compliance, and this would afford them additional time. 87 FR 20036,
20101 (April 6, 2022). Such preparation may indeed be prudent and likely not
costly, but it was never required. Preliminary analysis and engineering steps
involve no capital costs; these include pre-construction activities, such as
engineering studies, conceptual design, schedule, specifications, and cost
estimates.18
III.   Achievability of the Good Neighbor Plan

      53. The emissions reductions implemented through the Plan’s Trading
Program are readily achievable for the covered power plants, and the Program is
designed so as not to threaten resource adequacy or otherwise degrade electric
system reliability in any state or region.

       54. Under the Trading Program, for each control period EPA allocates an
amount of allowances equal to each state budget among the affected units in the
respective state. For control periods after 2023, a state may submit a state
implementation plan revision replacing EPA’s unit-level allocations with unit-level
allocations of its choosing, provided that the total number of allocations does not
exceed the state budget. 40 CFR 52.38.
       55. The sum of the preset state budgets under the Trading Program for
2023 is 208,119 tons. (For the set of states that would be subject to the trading
program for the entire 2023 ozone season, prorating of the budgets to account for
the effective date of the plan, as discussed in paragraphs 22-23, will increase this
amount by 20,123 tons.) Adding the amount of allowances in the anticipated
starting bank (see paragraph below), EPA estimated that the total number of
allowances that will be available for compliance in 2023 will be approximately
269,479 allowances.

     56. In addition to allowances allocated for each control period and already
banked under the Group 3 Trading Program, the EPA will convert for use in the
18
 See document titled “Typical SCR and SNCR Schedules 2023” in the docket for the Good
Neighbor Plan (EPA-HQ-OAR-2021-0668).

                                           20
          Case: 23-3216       Document: 32-3       Filed: 06/16/2023     Page: 228




Trading Program an amount of allowances banked under the existing CSAPR NOX
Ozone Season Group 2 trading program. 40 CFR 97.826. Any affected unit (or
other entity) that holds banked allowances issued under the CSAPR Group 2
program will be issued a proportional number of converted allowances that can be
used under the Trading Program just like allowances allocated from the Trading
Program state budgets. Based on preliminary emissions data for 2022, in total, the
already-banked and converted allowances collectively will constitute a “starting
bank” of approximately 61,360 allowances available for 2023 compliance.
       57. Total emissions from the sources that would be covered by the
Trading Program in 2021 were 239,450 tons, and in 2022 were 207,605 tons. As
EPA has observed in prior CSAPR trading programs, EPA fully anticipates that
sources will in fact optimize existing controls during the 2023 ozone season and/or
pursue other emissions reduction opportunities, in response to the allowance price
signal and in order to maintain or increase the respective amounts of banked
allowances they hold for their own use or for sale to others. Nonetheless, these
numbers indicate that even if no sources chose to reduce emissions in 2023 below
where they already were in 2022, there would be adequate allowances available for
compliance.
       58. EPA conducted a “resource adequacy” assessment for the Good
Neighbor Plan. This assessment shows that accredited capacity projections, and
therefore reserve margins, are expected to be virtually identical for the power
sector between the baseline and the Good Neighbor Plan “policy case.” In
particular, in 2023, 2025, and 2030, reserve margin projections under the Plan
remain consistent with baseline projections and are at or above target reserve
margins.19

       59. For all North American Electric Reliability Corporation (NERC)
reliability assessment regions and for all years, adequate reserve margins are
projected to be maintained under the Good Neighbor Plan. Projected changes in
reserve margins under the Plan through 2030 are exceedingly small relative to the
baseline without the rule.20

       60. The Plan’s projected effect on retail electricity prices relative to
baseline projections is also projected to be exceedingly small. In 2023, there is a

19
   See Resource Adequacy and Reliability Analysis Final Rule TSD 2, Tbl. 1, available at
https://www.epa.gov/system/files/documents/2023-
03/Resource%20Adequacy%20and%20Reliability%20Analysis%20TSD.pdf.
20
   Id. Tbl. A3, B3, C3.

                                              21
          Case: 23-3216     Document: 32-3      Filed: 06/16/2023   Page: 229




0% change projected. In 2025, the changes are on the order of -1% to 1%. In 2030,
the changes are of a similar magnitude, with only one area (not covering
Kentucky) projected to see a greater than 2% change in electricity prices.21

       61. Compliance with the Good Neighbor Plan is anticipated to be even
less costly than EPA’s primary analysis of compliance costs in the Plan’s
regulatory impact analysis (RIA) suggests (see paragraph 10). EPA conducted a
supplementary analysis to assess the effects of the Inflation Reduction Act of 2022,
Pub. L. 117-169 (“IRA”). That analysis indicates that the annualized cost of the
Plan for the power sector over the 2023-2045 period declines under the IRA from
$449 million/year to $196 million/year (2016$). See RIA Appendix 4A, Table 4A-
2. For comparison, the annualized costs of the NOX SIP Call were estimated at
$1.7 billion (1990$), which would be $2.8 billion in 2016$.

       62. There has never been a shortage of allowances in any allowance
trading program operated by the Clean Air Markets Division from 1995 – the first
year of the Acid Rain Program’s trading program for SO2 emissions – to the
present. After the allowance transfer deadline for every control period for every
such program, a bank of unused allowances has always been available for
carryover to future control periods. See the Division’s progress reports at
https://www3.epa.gov/airmarkets/progress/reports/index.html.
       63. Under the Trading Program, like EPA’s other allowance trading
programs, affected units are required to report their hourly emissions data to the
Clean Air Markets Division on a quarterly basis, and all allowance allocations and
transfers are also recorded by the Division. 40 CFR 97.1020—97.1035. The
Division maintains publicly accessible databases of the reported emissions data
and the recorded allocation and transfer data at https://campd.epa.gov/. Sources
and other participants in the market for emissions allowances, such as brokers, can
use these data to assess the potential supply of and demand for allowances and to
identify potential buyers and sellers.
      64. Buyers and sellers of allowances are generally not required to report
transaction prices to the Clean Air Markets Division. However, subscription data
services regularly survey and report market prices for allowances in EPA’s
allowance trading programs. As of May 30, 2023, one such service reported a

21
  See Regulatory Impact Analysis for the Final Federal Good Neighbor Plan Addressing
Regional Ozone Transport for the 2015 Ozone National Ambient Air Quality Standard 166-68,
Tbl. 4-15, 4-16, 4-17, available at https://www.epa.gov/system/files/documents/2023-
03/SAN%208670%20Federal%20Good%20Neighbor%20Plan%2020230315%20RIA_Final.pdf.

                                           22
          Case: 23-3216       Document: 32-3       Filed: 06/16/2023      Page: 230




market price of $1,238 per Group 2 allowance and $9,000 per Group 3
allowance.22 The recently reported Group 3 allowance price of $9,000/ton
represents a decline of about one-third from reported prices immediately prior to
the mid-March pre-publication release of the Plan.

       65. While prices reported for the first part of the 2022 ozone season were
higher than prices in the later part of and after the ozone season, relatively few
allowance transfers among unrelated parties took place during the period of the
highest reported prices. Moreover, EPA’s data indicates that there were more than
enough allowances available for compliance with the Group 3 program in 2022.
Our data indicate total emissions in the Group 3 program of around 90,458 tons in
the 2022 ozone season, while available allowances (including banked allowances)
total 128,724 tons.

       66. The allowance price increase that was observed in the summer of
 2022 in the pre-existing Group 3 trading program has since declined about 80
 percent from its reported peak of $47,250 (see “CSAPR Allowance Price Data” in
 the docket for the Good Neighbor Plan). It is notable that reported Group 3
 allowance trading prices are now close to (and in fact less than) the representative
 SCR retrofit costs that EPA calculated in the Plan ($11,000/ton as a representative
 figure).

       67. Finally, reported allowance prices do not necessarily reflect actual
costs to sources for each ton emitted. EPA allocates allowances for free to existing
source owners and operators. Most sources have all or nearly all of their
allowances freely available to them through allocations or existing banks.
Therefore, these sources only need to purchase a minority, if any at all, of their
total needed allowances, as well as pursuing further emissions reductions as
desired.

      68. Multiplying total expected emissions by the highest historically
reported allowance price would generate a wildly inflated estimate of compliance
burden, not only because that highest historical price is by no means indicative of
the average allowance price going forward, but also because it ignores the
fundamental expectation within a market-based program that sources will



22
  Price data are reported by S&P Global Market Intelligence and are available by subscription at
https://www.SNL.com.


                                              23
         Case: 23-3216     Document: 32-3     Filed: 06/16/2023   Page: 231




rationally pursue any emissions-reduction opportunities that are less costly than the
purchase of additional allowances.
IV.   Achievability of the Plan for Kentucky Power Plants
       69. The proposed and final rules are implemented through an interstate
trading program. While there are state emission budgets, no state is limited to its
budget level, and if sources in the state need additional allowances to emit up to
the state’s assurance level, they can use banked allowances or allowances
purchased from other states.
      70. In the final Good Neighbor Plan, the Kentucky budget is 13,601 tons
in 2023. Kentucky’s budgets are 9,697 tons and 7,908 tons in 2026 and 2027,
respectively (reflecting the two-year phase in of SCR-retrofit stringency).

      71. As explained in paragraphs 22-23, based on the publication date of
June 5, 2023 and corresponding effective date of August 4, 2023, EPA identifies a
prorated 2023 state emissions budget for Kentucky of 13,880 tons.
       72. Kentucky’s state emissions budget is 12,999 and 12,472 tons in 2024
and 2025 respectively, reflecting known, planned fleet changes in the State and the
availability of a combustion-control upgrade at two plants. However, a carryover
of banked allowances from 2023 is expected, in light of the above figures and the
incentive for sources to reduce emissions and bank allowances when doing so is
economical.

       73. The Plan includes provisions to convert most allowances banked
under the CSAPR NOX Ozone Season Group 2 trading program into a quantity of
banked Group 3 allowances available for use in the Trading Program. This is no
different than the conversion of banked allowances for use in updated trading
programs that was done in two prior Good Neighbor rules, the CSAPR Update and
the Revised CSAPR Update. While the number of new Group 3 allowances created
in the conversion is smaller than the number of Group 2 allowances converted, the
new Group 3 allowances each are worth more, preserving value to their holder.
Based on the estimated effective date, and the number of Group 2 allowances held
by sources in Kentucky that are available for conversion, Kentucky EGUs are
anticipated to start with at least 668 banked Group 3 allowances created through
conversion of Group 2 allowances and 5,082 Group 3 allowances carried over from
previous control periods in addition to receiving unit-level Group 3 allowance
allocations of the 2023 emissions budget for Kentucky.



                                         24
             Case: 23-3216        Document: 32-3          Filed: 06/16/2023     Page: 232




        74. This brings the combined anticipated number of allowances initially
held by affected EGUs in Kentucky for the 2023 ozone season to around 19,630
allowances. Under the interstate Trading Program, Kentucky EGUs will also have
the opportunity to purchase additional allowances from account holders in other
states. Based on preliminary emissions data for 2022, in total, we estimate the
already-banked and converted allowances collectively will constitute a “starting
bank” of approximately 61,360 Group 3 allowances available for 2023 compliance
(inclusive of the 5,750 converted and banked allowances estimated above to be
initially held by Kentucky EGUs).

       75. For the Trading Program, each state’s variability limit is 21 percent of
the state budget, and each state’s assurance level is therefore the state budget plus
21 percent. 40 CFR 97.1025. See paragraph 33. Kentucky’s assurance level in
2023 is therefore 16,795 tons. No enhanced allowance-surrender penalty is applied
for emissions up to the assurance level.

      76. Kentucky power plants’ 2021 ozone season NOX emissions were
14,571 tons and their 2022 ozone season NOX emissions were 12,272 tons.

       77. Table 1 summarizes the Trading Program final state budgets and
assurance levels in the final Plan, and the actual 2021 and 2022 ozone-season NOX
emissions reported to the Clean Air Markets Division by affected units (available
at https://campd.epa.gov/). The table also shows the prorated 2023 budget and the
estimated starting emissions bank for Kentucky.
              Table 1: Comparison of Expected 2023 Allowance Holdings and
                  Recently Reported Emissions at Kentucky EGUs
                           2023
   2023        2023     Estimated      2023          2023
                                                               2021 Reported       2022 Reported
 Kentucky    Prorated     Banked     Kentucky      Kentucky
                                                               Emissions from      Emissions from
 emissions   Kentucky   Allowances   Variability   Assurance
                                                               Kentucky EGUs       Kentucky EGUs
  budget      Budget     Held by       Limit         Level
                                                                   (tons)              (tons)
  (tons)      (tons)     Kentucky      (tons)       (tons)
                           EGUs

  13,601      13,880      5,750        2,915        16,795         14,571              12,272



       78. Movant’s allegation that “implementation seriously strains and
destabilizes Kentucky’s power grid” is not borne out at the state-level by the
evidence provided above and in the power sector emissions and operating data in
the final Plan. There are sufficient allowances available for compliance in 2023

                                                    25
          Case: 23-3216     Document: 32-3     Filed: 06/16/2023   Page: 233




even if emissions were held constant at 2022 levels. Emissions in Kentucky’s most
recent year of operations were lower than its state emissions budgets for 2023,
2024, and 2025. This means that Kentucky could operate exactly as it did in 2022
for the next three years. Petitioner has not cited any reliability issues in 2022 and
has not explained how operating at the same levels as in 2022 would somehow
cause reliability issues when operating at the same levels did not cause reliability
issues in 2022. While the updated budgets are set to incentivize power plants to
continue to optimize emissions performance, this control stringency through 2025
is effectively no different than what EPA previously set for Kentucky in the
Revised CSAPR Update rulemaking two years ago, which was upheld by the D.C.
Circuit earlier this year (61 F.4th 187) and is currently being successfully
implemented in the state with no reliability issues.

       79. Over the 2026 and 2027 control periods, the Trading Program budgets
reflect the onset of emissions control strategies (i.e., the retrofit of post-combustion
controls such as SCR) that were found to be achievable and cost-effective to
eliminate significant contribution in the final Plan, with sufficient lead time built
in. See paragraphs 49-50. The fact that budgets will decline as the final Plan is
implemented simply reflects the emission reduction measures needed to ensure the
elimination of significant contribution as required by the Clean Air Act. See
paragraphs 7-8.

       80. The Movants’ claims of grid destabilization and increase in cost
resulting from the increase in stringency beginning in 2026 are contradicted by the
technical analysis and testimony it submits in support of those claims. First, again,
the Good Neighbor Plan is premised on installation of conventional control
technology, so the choice to retire units in response to it (accepting Movant’s
claims at face value) is an economic one beyond EPA’s control. Further, Movant’s
supporting evidence for this claim cites testimony regarding plant closures and
resource assessment by Stuart Wilson, Director of Energy Planning, Analysis and
Forecasting at Louisville Gas and Electric, see Horne Decl. ¶ 6. However, in that
testimony, Wilson explains to the Kentucky Public Service Commission under oath
that Kentucky Utilities Company and Louisville Gas and Electric (“KU and
LG&E”) performed detailed analysis of alternative portfolio scenarios that factored
in not just the Good Neighbor Plan but other important considerations (including
fuel prices and regulation of carbon dioxide emissions) while maintaining required




                                          26
           Case: 23-3216       Document: 32-3       Filed: 06/16/2023       Page: 234




reliability and affordability.23 These results showed that the optimal resource
portfolio the companies put forward that would comply with the Good Neighbor
Plan (inclusive of retirements) would provide excellent reliability. The 1,194 MW
of retiring older coal capacity Movant references as causing reliability concerns,
were in fact described as part of a “no-regrets” scenario by KU and LG&E: “The
Companies’ optimal resource portfolio is such a no-regrets portfolio. It
economically retires three large coal units (1,194 MW total) . . . .”24

       81. Declarants’ claims that implementation of the Good Neighbor Plan
will cause “immediate permitting burdens,” Kennedy Decl. ¶ 28-31, or reduce the
availability of electricity, Purvis Decl. ¶ 33-34, are not consistent with how the
Trading Program is designed and ignore key flexibilities included in the final Plan.
The Trading Program establishes emissions budgets premised on widely-available
and already-widely-implemented pollution control technologies (and so does not
force any source to retire). Moreover, these mitigation practices through 2025 are
already largely in place and practiced in Kentucky without the State experiencing
any of the harms claimed in their Motion. Like the current Revised CSAPR Update
Rule, the Good Neighbor Plan does not require or mandate any specific pollution
control installation. Rather, it requires allowance surrender for each ton of
emissions. For those units facing relatively costly pollution-control retrofit
decisions or already-planned retirements the Plan reflects input from power sector
stakeholders by deferring the start of a daily backstop emissions rate to 2030
(among other changes). See paragraphs 37-43. Even after 2030, units without SCR
may continue to operate so long as they comply with enhanced allowance-
surrender requirements for those emissions subject to the backstop rate. See
paragraph 37.c.

       82. Movants’ other allegations are not supported by evidence. As noted in
paragraph 60, EPA’s detailed economic analysis of the Good Neighbor Plan
indicates that it will have a negligible effect on retail electricity rates at most.
Movants’ supply no evidence of a net loss in employment in Kentucky, and the
assertions of lost jobs in the coal sector (taken at face value), Brock ¶ 14, stem not

23
   Direct Testimony of Stuart A. Wilson, In the Matter of Electronic Joint Application of
Kentucky Utilities Company and Louisville Gas and Electric Company for Certificates of Public
Convenience and Necessity and Site Compatibility Certificates and Approval of a Demand Side
Management Plan, Case No. 2022-00402 (Ky. Pub. Service Comm’n).
24
   Id. at 36. “In sum, the optimal resource portfolio this Resource Assessment recommends will
help ensure that customers receive safe, reliable, and lowest-reasonable-cost service for years to
come.” Id. at 38. See also id. 25 (“Interestingly, the lowest-cost portfolio across 17 of 18
scenarios . . . is also the least CO2-emitting.”).

                                               27
          Case: 23-3216       Document: 32-3       Filed: 06/16/2023     Page: 235




from the Good Neighbor Plan but from independent choices by utilities and state
authorities regarding whether it is economical to keep power plants in operation.
Finally, the permitting burden faced by Kentucky regulators is not adequately
explained, Kennedy Decl. ¶ 28-31, but in any case, any such responsibility stems
from Kentucky’s separate authority to administer permitting programs under the
Clean Air Act, rather than from the Good Neighbor Plan itself. Even then, any
permitting obligations under the Trading Program are generally streamlined and
not onerous. See Good Neighbor Plan Preamble Section VI.E, 88 FR at 36843-44.
And the Good Neighbor Plan builds in time for permitting processes for industrial
sources not in the Trading Program. Id. Section VI.A.2.b, 88 FR at 36759.

V.     Consequences of a Stay of Kentucky’s SIP Disapproval

      83. A stay of the Final Rule as to Kentucky or other upwind states will be
harmful to public health, highly disruptive to the implementation of the Good
Neighbor Plan, and will undermine the planning efforts for downwind areas that
are impacted by the upwind states’ emissions, increasing their regulatory burdens.
       84. The implementation of the Good Neighbor Plan has already been
substantially disrupted by judicial stays of the Final Rule entered by other circuit
courts, as well as the administrative stay entered by this Court as to Kentucky.
EPA is now in the process of taking administrative measures to stay the Plan as to
these states, including Kentucky, and must undertake a series of revisions to ensure
that the status quo is maintained as to these states, including maintaining their prior
participation in earlier CSAPR trading programs to ensure they continue to meet
their Good Neighbor obligations under prior ozone NAAQS.25
       85. Kentucky, for example, has emissions reduction requirements under
the Revised CSAPR Update that must be maintained in order to ensure its
significant contribution remains eliminated for purposes of the 2008 ozone
NAAQS. Because Louisiana has also obtained a stay of the Final Rule in the Fifth
Circuit, and these are the only states that were covered by the Revised CSAPR
Update to have a stay of the Final Rule at this time, to maintain the status quo, the
power plants in these two states must be kept in their own trading program for the
time being.
       86. Implementing these administrative measures has necessitated the
reallocation of staff time and resources, during a time when the Agency would
25
  See Notice of Forthcoming EPA Action to Address Judicial Stay Orders (June 1, 2023),
available at https://www.epa.gov/csapr/notice-forthcoming-epa-action-address-judicial-stay-
orders.

                                              28
           Case: 23-3216      Document: 32-3       Filed: 06/16/2023      Page: 236




have focused its resources on assisting stakeholders in the implementation of the
Plan to effectuate its public health and welfare benefits. However, the disruption
caused by state-specific judicial stays of the Final Rule extends well beyond EPA’s
administrative burdens.
      87. By far the most concerning consequence of a stay is the effect on the
downwind areas in other states that face continuing violating ozone levels and
ratcheting, mandatory ozone-nonattainment requirements. Beyond the continuing
harm to public health that ozone levels above the NAAQS signify, the failure to
eliminate upwind states’ significant contribution under the Good Neighbor
Provision is also contributing to downwind areas’ increased regulatory burdens
under the Act, and staying the Final Rule (and thus the Good Neighbor Plan) will
exacerbate the consequences of this already-delayed implementation.26
       88. Kentucky’s emissions are linked to designated ozone nonattainment
areas in five states: the Muskegon, Michigan nonattainment area, the Cleveland,
Ohio nonattainment area, and the New York-New Jersey-Connecticut
nonattainment area.27 Each of these areas is now in Moderate nonattainment of the
2015 ozone NAAQS.28 Downwind state obligations to attain the NAAQS,
including for these five states, are now driven by the statutory attainment date of
August 3, 2024, for Moderate areas. Areas that fail to attain by that date will be
reclassified (or “bumped up”) to Serious nonattainment, indicating persistent
unhealthy air and triggering even greater regulatory obligations. See 42 U.S.C. §§
7511(b)(2), 7511a(c).
       89. Because attainment is determined using an average of the three prior
calendar years’ monitoring data, the last year that air quality data may impact
whether nonattainment areas are found to have attained by the 2024 attainment
date is 2023. Thus, the objective of the Plan is to obtain emissions reductions from
power plants that EPA found were achievable using existing, installed control
technology in 2023 to improve ozone levels in downwind areas through
eliminating, to the extent possible, the upwind states’ “significant contribution” by

26
   In Maryland v. EPA, 958 F.3d 1185, the D.C. Circuit held that states and EPA are obligated to
eliminate significant contribution under the Good Neighbor Provision for the 2015 ozone
NAAQS no later than the Marginal area attainment date, which fell on August 3, 2021. Thus,
2020 should have been the relevant year for analysis and, to the extent possible, elimination of
significant contribution. See Final Rule, 88 FR 9336, 9340-41 (discussing EPA’s interpretation
of the Maryland holding).
27
   Air Quality Modeling Final Rule TSD, Appendix C, available at
https://www.epa.gov/csapr/good-neighbor-plan-2015-ozone-naaqs.
28
   EPA Green Book, 8-Hour Ozone (2015) Nonattainment Areas (data current as of May 31,
2023), https://www3.epa.gov/airquality/greenbook/jnc.html.

                                              29
           Case: 23-3216       Document: 32-3       Filed: 06/16/2023      Page: 237




this year. This aspect of the Plan’s design was done to comply with judicial
holdings in Wisconsin v. EPA, 938 F.3d 303 (D.C. Cir. 2019) and Maryland v.
EPA, 958 F.3d 1185 (D.C. Cir. 2020), among others. See Good Neighbor Plan, 88
FR at 36754-58.

       90. Nonattainment areas that had been classified originally as Marginal
nonattainment, including the Muskegon and Cleveland nonattainment areas, have
already faced one attainment deadline under the 2015 ozone NAAQS with no relief
from the significant contribution of upwind states.29 Under the CAA, Marginal
areas that failed to attain by the August 3, 2021 attainment date were mandatorily
reclassified to Moderate nonattainment, making them subject to a January 1, 2023
deadline to submit a new SIP and, by that same date, to implement, among other
requirements, reasonably available control measures (RACM) and reasonably
available control technology (RACT). See 87 FR 60897, 60900 (Oct. 7, 2022).30
       91. This schedule is driven by the statute at §§ 7511 and 7511a, as well as
EPA’s implementation regulations, 40 CFR 51.1312(a)(3)(i). These regulations
established a RACT implementation deadline for areas initially classified Moderate
as no later than January 1, 2023. The need for emissions reductions in 2023 is also
informed by the modeling and attainment demonstration requirements in 40 CFR
51.1308(d), which requires a state to provide for implementation of all control
measures needed for attainment no later than the beginning of the attainment year
ozone season (i.e., 2023).
       92. This Court’s administrative stay of the Final Rule as to Kentucky has
in turn required EPA to stay the Good Neighbor Plan as to Kentucky. If the stay of
the Final Rule is not lifted, Kentucky’s emissions that significantly contribute to
the ozone nonattainment areas in five states will continue unabated at least through
2023. If every upwind state obtained a stay of the Final Rule blocking EPA’s FIP
authority, as Kentucky has, then downwind areas like Muskegon, Michigan,
Cleveland, Ohio, and the New York-New Jersey-Connecticut region will once
again face an attainment deadline with no relief from the significant contribution
from upwind sources.


29
   The New York-New Jersey-Connecticut nonattainment area was originally classified as in
Moderate nonattainment.
30
   Other substantial requirements are triggered by the Moderate classification, including: making
an attainment demonstration, implementing reasonable further progress (RFP) requirements,
establishing a motor vehicle inspection and maintenance program, and complying with a higher
emissions offset ratio before new major sources can be permitted to construct. See generally 42
U.S.C. § 7511a(b).

                                               30
          Case: 23-3216     Document: 32-3      Filed: 06/16/2023   Page: 238




        93. If these nonattainment areas fail to attain based on the monitoring data
for the 2021-2023 period, they would likely be reclassified to Serious
nonattainment as of the August 3, 2024 attainment date, meaning a cascade of
additional, statutorily mandated requirements would be triggered on top of the
requirements already mandated for Moderate areas. See generally 42 U.S.C. §
7511a(c). Among other things, the application of RACT on existing sources and
major new source permitting requirements begins to apply to sources half the size
of those subject to these requirements at lesser ozone-nonattainment classifications
(i.e., sources with the potential to emit just 50 tons per year of ozone precursors,
rather than 100 tons per year). Id.; id. § 7511a(f)(1).31
       94. These ratcheting statutory requirements have obvious implications for
industrial expansion, economic development, and tax base in nonattainment areas.
Meanwhile, with no Good Neighbor requirements in place, an upwind state’s
existing sources may continue to emit at levels that are significantly contributing to
the downwind area’s ozone violations, even when cost-effective emissions control
measures for those sources have been found to be available.
       95. Finally, areas that stand to benefit from and which are relying upon
the air quality improvements of the Good Neighbor Plan extend beyond just those
“receptor” areas that were identified in EPA’s modeling. Areas throughout the
country were reclassified to Moderate nonattainment in EPA’s October 2022
action (see paragraph 90), including cities such as Baltimore, Cincinnati,
Louisville, Philadelphia, St. Louis, and Washington, DC. See 88 FR at 60899
(Table 1) (listing all areas that failed to attain). EPA and state air planning agencies
had counted on taking the air quality benefits of the Good Neighbor Plan into
account in numerous regulatory actions associated with these areas. Indeed, actions
have already been planned or have been taken that rely on the air quality benefits
of the Good Neighbor Plan, assuming it would take effect in 2023. See, e.g., Air
Plan Approval; Michigan; Redesignation of the Detroit MI Area to Attainment for
the 2015 Ozone Standards, 88 FR 32594, 32605 (May 19, 2023).
       96. The nationwide improvement in ozone levels from the Plan illustrated
in Figure 1 above (see paragraph 13) thus provides both health and regulatory-
relief benefits to both upwind and downwind states across a wide swath of the

31
  The New York-New Jersey-Connecticut nonattainment area is currently in Severe
nonattainment for the 2008 ozone NAAQS. EPA Green Book, 8-Hour Ozone (2008)
Nonattainment Areas (data current as of May 31, 2023),
https://www3.epa.gov/airquality/greenbook/hnc.html. Muskegon and Cleveland are not
designated nonattainment for the 2008 ozone NAAQS or prior ozone NAAQS and so face these
requirements for the first time.

                                           31
         Case: 23-3216    Document: 32-3     Filed: 06/16/2023                    Page: 239




country. Staying the Final Rule as to Kentucky or other upwind states disrupts the
planning of both EPA and state air agencies, shifts the regulatory compliance
burden to the sources in downwind areas, and frustrates the fundamental purpose
of the Act to expeditiously meet and maintain the nation’s air quality standards.



                                SO DECLARED:

                                RONA          Digitally signed by RONA BIRNBAUM
                                              Date: 2023.06.07 10:50:28 -04'00'
                                BIRNBAUM
                                ____________________________
                                Rona Birnbaum, Director
                                Clean Air Markets Division

                                DATED: June 7, 2023




                                        32
         Case: 23-3216    Document: 32-3   Filed: 06/16/2023   Page: 240




                                     EXHIBIT 7

EPA, Proposed Rule, Air Plan Disapproval; Kentucky; Interstate Transport

Requirements for the 2015 8-Hour Ozone National Ambient Air Quality Standards,

87 Fed. Reg. 9498 (Feb. 22, 2022).
                                                                         Case: 23-3216                  Document: 32-3                  Filed: 06/16/2023               Page: 241
                                                9498                   Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                the Administrator intends to exercise                   List of Subjects in 40 CFR Part 52                    December 30, 2019, at 84 FR 71854, is
                                                the complete discretion afforded to him                   Environmental protection, Air                       withdrawn.
                                                under the CAA to make and publish a                     pollution control, Incorporation by                   ADDRESSES: You may submit comments,
                                                finding that the final action (to the                   reference, Ozone.                                     identified by Docket No. EPA–R04–
                                                extent a court finds the action to be                     Authority: 42 U.S.C. 7401 et seq.                   OAR–2021–0841, through the Federal
                                                locally or regionally applicable) is based                                                                    eRulemaking Portal at https://
                                                on a determination of ‘‘nationwide                        Dated: January 31, 2022.                            www.regulations.gov following the
                                                scope or effect’’ within the meaning of                 Lisa Garcia,                                          online instructions for submitting
                                                CAA section 307(b)(1). Through this                     Regional Administrator, Region 2.                     comments.
                                                rulemaking action (in conjunction with                  [FR Doc. 2022–02946 Filed 2–18–22; 8:45 am]              Instructions: All submissions received
                                                a series of related actions on other SIP                BILLING CODE 6560–50–P                                must include the Docket No. EPA–R04–
                                                submissions for the same CAA                                                                                  OAR–2021–0841 for this rulemaking.
                                                obligations), the EPA interprets and                                                                          Comments received may be posted
                                                applies section 110(a)(2)(d)(i)(I) of the               ENVIRONMENTAL PROTECTION                              without change to https://
                                                CAA for the 2015 ozone NAAQS based                      AGENCY                                                www.regulations.gov/, including any
                                                on a common core of nationwide policy                                                                         personal information provided. For
                                                                                                        40 CFR Part 52                                        detailed instructions on submitting
                                                judgments and technical analysis
                                                concerning the interstate transport of                  [EPA–R04–OAR–2021–0841; EPA–HQ–                       comments and additional information
                                                pollutants throughout the continental                   OAR–2021–0663; FRL–9423–01–R4]                        on the rulemaking process, see the
                                                U.S. In particular, the EPA is applying                                                                       ‘‘Public Participation’’ heading of the
                                                                                                        Air Plan Disapproval; Kentucky;                       SUPPLEMENTARY INFORMATION section of
                                                here (and in other proposed actions
                                                                                                        Interstate Transport Requirements for                 this document. Out of an abundance of
                                                related to the same obligations) the
                                                                                                        the 2015 8-Hour Ozone National                        caution for members of the public and
                                                same, nationally consistent 4-step                      Ambient Air Quality Standards                         staff, the EPA Docket Center and
                                                framework for assessing good neighbor
                                                                                                        AGENCY: Environmental Protection
                                                                                                                                                              Reading Room are open to the public by
                                                obligations for the 2015 ozone NAAQS.
                                                                                                        Agency (EPA).                                         appointment only to reduce the risk of
                                                The EPA relies on a single set of
                                                                                                                                                              transmitting COVID–19. The Docket
                                                updated, 2016-base year photochemical                   ACTION: Proposed rule.
                                                                                                                                                              Center staff also continues to provide
                                                grid modeling results of the year 2023                                                                        remote customer service via email,
                                                                                                        SUMMARY: Pursuant to the Federal Clean
                                                as the primary basis for its assessment                                                                       phone, and webform. For further
                                                of air quality conditions and                           Air Act (CAA or the Act), the
                                                                                                        Environmental Protection Agency (EPA                  information on EPA Docket Center
                                                contributions at Steps 1 and 2 of that                                                                        services and the current status, please
                                                                                                        or Agency) is proposing to disapprove a
                                                framework. Further, the EPA proposes                                                                          visit EPA online at https://
                                                                                                        State Implementation Plan (SIP)
                                                to determine and apply a set of                                                                               www.epa.gov/dockets.
                                                                                                        submittal from the Kentucky Energy and
                                                nationally consistent policy judgments                                                                        FOR FURTHER INFORMATION CONTACT:
                                                                                                        Environment Cabinet, Department of
                                                to apply the 4-step framework. The EPA                                                                        Evan Adams of the Air Regulatory
                                                                                                        Environmental Quality (DAQ) (herein
                                                has selected a nationally uniform                                                                             Management Section, Air Planning and
                                                                                                        after referred to as Kentucky or the
                                                analytic year (2023) for this analysis and                                                                    Implementation Branch, Air and
                                                                                                        Commonwealth) regarding the interstate
                                                is applying a nationally uniform                                                                              Radiation Division, U.S. Environmental
                                                                                                        transport requirements for the 2015 8-
                                                approach to nonattainment and                                                                                 Protection Agency, Region 4, 61 Forsyth
                                                                                                        hour ozone national ambient air quality
                                                maintenance receptors and a nationally                                                                        Street SW, Atlanta, Georgia 30303–8960.
                                                                                                        standards (NAAQS or standard). The
                                                uniform approach to contribution                                                                              Mr. Adams can be reached by telephone
                                                                                                        ‘‘Good Neighbor’’ or ‘‘Interstate
                                                threshold analysis.61 For these reasons,                Transport’’ provision requires that each              at (404) 562–9009, or via electronic mail
                                                the Administrator intends, if this                      state’s implementation plan contain                   at adams.evan@epa.gov.
                                                proposed action is finalized, to exercise               adequate provisions to prohibit                       SUPPLEMENTARY INFORMATION: Public
                                                the complete discretion afforded to him                 emissions from within the state from                  Participation: Submit your comments,
                                                under the CAA to make and publish a                     significantly contributing to                         identified by Docket No. EPA–R04–
                                                finding that this action is based on one                nonattainment or interfering with                     OAR–2021–0841, at https://
                                                or more determinations of nationwide                    maintenance of the NAAQS in other                     www.regulations.gov. Once submitted,
                                                scope or effect for purposes of CAA                     states. This requirement is part of the               comments cannot be edited or removed
                                                section 307(b)(1).62                                    broader set of ‘‘infrastructure’’                     from the docket. EPA may publish any
                                                                                                        requirements, which are designed to                   comment received to its public docket.
                                                  61 A finding of nationwide scope or effect is also
                                                                                                        ensure that the structural components of              Do not submit to EPA’s docket at
                                                appropriate for actions that cover states in multiple
                                                judicial circuits. In the report on the 1977            each state’s air quality management                   https://www.regulations.gov any
                                                Amendments that revised section 307(b)(1) of the        program are adequate to meet the state’s              information you consider to be
                                                CAA, Congress noted that the Administrator’s            responsibilities under the CAA. This                  Confidential Business Information (CBI)
                                                determination that the ‘‘nationwide scope or effect’’   disapproval, if finalized, will establish a           or other information whose disclosure is
                                                exception applies would be appropriate for any
                                                action that has a scope or effect beyond a single       2-year deadline for EPA to promulgate                 restricted by statute. Multimedia
                                                judicial circuit. See H.R. Rep. No. 95–294 at 323,      a Federal Implementation Plan (FIP) to                submissions (audio, video, etc.) must be
                                                324, reprinted in 1977 U.S.C.C.A.N. 1402–03.            address the relevant interstate transport             accompanied by a written comment.
                                                  62 The EPA may take a consolidated, single final
                                                                                                        requirements, unless EPA approves a                   The written comment is considered the
lotter on DSK11XQN23PROD with PROPOSALS1




                                                action on all the proposed SIP disapproval actions
                                                with respect to obligations under CAA section
                                                                                                        subsequent SIP submittal that meets                   official comment and should include
                                                110(a)(2)(D)(i)(I) for the 2015 ozone NAAQS.            these requirements. Disapproval does                  discussion of all points you wish to
                                                Should EPA take a single final action on all such       not start a mandatory sanctions clock.                make. EPA will generally not consider
                                                disapprovals, this action would be nationally           DATES: Comments must be received on                   comments or comment contents located
                                                applicable, and the EPA would also anticipate, in
                                                the alternative, making and publishing a finding        or before April 25, 2022.                             outside of the primary submission (i.e.,
                                                that such final action is based on a determination         Withdrawals: As of February 22, 2022,              on the web, cloud, or other file sharing
                                                of nationwide scope or effect.                          the proposed rule published in                        system).


                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00044   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                        Case: 23-3216                  Document: 32-3                   Filed: 06/16/2023                Page: 242
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                     9499

                                                   There are two dockets supporting this                   D. Summary of Conclusions From                      state (prong 2). EPA and states must give
                                                action, EPA–R04–OAR–2021–0841 and                             Kentucky                                         independent significance to prong 1 and
                                                EPA–HQ–OAR–2021–0663. Docket No.                           E. Summary of Midwest Ozone Group TSD               prong 2 when evaluating downwind air
                                                                                                              Appended to Kentucky’s Submittal
                                                EPA–R04–OAR–2021–0841 contains                                                                                 quality problems under CAA section
                                                                                                        III. EPA’s Evaluation of Kentucky’s 2015 8-
                                                information specific to Kentucky,                             Hour Ozone Interstate Transport SIP              110(a)(2)(D)(i)(I).3
                                                including this notice of proposed                             Submission                                       B. Description of EPA’s Four Step
                                                rulemaking. Docket No. EPA–HQ–OAR–                         A. Results of EPA’s Step 1 and Step 2               Interstate Transport Regulatory Process
                                                2021–0663 contains additional                                 Modeling and Findings for Kentucky
                                                modeling files, emissions inventory                        B. Evaluation of Information Provided by               EPA is using the 4-step interstate
                                                files, technical support documents, and                       Kentucky Regarding Step 1                        transport framework (or 4-step
                                                other relevant supporting                                  C. Evaluation of Information Provided by            framework) to evaluate the states’
                                                                                                              Kentucky Regarding Step 2                        implementation plan submittals
                                                documentation regarding interstate                         D. Evaluation of Information Provided by
                                                transport of emissions for the 2015 8-                                                                         addressing the interstate transport
                                                                                                              Kentucky Regarding Step 3
                                                hour ozone NAAQS which are being                                                                               provision for the 2015 8-hour ozone
                                                                                                           E. Evaluation of Information Provided by
                                                used to support this action. All                              Kentucky Regarding Step 4                        NAAQS. EPA has addressed the
                                                comments regarding information in                          F. Conclusion                                       interstate transport requirements of
                                                either of these dockets are to be made                  IV. Proposed Action                                    CAA section 110(a)(2)(D)(i)(I) with
                                                in Docket No. EPA–R04–OAR–2021–                         V. Statutory and Executive Order Reviews               respect to prior ozone NAAQS in
                                                0841. For the full EPA public comment                                                                          several regional regulatory actions,
                                                                                                        I. Background                                          including the Cross-State Air Pollution
                                                policy, information about CBI or
                                                                                                           The following provides background                   Rule (CSAPR), which addressed
                                                multimedia submissions, and general
                                                                                                        for EPA’s proposed action related to the               interstate transport with respect to the
                                                guidance on making effective
                                                                                                        interstate transport requirements for the              1997 ozone NAAQS as well as the 1997
                                                comments, please visit https://
                                                                                                        2015 8-hour ozone NAAQS for the                        and 2006 fine particulate matter
                                                www.epa.gov/dockets/commenting-epa-
                                                                                                        Commonwealth of Kentucky.                              standards,4 the Cross-State Air Pollution
                                                dockets. Due to public health concerns
                                                related to COVID–19, the EPA Docket                                                                            Rule Update (CSAPR Update) 5 and the
                                                                                                        A. Description of Statutory Background
                                                Center and Reading Room are open to                                                                            Revised CSAPR Update, both of which
                                                                                                           On October 1, 2015, EPA promulgated                 addressed the 2008 ozone NAAQS.6
                                                the public by appointment only. The                     a revision to the ozone NAAQS (2015 8-                    Through the development and
                                                Docket Center staff also continues to                   hour ozone NAAQS), lowering the level                  implementation of the CSAPR
                                                provide remote customer service via                     of both the primary and secondary                      rulemakings and prior regional
                                                email, phone, and webform. For further                  standards to 0.070 parts per million                   rulemakings pursuant to the interstate
                                                information and updates on EPA Docket                   (ppm).1 Section 110(a)(1) of the CAA                   transport provision,7 EPA, working in
                                                Center services, please visit EPA online                requires states to submit, within 3 years              partnership with states, developed the
                                                at https://www.epa.gov/dockets.                         after promulgation of a new or revised                 following 4-step interstate transport
                                                   EPA continues to carefully and                       standard, SIP submissions meeting the                  framework to evaluate a state’s
                                                continuously monitor information from                   applicable requirements of section                     obligations to eliminate interstate
                                                the Centers for Disease Control and                     110(a)(2).2 One of these applicable                    transport emissions under the interstate
                                                Prevention (CDC), local area health                     requirements is found in CAA section                   transport provision for the ozone
                                                departments, and Federal partners so                    110(a)(2)(D)(i)(I), otherwise known as                 NAAQS: (1) Identify monitoring sites
                                                that EPA can respond rapidly as                         the ‘‘good neighbor’’ or ‘‘interstate                  that are projected to have problems
                                                conditions change regarding COVID–19.                   transport’’ provision, which generally                 attaining and/or maintaining the
                                                   The indices to Docket No. EPA–R04–                   requires SIPs to contain adequate                      NAAQS (i.e., nonattainment and/or
                                                OAR–2021–0841 and Docket No. EPA–                       provisions to prohibit in-state emissions              maintenance receptors); (2) identify
                                                HQ–OAR–2021–0663 are available                          activities from having certain adverse
                                                electronically at www.regulations.gov.                  air quality effects on other states due to                3 See North Carolina v. EPA, 531 F.3d 896, 909–
                                                While all documents in each docket are                  interstate transport of pollution. There               11 (D.C. Cir. 2008).
                                                listed in their respective index, some                  are two so-called ‘‘prongs’’ within CAA                   4 See Federal Implementation Plans: Interstate

                                                information may not be publicly                         section 110(a)(2)(D)(i)(I). A SIP for a
                                                                                                                                                               Transport of Fine Particulate Matter and Ozone and
                                                available due to docket file size                                                                              Correction of SIP Approvals, 76 FR 48208 (August
                                                                                                        new or revised NAAQS must contain                      8, 2011).
                                                restrictions or content (e.g., CBI).                    adequate provisions prohibiting any                       5 Cross-State Air Pollution Rule Update for the

                                                Table of Contents                                       source or other type of emissions                      2008 Ozone NAAQS, 81 FR 74504 (October 26,
                                                                                                                                                               2016).
                                                                                                        activity within the state from emitting
                                                I. Background                                                                                                     6 In 2019, the United States Court of Appeals for
                                                                                                        air pollutants in amounts that will                    the District of Columbia Circuit (D.C. Circuit)
                                                   A. Description of Statutory Background
                                                   B. Description of EPA’s Four Step                    significantly contribute to                            remanded the CSAPR Update to the extent it failed
                                                     Interstate Transport Regulatory Process            nonattainment of the NAAQS in another                  to require upwind states to eliminate their
                                                                                                        state (prong 1) or interfere with                      significant contribution by the next applicable
                                                   C. Background on EPA’s Ozone Transport                                                                      attainment date by which downwind states must
                                                     Modeling Information                               maintenance of the NAAQS in another                    come into compliance with the NAAQS, as
                                                   D. EPA’s Approach to Evaluating Interstate                                                                  established under CAA section 181(a). Wisconsin v.
                                                     Transport SIPs for the 2015 8-Hour                   1 National Ambient Air Quality Standards for         EPA, 938 F.3d 303, 313 (D.C. Cir. 2019). The
                                                     Ozone NAAQS                                        Ozone, Final Rule, 80 FR 65292 (October 26, 2015).     Revised CSAPR Update for the 2008 Ozone
                                                II. Summary of Kentucky’s 2015 8-Hour                   Although the level of the standard is specified in     NAAQS, 86 FR 23054 (April 30, 2021), responded
lotter on DSK11XQN23PROD with PROPOSALS1




                                                     Ozone Interstate Transport SIP                     the units of ppm, ozone concentrations are also        to the remand of the CSAPR Update in Wisconsin
                                                     Submission                                         described in parts per billion (ppb). For example,     and the vacatur of a separate rule, the ‘‘CSAPR
                                                                                                        0.070 ppm is equivalent to 70 ppb.                     Close-Out,’’ 83 FR 65878 (December 21, 2018), in
                                                   A. Information Related to Emission Trends              2 SIP revisions that are intended to meet the        New York v. EPA, 781 F. App’x. 4 (D.C. Cir. 2019).
                                                     From Kentucky Sources                              applicable requirements of section 110(a)(1) and (2)      7 In addition to CSAPR rulemakings, other
                                                   B. Information Related to Connecticut                of the CAA are often referred to as infrastructure     regional rulemakings addressing ozone transport
                                                     Monitors Provided by Kentucky                      SIPs and the applicable elements under section         include the ‘‘NOX SIP Call,’’ 63 FR 57356 (October
                                                   C. Information Related to the Harford,               110(a)(2) are referred to as infrastructure            27, 1998), and the ‘‘Clean Air Interstate Rule’’
                                                     Maryland Monitor Provided by Kentucky              requirements.                                          (CAIR), 70 FR 25162 (May 12, 2005).



                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00045   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                        Case: 23-3216                  Document: 32-3                   Filed: 06/16/2023               Page: 243
                                                9500                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                states that impact those air quality                    interstate transport obligations for the                  Since the release of the modeling data
                                                problems in other (i.e., downwind)                      2008 ozone NAAQS.10 On March 27,                       shared in the March 2018
                                                states sufficiently such that the states                2018, EPA issued a memorandum                          memorandum, EPA performed updated
                                                are considered ‘‘linked’’ and therefore                 (March 2018 memorandum) noting that                    modeling using a 2016-based emissions
                                                warrant further review and analysis; (3)                the same 2023 modeling data released in                modeling platform (i.e., 2016v1). This
                                                identify the emissions reductions                       the October 2017 memorandum could                      emissions platform was developed
                                                necessary (if any), applying a                          also be useful for identifying potential               under the EPA/Multi-Jurisdictional
                                                multifactor analysis, to eliminate each                 downwind air quality problems with                     Organization (MJO)/state collaborative
                                                linked upwind state’s significant                       respect to the 2015 8-hour ozone                       project.14 This collaborative project was
                                                contribution to nonattainment or                        NAAQS at Step 1 of the 4-step interstate               a multi-year joint effort by EPA, MJOs,
                                                interference with maintenance of the                    transport framework.11 The March 2018                  and states to develop a new, more recent
                                                NAAQS at the locations identified in                    memorandum also included the then                      emissions platform for use by EPA and
                                                Step 1; and (4) adopt permanent and                     newly available contribution modeling                  states in regulatory modeling as an
                                                enforceable measures needed to achieve                  data for 2023 to assist states in                      improvement over the dated 2011-based
                                                those emissions reductions.                             evaluating their impact on potential                   platform that EPA had used to project
                                                                                                        downwind air quality problems for the                  ozone design values and contribution
                                                C. Background on EPA’s Ozone
                                                                                                        2015 8-hour ozone NAAQS under Step                     data provided in the 2017 and 2018
                                                Transport Modeling Information
                                                                                                        2 of the 4-step interstate transport                   memoranda. EPA used the 2016v1
                                                  In general, EPA has performed                         framework.12 EPA subsequently issued                   emissions to project ozone design values
                                                nationwide air quality modeling to                      two more memoranda in August and                       and contributions for 2023. On October
                                                project ozone design values which are                   October 2018, providing additional                     30, 2020, in the Notice of Proposed
                                                used in combination with measured                       information to states developing                       Rulemaking for the Revised CSAPR
                                                data to identify nonattainment and                      interstate transport SIP submissions for               Update, EPA released and accepted
                                                maintenance receptors. To quantify the                  the 2015 8-hour ozone NAAQS                            public comment on 2023 modeling that
                                                contribution of emissions from specific                 concerning, respectively, potential                    used the 2016v1 emissions platform.15
                                                upwind states on 2023 ozone design                      contribution thresholds that may be                    Although the Revised CSAPR Update
                                                values for the identified downwind                      appropriate to apply in Step 2 of the 4-               addressed transport for the 2008 ozone
                                                nonattainment and maintenance                           step interstate transport framework, and               NAAQS, the projected design values
                                                receptors, EPA performed nationwide,                    considerations for identifying                         and contributions from the 2016v1
                                                state-level ozone source apportionment                  downwind areas that may have                           platform are also useful for identifying
                                                modeling for 2023. The source                           problems maintaining the standard at                   downwind ozone problems and linkages
                                                apportionment modeling provided                         Step 1 of the 4-step interstate transport              with respect to the 2015 8-hour ozone
                                                contributions to ozone at receptors from                framework.13                                           NAAQS.16
                                                precursor emissions of anthropogenic
                                                                                                                                                                  Following the Revised CSAPR Update
                                                nitrogen oxides (NOX) and volatile                         10 See Information on the Interstate Transport
                                                                                                                                                               final rule, EPA made further updates to
                                                organic compounds (VOCs) in                             State Implementation Plan Submissions for the
                                                                                                        2008 Ozone National Ambient Air Quality                the 2016 emissions platform to include
                                                individual upwind states.
                                                  EPA has released several documents                    Standards under Clean Air Act Section                  mobile emissions from EPA’s Motor
                                                                                                        110(a)(2)(D)(i)(I), October 27, 2017 (‘‘October 2017   Vehicle Emission Simulator (MOVES)
                                                containing projected design values,                     memorandum’’), available in Docket No. EPA–HQ–
                                                contributions, and information relevant                 OAR–2021–0663 or at https://www.epa.gov/
                                                                                                                                                               model 17 and updated emissions
                                                to evaluating interstate transport with                 interstate-air-pollution-transport/interstate-air-     projections for electric generating units
                                                respect to the 2015 8-hour ozone                        pollution-transport-memos-and-notices.                 (EGUs) that reflect the emissions
                                                                                                           11 See Information on the Interstate Transport
                                                NAAQS. First, on January 6, 2017, EPA                                                                          reductions from the Revised CSAPR
                                                                                                        State Implementation Plan Submissions for the
                                                published a notice of data availability                 2015 Ozone National Ambient Air Quality
                                                                                                                                                               Update, recent information on plant
                                                (NODA) in which the Agency requested                    Standards under Clean Air Act Section                  closures, and other sector trends. The
                                                comment on preliminary interstate                       110(a)(2)(D)(i)(I), March 27, 2018 (‘‘March 2018       construct of the updated emissions
                                                                                                        memorandum’’), available in Docket No. EPA–HQ–         platform, 2016v2, is described in the
                                                ozone transport data including projected                OAR–2021–0663 or at https://www.epa.gov/
                                                ozone design values and interstate                      interstate-air-pollution-transport/interstate-air-
                                                                                                                                                               Preparation of Emissions Inventories for
                                                contributions for 2023 using a 2011 base                pollution-transport-memos-and-notices.                 the 2016v2 North American Emissions
                                                year platform.8 In the NODA, EPA used                      12 The March 2018 memorandum, however,              Modeling Platform technical support
                                                                                                        provided, ‘‘While the information in this              document (TSD) for this proposed rule
                                                the year 2023 as the analytic year for                  memorandum and the associated air quality
                                                this preliminary modeling because that                  analysis data could be used to inform the
                                                                                                                                                               and is included in Docket No. EPA–HQ–
                                                year aligns with the expected attainment                development of these SIPs, the information is not      OAR–2021–0663. EPA performed air
                                                year for Moderate ozone nonattainment                   a final determination regarding states’ obligations    quality modeling of the 2016v2
                                                                                                        under the good neighbor provision. Any such            emissions using the most recent public
                                                areas for the 2015 8-hour ozone                         determination would be made through notice-and-
                                                NAAQS.9 On October 27, 2017, EPA                        comment rulemaking.’’
                                                                                                                                                               release version of the Comprehensive
                                                released a memorandum (October 2017                        13 See Analysis of Contribution Thresholds for      Air Quality Modeling with Extensions
                                                memorandum) containing updated                          Use in Clean Air Act Section 110(a)(2)(D)(i)(I)        (CAMx) photochemical modeling,
                                                modeling data for 2023, which                           Interstate Transport State Implementation Plan
                                                                                                        Submissions for the 2015 Ozone National Ambient
                                                incorporated changes made in response                   Air Quality Standards, August 31, 2018) (‘‘August
                                                                                                                                                                 14 The results of this modeling, as well as the

                                                to comments on the NODA, and noted                      2018 memorandum’’), and Considerations for             underlying modeling files, are included in Docket
                                                                                                        Identifying Maintenance Receptors for Use in Clean     No. EPA–HQ–OAR–2021–0663.
                                                that the modeling may be useful for
lotter on DSK11XQN23PROD with PROPOSALS1




                                                                                                                                                                 15 See 85 FR 68964, 68981 (October 30, 2020).
                                                                                                        Air Act Section 110(a)(2)(D)(i)(I) Interstate
                                                states developing SIPs to address                       Transport State Implementation Plan Submissions          16 See the Air Quality Modeling Technical

                                                                                                        for the 2015 Ozone National Ambient Air Quality        Support Document for the Final Revised Cross-State
                                                  8 See Notice of Availability of the Environmental                                                            Air Pollution Rule Update, included in Docket No.
                                                                                                        Standards, October 19, 2018 (‘‘October 2018
                                                Protection Agency’s Preliminary Interstate Ozone        memorandum’’), available in Docket No. EPA–HQ–         EPA–HQ–OAR–2021–0663.
                                                Transport Modeling Data for the 2015 8-hour Ozone       OAR–2021–0663 for this action or at https://             17 Additional details and documentation related
                                                National Ambient Air Quality Standard (NAAQS),          www.epa.gov/airmarkets/memo-and-supplemental-          to the MOVES3 model can be found at https://
                                                82 FR 1733 (January 6, 2017).                           information-regarding-interstate-transport-sips-       www.epa.gov/moves/latest-version-motor-vehicle-
                                                  9 See 82 FR 1733, 1735 (January 6, 2017).             2015-ozone-naaqs.                                      emission-simulator-moves.



                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00046   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                        Case: 23-3216                  Document: 32-3                    Filed: 06/16/2023               Page: 244
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                     9501

                                                version 7.10.18 EPA proposes to                         an ‘‘efficient and equitable’’ approach.               of nonattainment and maintenance
                                                primarily rely on modeling based on the                 See EME Homer City Generation, LP v.                   receptors, selection of contribution
                                                updated and newly available 2016v2                      EPA, 572 U.S. 489, 519 (2014).                         threshold, and multifactor control
                                                emissions platform in evaluating these                     In the March, August, and October                   strategy assessment.
                                                submissions with respect to Steps 1 and                 2018 memoranda, EPA recognized that
                                                                                                        states may be able to establish                        1. Selection of Analytic Year
                                                2 of the 4-step interstate transport
                                                framework. By using the updated                         alternative approaches to addressing                     In general, the states and EPA must
                                                modeling results, EPA is using the most                 their interstate transport obligations for             implement the interstate transport
                                                current and technically appropriate                     the 2015 8-hour ozone NAAQS that vary                  provision in a manner ‘‘consistent with
                                                information for this proposed                           from a nationally uniform framework.                   the provisions of [title I of the CAA].’’
                                                rulemaking. Section III of this notice                  EPA emphasized in these memoranda,                     See CAA section 110(a)(2)(D)(i). This
                                                and the Air Quality Modeling TSD                        however, that such alternative                         requires, among other things, that these
                                                included in Docket No. EPA–HQ–OAR–                      approaches must be technically justified               obligations are addressed consistently
                                                2021–0663 for this proposal contain                     and appropriate in light of the facts and              with the timeframes for downwind areas
                                                additional detail on the modeling                       circumstances of each particular state’s               to meet their CAA obligations. With
                                                performed using the 2016v2 emissions                    submittal. In general, EPA continues to                respect to ozone NAAQS, under CAA
                                                modeling.                                               believe that deviation from a nationally               section 181(a), this means obligations
                                                   In this notice, EPA is accepting public              consistent approach to ozone transport                 must be addressed ‘‘as expeditiously as
                                                comment on this updated 2023                            must be substantially justified and have               practicable’’ and no later than the
                                                modeling, which uses the 2016v2                         a well-documented technical basis that                 schedule of attainment dates provided
                                                emissions platform. Details on the air                  is consistent with relevant case law.                  in CAA section 181(a)(1).22 Several D.C.
                                                quality modeling and the methods for                    Where states submitted SIPs that rely on               Circuit court decisions address the issue
                                                projecting design values and                            any such potential concepts as may                     of the relevant analytic year for the
                                                determining contributions in 2023 are                   have been identified or suggested in the               purposes of evaluating ozone transport
                                                described in the Air Quality Modeling                   past, EPA will evaluate whether the                    air-quality problems. On September 13,
                                                TSD for 2015 8-hour Ozone NAAQS                         state adequately justified the technical               2019, the D.C. Circuit issued a decision
                                                Transport SIP Proposed Actions.                         and legal basis for doing so.                          in Wisconsin v. EPA, remanding the
                                                Comments on EPA’s air quality                              EPA notes that certain potential                    CSAPR Update to the extent that it
                                                modeling should be submitted in Docket                  concepts included in an attachment to                  failed to require upwind states to
                                                No. EPA–R04–OAR–2021–0841.                              the March 2018 memorandum require                      eliminate their significant contribution
                                                Comments are not being accepted in                      unique consideration, and these ideas                  by the next applicable attainment date
                                                Docket No. EPA–HQ–OAR–2021–0663.                        do not constitute Agency guidance with                 by which downwind states must come
                                                   States may have chosen to rely on the                respect to transport obligations for the
                                                                                                                                                               into compliance with the NAAQS, as
                                                results of EPA modeling and/or                          2015 8-hour ozone NAAQS. Attachment
                                                                                                                                                               established under CAA section 181(a).
                                                alternative modeling performed by                       A to the March 2018 memorandum
                                                                                                                                                               See 938 F.3d 303, 313.
                                                states or Multi-Jurisdictional                          identified a ‘‘Preliminary List of
                                                                                                        Potential Flexibilities’’ that could                      On May 19, 2020, the D.C. Circuit
                                                Organizations (MJOs) to evaluate
                                                                                                        potentially inform SIP development.19                  issued a decision in Maryland v. EPA
                                                downwind air quality problems and
                                                                                                        However, EPA made clear in that                        that cited the Wisconsin decision in
                                                contributions as part of their
                                                                                                        attachment that the list of ideas were                 holding that EPA must assess the impact
                                                submissions. In section III, EPA
                                                                                                        not suggestions endorsed by the Agency                 of interstate transport on air quality at
                                                evaluates how Kentucky used air quality
                                                                                                        but rather ‘‘comments provided in                      the next downwind attainment date,
                                                modeling information in its submission.
                                                                                                        various forums’’ on which EPA sought                   including Marginal area attainment
                                                D. EPA’s Approach to Evaluating                         ‘‘feedback from interested                             dates, in evaluating the basis for EPA’s
                                                Interstate Transport SIPs for the 2015 8-               stakeholders.’’ 20 Further, Attachment A               denial of a petition under CAA section
                                                Hour Ozone NAAQS                                        stated, ‘‘EPA is not at this time making               126(b). Maryland v. EPA, 958 F.3d 1185,
                                                   EPA proposes to apply a consistent                   any determination that the ideas                       1203–04 (D.C. Cir. 2020). The court
                                                set of policy judgments across all states               discussed below are consistent with the                noted that ‘‘section 126(b) incorporates
                                                for purposes of evaluating interstate                   requirements of the CAA, nor [is EPA]                  the Good Neighbor Provision,’’ and,
                                                transport obligations and the                           specifically recommending that states                  therefore, ‘‘EPA must find a violation [of
                                                approvability of interstate transport SIP               use these approaches.’’ 21 Attachment A                section 126] if an upwind source will
                                                submittals for the 2015 8-hour ozone                    to the March 2018 memorandum,                          significantly contribute to downwind
                                                NAAQS. These policy judgments reflect                   therefore, does not constitute agency                  nonattainment at the next downwind
                                                consistency with relevant case law and                  guidance, but was intended to generate                 attainment deadline. Therefore, the
                                                past Agency practice as reflected in                    further discussion around potential                    agency must evaluate downwind air
                                                CSAPR and related rulemakings.                          approaches to addressing ozone                         quality at that deadline, not at some
                                                Nationwide consistency in approach is                   transport among interested stakeholders.               later date.’’ Id. at 1204 (emphasis
                                                particularly important in the context of                To the extent states sought to develop or              added). EPA interprets the court’s
                                                interstate ozone transport, which is a                  rely on these ideas in support of their                holding in Maryland as requiring the
                                                regional-scale pollution problem                        SIP submittals, EPA will thoroughly                    states and the Agency, under the good
                                                involving many smaller contributors.                    review the technical and legal                         neighbor provision, to assess downwind
                                                                                                                                                               air quality as expeditiously as
lotter on DSK11XQN23PROD with PROPOSALS1




                                                Effective policy solutions to the problem               justifications for doing so.
                                                of interstate ozone transport going back                   The remainder of this section                       practicable and no later than the next
                                                to the NOX SIP Call have necessitated                   describes EPA’s proposed framework
                                                                                                                                                                 22 For attainment dates for the 2015 8-hour ozone
                                                the application of a uniform framework                  with respect to analytic year, definition
                                                                                                                                                               NAAQS, refer to CAA section 181(a), 40 CFR
                                                of policy judgments in order to ensure                                                                         51.1303, and Additional Air Quality Designations
                                                                                                          19 March 2018 memorandum, Attachment A.
                                                                                                                                                               for the 2015 Ozone National Ambient Air Quality
                                                  18 Ramboll Environment and Health, January              20 Id. at A–1.
                                                                                                                                                               Standards, 83 FR 25776 (June 4, 2018, effective
                                                2021, www.camx.com.                                       21 Id.                                               August 3, 2018).



                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00047    Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                        Case: 23-3216                  Document: 32-3                   Filed: 06/16/2023               Page: 245
                                                9502                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                applicable attainment date,23 which is                  attaining and/or maintaining the                      that receptor. The variability in air
                                                now the Moderate area attainment date                   NAAQS in the 2023 analytic year.                      quality was determined by evaluating
                                                under CAA section 181 for ozone                         Where EPA’s analysis shows that a site                the ‘‘maximum’’ future design value at
                                                nonattainment. The Moderate area                        does not fall under the definition of a               each receptor based on a projection of
                                                attainment date for the 2015 8-hour                     nonattainment or maintenance receptor,                the maximum measured design value
                                                ozone NAAQS is August 3, 2024.24 EPA                    that site is excluded from further                    over the relevant period. EPA interprets
                                                believes that 2023 is now the                           analysis under EPA’s 4-step interstate                the projected maximum future design
                                                appropriate year for analysis of                        transport framework. For sites that are               value to be a potential future air quality
                                                interstate transport obligations for the                identified as a nonattainment or                      outcome consistent with the
                                                2015 8-hour ozone NAAQS, because the                    maintenance receptor in 2023, EPA                     meteorology that yielded maximum
                                                2023 ozone season is the last relevant                  proceeds to the next step of the 4-step               measured concentrations in the ambient
                                                ozone season during which achieved                      interstate transport framework by                     data set analyzed for that receptor (i.e.,
                                                emissions reductions in linked upwind                   identifying the upwind state’s                        ozone conducive meteorology). EPA
                                                states could assist downwind states                     contribution to those receptors.                      also recognizes that previously
                                                with meeting the August 3, 2024,                           EPA’s approach to identifying ozone                experienced meteorological conditions
                                                Moderate area attainment date for the                   nonattainment and maintenance                         (e.g., dominant wind direction,
                                                2015 8-hour ozone NAAQS.                                receptors in this action is consistent                temperatures, air mass patterns)
                                                   EPA recognizes that the attainment                   with the approach used in previous                    promoting ozone formation that led to
                                                date for nonattainment areas classified                 transport rulemakings. EPA’s approach                 maximum concentrations in the
                                                as Marginal for the 2015 8-hour ozone                   gives independent consideration to both               measured data may reoccur in the
                                                NAAQS was August 3, 2021. Under the                     the ‘‘contribute significantly to                     future. The maximum design value
                                                Maryland holding, any necessary                         nonattainment’’ and the ‘‘interfere with              gives a reasonable projection of future
                                                emissions reductions to satisfy interstate              maintenance’’ prongs of CAA section                   air quality at the receptor under a
                                                transport obligations should have been                  110(a)(2)(D)(i)(I), consistent with the               scenario in which such conditions do,
                                                implemented by no later than this date.                 D.C. Circuit’s direction in North                     in fact, reoccur. The projected
                                                At the time of the statutory deadline to                Carolina v. EPA.25                                    maximum design value is used to
                                                submit interstate transport SIPs (October                  For the purpose of this proposal, EPA              identify upwind emissions that, under
                                                1, 2018), many states relied upon EPA                   identifies nonattainment receptors as                 those circumstances, could interfere
                                                modeling of the year 2023, and no state                 those monitoring sites that are projected             with the downwind area’s ability to
                                                provided an alternative analysis using a                to have average design values that                    maintain the NAAQS.
                                                2021 analytic year (or the prior 2020                   exceed the NAAQS and that are also                       Recognizing that nonattainment
                                                ozone season). However, EPA must act                    measuring nonattainment based on the                  receptors are also, by definition,
                                                on SIP submittals using the information                 most recent monitored design values.                  maintenance receptors, EPA often uses
                                                available at the time it takes such action.             This approach is consistent with prior                the term ‘‘maintenance-only’’ to refer to
                                                In this circumstance, EPA does not                      transport rulemakings, such as the                    those receptors that are not
                                                believe it would be appropriate to                      CSAPR Update, where EPA defined                       nonattainment receptors. Consistent
                                                evaluate states’ obligations under CAA                  nonattainment receptors as those areas                with the concepts for maintenance
                                                section 110(a)(2)(D)(i)(I) as of an                     that both currently measure                           receptors, as described above, EPA
                                                attainment date that is wholly in the                   nonattainment and that EPA projects                   identifies ‘‘maintenance-only’’ receptors
                                                past, because the Agency interprets the                 will be in nonattainment in the future                as those monitoring sites that have
                                                interstate transport provision as forward               analytic year (i.e., 2023).26                         projected average design values above
                                                looking. See 86 FR 23054, 23074; see                       In addition, in this proposal, EPA                 the level of the applicable NAAQS, but
                                                also Wisconsin, 938 F.3d at 322.                        identifies a receptor to be a                         that are not currently measuring
                                                Consequently, in this proposal EPA will                 ‘‘maintenance’’ receptor for purposes of              nonattainment based on the most recent
                                                use the analytical year of 2023 to                      defining interference with maintenance,               official design values. In addition, those
                                                evaluate each state’s CAA section                       consistent with the method used in                    monitoring sites with projected average
                                                110(a)(2)(D)(i)(I) SIP submission with                  CSAPR and upheld by the D.C. Circuit                  design values below the NAAQS, but
                                                respect to the 2015 8-hour ozone                        in EME Homer City Generation, L.P. v.                 with projected maximum design values
                                                NAAQS.                                                  EPA, 795 F.3d 118, 136 (D.C. Cir.                     above the NAAQS are also identified as
                                                                                                        2015).27 Specifically, EPA identified                 ‘‘maintenance-only’’ receptors, even if
                                                2. Step 1 of the 4-Step Interstate                                                                            they are currently measuring
                                                Transport Framework                                     maintenance receptors as those
                                                                                                        receptors that would have difficulty                  nonattainment based on the most recent
                                                   In Step 1, EPA identifies monitoring                                                                       official design values.
                                                                                                        maintaining the relevant NAAQS in a
                                                sites that are projected to have problems
                                                                                                        scenario that takes into account                      3. Step 2 of the 4-Step Interstate
                                                   23 EPA notes that the court in Maryland did not
                                                                                                        historical variability in air quality at              Transport Framework
                                                have occasion to evaluate circumstances in which
                                                                                                           25 See North Carolina v. EPA, 531 F.3d 896, 910–
                                                                                                                                                                 In Step 2, EPA quantifies the
                                                EPA may determine that an upwind linkage to a                                                                 contribution of each upwind state to
                                                downwind air quality problem exists at Steps 1 and      11 (D.C. Cir. 2008) (holding that EPA must give
                                                2 of the interstate transport framework by a            ‘‘independent significance’’ to each prong of CAA     each receptor in the 2023 analytic year.
                                                particular attainment date, but for reasons of          section 110(a)(2)(D)(i)(I)).                          The contribution metric used in Step 2
                                                impossibility or profound uncertainty the Agency is        26 See 81 FR 74504 (October 26, 2016). This same
                                                                                                                                                              is defined as the average impact from
                                                unable to mandate upwind pollution controls by          concept, relying on both current monitoring data      each state to each receptor on the days
lotter on DSK11XQN23PROD with PROPOSALS1




                                                that date. See Wisconsin, 938 F.3d at 320. The D.C.     and modeling to define nonattainment receptor,
                                                Circuit noted in Wisconsin that upon a sufficient       was also applied in CAIR. See 70 FR at 25241,         with the highest ozone concentrations at
                                                showing, these circumstances may warrant                25249 (January 14, 2005); see also North Carolina,    the receptor based on the 2023
                                                flexibility in effectuating the purpose of the          531 F.3d at 913–14 (affirming as reasonable EPA’s     modeling. If a state’s contribution value
                                                interstate transport provision.                         approach to defining nonattainment in CAIR).          does not equal or exceed the threshold
                                                   24 See CAA section 181(a); 40 CFR 51.1303;              27 See 76 FR 48208 (August 8, 2011). The CSAPR

                                                Additional Air Quality Designations for the 2015        Update and Revised CSAPR Update also used this
                                                                                                                                                              of 1 percent of the NAAQS (i.e., 0.70
                                                Ozone National Ambient Air Quality Standards, 83        approach. See 81 FR 74504 (October 26, 2016) and      ppb for the 2015 8-hour ozone NAAQS),
                                                FR 25776 (June 4, 2018, effective August 3, 2018).      86 FR 23054 (April 30, 2021).                         the upwind state is not ‘‘linked’’ to a


                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00048   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                        Case: 23-3216                  Document: 32-3                   Filed: 06/16/2023               Page: 246
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                   9503

                                                downwind air quality problem, and                       establish that an alternative contribution            additional emissions controls should be
                                                EPA, therefore, concludes that the state                threshold of 1 ppb is justifiable. Where              required.28
                                                does not significantly contribute to                    a state relies on this alternative
                                                                                                                                                              5. Step 4 of the 4-Step Interstate
                                                nonattainment or interfere with                         threshold, and where that state
                                                                                                                                                              Transport Framework
                                                maintenance of the NAAQS in the                         determined that it was not linked at
                                                downwind states. However, if a state’s                  Step 2 using the alternative threshold,                  At Step 4, states (or EPA) develop
                                                contribution equals or exceeds the 1                    EPA will evaluate whether the state                   permanent and federally enforceable
                                                percent threshold, the state’s emissions                provided a technically sound                          control strategies to achieve the
                                                are further evaluated in Step 3,                        assessment of the appropriateness of                  emissions reductions determined to be
                                                considering both air quality and cost as                using this alternative threshold based on             necessary at Step 3 to eliminate
                                                part of a multi-factor analysis, to                     the facts and circumstances underlying                significant contribution to
                                                determine what, if any, emissions might                 its application in the particular SIP                 nonattainment or interference with
                                                be deemed ‘‘significant’’ and, thus, must               submission.                                           maintenance of the NAAQS. For a state
                                                be eliminated under CAA section                                                                               linked at Steps 1 and 2 to rely on an
                                                110(a)(2)(D)(i)(I).                                     4. Step 3 of the 4-Step Interstate                    emissions control measure at Step 3 to
                                                   EPA is proposing to rely in the first                Transport Framework                                   address its interstate transport
                                                instance on the 1 percent threshold for                    Consistent with EPA’s longstanding                 obligations, that measure must be
                                                the purpose of evaluating a state’s                     approach to eliminating significant                   included in the state’s implementation
                                                contribution to nonattainment or                        contribution or interference with                     plan so that it is permanent and
                                                maintenance of the 2015 8-hour ozone                    maintenance, at Step 3, states linked at              federally enforceable. See CAA section
                                                NAAQS (i.e., 0.70 ppb) at downwind                      Steps 1 and 2 are generally expected to               110(a)(2)(D) (‘‘Each such [SIP] shall . . .
                                                receptors. This is consistent with the                  prepare a multifactor assessment of                   contain adequate provisions. . . .’’).
                                                Step 2 approach that EPA applied in                     potential emissions controls. EPA’s                   See also CAA section 110(a)(2)(A);
                                                CSAPR for the 1997 ozone NAAQS,                         analysis at Step 3 in prior Federal                   Committee for a Better Arvin v. EPA,
                                                which has subsequently been applied in                  actions addressing interstate transport               786 F.3d 1169, 1175–76 (9th Cir. 2015)
                                                the CSAPR Update when evaluating                        requirements has primarily focused on                 (holding that measures relied on by a
                                                interstate transport obligations for the                an evaluation of cost-effectiveness of                state to meet CAA requirements must be
                                                2008 ozone NAAQS. EPA continues to                      potential emissions controls (on a                    included in the SIP).
                                                find 1 percent to be an appropriate                     marginal cost-per-ton basis), the total
                                                threshold. For ozone, as EPA found in                                                                         II. Summary of Kentucky’s 2015 8-Hour
                                                                                                        emissions reductions that may be                      Ozone Interstate Transport SIP
                                                the CAIR, CSAPR, and the CSAPR                          achieved by requiring such controls (if
                                                Update, a portion of the nonattainment                                                                        Submission
                                                                                                        applied across all linked upwind states),
                                                problems from anthropogenic sources in                                                                           On January 11, 2019, Kentucky
                                                                                                        and an evaluation of the air quality
                                                the U.S. result from the combined                                                                             submitted a SIP revision, a portion of
                                                                                                        impacts such emissions reductions
                                                impact of relatively small contributions                                                                      which addressed the CAA section
                                                                                                        would have on the downwind receptors
                                                from many upwind states, along with                                                                           110(a)(2)(D)(i)(I) interstate transport
                                                                                                        to which a state is linked; other factors
                                                contributions from in-state sources and,                                                                      requirements for the 2015 8-hour ozone
                                                                                                        may potentially be relevant if
                                                in some cases, substantially larger                                                                           NAAQS. The Commonwealth’s SIP
                                                                                                        adequately supported. In general, where
                                                contributions from a subset of particular                                                                     submission provided Kentucky’s
                                                                                                        EPA’s or alternative air quality and
                                                upwind states. EPA’s analysis shows                                                                           analysis of its impact to downwind
                                                                                                        contribution modeling establishes that a
                                                that much of the ozone transport                                                                              states and concluded that the
                                                                                                        state is linked at Steps 1 and 2, it will
                                                problem being analyzed in this                                                                                Commonwealth had met the
                                                                                                        be insufficient at Step 3 for a state
                                                proposed rule is still the result of the                                                                      requirements of CAA section
                                                                                                        merely to point to its existing rules
                                                collective impacts of contributions from                                                                      l10(a)(2)(D)(i)(I) (i.e., prongs 1 and 2)
                                                                                                        requiring control measures as a basis for
                                                many upwind states. Therefore,                                                                                because Kentucky’s SIP contains
                                                                                                        approval. In general, the emissions-
                                                application of a consistent contribution                                                                      adequate provisions to prevent sources
                                                                                                        reducing effects of all existing emissions
                                                threshold is necessary to identify those                                                                      and other types of emissions activities
                                                                                                        control requirements are already
                                                upwind states that should have                                                                                within the Commonwealth from
                                                                                                        reflected in the air quality results of the
                                                responsibility for addressing their                                                                           significantly contributing to
                                                contribution to the downwind                            modeling for Steps 1 and 2. If the state
                                                                                                                                                              nonattainment, or interfering with the
                                                nonattainment and maintenance                           is shown to still be linked to one or
                                                                                                                                                              maintenance, of downwind states with
                                                problems to which they collectively                     more downwind receptor(s), states must
                                                                                                                                                              respect to the 2015 8-hour ozone
                                                contribute. Continuing to use 1 percent                 provide a well-documented evaluation
                                                                                                                                                              NAAQS.
                                                of the NAAQS as the screening metric                    determining whether their emissions
                                                                                                                                                                 The Commonwealth’s submission
                                                to evaluate collective contribution from                constitute significant contribution or
                                                                                                                                                              relied on the results of EPA’s modeling
                                                many upwind states also allows EPA                      interference with maintenance by
                                                                                                                                                              of the year 2023, contained in the March
                                                (and states) to apply a consistent                      evaluating additional available control
                                                                                                                                                              2018 memorandum, to identify
                                                framework to evaluate interstate                        opportunities by preparing a multifactor
                                                                                                                                                              downwind nonattainment and
                                                emissions transport under the interstate                assessment. While EPA has not
                                                transport provision from one NAAQS to                   prescribed a particular method for this                 28 As examples of general approaches for how

                                                the next. See 81 FR at 74518 (August 8,                 assessment, EPA expects states at a                   such an analysis could be conducted for their
                                                                                                        minimum to present a sufficient                       sources, states could look to the CSAPR Update, 81
lotter on DSK11XQN23PROD with PROPOSALS1




                                                2011); see also 86 FR at 23085 (April 30,
                                                                                                        technical evaluation. This would                      FR 74504, 74539–51; CSAPR, 76 FR 48208, 48246–
                                                2021) (reviewing and explaining                                                                               63; CAIR, 70 FR 25162, 25195–229; or the NOX SIP
                                                rationale from CSAPR, 76 FR at 48237–                   typically include information on                      Call, 63 FR 57356, 57399–405. See also Revised
                                                38 (August 8, 2011), for selection of 1                 emissions sources, applicable control                 CSAPR Update, 86 FR 23054, 23086–23116.
                                                percent threshold).                                     technologies, emissions reductions,                   Consistently across these rulemakings, EPA has
                                                                                                        costs, cost effectiveness, and downwind               developed emissions inventories, analyzed different
                                                   EPA’s August 2018 memorandum                                                                               levels of control stringency at different cost
                                                recognized that in certain                              air quality impacts of the estimated                  thresholds, and assessed resulting downwind air
                                                circumstances, a state may be able to                   reductions, before concluding that no                 quality improvements.



                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00049   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                        Case: 23-3216                  Document: 32-3                   Filed: 06/16/2023               Page: 247
                                                9504                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                maintenance receptors that may be                       upwind state should not be the same for               ‘‘Good Neighbor Modeling Technical
                                                ‘‘linked’’ to emissions from sources in                 a monitor that is already attaining the               Support Document for the 8-hour Ozone
                                                Kentucky (which correlates to Step 1 of                 NAAQS as they are for a nonattainment                 State Implementation Plans,’’ dated June
                                                the 4-step framework).29 The March                      monitor. The Commonwealth further                     2018 (Alpine TSD). The Alpine TSD
                                                2018 modeling indicates that the                        asserted that local controls should be                contains alternative modeling of 2023
                                                Commonwealth was linked to four                         implemented before requiring upwind                   performed by Alpine Geophysics
                                                nonattainment receptors and one                         states to control their sources. Thus,                sponsored by MOG, as well as
                                                maintenance monitor above 1% of the                     Kentucky concluded that no further                    additional policy suggestions that MOG
                                                NAAQS. The largest impact from                          reductions other than on-the-books and                suggested states could consider in
                                                Kentucky sources on any downwind                        on-the-way measures are required to                   developing good neighbor SIP
                                                nonattainment receptor in the East was                  address the Commonwealth’s interstate                 submissions (see section 9 of the Alpine
                                                projected to be 0.89 ppb at the Fairfield               transport obligation to eliminate its                 TSD).33 The Alpine TSD also appended
                                                County, Connecticut (ID: 90013007) site.                contribution to the Harford County,                   a separate set of MOG comments on
                                                The other nonattainment receptors to                    Maryland maintenance receptor.                        EPA’s March 2018 memorandum.34
                                                which Kentucky was linked are: a                           In addition, Kentucky provided                     These comments and Alpine’s modeling
                                                second site in Fairfield County (ID:                    information intended to demonstrate                   analysis were further summarized in a
                                                90019003); Milwaukee, Wisconsin (ID:                    that Kentucky’s SIP contains adequate                 Microsoft PowerPoint Presentation
                                                550790085); and Sheboygan, Wisconsin                    provisions to prevent sources and other               titled ‘‘MOG’s Preview of 2015 Ozone
                                                (ID: 551170006). The impact from                        types of emissions activities within the              NAAQS Good Neighbor SIPs.’’ EPA also
                                                Kentucky sources on the one downwind                    Commonwealth from significantly                       summarizes the materials developed by
                                                maintenance-only receptor to which it                   contributing to nonattainment, or                     MOG that the Commonwealth included
                                                was linked in that modeling was 1.52                    interfering with the maintenance, of                  as Appendix C to its submittal, although
                                                ppb at the Harford County, Maryland                     downwind states with respect to the                   it is unclear that Kentucky intended to
                                                monitor (ID: 240251001).                                2015 8-hour ozone NAAQS, and thus,                    rely on all aspects of these materials.
                                                   The Commonwealth reviewed EPA’s                      no additional emissions reductions from
                                                August 2018 memorandum as it related                    Kentucky are necessary. Specifically,                 A. Information Related to Emission
                                                to the use of a potential alternative                   Kentucky listed existing state, SIP-                  Trends From Kentucky Sources
                                                contribution threshold of 1 ppb and                     approved regulations and Federal                        With respect to ozone precursors
                                                agreed that use of a 1 ppb contribution                 programs for sources in the                           emitted from Kentucky sources,
                                                threshold is comparable to the amount                   Commonwealth that it concluded                        Kentucky focused its analysis on NOX
                                                of collective contribution captured                     address the requirements of CAA                       emissions, as it found that ozone is far
                                                using a threshold equivalent to 1                       110(a)(2)(D)(i)(I) for the 2015 8-hour                more sensitive to NOX emissions than
                                                percent of the NAAQS. Based on the                      ozone NAAQS.30 Kentucky provided                      VOC emissions in the Southeastern
                                                March 2018 modeling and application                     more detailed analyses related to several             United States and that controlling NOX
                                                of a 1 ppb alternative contribution                     specific topics, which are summarized                 emissions is a more effective strategy in
                                                threshold, the Commonwealth found                       in sections below.                                    reducing ozone. Kentucky reviewed
                                                that it would not be linked as a                           The Commonwealth also included                     NOX emissions trends in the
                                                significant contributor to the four                     documents attached as appendices to its               Commonwealth, comparing annual NOX
                                                nonattainment receptors in Connecticut                  submittal. The March 2018                             emissions from 2008 to 2016, finding
                                                and Wisconsin (which correlates to                      memorandum and the August 2018                        that NOX emissions in Kentucky have
                                                EPA’s Step 2), and therefore concluded                  memorandum were attached at                           significantly decreased since 2008. The
                                                that no further controls were required to               appendices A and B, respectively.31 As                Commonwealth asserted that it has
                                                address its contribution to those four                  Appendix C, the Commonwealth                          significantly lowered NOX emissions
                                                receptors. Thus, the Commonwealth                       appended several documents developed                  between 2008 and 2017 35 and
                                                concluded that Kentucky’s SIP contains                  and/or submitted by the Midwest Ozone                 contended that planned shutdowns and
                                                adequate provisions to prevent sources                  Group (a consortium of upwind
                                                and other types of emissions activities                 industries with emitting facilities).32                  33 It is unclear whether Kentucky intends to rely

                                                within the Commonwealth from                            This included a modeling analysis                     on all of the data and policy approaches in
                                                                                                                                                              Appendix C as included in its submittal, or if these
                                                contributing significantly to                           developed by Alpine Geophysics titled                 documents were appended solely to support
                                                nonattainment in any other state (i.e.,                                                                       specific policy and technical arguments relied on
                                                ‘‘prong 1’’ of CAA section                                30 See Kentucky’s January 11, 2019, SIP             by Kentucky in its submittal.
                                                l10(a)(2)(D)(i)(I)) for the 2015 8-hour                 submission, at pages 20 through 30 for the list of       34 See the following Appendices to Appendix C—
                                                                                                        state, SIP-approved regulations and Federal           Midwest Ozone Group Technical Support
                                                ozone NAAQS.                                            programs identified by Kentucky.                      Document: ‘‘Good Neighbor Modeling Technical
                                                   After application of the 1 ppb                         31 See the following Appendices to Kentucky’s       Support Document for 8-Hour Ozone
                                                contribution threshold, Kentucky                        January 11, 2019, submission: Appendix A—             Implementation Plans of Kentucky’s January 11,
                                                remained linked to the downwind                         Information on the Interstate Transport State         2019: Appendix A—4km Modeling Results for Mid-
                                                maintenance-only receptor at Harford                    Implementation Plan Submissions for the 2015          Atlantic and Lake Michigan Domains Compared to
                                                                                                        Ozone National Ambient Air Quality Standards          EPA 12 km ‘‘No Water’’ Design Value Calculations
                                                County, Maryland (ID: 240251001)                        under Clean Air Act Section 110(a)(2)(D)(i)(I),       from March 2018 Memorandum; Appendix B—
                                                because the Commonwealth’s                              March 27, 2018 (‘‘March 2018 memorandum’’);           Midwest Ozone Group Comments on EPA’s March
                                                contribution of 1.52 ppb to this receptor               Appendix B—Analysis of Contribution Thresholds        27, 2018 Memorandum Entitled ‘‘Information on
                                                was greater than the 1 ppb alternative                  for Use in Clean Air Act Section 110(a)(2)(D)(i)(I)   the Interstate Transport State Implementation Plan
                                                                                                        Interstate Transport State Implementation Plan        Submissions for the 2015 Ozone National Ambient
lotter on DSK11XQN23PROD with PROPOSALS1




                                                threshold. Kentucky’s SIP submission                    Submissions for the 2015 Ozone National Ambient       Air Quality Standards under Clean Air Act Section
                                                asserted that the amount of NOX                         Air Quality Standards, August 31, 2018; and           110(a)(2)(D)(i)(I); Appendix C—Presentation—
                                                emission reductions required for an                     Appendix D—Public Hearing & Statement of              Midwest Ozone Group Preview of 2015 Ozone
                                                                                                        Consideration.                                        NAAQS Good Neighbor SIPs.
                                                  29 EPA notes that Kentucky’s SIP submission is          32 See Appendix C to Kentucky’s January 11,            35 Table 2 in Kentucky’s SIP provides historic

                                                not organized around EPA’s 4-step framework for         2019, submission—Midwest Ozone Group                  annual NOX emissions data for point sources in the
                                                assessing good neighbor obligations, but EPA            Technical Support Document: ‘‘Good Neighbor           state from 2008 through 2016, however, the
                                                summarizes the submission using that framework          Modeling Technical Support Document for 8-Hour        associated graph at Chart 1 indicates annual NOX
                                                for clarity here.                                       Ozone Implementation Plans.’’                         emissions from 2008 through 2017.



                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00050   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                         Case: 23-3216                 Document: 32-3                   Filed: 06/16/2023               Page: 248
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                 9505

                                                conversion to natural gas, along with the               receptors. In addition, Kentucky                      Connecticut receptors due to conditions
                                                implementation of Federal and State                     provided information intended to                      on Long Island Sound.
                                                programs, ensure Kentucky’s emissions                   demonstrate that emissions from local                    The Commonwealth’s SIP submission
                                                will continue to decrease. Based on the                 sources in the area surrounding the                   also discussed point sources in the New
                                                2014 national emission inventory (NEI),                 monitors contribute significantly to the              York Metro Area, providing information
                                                Kentucky indicated that the major                       continued nonattainment issues, and                   regarding the largest point sources in
                                                contributor of NOX emissions in the                     thus, that local controls should be                   that area. In addition, Kentucky
                                                Commonwealth are point sources,                         implemented before requesting upwind                  provided NOX and VOC emission
                                                mainly comprised of electric generating                 states to control facilities.                         information for 13 counties in the New
                                                units (EGUs).                                              In particular, Kentucky’s SIP                      York Metro Area that have NOX and
                                                   Kentucky asserted that NOX emissions                 submission claims that the Westport                   VOC emission totals above 10,000 tpy,
                                                from EGUs in the Commonwealth have                      Sherwood, Fairfield, Connecticut (ID:                 finding that three counties that
                                                decreased and would continue to                         90019003) and Stratford Point                         surround Fairfield County (Suffolk,
                                                decrease based, in part, on the                         Lighthouse, Fairfield County (ID:                     Queens, and Nassau Counties) had the
                                                implementation of CAIR, CSAPR, and                      90013007) monitors are located less                   highest NOX emissions.
                                                the CSAPR Update, as well as                            than three miles from the I–95 interstate                Kentucky further evaluated high
                                                retirements of several EGUs in the                      highway corridor and over 500 miles                   electric demand days in New York,
                                                Commonwealth. The Commonwealth                          from Kentucky. Kentucky asserted these                discussing a New York Department of
                                                compared Kentucky’s NOX ozone season                    monitors have a consistent pattern of                 Environmental Conservation (NYDEC)
                                                allocations to actual EGU emissions in                  violating the 2015 8-hour ozone NAAQS                 determination that peaking units
                                                the Commonwealth, concluding that                       from 2007 to 2016. Kentucky also                      operating on peak electricity demand
                                                Kentucky’s NOX ozone season budgets                     pointed out that it is not linked in the              days are a major contributor of NOX
                                                have decreased since the                                modeling to two other nonattainment                   (particularly units installed before
                                                implementation of CSAPR and the                         receptors (the Greenwich Point Park and               1987), and that such units can
                                                CSAPR Update and actual ozone season                    Criscuolo Park monitoring sites) that are             contribute 4.8 ppb of ozone on high
                                                NOX emissions are significantly lower                   in relatively close proximity to the                  ozone days.40 Kentucky concluded NOX
                                                than the trading program budgets.36 The                 Westport and Stratford monitors.                      emission reductions from these EGUs
                                                SIP submission summarized coal-fired                    Kentucky compared the distances                       point sources would have a significant
                                                unit retirements, shutdowns, and                        between these sites with the distances of             impact on ozone levels in the New York
                                                repowering from 2015 through 2017 as                    the sites to Kentucky’s nearest border.               Metro Area.
                                                well as on-the-way reductions from                         Kentucky’s SIP submission also
                                                natural gas conversions and retirements                 provided information related to the New               C. Information Related to the Harford,
                                                from 2017 through 2023.37 Kentucky                      York Metro Area, citing the 2014 NEI to               Maryland Monitor Provided by Kentucky
                                                stated that it expected emissions will                  state that the on-road source sector                     Kentucky acknowledged that EPA’s
                                                continue to decline in the future due to                contributed the highest amount of NOX                 March 27, 2018 modeling shows the
                                                continued implementation of CSAPR,                      emissions and that the nonpoint source                potential for Kentucky emissions to
                                                the CSAPR Update, and scheduled                         sector contributed the highest amount of              significantly contribute to the
                                                shutdowns, fuel switches, and                           VOC emissions in that area. The                       Edgewood, Harford County, Maryland
                                                retirements of facilities in the                        Commonwealth further provided                         (ID: 240251001) maintenance-only
                                                Commonwealth.                                           information about high vehicle miles                  monitor (Edgewood monitor) in 2023.
                                                B. Information Related to Connecticut                   traveled (VMT) and commuting patterns                 However, Kentucky provided air quality
                                                Monitors Provided by Kentucky                           in the New York Metro Area, as well as                data designed to demonstrate that
                                                                                                        information regarding violating                       emissions from local sources in the area
                                                  EPA’s March 2018 modeling showed                      monitors along the I–95 corridor and
                                                Kentucky linked to the two receptors                                                                          surrounding the monitors contribute
                                                                                                        outlying monitors that show attainment.               significantly to the continued air quality
                                                located in Fairfield County,                               Additionally, Kentucky’s SIP
                                                Connecticut, which is part of the New                                                                         issues and concluded that there are
                                                                                                        submission includes Hybrid Single                     local controls that should be
                                                York-Northern New Jersey-Long Island,                   Particle Lagrangian Integrated Trajectory
                                                NY-NJ-CT (New York Metro Area) core                                                                           implemented before requesting upwind
                                                                                                        (HYSPLIT) model back trajectory                       states to control facilities.
                                                based statistical area (CBSA).38                        analysis to the two Connecticut
                                                Kentucky applied an alternative                                                                                  Kentucky provided additional
                                                                                                        receptors,39 asserting that the HYSPLIT               information with respect to the
                                                contribution threshold of 1 ppb, and                    analysis indicates that the monitors are
                                                thus determined that Kentucky was no                                                                          Edgewood Monitor, which is located 3
                                                                                                        downwind of nonattainment areas in                    miles from the I–95 corridor and
                                                longer linked to the Connecticut                        New York, New Jersey, Pennsylvania,                   approximately 350 miles from
                                                   36 Kentucky’s SIP acknowledged that the CSAPR
                                                                                                        and Maryland. The Commonwealth also                   Kentucky. Kentucky provided data to
                                                trading program does not address interstate             asserted there is a consistent pattern of             show that the Edgewood monitor
                                                transport for the 2015 standard but nonetheless         violating monitors located along the I–               consistently violated the 2015 8-hour
                                                provides NOX emission reductions.                       95 corridor. In addition, Kentucky                    ozone standard from 2007 to 2016.
                                                   37 See Kentucky’s January 11, 2019, submittal
                                                                                                        asserted that pollutants are trapped in               Kentucky also provided information
                                                located in Docket No. EPA–R04–OAR–2021–0841,
                                                at pages 32–33 for discussion on implementation of
                                                                                                        the marine boundary layer and then                    related to other nonattainment monitors
                                                CSAPR, the CSAPR Update, EGU retirements, and           transported inland to coastal                         located in Baltimore County and
lotter on DSK11XQN23PROD with PROPOSALS1




                                                EGU fuel switches.                                                                                            Harford County.
                                                   38 EPA’s designations for the 2015 8-hour ozone        39 According to Kentucky, the HYSPLIT analysis
                                                                                                                                                                 The Commonwealth’s SIP submission
                                                standard divided the state into two areas, Greater      were generated using EPA’s 2015 Ozone
                                                Connecticut, CT, with a marginal classification, and    Designation Mapping Tool, available at https://       provided data related to the Baltimore-
                                                New York-Northern New Jersey-Long Island, NY-           www.epa.gov/ozone-designations/ozone-
                                                NJ-CT (New York Metro Area), with a moderate            designations-guidance-and-data#:∼:text=The              40 Kentucky references NYDEC emission analysis

                                                classification. See https://www.epa.gov/ozone-          %20ozone%20designations%20mapping                     entitled ‘‘Background, High Electric Demand Day
                                                designations/additional-designations-2015-ozone-        %20tool,for%20the%202015                              (HEDD) Initiative’’, New York Department of
                                                standards.                                              %20Ozone%20NAAQS.                                     Environmental Conservation.



                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00051   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                        Case: 23-3216                  Document: 32-3                   Filed: 06/16/2023               Page: 249
                                                9506                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                Columbia-Towson, MD CBSA                                modifications or emission control                     results indicated that Kentucky
                                                (Baltimore Area), citing to the 2014 NEI                programs expected to be implemented                   remained linked to the maintenance-
                                                to state that the on-road source sector                 before 2023. Kentucky concluded that                  only receptor in Harford County,
                                                contributed the highest amount of NOX                   because the Edgewood monitor is a                     Maryland, even after the application of
                                                emissions and that the nonpoint source                  maintenance receptor, the                             the 1 ppb alternative threshold,
                                                sector contributed the highest amount of                Commonwealth believes that no further                 Kentucky asserted that states should not
                                                VOC emissions in that area. Kentucky                    reductions from Kentucky sources other                be required to apply the same degree of
                                                further provided information about                      than on-the-books controls should be                  reductions for maintenance receptors as
                                                VMTs and commuting patterns in the                      required because maintenance receptors                nonattainment areas, and determined
                                                Baltimore Area, as well as information                  should be treated differently than                    that additional NOX emission
                                                regarding violating monitors along the                  nonattainment receptors in terms of                   reductions other than those that are on-
                                                I–95 corridor and outlying monitors that                upwind requirements. The                              the-books or on-the-way are not
                                                show attainment. The SIP submission                     Commonwealth also asserted that states                required to address its downwind
                                                asserted that local mobile emissions are                linked to maintenance receptors should                contribution to that receptor. Kentucky
                                                a key contributor to the Edgewood                       be held to less stringent standards of                further provided an assessment of local
                                                monitor, which is also located in close                 emissions reductions as compared to                   sources in the vicinity of the
                                                proximity to the 1–95 corridor.                         states linked to a nonattainment                      Connecticut and Maryland monitors and
                                                Kentucky further cited to a presentation                receptor.                                             concluded that local (particularly
                                                and remarks by Maryland officials,                         The Commonwealth also asserted that                mobile) emissions, high VMTs and
                                                discussing programs to reduce                           local emission controls should be                     commuting patterns, and weather
                                                emissions from local sources,                           implemented before upwind states are                  patterns are the primary cause of
                                                specifically focusing on mobile source                  required to control their facilities,                 violating monitors in these areas.
                                                NOX reduction programs.                                 which is based on Kentucky’s                          Therefore, Kentucky concluded that its
                                                   Kentucky cited a 2010 case study in                  concurrence with statements from MOG.                 SIP has adequate provisions to prohibit
                                                the Chesapeake Bay that suggests the                    The Commonwealth cited MOG’s                          emissions from interfering with
                                                transport of pollution from nearby urban                comments on local controls stating:                   maintenance in another state (i.e.,
                                                areas accumulates over the Bay and                      ‘‘When an area is measuring                           ‘‘prong 2’’ of CAA section
                                                becomes stagnant, creating a bay breeze                 nonattainment of a NAAQS, as is the                   110(a)(2)(D)(i)(I)) with respect to the
                                                which is pushed by southerly winds                      case with the areas linked to Kentucky,               2015 8-hour ozone NAAQS.
                                                northward towards the Edgewood                          the CAA requires that the effects and
                                                                                                        benefits of local controls on all source              E. Summary of Midwest Ozone Group
                                                monitor. Additionally, Kentucky’s SIP                                                                         TSD Appended to Kentucky’s Submittal
                                                submission also provided HYSPLIT                        sectors be considered first, prior to
                                                model back trajectory analysis to the                   pursuing controls of sources in upwind                   Kentucky attached several materials
                                                Edgewood receptor,41 asserting that the                 states.’’ 42 The Commonwealth                         developed by MOG to its submittal as
                                                HYSPLIT indicates that the monitors are                 concluded that the emissions reductions               Appendix C, which included a
                                                downwind of nonattainment areas in                      resulting from on-the-books and on-the-               document titled ‘‘ ‘Good Neighbor’
                                                Baltimore County, Baltimore City,                       way measures are adequate to prohibit                 Modeling Technical Support Document
                                                Arlington County, and the District of                   emissions within Kentucky from                        for 8-Hour Ozone State Implementation
                                                Columbia. Kentucky also asserted that                   interfering with the maintenance of                   Plans’’ prepared by Alpine
                                                higher altitude particles from the                      downwind states with respect to the                   Geophysics.43 The Alpine Geophysics
                                                northwest of Baltimore combine with                     2015 8-hour ozone NAAQS.                              document also attached the following
                                                lower-level particles from the south and                                                                      documents: 4 kilometer (km) modeling
                                                                                                        D. Summary of Conclusions From                        results for mid-Atlantic and Lake
                                                southeast.                                              Kentucky
                                                   Kentucky’s submission used                                                                                 Michigan domains compared to EPA 12
                                                information on local mobile emissions                      In summary, based on Kentucky’s                    km ‘‘No Water’’ Design Value
                                                along the I–95 corridor and coastal air                 reliance on the modeling results in                   Calculations from March 2018
                                                pollution formation and accumulation                    EPA’s March 2018 memorandum, the                      memorandum (Appendix A); MOG
                                                along the Maryland coast to support its                 Commonwealth found that emissions                     comments on EPA’s March 2018
                                                conclusion that local air quality                       from Kentucky sources were potentially                memorandum (Appendix B); and a
                                                problems are the source of ozone                        linked to four nonattainment monitors                 Microsoft PowerPoint presentation from
                                                violations at these monitors.                           in Connecticut and Wisconsin and one                  MOG previewing 2015 8-hour ozone
                                                   Additionally, Kentucky asserted that                 maintenance receptor in Harford                       NAAQS good neighbor SIPs (Appendix
                                                the implementation of local programs to                 County, Maryland. However, after                      C). EPA notes a number of modeling
                                                reduce emissions should be sufficient                   utilizing a 1 ppb alternative                         results and technical and policy
                                                for monitors in the Maryland area to                    contribution threshold, the                           arguments provided in the MOG
                                                attain the 2015 8-hour ozone NAAQS.                     Commonwealth concluded that it was                    attachments are not explicitly discussed
                                                Kentucky cited claims by MOG                            no longer linked to the four                          in Kentucky’s SIP submission narrative.
                                                (appended to the submittal in Appendix                  nonattainment monitors, and thus, that                Therefore, it is unclear whether
                                                C) that the modeling in EPA’s March                     the Kentucky SIP contains adequate                    Kentucky intended to rely on Alpine’s
                                                2018 memorandum does not account for                    provisions to prevent sources and other               modeling or MOG’s policy argument to
                                                additional retirements, conversions, and                types of emissions activities within the              support the Commonwealth’s overall
lotter on DSK11XQN23PROD with PROPOSALS1




                                                                                                        State from contributing significantly to              transport SIP conclusions. To ensure
                                                  41 According to Kentucky, the HYSPLIT analysis        nonattainment in any other state (i.e.,               review of all potentially relevant
                                                were generated using EPA’s 2015 Ozone                   ‘‘prong 1’’ of CAA section                            technical and policy issues identified in
                                                Designation Mapping Tool, available at https://         110(a)(2)(D)(i)(I)) for the 2015 8-hour               Kentucky’s SIP package, this section
                                                www.epa.gov/ozone-designations/ozone-
                                                designations-guidance-and-data#:∼:text=The              ozone NAAQS. Although modeling                        summarizes key arguments presented in
                                                %20ozone%20designations%20mapping
                                                %20tool,for%20the%202015%20Ozone                          42 Kentucky’s SIP references MOG’s comments           43 See Appendix C of Kentucky’s January 11,

                                                %20NAAQS.                                               that cite CAA sections 107(a) and 110(a)(1).          2019, transport SIP submission.



                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00052   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                        Case: 23-3216                  Document: 32-3                   Filed: 06/16/2023               Page: 250
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                   9507

                                                Appendix C. However, in EPA’s                           that EPA’s and Alpine’s contribution                  choose to indicate that no additional
                                                evaluation of the SIP submittal in                      modeling tracks and reports the relative              controls would be needed to address a
                                                section III, EPA will differentiate                     impact contributions of anthropogenic                 maintenance monitor if the upwind
                                                between those positions clearly adopted                 emissions located within the 36 km                    state can show that either the monitor
                                                by the Commonwealth and those where                     modeling domain. Considering this                     is likely to remain in attainment for a
                                                it is unclear and therefore a position                  information, MOG concluded that states                period of 10 years or that the upwind
                                                espoused by MOG cannot be attributed                    seeking to avoid overcontrol may wish                 state’s emissions will not increase for 10
                                                to Kentucky.                                            to consider removing that portion of the              years after the attainment date.
                                                   Appendix C included modeling                         projected design value that is explicitly
                                                results performed by Alpine Geophysics                  attributed to international                           III. EPA’s Evaluation of Kentucky’s
                                                as presented in the Alpine TSD. The                     anthropogenic contribution, which may                 2015 8-Hour Ozone Interstate Transport
                                                Alpine modeling results identified the                  be enough to demonstrate attainment                   SIP Submission
                                                Harford, Maryland receptor as a                         with the 2008 or 2015 8-hour ozone                       EPA is proposing to find that
                                                nonattainment receptor, with Kentucky                   NAAQS at multiple monitors in the U.S.                Kentucky’s January 11, 2019, SIP
                                                emissions contributing 2.07 ppb. In                        With respect to potential use of                   submission does not meet the
                                                addition, the Alpine modeling results                   alternative contribution thresholds,                  Commonwealth’s obligations with
                                                identified Kentucky linkages above 1                    MOG pointed to states raising concerns                respect to prohibiting emissions that
                                                percent to the following maintenance-                   that the 1 percent threshold is more                  contribute significantly to
                                                only receptors: Gloucester, New Jersey                  stringent than the 2016 EPA Significant               nonattainment or interfere with
                                                (ID: 340150002), with a Kentucky                        Impact level (SIL) guidance of 1 ppb,                 maintenance of the 2015 8-hour ozone
                                                contribution of 1.69 ppb; Richmond,                     which is designed as an individual                    NAAQS in any other state based on
                                                New York (ID: 360850067), with a                        source or group of sources’ contribution              EPA’s evaluation of the SIP submission
                                                Kentucky contribution of 0.93; and                      limit (in the context of prevention of                using the 4-step interstate transport
                                                Philadelphia, Pennsylvania (ID:                         significant deterioration (PSD)                       framework, and therefore EPA is
                                                421010024), with a Kentucky                             permitting).45 MOG suggested that states              proposing to disapprove Kentucky’s SIP
                                                contribution of 1.53. (While MOG                        could submit SIP revisions citing the                 submission.
                                                asserts in separate comments that                       SIL of 1 ppb as an acceptable total state
                                                emission reductions not accounted for                   anthropogenic contribution threshold                  A. Results of EPA’s Step 1 and Step 2
                                                in EPA’s modeling suggests there will be                under Step 2 of the 4-step process, and               Modeling and Findings for Kentucky
                                                no receptors by 2023, this is not                       request relief from the 1 percent                       As described in section I, EPA
                                                consistent with Alpine’s modeling.)                     threshold in lieu of using an alternate               performed updated air quality modeling
                                                   The Alpine TSD also evaluated                        value.                                                to project design values and
                                                additional approaches and flexibilities                    MOG presented an alternative                       contributions for 2023. These data were
                                                that states could apply in SIP revisions,               approach to how upwind-state emission                 examined to determine if Kentucky
                                                based on the potential concepts                         reduction obligations could be                        contributes at or above the threshold of
                                                provided in Appendix A of EPA’s                         allocated. Specifically, MOG proposed                 1 percent of the 2015 8-hour ozone
                                                March 2018 memorandum.44 These                          that upwind reductions could be                       NAAQS (0.70 ppb) to any downwind
                                                included reliance on alterative modeling                allocated in proportion to the size of                nonattainment or maintenance receptor.
                                                data, evaluation of international                       their contribution to downwind                        As shown in Table 1, the data 46 indicate
                                                contributions (both anthropogenic                       nonattainment. To illustrate this                     that in 2023, emissions from Kentucky
                                                contribution and as an additional                       approach, MOG determined a                            contribute greater than 1 percent of the
                                                percentage of boundary conditions),                     proportional reduction requirement                    standard to nonattainment or
                                                alternate contribution thresholds,                      associated with the relative contribution             maintenance-only receptors in Bucks
                                                proportional control of upwind                          from each upwind state to the Harford                 County, Pennsylvania (ID: 420170012),
                                                emissions by level of upwind state                      County, Maryland monitor. Under this                  New Haven County, Connecticut (ID:
                                                contribution, and addressing                            analysis, MOG’s approach indicated that               90099002), and Fairfield County,
                                                interference with maintenance                           Kentucky would be responsible for a                   Connecticut (ID: 90019003 and
                                                obligations through use of 10-year                      0.02 ppb reduction at the monitor and                 90013007).47
                                                projections.                                            ‘‘would then need to craft a [good
                                                   MOG suggested states should be                       neighbor SIP] revision to generate                      46 The ozone design values and contributions at
                                                allowed to select multiple sources of                   reductions associated with this                       individual monitoring sites nationwide are
                                                modeling data rather than a single                      proportional amount.’’                                provided in the file ‘‘2016v2_DVs_state_
                                                modeling simulation if such information                    With respect to ‘‘interference with                contributions.xlsx’’ which is included in Docket
                                                                                                                                                              No. EPA–HQ–OAR–2021–0663.
                                                is considered equally credible when                     maintenance’’ obligations, MOG                          47 These modeling results are consistent with the
                                                making policy decisions related to the                  suggested that an upwind state could                  results of a prior round of 2023 modeling using the
                                                development of good neighbor SIPs.                                                                            2016v1 emissions platform which became available
                                                   With respect to international                          45 MOG cited to the Georgia Environmental           to the public in the fall of 2020 in the Revised
                                                emissions, MOG cited to an attachment                   Protection Division’s comment on EPA’s March          CSAPR Update, as noted in section I. That modeling
                                                                                                        2018 Memorandum to support this claim. See            showed that Kentucky had a maximum contribution
                                                to EPA’s 2018 memorandum and asserts                    Section 9.0—Selected SIP Revision Approaches in       greater than 0.70 ppb to at least one nonattainment
                                                                                                        Appendix C—MOG’s TSD of Kentucky’s January 11,        or maintenance-only receptor in 2023. These
                                                  44 See Section 9.0—Selected SIP Revision              2019 transport SIP submission, citing Boylan, J. W.   modeling results are included in the file ‘‘Ozone
lotter on DSK11XQN23PROD with PROPOSALS1




                                                Approaches in Appendix C—MOG’s TSD of                   (May 4, 2018). Georgia EPD Comments on EPA’s          Design Values And Contributions Revised CSAPR
                                                Kentucky’s January 11, 2019 transport SIP               March 27, 2018 Interstate Transport Memo              Update.xlsx’’ in Docket No. EPA–HQ–OAR–2021–
                                                submission.                                             [Memorandum].                                         0663.




                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00053   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                                Case: 23-3216                          Document: 32-3                                  Filed: 06/16/2023                       Page: 251
                                                9508                         Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                                                 TABLE 1—KENTUCKY LINKAGE RESULTS BASED ON EPA UPDATED 2023 MODELING
                                                                                                                                                                                                                             2023
                                                                                                                                                                                                          2023 average                    Kentucky
                                                                                                                                                                             Nonattainment/                               maximum
                                                         Receptor ID                             Location                                 County                                                          design value                   contribution
                                                                                                                                                                              maintenance                                design value
                                                                                                                                                                                                             (ppb)                          (ppb)
                                                                                                                                                                                                                            (ppb)

                                                420170012 ........................    Pennsylvania ....................      Bucks ...............................    Maintenance .....................           70.7            72.2            0.88
                                                90099002 ..........................   Connecticut ......................     New Haven ......................         Nonattainment ..................            71.8            73.9            0.83
                                                90019003 ..........................   Connecticut ......................     Fairfield ............................   Nonattainment ..................            76.1            76.4            0.82
                                                90013007 ..........................   Connecticut ......................     Fairfield ............................   Nonattainment ..................            74.2            75.1            0.77



                                                B. Evaluation of Information Provided                                      emissions and their contribution to U.S.                                  ability of other states to attain or
                                                by Kentucky Regarding Step 1                                               ozone monitors, and argued that states                                    maintain the NAAQS.
                                                   At Step 1 of the 4-step interstate                                      could remove that portion of the                                             Indeed, the D.C. Circuit in Wisconsin
                                                transport framework, Kentucky relied                                       projected design value explicitly                                         specifically rejected petitioner
                                                on EPA modeling released in the March                                      attributed to international                                               arguments suggesting that upwind states
                                                2018 memorandum to identify                                                anthropogenic contribution. MOG                                           should be excused from good neighbor
                                                nonattainment and maintenance                                              asserted that excluding the international                                 obligations on the basis that some other
                                                receptors in 2023 and also included                                        anthropogenic contributions could                                         source of emissions (whether
                                                results from modeling performed by                                         result in attainment with the 2008 or                                     international or another upwind state)
                                                Alpine. As described previously in this                                    2015 8-hour ozone NAAQS at ozone                                          could be considered the ‘‘but-for’’ cause
                                                notice, EPA has recently updated its                                       monitors in the United States, thus                                       of downwind air quality problem. See
                                                2023 modeling using the most current                                       potentially eliminating 2023 receptors.                                   938 F.3d at 323–324. The court viewed
                                                and technically appropriate                                                Kentucky did not explicitly discuss in                                    petitioners’ arguments as essentially an
                                                information. EPA proposes to rely on                                       its SIP submittal MOG’s arguments                                         argument ‘‘that an upwind State
                                                EPA’s most recent modeling to identify                                     regarding contributions from                                              ‘contributes significantly’ to downwind
                                                nonattainment and maintenance                                              international emissions and therefore it                                  nonattainment only when its emissions
                                                receptors in 2023. However, even using                                     is unclear if the Commonwealth                                            are the sole cause of downwind
                                                EPA modeling available to Kentucky at                                      intended to rely on this argument to                                      nonattainment.’’ See 938 F.3d at 324.
                                                the time of its SIP submittal, three                                       support their conclusion, however, EPA                                    The court explained that ‘‘an upwind
                                                nonattainment receptors and one                                            is providing its analysis related to these                                State can ‘contribute’ to downwind
                                                maintenance-only receptor were                                             arguments.                                                                nonattainment even if its emissions are
                                                projected in 2023 to which Kentucky                                                                                                                  not the but-for cause.’’ Id. at 324–325.
                                                                                                                              EPA disagrees that excluding
                                                was linked above 1 percent of the                                                                                                                    See also Catawba County v. EPA, 571
                                                                                                                           international contribution (whether
                                                NAAQS. In addition, the Alpine                                                                                                                       F.3d 20, 39 (D.C. Cir. 2009) (rejecting
                                                                                                                           from North American international
                                                modeling that Kentucky appended to its                                                                                                               the argument ‘‘that ‘significantly
                                                                                                                           anthropogenic, boundary conditions, or
                                                submittal also indicated that Kentucky                                                                                                               contribute’ unambiguously means
                                                                                                                           other international sources) from the
                                                was linked to several receptors in                                                                                                                   ‘strictly cause’ ’’ because there is ‘‘no
                                                                                                                           projected design value of receptors is
                                                2023.48 Kentucky appended comments                                                                                                                   reason why the statute precludes EPA
                                                                                                                           acceptable under the CAA.49 The good
                                                from MOG arguing that states should be                                                                                                               from determining that [an] addition of
                                                                                                                           neighbor provision requires states and                                    [pollutant] into the atmosphere is
                                                allowed to select multiple sources of                                      EPA to address interstate transport of air
                                                modeling data rather than a single                                                                                                                   significant even though a nearby
                                                                                                                           pollution that contributes to downwind                                    county’s nonattainment problem would
                                                modeling simulation if such information                                    states’ ability to attain and maintain
                                                is considered equally credible when                                                                                                                  still persist in its absence’’); Miss.
                                                                                                                           NAAQS. Whether emissions from other                                       Comm’n on Envtl. Quality v. EPA, 790
                                                making policy decisions related to the                                     states or other countries also contribute
                                                development of good neighbor SIPs.                                                                                                                   F.3d 138, 163 n.12 (D.C. Cir. 2015)
                                                                                                                           to the same downwind air quality issue                                    (observing that the argument that ‘‘there
                                                Whether EPA’s most recent 2023
                                                                                                                           is irrelevant in assessing whether a                                      likely would have been no violation at
                                                modeling is relied on, or whether it is
                                                                                                                           downwind state has an air quality                                         all . . . if it were not for the emissions
                                                considered in conjunction with its older
                                                                                                                           problem, or whether an upwind state is                                    resulting from [another source]’’ is
                                                2023 modeling and/or the Alpine
                                                                                                                           significantly contributing to that                                        ‘‘merely a rephrasing of the but-for
                                                modeling, the results consistently
                                                                                                                           problem. States are not obligated under                                   causation rule that we rejected in
                                                identify several nonattainment or
                                                                                                                           CAA section 110(a)(2)(D)(i)(I) to reduce                                  Catawba County.’’). Therefore, a state is
                                                maintenance receptors to which
                                                                                                                           emissions sufficient on their own to                                      not excused from eliminating its
                                                Kentucky is linked above 1 percent of
                                                                                                                           resolve downwind receptors’                                               significant contribution on the basis that
                                                the 2015 8-hour ozone NAAQS.
                                                   As discussed in section II.E, Kentucky                                  nonattainment or maintenance                                              international emissions also contribute
                                                attached documents from MOG that                                           problems. Rather, states are obligated to                                 some amount of pollution to the same
                                                discussed international transport of                                       eliminate their own ‘‘significant                                         receptors to which the state is linked.
                                                                                                                           contribution’’ or ‘‘interference’’ with the
                                                  48 The Alpine modeling results identified the
                                                                                                                                                                                                     C. Evaluation of Information Provided
                                                Harford, Maryland receptor as a nonattainment                                49 To the extent that MOG cited Attachment A to                         by Kentucky Regarding Step 2
lotter on DSK11XQN23PROD with PROPOSALS1




                                                receptor, with Kentucky emissions contributing                             EPA’s March 2018 memorandum as suggesting
                                                2.07 ppb. In addition, the Alpine modeling results                         support for this approach, this is incorrect. As
                                                                                                                                                                                                        At Step 2 of the 4-step interstate
                                                identified Kentucky linkages above 1 percent to the                        discussed in section I.D, the attachment                                  transport framework, Kentucky relied
                                                following maintenance-only receptors: Gloucester,                          summarized ideas from outside stakeholders, and                           on EPA modeling released in the March
                                                New Jersey (ID: 340150002), with a Kentucky                                EPA did not endorse such approaches as                                    2018 memorandum to identify upwind
                                                contribution of 1.69 ppb; Richmond, New York (ID:                          technically or legally appropriate. Further, nothing
                                                360850067), with a Kentucky contribution of 0.93;                          in Attachment A suggested that international
                                                                                                                                                                                                     state linkages to nonattainment and
                                                and Philadelphia, Pennsylvania (ID: 421010024),                            contribution could simply be subtracted from a                            maintenance receptors in 2023 and
                                                with a Kentucky contribution of 1.53.                                      downwind receptor’s projected design value.                               included results from modeling run by


                                           VerDate Sep<11>2014        18:17 Feb 18, 2022        Jkt 256001      PO 00000         Frm 00054        Fmt 4702        Sfmt 4702      E:\FR\FM\22FEP1.SGM         22FEP1
                                                                        Case: 23-3216                  Document: 32-3                   Filed: 06/16/2023                Page: 252
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                        9509

                                                Alpine. Both EPA’s modeling released                    August 2018 memorandum generally                       insufficient analysis in this regard, and
                                                in the March 2018 memorandum as well                    recognized that a 1 ppb threshold may                  also has identified other policy and
                                                as Alpine’s modeling indicate that                      be appropriate for states to use, but also             programmatic concerns with attempting
                                                Kentucky is linked to downwind                          made clear that this guidance would be                 to recognize alternative thresholds at
                                                monitors.50 As Kentucky attached                        applied under the facts and                            Step 2 or otherwise deviating from its
                                                Alpine’s modeling without discussing it                 circumstances of each particular SIP                   historical, consistent practice since
                                                in the narrative of the submittal, it is                submittal.51 However, Kentucky did not                 CSAPR of applying a threshold of 1
                                                unclear whether Kentucky intended to                    provide a technical analysis to                        percent of the NAAQS at Step 2.)
                                                rely on Alpine’s modeling in its                        sufficiently justify use of an alternative                The MOG materials appended to
                                                submittal.                                              1 ppb threshold at the linked,                         Kentucky’s submission argued that a
                                                   As described in section I.C of this                  downwind monitors. Kentucky’s SIP                      2016 EPA SIL guidance could be cited
                                                notice, EPA has recently updated                        submission simply stated that the                      as acceptable to support a 1 ppb
                                                modeling to identify upwind state                       Commonwealth agrees with EPA’s                         contribution threshold. As an initial
                                                contributions to nonattainment and/or                   rationale set out in the August 2018                   matter, Kentucky appears not to have
                                                maintenance receptors in 2023. In this                  memorandum that the amount of                          relied on this rationale. In EPA’s
                                                notice, EPA proposes to rely on the                     upwind collective contribution captured                comments on Kentucky’s draft SIP
                                                Agency’s most recently available                        with the 1 percent and 1 ppb thresholds                submittal, EPA stated, ‘‘EPA has not
                                                modeling to identify upwind                             was generally comparable. But the                      made a determination that the SIL,
                                                contributions and ‘‘linkages’’ to                       guidance anticipated that states would                 developed for source-specific (PSD)
                                                downwind air quality problems in 2023                   evaluate whether the alternative                       purposes, could be considered an
                                                using a threshold of 1 percent of the                   threshold was appropriate under their                  appropriate threshold to use when
                                                NAAQS. See section I.D for a general                    specific facts and circumstances, not                  assessing contribution from an entire
                                                explanation of the use of 1 percent of                  that the use of the alternative threshold              state.’’ 54 Kentucky stated in response
                                                the NAAQS.                                              would be automatically approvable.52                   that it ‘‘concurs with the comment’’ and
                                                   As shown in Table 1, updated EPA                     With respect to the assertion that 1 ppb               had adjusted its SIP submittal
                                                modeling identifies Kentucky’s                          was generally comparable to 1 percent,                 accordingly.55 Further, even if the State
                                                maximum contribution to a downwind                      Kentucky did not provide discussion or                 had attempted to rely on the SIL as
                                                nonattainment or maintenance receptor                   analysis containing information specific               support for a 1 ppb threshold, the basis
                                                is greater than 1 percent of the standard               to Kentucky or a receptor analysis for                 supplied by MOG is inadequate. The
                                                (i.e., 0.70 ppb).                                       the affected monitors, as anticipated in               SIL is an analytical metric used in the
                                                   Kentucky, however, argued in its SIP                 the 2018 memorandum, to evaluate                       context of PSD permitting, a part of the
                                                submittal for the use of an alternative 1               whether the alternative threshold was                  CAA’s ‘‘prevention of significant
                                                ppb contribution threshold at Step 2 to                 appropriate to apply with respect to the               deterioration’’ program, which generally
                                                attempt to demonstrate that it was no                   monitors to which Kentucky was linked.                 is applicable in areas that designated
                                                longer ‘‘linked’’ to projected downwind                 Such state-specific information is                     attainment 56 or unclassifiable for the
                                                nonattainment receptors. Specifically,                  necessary to thoroughly evaluate the                   NAAQS. Good neighbor analysis for the
                                                Kentucky cited EPA’s August 2018                        state-specific circumstances that could                ozone NAAQS, by contrast, addresses
                                                memorandum as supporting the use of                     support approval. Given the absence of                 the degree of significant contribution to
                                                a 1 ppb alternative contribution                        technical analysis to support the use of               nonattainment and interference with
                                                threshold at Step 2 to assert that the                  a 1 ppb threshold under the facts and                  maintenance of the NAAQS resulting at
                                                Commonwealth was no longer ‘‘linked’’                   circumstances relevant to Kentucky and                 downwind receptors from the collective
                                                to projected downwind nonattainment                     its linked receptors, EPA proposes that                contribution of many upwind sources.
                                                receptors, while conceding that even                    the use of 1 ppb as a contribution                     Further, it is not correct to conflate the
                                                under this alternative threshold, it was                threshold is not approvable.53 (As
                                                linked above 1 ppb to the projected                     discussed in section III.C.1 below, EPA                   54 See Kentucky’s January 11, 2019, submission,

                                                Harford, Maryland maintenance-only                      no longer intends to dedicate resources                Appendix D, Summary of Comments and
                                                receptor. EPA’s most recent modeling of                 to supplement state submittals with                    Responses, at 6–7.
                                                                                                                                                                  55 Id. at 7. EPA directed Kentucky instead to the
                                                2023 no longer identifies the Harford,
                                                                                                                                                               August 2018 memorandum if it wished to rely on
                                                Maryland monitoring site as either a                      51 See August 2018 memorandum at 1.
                                                                                                                                                               a 1 ppb threshold; however, EPA’s comments noted
                                                                                                          52 As an example of the type of analysis that EPA
                                                maintenance or nonattainment receptor.                                                                         that this memorandum was only a ‘‘part’’ of the
                                                                                                        anticipated states might conduct under the
                                                Nonetheless, Kentucky is linked above 1                 guidance, in one instance, EPA itself attempted to
                                                                                                                                                               rationale the Commonwealth should develop. Id. at
                                                percent of the NAAQS but less than 1                                                                           6.
                                                                                                        conduct a state- and receptor-specific analysis that      56 Pursuant to section 107(d) of the CAA, EPA
                                                ppb to the four receptors in EPA’s most                 could support approval of the use of a 1 ppb
                                                                                                        threshold. See Air Plan Approval; Iowa;                must designate areas as either ‘‘nonattainment,’’
                                                recent modeling. Therefore, whether                                                                            ‘‘attainment,’’ or ‘‘unclassifiable.’’ Historically for
                                                                                                        Infrastructure State Implementation Plan
                                                Kentucky’s use of an alternative 1 ppb                  Requirements for the 2015 Ozone National Ambient       ozone, the EPA has designated most areas that do
                                                contribution threshold is approvable is                 Air Quality Standard, 85 FR 12232 (March 2, 2020).     not meet the definition of nonattainment as
                                                potentially a dispositive question in                   The Agency received adverse comment on this            ‘‘unclassifiable/attainment.’’ This category includes
                                                                                                        proposed approval and has not taken final action       areas that have air quality monitoring data meeting
                                                EPA’s evaluation.                                       with respect to this proposal.                         the NAAQS and areas that do not have monitors but
                                                   EPA proposes to find that Kentucky’s                   53 Kentucky applied the 1 ppb contribution           for which the EPA has no evidence that the areas
                                                reliance on an alternative contribution                 threshold to the Connecticut, Wisconsin, and           may be violating the NAAQS or contributing to a
                                                threshold of 1 ppb at Step 2 is not                     Maryland receptors, as the Commonwealth found          nearby violation. In the designations for the 2015
                                                                                                                                                               ozone NAAQS, the EPA reversed the order of the
lotter on DSK11XQN23PROD with PROPOSALS1




                                                approvable. EPA acknowledges that the                   that Kentucky was linked to these receptors based
                                                                                                        on the modeling released with the March 2018           label to be ‘‘attainment/unclassifiable’’ to better
                                                                                                        memorandum. Under EPA’s updated modeling,              convey the definition of the designation category
                                                   50 Although the various modeling runs (EPA’s                                                                and so that the category is more easily
                                                                                                        Kentucky is no longer linked to the Wisconsin and
                                                March 2018 modeling, Alpine’s modeling and              Maryland receptors and is linked to receptors in       distinguished from the separate unclassifiable
                                                EPA’s updated modeling) indicate that Kentucky is       Pennsylvania and New Haven, Connecticut. See           category. An ‘‘attainment’’ designation is reserved
                                                linked to different receptors and with differing        Table 1. However, as Kentucky did not provide any      for a previous nonattainment area that has been
                                                amounts of contribution, all three sets of modeling     state-specific information, the rationale is also      redesignated to attainment as a result of the EPA’s
                                                are consistent in that each indicates linkages          applicable to the Pennsylvania and New Haven,          approval of a CAA section 175A maintenance plan
                                                between Kentucky and downwind receptors.                Connecticut linkages.                                  submitted by the state air agency.



                                           VerDate Sep<11>2014   18:17 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00055   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                        Case: 23-3216                  Document: 32-3                   Filed: 06/16/2023               Page: 253
                                                9510                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                use of the term ‘‘significance’’ as used                support of the state’s submittal, and the              similarity in the amount of total upwind
                                                in the SIL guidance, with the term                      Agency is not obligated to conduct                     contribution captured (on a nationwide
                                                ‘‘contribution,’’ which is the appliable                supplemental analysis to fill the gaps                 basis) between 1 percent and 1 ppb.
                                                statutory term that EPA applies at Step                 whenever it believes a state’s analysis is             However, EPA notes that while this may
                                                2 of the 4-step interstate transport                    insufficient. The Agency no longer                     be true in some sense, that is hardly a
                                                framework. (‘‘Significance’’ within the                 intends to undertake supplemental                      compelling basis to move to a 1 ppb
                                                4-step framework is evaluated at Step 3                 analysis of SIP submittals with respect                threshold. Indeed, the 1 ppb threshold
                                                through a multifactor analysis, for those               to alternative thresholds at Step 2 for                has the disadvantage of losing a certain
                                                states that are determined to                           purposes of the 2015 8-hour ozone                      amount of total upwind contribution for
                                                ‘‘contribute’’ to downwind receptors at                 NAAQS.                                                 further evaluation at Step 3 (e.g.,
                                                Steps 1 and 2. See section I.D.4.) Given                   Furthermore, EPA’s experience since                 roughly 7 percent of total upwind state
                                                the fundamentally different statutory                   2018 is that allowing for alternative Step             contribution was lost according to the
                                                objectives and context, EPA disagrees                   2 thresholds may be impractical or                     modeling underlying the August 2018
                                                with MOG’s contention that the SIL                      otherwise inadvisable for a number of                  memorandum; 60 in EPA’s updated
                                                guidance is applicable in the good                      additional policy reasons. For a regional              modeling, the amount lost is 5 percent).
                                                neighbor context.                                       air pollutant such as ozone, consistency               Considering the core statutory objective
                                                                                                        in requirements and expectations across                of ensuring elimination of all significant
                                                1. EPA’s Experience With Alternative                    all states is essential. Based on its                  contribution to nonattainment or
                                                Step 2 Thresholds                                       review of submittals to-date and after                 interference of the NAAQS in other
                                                   EPA here shares further evaluation of                further consideration of the policy                    states and the broad, regional nature of
                                                its experience since the issuance of the                implications of attempting to recognize                the collective contribution problem with
                                                August 2018 memorandum regarding                        an alternative Step 2 threshold for                    respect to ozone, there does not appear
                                                use of alternative thresholds at Step 2.                certain states, the Agency now believes                to be a compelling policy imperative in
                                                This experience leads the Agency to                     the attempted use of different thresholds              allowing some states to use a 1 ppb
                                                now believe it may not be appropriate                   at Step 2 with respect to the 2015 8-hour              threshold while others rely on a 1
                                                to continue to attempt to recognize                     ozone NAAQS raises substantial policy                  percent of the NAAQS threshold.
                                                alternative contribution thresholds at                  consistency and practical                                 Consistency with past interstate
                                                Step 2. The August 2018 memorandum                      implementation concerns.59 The                         transport actions such as CSAPR, and
                                                stated that ‘‘it may be reasonable and                  availability of different thresholds at                the CSAPR Update and Revised CSAPR
                                                appropriate’’ for states to rely on an                  Step 2 has the potential to result in                  Update rulemakings (which used a Step
                                                alternative threshold of 1 ppb threshold                inconsistent application of good                       2 threshold of 1 percent of the NAAQS
                                                at Step 2.57 (The memorandum also                       neighbor obligations based solely on the               for two less stringent ozone NAAQS), is
                                                indicated that any higher alternative                   strength of a state’s implementation                   also important. Continuing to use a 1
                                                threshold, such as 2 ppb, would likely                  plan submittal at Step 2 of the 4-step                 percent of NAAQS approach ensures
                                                not be appropriate.) However, EPA also                  interstate transport framework. From the               that as the NAAQS are revised and
                                                provided that ‘‘air agencies should                     perspective of ensuring effective                      made more stringent, an appropriate
                                                consider whether the recommendations                    regional implementation of good                        increase in stringency at Step 2 occurs,
                                                in this guidance are appropriate for each               neighbor obligations, the more                         so as to ensure an appropriately larger
                                                situation.’’ Following receipt and review               important analysis is the evaluation of                amount of total upwind-state
                                                of 49 good neighbor SIP submittals for                  the emissions reductions needed, if any,               contribution is captured for purposes of
                                                the 2015 8-hour ozone NAAQS, EPA’s                      to address a state’s significant                       fully addressing interstate transport. See
                                                experience has been that nearly every                   contribution after consideration of a                  76 FR 48208, 48237–38 (August 8,
                                                state that attempted to rely on a 1 ppb                 multifactor analysis at Step 3, including              2011).
                                                threshold did not provide sufficient                    a detailed evaluation that considers air                  Therefore, notwithstanding the
                                                information and analysis to support a                   quality factors and cost. Where                        August 2018 memorandum’s
                                                determination that an alternative                       alternative thresholds for purposes of                 recognition of the potential viability of
                                                threshold was reasonable or appropriate                 Step 2 may be ‘‘similar’’ in terms of                  alternative Step 2 thresholds, and in
                                                for that state.                                         capturing the relative amount of upwind                particular, a potentially applicable 1
                                                   For instance, in nearly all submittals,              contribution (as described in the August               ppb threshold, EPA’s experience since
                                                the states did not provide EPA with                     2018 memorandum), nonetheless, use of                  the issuance of that memorandum has
                                                analysis specific to their state or the                 an alternative threshold would allow                   revealed substantial programmatic and
                                                receptors to which its emissions are                    certain states to avoid further evaluation             policy difficulties in attempting to
                                                potentially linked. In one case, the                    of potential emission controls while                   implement this approach. Nonetheless,
                                                proposed approval of Iowa’s SIP                         other states must proceed to a Step 3                  EPA is not at this time rescinding the
                                                submittal, EPA expended its own                         analysis. This can create significant                  August 2018 memorandum. The basis
                                                resources to attempt to supplement the                  equity and consistency problems among                  for disapproval of Kentucky’s SIP
                                                information submitted by the state, in                  states.                                                submission with respect to the Step 2
                                                order to more thoroughly evaluate the                      Further, it is not clear that national              analysis is, in the Agency’s view,
                                                state-specific circumstances that could                 ozone transport policy is best served by               warranted even under the terms of the
                                                support approval.58 It was at EPA’s sole                allowing for less stringent thresholds at              August 2018 memorandum. EPA invites
                                                discretion to perform this analysis in                  Step 2. EPA recognized in the August                   comment on this broader discussion of
lotter on DSK11XQN23PROD with PROPOSALS1




                                                                                                        2018 memorandum that there was some                    issues associated with alternative
                                                  57 See August 2018 memorandum at 4.                                                                          thresholds at Step 2. Depending on
                                                  58 Air Plan Approval; Iowa; Infrastructure State        59 EPA notes that Congress has placed on EPA a       comment and further evaluation of this
                                                Implementation Plan Requirements for the 2015           general obligation to ensure the requirements of the   issue, EPA may determine to rescind the
                                                Ozone National Ambient Air Quality Standard, 85         CAA are implemented consistently across states         August 2018 memorandum in the
                                                FR 12232 (March 2, 2020). The Agency received           and regions. See CAA section 301(a)(2). Where the
                                                adverse comment on this proposed approval and           management and regulation of interstate pollution      future.
                                                has not taken final action with respect to this         levels spanning many states is at stake, consistency
                                                proposal.                                               in application of CAA requirements is paramount.        60 See August 2018 memorandum at 4.




                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00056   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                        Case: 23-3216                  Document: 32-3                   Filed: 06/16/2023               Page: 254
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                     9511

                                                   In summary, EPA’s updated modeling                   other state. Kentucky did not conduct                 adopted, and certain changes in the
                                                indicates that emissions from Kentucky                  such an analysis in its SIP submission.               Wisconsin EGU fleet (see Alpine TSD,
                                                sources are linked to downwind                             Kentucky did not include a                         Appendix B, at pages B–5, B–6). In
                                                receptors identified in Table 1, and                    comprehensive accounting of facilities                general, any changes in the emissions
                                                application of 1 ppb alternative                        in the Commonwealth and did not                       inventory and on-the-books controls
                                                threshold is not supported by                           include a sufficient analysis of potential            relevant to emissions in 2023 have now
                                                Kentucky’s SIP submission. Thus, EPA                    NOX emissions control technologies,                   been incorporated into EPA’s most
                                                preliminarily finds that Kentucky is                    their associated costs, estimated                     recent modeling of 2023. This includes
                                                linked to downwind nonattainment and                    emissions reductions, and downwind                    changes in Kentucky EGU emissions.
                                                maintenance receptors, and proceeds to                  air quality improvements for the                         As previously discussed, EPA’s
                                                Step 3 of the 4-step framework.                         purpose of identifying what additional                updated modeling indicates sources in
                                                                                                        emission controls may be necessary to                 Kentucky are linked to downwind air
                                                D. Evaluation of Information Provided                   eliminate their significant contribution.
                                                by Kentucky Regarding Step 3                                                                                  quality problems for the 2015 8-hour
                                                                                                        Rather, Kentucky’s SIP included air                   ozone standard. However, Kentucky’s
                                                   At Step 3 of the 4-step interstate                   quality analysis related to downwind                  SIP submittal did not include a
                                                transport framework, a state’s emissions                receptors and relied on existing NOX                  sufficient accounting of emissions
                                                are further evaluated, in light of                      emission measures in the                              sources or activity in the
                                                multiple factors, including air quality                 Commonwealth without any rationale to                 Commonwealth, along with an analysis
                                                and cost considerations, to determine                   show how or why existing measures                     of potential NOX emissions control
                                                what, if any, emissions significantly                   would eliminate the Kentucky’s
                                                                                                                                                              technologies, associated costs, estimated
                                                contribute to nonattainment or interfere                downwind contribution. Further, the
                                                                                                                                                              emissions reductions, and downwind
                                                with maintenance and, thus, must be                     Commonwealth provided information
                                                                                                                                                              air quality improvements to eliminate
                                                eliminated under CAA section                            related to programs that it asserted were
                                                                                                                                                              the Kentucky’s downwind contribution.
                                                110(a)(2)(D)(i)(I).                                     responsible for a 10-year decline in
                                                                                                        ozone season NOX emissions in                            EPA therefore propose to find that
                                                   To effectively evaluate which                                                                              Kentucky was required to analyze
                                                                                                        Kentucky, such as regulations and
                                                emissions in the state should be deemed                                                                       emissions from the sources and other
                                                                                                        Federal programs (including the CSAPR
                                                ‘‘significant’’ and therefore prohibited,                                                                     emissions activity from within the
                                                                                                        Update), EGU shutdowns, retirements,
                                                states generally should prepare an                                                                            Commonwealth to determine whether
                                                                                                        and fuel switches. However, Kentucky
                                                accounting of sources and other                         did not quantify the NOx emission                     its contributions were significant, and
                                                emissions activity for relevant                         reduction potential of on-the-books                   EPA proposes to disapprove its
                                                pollutants and assess potential,                        regulations or Federal programs or on-                submission because Kentucky failed to
                                                additional emissions reduction                          the-way measures for 2023, nor does the               do so.
                                                opportunities and resulting downwind                    submission consider cost-effectiveness                   The subsections below contain
                                                air quality improvements. EPA has                       of potential emissions controls, the total            additional detail with respect to
                                                consistently applied this general                       emissions reductions that may be                      arguments made by the Commonwealth
                                                approach (i.e., Step 3 of the 4-step                    achieved by requiring these controls, or              in its SIP submission.61
                                                interstate transport framewor46k) when                  an evaluation of the air quality impacts
                                                identifying emissions contributions that                such emissions reductions would have                  1. Evaluation of Kentucky’s Reliance on
                                                the Agency has determined to be                         on the downwind receptors to which                    Existing and Future NOX Emission
                                                ‘‘significant’’ (or interfere with                      Kentucky is linked. Identifying a range               Reductions
                                                maintenance) in each of its prior                       of on-the-books emissions control                       The Commonwealth’s SIP submission
                                                Federal, regional ozone transport                       measures that have been or may be                     does not contain a Step 3 analysis
                                                rulemakings, and this interpretation of                 enacted at the state or local level,                  regarding future emissions reduction
                                                the statute has been upheld by the                      without analysis of the impact of those               opportunities beyond pointing to NOX
                                                Supreme Court. See EME Homer City,                      measures on the downwind receptors, is                emission reductions from expected
                                                572 U.S. 489, 518–520 (2014). While                     not a sufficient analysis.                            retirements, fuel switching, and
                                                EPA has not directed states that they                      Furthermore, the emissions-reducing                shutdowns. While the Commonwealth
                                                must conduct a Step 3 analysis in                       effects of on-the-books emissions                     claimed there would be an estimated
                                                precisely the manner EPA has done in                    control requirements are already                      471 tons of NOX emissions from
                                                its prior regional transport rulemakings,               reflected in the air quality results of               potential shutdown of units at the E.W.
                                                state implementation plans addressing                   EPA’s modeling under Steps 1 and 2 of                 Brown Generating Station facility in
                                                the obligations in CAA section                          the 4-step framework. Kentucky, and                   Harrodsburg, Kentucky, the
                                                110(a)(2)(D)(i)(I) must prohibit ‘‘any                  MOG in the materials it submitted to                  Commonwealth did not clarify how
                                                source or other type of emissions                       Kentucky, maintain that there were                    these planned reductions would resolve
                                                activity within the State’’ from emitting               additional emission reductions that                   the Commonwealth’s downwind
                                                air pollutants which will contribute                    have occurred that were not accounted                 contribution to the Harford County,
                                                significantly to downwind air quality                   for in EPA’s 2023 modeling as presented               Maryland maintenance-only receptor by
                                                problems. Thus, states must complete                    in the March 2018 memorandum.                         2023. (Nor did the Commonwealth
                                                something similar to EPA’s analysis (or                 Kentucky cites the 2019 retirement of                 evaluate whether emissions may
                                                an alternative approach to defining                     units 1 and 2 at the E.W. Brown coal-                 increase at other sources whose
                                                ‘‘significance’’ that comports with the
lotter on DSK11XQN23PROD with PROPOSALS1




                                                                                                        fired power plant (see Appendix D,                    generation would replace that lost at
                                                statute’s objectives) to determine                      Response to Comments, at 5), and MOG
                                                                                                                                                              E. W. Brown.) Further, the E.W. Brown
                                                whether and to what degree emissions                    claims a variety of unidentified changes
                                                                                                                                                              facility retired coal-fired units 1 and 2
                                                from a state should be ‘‘prohibited’’ to                not accounted for in EPA’s emissions
                                                eliminate emissions that will                           inventory at the time of the modeling in                61 These subsections provide brief summaries of
                                                ‘‘contribute significantly to                           the March 2018 memorandum, as well                    the issues as presented in Kentucky’s SIP as
                                                nonattainment in, or interfere with                     as certain downwind state measures                    context; please see section II of this notice for
                                                maintenance of’’ the NAAQS in any                       apparently under consideration but not                additional detail on the contents of Kentucky’s SIP.



                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00057   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                        Case: 23-3216                  Document: 32-3                   Filed: 06/16/2023               Page: 255
                                                9512                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                in February 2019,62 the units’ retirement               NAAQS. Additionally, reliance on an                   the SIP). Kentucky has not adopted the
                                                is included in the recently updated                     alleged cost-threshold stringency from                Group 3 NOX Ozone Season Trading
                                                modeling for Steps 1 and 2, and yet                     the CSAPR Update is insufficient                      Program promulgated in the Revised
                                                emissions from Kentucky sources                         without additional Step 3 analysis and                CSAPR Update into its SIP.
                                                remain linked to one or more downwind                   justification. First, the CSAPR Update
                                                                                                                                                              3. Evaluation of Kentucky’s Analysis of
                                                receptors.                                              did not regulate non-EGUs, and thus
                                                   While the Commonwealth generally                     this analysis would have been                         Air Quality and Emission Reductions
                                                asserted that on-the-books or on-the-way                incomplete, even with respect to                      Near the Linked Monitors
                                                regulations and programs may provide                    obligations under the 2008 ozone                         Kentucky’s SIP also evaluated air
                                                future emissions reductions, Kentucky                   NAAQS. See Wisconsin, 938 F.3d at                     quality in the vicinity of the Fairfield
                                                did not quantify these reductions in a                  318–20. Second, relying on the CSAPR                  County, Connecticut (IDs: 090013007
                                                meaningful way or demonstrate that the                  Update’s (or any other CAA program’s)                 and 090019003) and Harford County,
                                                downwind improvements from these                        determination of cost-effectiveness                   Maryland (ID: 240251001) monitors for
                                                regulations and programs would be                       without further Step 3 analysis is not                which the Commonwealth is linked
                                                sufficient to eliminate the                             approvable. Cost-effectiveness must be                based on EPA’s modeling in the March
                                                Commonwealth’s significant                              assessed in the context of the specific               2018 memorandum. Kentucky’s
                                                contribution or interference with                       CAA program; assessing cost-                          submission asserts that the primary
                                                maintenance. In addition, the SIP                       effectiveness in the context of ozone                 cause of nonattainment problems at the
                                                submission did not evaluate or even                     transport should reflect a more                       Connecticut and Maryland monitors are
                                                attempt to identify additional control                  comprehensive evaluation of the nature                due to local emissions of ozone
                                                measures for EGUs or non-EGUs, nor                      of the interstate transport problem                   precursors (particularly NOX) and
                                                did it include a determination of                       under the relevant NAAQS, the total                   meteorological conditions.
                                                emission reduction potential for these                  emissions reductions available at                        Kentucky’s SIP submittal argues
                                                potential additional controls or consider               alternative cost thresholds, and the air              against control requirements on
                                                their cost-effectiveness or downwind air                quality impacts of the reductions at                  Kentucky sources to address the two
                                                quality effects. This is not a sufficient               downwind receptors. While EPA has                     nonattainment receptors in Fairfield,
                                                Step 3 analysis.                                        not established a benchmark cost-                     Connecticut (IDs: 090013007,
                                                                                                        effectiveness value for 2015 8-hour                   090019003) and the maintenance-only
                                                2. Evaluation of Kentucky’s Reliance on                 ozone NAAQS interstate transport                      monitor in Harford County, Maryland
                                                Prior Transport FIPs                                    obligations, because the 2015 8-hour                  monitor, claiming that additional
                                                   The 10-year emission reductions                      ozone NAAQS is a more stringent and                   emission reductions from Kentucky
                                                discussed by Kentucky relies in part on                 more protective air quality standard, it              EGUs (the only Kentucky source
                                                the implementation of CAIR, CSAPR,                      is reasonable to expect control measures              category discussed in the submittal) are
                                                and the CSAPR Update. Kentucky’s SIP                    or strategies to address interstate                   not necessary. Kentucky concludes that
                                                relied on its EGUs being subject to the                 transport under this NAAQS to reflect                 local emissions reductions should be
                                                CSAPR Update (which reflected a                         higher marginal control costs. As such,               applied before requiring Kentucky to
                                                stringency at the nominal marginal cost                 the marginal cost threshold of $1,400/                control its sources, and that the
                                                threshold of $1,400/ton (in 2011 dollars)               ton for the CSAPR Update (which                       implementation of local programs to
                                                for the 2008 8-hour ozone NAAQS) to                     addresses the 2008 ozone 8-hour                       reduce emissions should be sufficient
                                                argue that it has already implemented                   NAAQS and is in 2011 dollars) is not an               for monitors in the area to attain the
                                                all cost-effective emissions reductions to              appropriate cost threshold and cannot                 2015 8-hour ozone NAAQS.63
                                                support its conclusion that additional                  be approved as a benchmark to use for                    With respect to the information
                                                NOX emission reductions are not                         interstate transport SIP submissions for              Kentucky provided that is related to
                                                necessary from sources in Kentucky.                     the 2015 8-hour ozone NAAQS.                          local emissions and the impact on air
                                                Kentucky did not conduct a                                 In addition, the updated EPA                       quality at the Connecticut and Maryland
                                                comprehensive Step 3 analysis or                        modeling captures all existing CSAPR                  receptors, this information is
                                                provide any justification for reliance on               trading programs in the baseline, and                 insufficient to approve Kentucky’s SIP
                                                the CSAPR Update beyond identifying                     that modeling confirms that these                     submission. Regardless of whether local
                                                the NOX emission reductions that the                    control programs were not sufficient to               emissions are the largest contributor to
                                                Commonwealth believes are the source                    eliminate the Kentucky’s linkage at                   a specific nonattainment or
                                                of the 10-year decline in NOX emissions                 Steps 1 and 2 under the 2015 8-hour                   maintenance receptor, the good
                                                at EGUs in the Commonwealth and                         ozone NAAQS. Kentucky was therefore                   neighbor provision requires that upwind
                                                noting that the actual emissions from                   obligated at Step 3 to assess additional              states prohibit emissions that contribute
                                                EGUs in the Commonwealth are well                       control measures using a multifactor                  significantly to nonattainment or
                                                below the CSAPR Update NOX ozone                        analysis.                                             interfere with maintenance of the
                                                season trading budget.                                     Finally, relying on a FIP at Step 3 is             NAAQS in downwind states. EPA
                                                   EPA disagrees with the                               per se not approvable if the state has not            evaluates a state’s obligations to
                                                Commonwealth. Reliance on the CSAPR                     adopted that program into its SIP and                 eliminate interstate transport emissions
                                                Update (or the subsequent Revised                       instead continues to rely on the FIP.                 under the interstate transport provision
                                                CSAPR Update, which fully resolved                      States may not rely on non-SIP                        according to EPA’s 4-step process, and
                                                Kentucky’s good neighbor obligations                    measures to meet SIP requirements. See                EPA’s updating modeling at Steps 1 and
lotter on DSK11XQN23PROD with PROPOSALS1




                                                for the 2008 ozone NAAQS, 86 FR                         CAA section 110(a)(2)(D) (‘‘Each such
                                                23056–57), is insufficient because those                [SIP] shall . . . contain adequate                      63 The Commonwealth’s submission cites to

                                                policies addressed section                              provisions. . . .’’). See also CAA                    MOG’s statements regarding controls on local
                                                110(a)(2)(D)(i)(I) only for the 2008 ozone              section 110(a)(2)(A); Committee for a                 sources ‘‘When an area is measuring nonattainment
                                                                                                        Better Arvin v. U.S. E.P.A., 786 F.3d                 of a NAAQS, as is the case with the areas linked
                                                                                                                                                              to Kentucky, the CAA requires that the effects and
                                                  62 See Retired Unit exemption forms for E.W.          1169, 1175–76 (9th Cir. 2015) (holding                benefits of local controls on all source sectors be
                                                Brown Generating station in Docket No.: EPA–R04–        that measures relied on by state to meet              considered first, prior to pursuing controls of
                                                OAR–2021–0841.                                          CAA requirements must be included in                  sources in upwind states.’’



                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00058   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                        Case: 23-3216                  Document: 32-3                   Filed: 06/16/2023                Page: 256
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                      9513

                                                2 has identified a linkage between                      measures to reduce mobile source                       4. Evaluation of Kentucky’s HYSPLIT
                                                emission from Kentucky sources and                      emissions, EPA’s modeling projects that                Analysis
                                                downwind nonattainment and                              the total contribution from upwind                        Kentucky’s SIP submittal also
                                                maintenance receptors.                                  states is a substantial part of the ozone              included HYSPLIT model back
                                                   Further, EPA disagrees with                          problem at the nonattainment and                       trajectory analysis, which Kentucky
                                                Kentucky’s claims that local emissions                  maintenance receptors to which                         used to emphasize the local nature of
                                                reductions from the jurisdiction where                  Kentucky is linked. To illustrate this, at             the ozone precursor emissions at the
                                                the downwind receptor is located must                   the four receptors to which Kentucky is                two Connecticut receptors, mobile
                                                first be implemented and accounted for                                                                         sources along the I–95 Corridor, and the
                                                                                                        linked in EPA’s latest 2023 modeling,
                                                before imposing obligations on upwind                                                                          proximity of large point sources and
                                                                                                        the total percent of U.S. anthropogenic
                                                states under the interstate transport                                                                          ozone nonattainment areas in New
                                                provision. There is nothing in the CAA                  emissions from upwind states is 55
                                                                                                        percent (Bucks Co., Pennsylvania), 90                  York, New Jersey, Pennsylvania, and
                                                that supports that position, and it does                                                                       Maryland. Similarly, Kentucky also
                                                not provide grounds on which to                         percent (New Haven Co., Connecticut),
                                                                                                        90 percent (Fairfield Co.—Stratford,                   evaluated HYSPLIT back-trajectory for
                                                approve Kentucky SIP submission. The                                                                           the Harford County, Maryland monitor
                                                D.C. Circuit has held on five different                 Connecticut), and 94 percent (Fairfield
                                                                                                        Co.—Westport, Connecticut) of the total                and noted similar localized emissions
                                                occasions that the timing framework for                                                                        impacts with respect to the Maryland
                                                addressing interstate transport                         design values at these receptors. Clearly,
                                                                                                                                                               monitor as discussed previously for the
                                                obligations must be consistent with the                 emissions reductions from upwind
                                                                                                                                                               two Fairfield County, Connecticut
                                                downwind areas’ attainment schedule.                    states would have an impact on the                     monitors.
                                                In particular, for the ozone NAAQS, the                 design values at the identified                           However, the limited information
                                                states and EPA are to address interstate                receptors.64                                           provided by Kentucky is not adequate to
                                                transport obligations ‘‘as expeditiously                   Additionally, the SIP submission does               support approval of Kentucky’s SIP on
                                                as practicable’’ and no later than the                                                                         this basis and in the absence of a more
                                                                                                        not assess whether the Commonwealth’s
                                                attainment schedule set in accordance                                                                          complete Step 3 evaluation. Kentucky’s
                                                                                                        own emissions contributed to
                                                with CAA section 181(a). See North                                                                             SIP submittal did not address that the
                                                Carolina, 531 F.3d at 911–13;                           nonattainment or interfered with
                                                                                                        maintenance at the linked receptors, or                HYSPLIT back-trajectories indicate that
                                                Wisconsin, 938 F.3d at 313–20;                                                                                 ozone precursor emissions sources in
                                                Maryland, 958 F.3d at 1204; New York                    rather substantiate that emissions from
                                                                                                        the Commonwealth’s sources were not                    Kentucky are upwind of the linked
                                                v. EPA, 964 F.3d 1214, 1226 (D.C. Cir.                                                                         nonattainment receptors in Connecticut
                                                2020); New York v. EPA, 781 Fed. App’x                  interacting with these monitors.
                                                                                                        Consequently, the application of local                 (regardless of the existence of other
                                                4, 6–7 (D.C. Cir. 2019). The court in                                                                          upwind nonattainment areas that may
                                                Wisconsin explained its reasoning in                    emission reduction measures does not
                                                                                                                                                               also be contributing to those receptors).
                                                part by noting that downwind                            absolve upwind states and sources from
                                                                                                                                                               Additionally, the HYSPLIT trajectory
                                                jurisdictions often may need to heavily                 the responsibility of addressing their
                                                                                                                                                               information provided by Kentucky was
                                                rely on emissions reductions from                       significant contribution. Moreover,
                                                                                                                                                               developed by EPA to inform the 2015
                                                upwind states in order to achieve                       Kentucky still has an obligation under                 8-hour ozone NAAQS area designations
                                                attainment of the NAAQS, 938 F.3d at                    the Act to address its downwind                        and was not intended to evaluate long-
                                                316–17; such states would face                          contribution to ozone nonattainment or                 distance interstate transport.65
                                                increased regulatory burdens including                  interference with maintenance                             Attachment 3 of the 2015 8-hour
                                                the risk of bumping up to a higher                      regardless of the emission reduction                   ozone Area Designations memorandum
                                                nonattainment classification if                         potential for local control measures.                  states that the line thickness displayed
                                                attainment is not reached by the                        Furthermore, given that EPA’s updated                  on trajectory plots ‘‘does not imply
                                                relevant deadline. Maryland, 958 F.3d at                modeling indicates that Kentucky is                    coverage other than to represent the
                                                1204. The statutory framework of the
                                                                                                        linked to nonattainment and                            centerline of an air parcel’s motion
                                                CAA and these cases establish clearly
                                                                                                        maintenance receptors at Step 2                        calculated to arrive at the starting
                                                that states and EPA must address
                                                                                                        including the same Fairfield County,                   location at the starting time.
                                                interstate transport obligations in line
                                                                                                        Connecticut nonattainment receptors as                 Uncertainties are clearly present in
                                                with the attainment schedule provided
                                                in the Act in order to timely assist                    were linked in the modeling released                   these results and these uncertainties
                                                downwind states in attaining and                        with the March 2018 memorandum,                        change with trajectory time and distance
                                                maintain the NAAQS, and this schedule                   EPA disagrees with Kentucky’s claims                   traveled. One should avoid concluding
                                                is ‘‘central to the regulatory scheme.’’                regarding the application of local                     a region is not along a trajectory’s path
                                                Wisconsin, 938 F.3d at 316 (quoting                     emission reduction measures with                       if the center line of that trajectory
                                                Sierra Club v. EPA, 294 F.3d 155, 161                   respect to its downwind linkages in the                missed the region by a relatively small
                                                (D.C. Cir. 2002)).                                      most recent modeling.                                  distance.’’ 66
                                                   In addition, Kentucky’s SIP does not                                                                           65 See Area Designations for the 2015 Ozone
                                                provide a technical justification to                       64 In contrast to the receptors to which Kentucky
                                                                                                                                                               National Ambient Air Quality Standards
                                                support its conclusion that local                       is linked, EPA has found that certain receptors are    memorandum from Janet G. McCabe to EPA
                                                emissions reductions at the receptors                   so heavily impacted by local emissions that they       Regional Administrators, February 25, 2016 (2015
                                                will achieve attainment without upwind                  should not be considered ‘‘transport’’ receptors for   ozone Area Designations memorandum).
                                                                                                        purposes of the ozone NAAQS. Typically, in such           66 See id. It is important to understand that
lotter on DSK11XQN23PROD with PROPOSALS1




                                                reductions from sources within                          cases, only one state is linked above 1 percent to     HYSPLIT back trajectory analyses use archived
                                                Kentucky. Specifically, Kentucky does                   that receptor and the total upwind state               meteorological modeling that includes actual
                                                not provide any information to support                  contribution is on the order of 2 percent to 4         observed data (surface, upper air, airplane data,
                                                its claim that the implementation of                    percent of the receptor’s DV. See, e.g., 81 FR 15200   etc.) and modeled meteorological fields to estimate
                                                local programs alone will address the air               (March 22, 2016), 81 FR 31513 (May 19, 2016), and      the most likely route of an air parcel transported to
                                                                                                        81 FR 36179 (June 6, 2016) (approving Arizona’s        a receptor at a specified time. The method
                                                quality problems at the Connecticut and                 transport SIP on basis that certain California         essentially follows a parcel of air backward in
                                                Maryland monitors. Even with the                        receptors should not be considered impacted by         hourly steps for a specified length of time. HYSPLIT
                                                consideration of on-the-books control                   interstate ozone transport).                                                                      Continued




                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00059   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
                                                                          Case: 23-3216                   Document: 32-3                 Filed: 06/16/2023                  Page: 257
                                                9514                    Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                   Further, the back trajectories used by                 not clear. As already discussed, the                       Under the D.C. Circuit’s decision in
                                                Kentucky were limited to evaluating                       statute and the case law (particularly the              North Carolina, states and EPA are
                                                transport of air parcels over a relatively                holdings in Wisconsin and Maryland)                     required to give independent
                                                short 24-hour period, which limits their                  make clear that good neighbor                           significance to the ‘‘interference with
                                                use for evaluating long-distance                          obligations are not merely                              maintenance’’ prong of section
                                                transport of emissions from Kentucky to                   supplementary to or deferable until after               110(a)(2)(D)(i)(I). See 531 F.3d at 910.
                                                the Fairfield, Connecticut receptors and                  local emission reductions are achieved.                 Since CSAPR, EPA’s nationally
                                                the Harford, Maryland receptor. In                        Further, all of the receptors to which                  consistent policy framework for
                                                contrast, EPA’s analysis of transported                   Kentucky is linked are heavily impacted                 addressing interstate ozone transport
                                                emissions as discussed in section III.A                   by upwind state emissions in addition                   has given meaning to this prong through
                                                uses updated, photochemical grid                          to local sources and conditions. The                    a separate definition of maintenance
                                                modeling designed to assess ozone                         Wisconsin decision’s holding regarding                  receptors at Step 1 of the 4-step
                                                transported to downwind monitors                          international contribution (discussed in                interstate transport framework. For
                                                across the entire region and over                         section III.A) is equally applicable to an              states linked only to those receptors,
                                                extended timeframes that fully account                    upwind state’s claims that some other                   EPA has found it appropriate to apply
                                                for fate and transport of ozone-                          state’s emissions, or local emissions, are              an emissions control solution that is
                                                precursors over longer distances.                         ‘‘more to blame’’ than its own                          uniform with the strategy applied for
                                                   Kentucky’s SIP submission states that                  emissions. See 938 F.3d 303 at 323–25                   states that are linked to nonattainment
                                                the Fairfield County ozone monitors are                   (‘‘an upwind State can ‘contribute’ to                  receptors. See 76 FR at 48271. EPA’s
                                                located in the New York Metro Area, in                    downwind nonattainment even if its                      approach to addressing interference
                                                close proximity to the I–95                               emissions are not the but-for cause’’).                 with maintenance under prong 2 for
                                                transportation artery. The                                                                                        ozone NAAQS has been upheld twice.
                                                Commonwealth’s analysis asserts a high                    5. Evaluation of Kentucky’s Approach to                 See EME Homer City Generation, L.P.,
                                                VMT and number of commuters in the                        Maintenance Receptors                                   795 F.3d at 136; Wisconsin, 938 F.3d at
                                                area indicating the presence of mobile                       Kentucky’s SIP argues that states                    325–27. See also 86 FR at 23054 (April
                                                emissions that could be the cause of                      linked only to maintenance receptors                    30, 2021).69
                                                violating monitors along the I–95                         should be held to less stringent                           Particularly given this context,
                                                corridor. Kentucky’s SIP also mentions                    standards of emissions reductions                       Kentucky’s SIP submission does not
                                                two additional coastal monitor sites                      compared to states linked to a                          provide information sufficient to
                                                (Westport Sherwood and Stratford Point                    nonattainment receptor. Thus, as the                    support less stringent standards of
                                                Lighthouse) located less than three                       Edgewood monitor was identified as a                    emissions reductions than would result
                                                miles from the I–95 corridor that also                    maintenance receptor in EPA’s March                     from EPA’s historical approach of
                                                show a pattern of ozone violations.                       2018 memorandum modeling, the                           addressing emissions activities from
                                                Kentucky raises similar points regarding                  Commonwealth asserts that no further                    upwind states that are linked to
                                                the effect of mobile source emissions                     reductions from Kentucky sources other                  maintenance-only receptors. The
                                                along the I–95 corridor in Maryland                       than on-the-books controls should be                    Commonwealth does not explain how
                                                near the Edgewood receptor. Further,                      required. Although the Harford monitor                  the obligations of upwind states linked
                                                Kentucky asserts that both the                            is no longer linked to Kentucky based                   to maintenance-only receptors should
                                                Connecticut and Maryland receptor sites                   on EPA’s updated modeling,67                            be treated differently than the
                                                may be particularly impacted by unique                    emissions from the Commonwealth are                     obligations of upwind states linked to
                                                coastal conditions associated with the                    linked to the Bucks County,                             nonattainment receptors.
                                                Long Island Sound and the Chesapeake                      Pennsylvania (ID: 420170012)                               Further, EPA believes it would be
                                                Bay. While it is true that both of these                  maintenance-only receptor.                              inconsistent with the CAA for EPA to
                                                monitors are affected by coastal                          Additionally, MOG argues that states                    identify receptors that are at risk of
                                                meteorological conditions such as                         should be absolved from additional                      NAAQS violations given certain
                                                complex land-water wind flows and                         emissions controls to address a                         conditions due to transported upwind
                                                mixing heights, a large portion of                        maintenance monitor if the upwind                       emissions and then not prohibit the
                                                anthropogenic ozone at these locations                    state can show that either the monitor                  emissions that place the receptor at risk.
                                                is the result of transport from upwind                    is likely to remain in attainment for a                 The Supreme Court held that it was a
                                                states. In addition, as noted above,                      period of 10 years or that the upwind                   permissible interpretation of the statute
                                                EPA’s most recent modeling shows that                     state’s emissions will not increase for 10              to apportion responsibility for states
                                                Kentucky is linked to a receptor in                       years after the attainment date.68
                                                Bucks County, Pennsylvania which is                                                                               location is currently, and may continue to be, near
                                                inland and not influenced by coastal                                                                              the level of the NAAQS. Second, ozone levels are
                                                                                                            67 See Table 1, shown previously in this notice.
                                                                                                                                                                  influenced by meteorological variability and thus
                                                meteorology.                                                68 Kentucky did not rely on MOG’s proposed
                                                                                                                                                                  high ozone levels may persist despite declining
                                                   The relevance of the points raised by                  approach in its SIP submittal, therefore EPA does       emissions as a result of recurring or worsening
                                                Kentucky regarding the HYSPLIT back                       not comprehensively evaluate MOG’s suggestion.          ozone-conducive atmospheric conditions (e.g.,
                                                trajectories related to the evaluation of                 However, EPA’s definition of maintenance                higher temperatures). It is unclear how MOG’s
                                                                                                          receptors already accounts for, and projects            approach would account for this variability or
                                                Kentucky’s good neighbor obligations is                   whether, receptors may have trouble attaining the       ensure that projected emissions reductions from
                                                                                                          NAAQS, through the use of projected maximum             linked states are rendered certain and enforceable.
                                                estimates the central path in both the vertical and       design values in the relevant analytic year. Further,      69 In the main text of its SIP submittal conclusion
                                                horizontal planes. The HYSPLIT central path               EPA’s modeling of the relevant analytic year also
lotter on DSK11XQN23PROD with PROPOSALS1




                                                                                                                                                                  regarding interstate transport, Kentucky incorrectly
                                                represents the centerline with the understanding          already accounts for projected emissions trends of      attributes statements regarding the ‘‘interfere with
                                                that there are areas on each side horizontally and        the upwind state (among others) and may (and often      maintenance’’ prong to the U.S. Supreme Court. See
                                                vertically that also contribute to the end point at the   does) identify a linkage to areas that may struggle     Submittal at 45–46. A footnote, however, correctly
                                                monitor. The horizontal and vertical areas from the       to maintain the NAAQS despite an overall                attributes this language to the D.C. Circuit’s original
                                                centerline grow wider the further back in time the        declining emissions trend. This is not surprising.      opinion in EME Homer City v EPA, 696 F.3d 7 (D.C.
                                                trajectory goes. Therefore, a HYSPLIT centerline          First, most maintenance receptors in EPA’s              Cir. 2012). This decision was reversed and
                                                does not have to pass directly over emissions             projections are currently measuring nonattainment,      remanded by the Supreme Court, and on remand,
                                                sources or emission source areas but merely               meaning that, despite projecting improved air           the D.C. Circuit affirmed EPA’s approach to
                                                relatively near emission source areas.                    quality in the future analytic year, the receptor       implementing prong 2, see 795 F.3d at 136.



                                           VerDate Sep<11>2014    17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00060   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM     22FEP1
                                                                        Case: 23-3216                  Document: 32-3                    Filed: 06/16/2023                Page: 258
                                                                      Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules                                                9515

                                                linked to nonattainment receptors                       submittal did not include an accounting                   proposing to find that the interstate
                                                considering ‘‘both the magnitude of                     of emissions sources and activity in the                  transport portion of Kentucky’s January
                                                upwind States’ contributions and the                    Commonwealth along with an analysis                       11, 2019, SIP submission addressing
                                                cost associated with eliminating them.’’                of potential NOX emissions control                        CAA section 110(a)(2)(D)(i)(I) does not
                                                EME Homer City, 134 S. Ct. at 1606. It                  technologies, their associated costs,                     meet the Commonwealth’s interstate
                                                is equally reasonable and permissible to                estimated emissions reductions, and                       transport obligations because it fails to
                                                use these factors to apportion                          downwind air quality improvements.                        contain the necessary provisions to
                                                responsibility among upwind states                      Nor did Kentucky present an alternative                   eliminate emissions that will contribute
                                                linked to maintenance receptors because                 approach to assess which of its                           significantly to nonattainment or
                                                the goal in both instances is to prohibit               emissions should be deemed                                interfere with maintenance of the 2015
                                                the ‘‘amounts’’ of pollution that will                  ‘‘significant.’’ EPA proposes to find that                8-hour ozone NAAQS in any other state.
                                                either significantly contribute to                      Kentucky’s analysis—including reliance
                                                                                                                                                                  IV. Proposed Action
                                                nonattainment or interfere with                         on on-the-books state and Federal
                                                maintenance of the NAAQS downwind.                      measures (including prior CSAPR                              EPA is proposing to disapprove the
                                                EPA’s updated modeling indicates that                   programs) and claimed on-the-way                          2015 8-hour ozone good neighbor
                                                the Commonwealth is still linked to                     emission reductions, as well as other air                 interstate transport SIP revision from
                                                downwind nonattainment and                              quality, emissions, and geographic                        Kentucky, dated January 11, 2019.
                                                maintenance receptors for the 2015 8-                   factors—is insufficient to support the                    Under CAA section 110(c)(1), if
                                                hour ozone standard. Consequently,                      Commonwealth’s claim that its SIP                         finalized, this disapproval would
                                                EPA believes Kentucky’s assertion that                  adequately prohibits emissions within                     establish a 2-year deadline for EPA to
                                                upwind states linked to maintenance-                    Kentucky in a manner sufficient to                        promulgate a FIP for Kentucky to
                                                only receptors should be held to less                   address the State’s interstate transport                  address the CAA section
                                                stringent standards of emissions                        obligations for the 2015 8-hour ozone.                    110(a)(2)(D)(i)(I) interstate transport
                                                reductions (as compared to states linked                                                                          requirements pertaining to significant
                                                                                                        E. Evaluation of Information Provided                     contribution to nonattainment and
                                                to a nonattainment receptor) is also
                                                                                                        by Kentucky Regarding Step 4                              interference with maintenance of the
                                                inappropriate for new downwind
                                                linkages.                                                  Step 4 of the 4-step interstate                        2015 8-hour ozone NAAQS in other
                                                                                                        transport framework calls for                             states, unless EPA approves a SIP that
                                                6. Evaluation of Weighted Step 3                        development of permanent and                              meets these requirements. However,
                                                Approach                                                federally enforceable control strategies                  under the CAA, a good neighbor SIP
                                                   Although Kentucky did not adopt this                 to achieve the emissions reductions                       disapproval does not start a mandatory
                                                approach in its SIP submittal, the MOG                  determined to be necessary at Step 3 to                   sanctions clock.
                                                materials Kentucky appended provided                    eliminate significant contribution to
                                                                                                                                                                  V. Statutory and Executive Order
                                                arguments suggesting a ‘‘weighted’’                     nonattainment or interference with
                                                                                                                                                                  Reviews
                                                approach to Step 3 similar to an                        maintenance of the NAAQS. Kentucky
                                                approach that stakeholders had                          indicates that certain upcoming planned                   A. Executive Order 12866: Regulatory
                                                identified to EPA (as listed in                         fuel switches or shutdowns at EGUs will                   Planning and Review and Executive
                                                Attachment A to EPA’s March 2018                        occur before the end of 2023, for which                   Order 13563: Improving Regulation and
                                                memorandum). Under this approach,                       Kentucky cites a press release and a                      Regulatory Review
                                                upwind-state emission reduction                         closure plan developed by each plant’s                      This proposed action is not a
                                                obligations would be allocated in                       parent company.70 As discussed in                         significant regulatory action and was
                                                proportion to the size of their                         section III.D., Kentucky’s analysis is                    therefore not submitted to the Office of
                                                contribution to downwind                                insufficient to demonstrate that these                    Management and Budget for review.
                                                nonattainment. MOG determined the                       reductions are sufficient to address the
                                                proportional reduction requirement                      Commonwealth’s interstate transport                       B. Paperwork Reduction Act (PRA)
                                                associated with the relative significant                obligations; however, the                                   This proposed action does not impose
                                                contribution from each upwind state to                  Commonwealth also did not provide a                       an information collection burden under
                                                the Harford County, Maryland monitor                    separate SIP revision to ensure the                       the PRA because it does not contain any
                                                including Kentucky, which resulted in                   reductions were permanent and                             information collection activities.
                                                an additional emission reduction                        enforceable. As a result, EPA proposes
                                                obligation for Kentucky of 0.02 ppb, as                 to disapprove Kentucky’s January 11,                      C. Regulatory Flexibility Act (RFA)
                                                MOG proposed would be the                               2019, submittal on the separate,                             This action merely proposes to
                                                appropriate proportion of reductions                    additional basis that the Commonwealth                    disapprove a SIP submission as not
                                                necessary for attainment at the Harford                 has not developed permanent and                           meeting the CAA for Kentucky. EPA
                                                receptor. This approach would have                      enforceable emissions reductions                          certifies that this proposed rule will not
                                                imposed additional emissions                            necessary to meet the obligations of                      have a significant economic impact on
                                                reductions for Kentucky sources.                        CAA section 110(a)(2)(d)(i)(I).                           a substantial number of small entities
                                                Kentucky’s final SIP did not consider                                                                             under the RFA (5 U.S.C. 601 et seq.).
                                                                                                        F. Conclusion
                                                MOG’s proposal, and did not provide an
                                                explanation for why it was rejecting this                 Based on EPA’s evaluation of                            D. Unfunded Mandates Reform Act
                                                approach to allocating upwind emission                  Kentucky’s SIP submission, EPA is                         (UMRA)
                                                                                                                                                                    This proposed action does not contain
lotter on DSK11XQN23PROD with PROPOSALS1




                                                reductions, even though it appended
                                                                                                           70 Pointing to anticipated upcoming emission
                                                this recommendation to its SIP                                                                                    any unfunded mandate as described in
                                                                                                        reductions, even if they were not included in the
                                                submittal.                                              analysis at Steps 1 and 2, is not sufficient as a Step    UMRA, 2 U.S.C. 1531–1538, and does
                                                   In summary, EPA has newly available                  3 analysis, for the reasons discussed in section III.C.   not significantly or uniquely affect small
                                                information that confirms sources in                    In this section, EPA explain that to the extent such      governments. This proposed action
                                                Kentucky are linked to downwind air                     anticipated reductions are not included in the SIP        imposes no enforceable duty on any
                                                                                                        and rendered permanent and enforceable, reliance
                                                quality problems for the 2015 8-hour                    on such anticipated reductions is also insufficient       state, local, or tribal governments or the
                                                ozone standard. Kentucky’s SIP                          at Step 4.                                                private sector.


                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00061   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM    22FEP1
                                                                        Case: 23-3216                  Document: 32-3                   Filed: 06/16/2023                Page: 259
                                                9516                  Federal Register / Vol. 87, No. 35 / Tuesday, February 22, 2022 / Proposed Rules

                                                E. Executive Order 13132: Federalism                    K. CAA Section 307(b)(1)                               nonattainment and maintenance
                                                                                                           Section 307(b)(1) of the CAA governs                receptors and a nationally uniform
                                                  This proposed action does not have                                                                           approach to contribution threshold
                                                federalism implications. It will not have               judicial review of final actions by EPA.
                                                                                                        This section provides, in part, that                   analysis.72 For these reasons, the
                                                substantial direct effects on the states,                                                                      Administrator intends, if this proposed
                                                on the relationship between the national                petitions for review must be filed in the
                                                                                                        D.C. Circuit: (i) When the agency action               action is finalized, to exercise the
                                                government and the states, or on the                                                                           complete discretion afforded to him
                                                distribution of power and                               consists of ‘‘nationally applicable
                                                                                                        regulations promulgated, or final actions              under the CAA to make and publish a
                                                responsibilities among the various                                                                             finding that this action is based on one
                                                levels of government.                                   taken, by the Administrator,’’ or (ii)
                                                                                                        when such action is locally or regionally              or more determinations of nationwide
                                                F. Executive Order 13175: Consultation                  applicable, if ‘‘such action is based on               scope or effect for purposes of CAA
                                                and Coordination With Indian Tribal                     a determination of nationwide scope or                 section 307(b)(1).73
                                                Governments                                             effect and if in taking such action the                List of Subjects in 40 CFR Part 52
                                                                                                        Administrator finds and publishes that
                                                   This proposed action does not have                   such action is based on such a                           Environmental protection, Air
                                                tribal implications as specified in                     determination.’’ For locally or regionally             pollution control, Incorporation by
                                                Executive Order 13175. This proposed                    applicable final actions, the CAA                      reference, Ozone.
                                                action does not apply on any Indian                     reserves to EPA complete discretion                      Authority: 42 U.S.C. 7401 et seq.
                                                reservation land, any other area where                  whether to invoke the exception in
                                                EPA or an Indian tribe has demonstrated                                                                          Dated: February 3, 2022.
                                                                                                        (ii).71                                                Daniel Blackman,
                                                that a tribe has jurisdiction, or non-                     If EPA takes final action on this
                                                reservation areas of Indian country.                                                                           Regional Administrator, Region 4.
                                                                                                        proposed rulemaking, the Administrator
                                                Thus, Executive Order 13175 does not                    intends to exercise the complete                       [FR Doc. 2022–02947 Filed 2–18–22; 8:45 am]
                                                apply to this action.                                   discretion afforded to him under the                   BILLING CODE 6560–50–P

                                                G. Executive Order 13045: Protection of                 CAA to make and publish a finding that
                                                Children From Environmental Health                      the final action (to the extent a court
                                                                                                        finds the action to be locally or                      ENVIRONMENTAL PROTECTION
                                                Risks and Safety Risks                                                                                         AGENCY
                                                                                                        regionally applicable) is based on a
                                                   EPA interprets Executive Order 13045                 determination of ‘‘nationwide scope or
                                                as applying only to those regulatory                                                                           40 CFR Part 52
                                                                                                        effect’’ within the meaning of CAA
                                                actions that concern environmental                      section 307(b)(1). Through this                        EPA–R03–OAR–2021–0873; EPA–HQ–OAR–
                                                health or safety risks that EPA has                     rulemaking action (in conjunction with                 2021–0663; FRL–9494–01–R3]
                                                reason to believe may                                   a series of related actions on other SIP
                                                disproportionately affect children, per                 submissions for the same CAA                           Air Plan Disapproval; West Virginia;
                                                the definition of ‘‘covered regulatory                  obligations), EPA interprets and applies               Interstate Transport of Air Pollution for
                                                action’’ in section 2–202 of the                        section 110(a)(2)(d)(i)(I) of the CAA for              the 2015 8-Hour Ozone National
                                                Executive Order. This proposed action                   the 2015 8-hour ozone NAAQS based on                   Ambient Air Quality Standard
                                                is not subject to Executive Order 13045                 a common core of nationwide policy                     AGENCY: Environmental Protection
                                                because it merely proposes to                           judgments and technical analysis                       Agency (EPA).
                                                disapprove a SIP submission from                        concerning the interstate transport of                 ACTION: Proposed rule.
                                                Kentucky as not meeting the CAA.                        pollutants throughout the continental
                                                                                                        U.S. In particular, EPA is applying here               SUMMARY: Pursuant to the Federal Clean
                                                H. Executive Order 13211, Actions That
                                                                                                        (and in other proposed actions related to              Air Act (CAA or the Act), the
                                                Significantly Affect Energy Supply,
                                                                                                        the same obligations) the same,                        Environmental Protection Agency (EPA)
                                                Distribution or Use
                                                                                                        nationally consistent 4-step framework                 is proposing to disapprove a State
                                                   This proposed action is not subject to               for assessing good neighbor obligations                Implementation Plan (SIP) submittal
                                                Executive Order 13211, because it is not                for the 2015 8-hour ozone NAAQS. EPA                   from West Virginia intended to address
                                                a significant regulatory action under                   relies on a single set of updated, 2016-               interstate transport for the 2015 8-hour
                                                Executive Order 12866.                                  base year photochemical grid modeling                  ozone national ambient air quality
                                                                                                        results of the year 2023 as the primary                standards (2015 8-hour ozone NAAQS).
                                                I. National Technology Transfer and                     basis for its assessment of air quality                The ‘‘good neighbor’’ or ‘‘interstate
                                                Advancement Act                                         conditions and contributions at Steps 1
                                                  This proposed rulemaking does not                     and 2 of that framework. Further, EPA                     72 A finding of nationwide scope or effect is also

                                                                                                        proposes to determine and apply a set                  appropriate for actions that cover states in multiple
                                                involve technical standards.                                                                                   judicial circuits. In the report on the 1977
                                                                                                        of nationally consistent policy                        Amendments that revised section 307(b)(1) of the
                                                J. Executive Order 12898: Federal                       judgments to apply the 4-step                          CAA, Congress noted that the Administrator’s
                                                Actions To Address Environmental                        framework. EPA has selected a                          determination that the ‘‘nationwide scope or effect’’
                                                Justice in Minority Populations and                     nationally uniform analytic year (2023)                exception applies would be appropriate for any
                                                Low-Income Populations                                  for this analysis and is applying a                    action that has a scope or effect beyond a single
                                                                                                                                                               judicial circuit. See H.R. Rep. No. 95–294 at 323,
                                                  EPA believes the human health or                      nationally uniform approach to                         324, reprinted in 1977 U.S.C.C.A.N. 1402–03.
                                                                                                                                                                  73 EPA may take a consolidated, single final
                                                environmental risk addressed by this
lotter on DSK11XQN23PROD with PROPOSALS1




                                                                                                           71 In deciding whether to invoke the exception by   action on all of the proposed SIP disapproval
                                                action will not have potential                          making and publishing a finding that an action is      actions with respect to obligations under CAA
                                                disproportionately high and adverse                     based on a determination of nationwide scope or        section 110(a)(2)(D)(i)(I) for the 2015 8-hour ozone
                                                human health or environmental effects                   effect, the Administrator takes into account a         NAAQS. Should EPA take a single final action on
                                                on minority, low-income or indigenous                   number of policy considerations, including his         all such disapprovals, this action would be
                                                                                                        judgment balancing the benefit of obtaining the D.C.   nationally applicable, and EPA would also
                                                populations. This action merely                         Circuit’s authoritative centralized review versus      anticipate, in the alternative, making and
                                                proposes to disapprove a SIP                            allowing development of the issue in other contexts    publishing a finding that such final action is based
                                                submission as not meeting the CAA.                      and the best use of agency resources.                  on a determination of nationwide scope or effect.



                                           VerDate Sep<11>2014   17:03 Feb 18, 2022   Jkt 256001   PO 00000   Frm 00062   Fmt 4702   Sfmt 4702   E:\FR\FM\22FEP1.SGM   22FEP1
